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                                               8    Facsimile: (415) 227-0770

                                               9    Attorneys for secured creditor
                                                    SUB-ZERO GROUP, INC.
                                        10

                                        11                                  UNITED STATES BANKRUPTCY COURT

                                        12                                  SOUTHERN DISTRICT OF CALIFORNIA

                                        13          In re                                            Case No. 24-01376-CL7

                                        14          PIRCH, INC.,                                     Chapter 7

                                        15                            Debtor.                        RS No. BPC-001

                                        16                                                           DECLARATION OF MARK ZAVRAS
                                                                                                     IN SUPPORT OF SUB-ZERO GROUP
                                        17                                                           WEST, INC.’S MOTION FOR RELIEF
                                                                                                     FROM STAY
                                        18
                                                                                                     [Notice of Motion, Motion and
                                        19                                                           Memorandum of Points and Authorities,
                                                                                                     Request for Judicial Notices, and
                                        20                                                           Declarations of Kelly Ciulla, Barry
                                                                                                     Bredvik, Mark Marshall, Keene Kohrt, and
                                        21                                                           Anthony Napolitano concurrently filed]

                                        22                                                           Hearing:
                                                                                                     Date:       June 24, 2024
                                        23                                                           Time:       11:00 a.m. PDT
                                                                                                     Place:      U.S. Bankruptcy Court
                                        24                                                                       Department 1
                                                                                                                 325 West F Street
                                        25                                                                       San Diego, California 92101
                                                                                                     Judge:      Hon. Christopher B. Latham
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82547205v3                                1
            L O S A N G E LE S
                                                                            DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                        SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1                                 DECLARATION OF MARK ZAVRAS
                                               2             I, Mark Zavras, declare as follows:
                                               3             1.     I am the Director of Credit for Sub-Zero Group, Inc., parent company of Sub-Zero
                                               4   Group West, Inc. (“Sub-Zero”), a position that I have held since 2011. I have been employed by
                                               5   Sub-Zero since December 1989. The following facts are true to the best of my own personal
                                               6   knowledge, except where stated on information and belief, and as to those facts, I believe them to
                                               7   be true. If called as a witness, I could and would testify competently to the facts set forth herein. I
                                               8   am over 18 years of age. I make this Declaration in support of the Motion for Relief from the
                                               9   Automatic Stay Pursuant to 11 U.S.C. § 362 (the “Motion”) of Sub-Zero.
                                        10                   2.     I am one of the custodians of Sub-Zero’s books, records, files and accounting
                                        11         ledgers relating to Pirch, which records were made at or near the time of the act, condition or event
                                        12         to which the same relate and were maintained in the regular and ordinary course of Sub-Zero’s
                                        13         business.
                                        14                   3.     I have reviewed Sub-Zero’s files concerning Pirch’s account and am familiar with
                                        15         those files. The documents attached hereto as exhibits are true and correct copies of the original
                                        16         documents maintained by Sub-Zero or are documents that I have prepared based on information or
                                        17         documents contained in Sub-Zero’s files or systems. Such records or documents were prepared in
                                        18         the ordinary course of Sub-Zero’s business by a person employed by Sub-Zero who had personal
                                        19         knowledge of the event being recorded and who had a regular business duty to so record those
                                        20         events.
                                        21                   4.     In my capacity as Director of Credit, I have the responsibility and authority for
                                        22         working with potential new customers seeking credit from Sub-Zero for purchase of appliances
                                        23         from Sub-Zero, current customers seeking credit, and overseeing the post-default collection and
                                        24         litigation process. I have had and currently have these responsibilities with respect to Pirch’s
                                        25         account, which is now a post-default collection account and resulted in this Action. As part of my
                                        26         duties, I have access to Sub-Zero’s documentation, including account information relating to the
                                        27         past due account of Pirch.
                                        28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82547205v3                                     2
            L O S A N G E LE S
                                                                               DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                           SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1           5.      I am familiar with Sub-Zero’s general methods and manner for preparation and
                                               2   maintenance of business records. In the ordinary course of business, Sub-Zero maintains records
                                               3   of all sums financed to customers, payments made by customers, and charges of the balance owed
                                               4   by a customer, including any interest and all other amounts due in from customers.               This
                                               5   information is maintained by and retrieved from computer programs employed for the above
                                               6   purpose. It is Sub-Zero’s customary and usual practice to have employees make a computerized
                                               7   record on or near the date any payment is received from a customer, such as Pirch, and to credit the
                                               8   same against the amounts due and owing under the particular agreement with that customer. Sub-
                                               9   Zero’s payment processing is generally an automated process. Sub-Zero operates in reliance on
                                        10         this process and the accuracy of the written records.
                                        11                 6.      Sub-Zero distributes high-end consumer appliances manufactured by its parent
                                        12         company, Sub-Zero Group, Inc., consisting of ranges, ovens, grills, dishwashers, built-in
                                        13         refrigerators and wine refrigerators, among other appliances, under its three brands: Sub-Zero,
                                        14         Wolf and Cove.
                                        15                 7.      At the time it ceased doing business as a retailer, Pirch sold high-end kitchen
                                        16         appliances, including Sub-Zero’s product, at six retail showrooms in La Jolla, Rancho Mirage,
                                        17         Mission Viejo, Costa Mesa, Glendale, and Solana Beach, California. Sub-Zero provided display
                                        18         units to these retail showrooms in order to market and exhibit their high end products.
                                        19                 8.      Pirch also utilized five distribution centers to conduct its business located in Vista
                                        20         (two locations), Oceanside, Santa Fe Springs, and Palm Desert, California.
                                        21                 9.      On January 29, 2019, Sub-Zero and Pirch entered into a written Credit Application
                                        22         and Agreement (the “Credit Agreement”), under which Sub-Zero agreed to sell its inventory to
                                        23         Pirch on credit and Pirch agreed to make payments as required therein. A true and complete copy
                                        24         of the Credit Agreement is attached hereto as Exhibit 1.
                                        25                 10.     To secure the prompt performance and payment in full of Pirch’s obligations to Sub-
                                        26         Zero arising under the Credit Agreement (the “Obligations”), Pirch and Sub-Zero entered into a
                                        27         Purchase Money Security Interest Agreement dated January 29, 2019 (the “Security Agreement”).
                                        28         A true and complete copy of the Security Agreement is attached hereto as Exhibit 2. Under the
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82547205v3                                     3
            L O S A N G E LE S
                                                                             DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                         SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1   Security Agreement, Pirch granted Sub-Zero a purchase money security interest in all of Pirch’s
                                               2   right, title and interest in and to the collateral as defined in the Security Agreement.
                                               3           11.     On February 21, 2019, Sub-Zero perfected its security interest in the Inventory
                                               4   Collateral by filing a UCC-1 Financing Statement designated as Document No. 19-7698422533
                                               5   with the California Secretary of State’s Office, a true and complete copy of which is attached hereto
                                               6   as Exhibit 3.
                                               7           12.     On December 28, 2023, Sub-Zero filed its UCC-3 Financing Statement Amendment
                                               8   designated as Document No. 23-009105622 noting a change affecting the name and address of
                                               9   Pirch, a true and complete copy of which is attached hereto as Exhibit 4.
                                        10                 13.     On December 29, 2023, Sub-Zero filed its UCC-3 Continuation Statement
                                        11         designated as Document No. 23-0091349534 thereby continuing its security interest in the
                                        12         Inventory Collateral under the initial 2019 UCC-1 Financing Statement, a true and complete copy
                                        13         of which is attached hereto as Exhibit 5.
                                        14                 14.     On January 29, 2019, Pirch and Sub-Zero entered into a Display Unit Bailment and
                                        15         Resale Agreement (the “Display Unit Agreement”) in which Sub-Zero provided to Pirch to display
                                        16         at its showrooms various Sub-Zero kitchen appliances (collectively the “Display Units”). A true
                                        17         and complete copy of the Display Unit Agreement is attached hereto as Exhibit 6.
                                        18                 15.     The Debtor has not complied with the purchase requirements set forth in Section 2
                                        19         of the Display Unit Agreement for a substantial number of the Display Units.
                                        20                 16.     On February 21, 2019, Sub-Zero perfected its security interest in the Display Units
                                        21         by filing a UCC-1 Financing Statement designated as Document No. 19-197698418578 with the
                                        22         California Secretary of State’s Office, a true and complete copy of which is attached hereto as
                                        23         Exhibit 7.
                                        24                 17.     On December 21, 2023, Sub-Zero filed a UCC-3 Financing Statement Amendment
                                        25         designated as Document No. 230089736229 noting a change affecting the name and address of
                                        26         Pirch, a true and complete copy of which is attached hereto as Exhibit 8.
                                        27                 18.     On December 22, 2023, Sub-Zero filed a UCC-3 Continuation Statement designated
                                        28         as Document No. 230089945232 thereby continuing its security interest in the Display Units under
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82547205v3                                     4
            L O S A N G E LE S
                                                                             DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                         SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1   the initial 2019 UCC-1 Financing Statement, a true and complete copy of which is attached hereto
                                               2   as Exhibit 9.
                                               3              19.      On or about March 21, 2024, I had learned that Pirch posted a notice on its website
                                               4   stating that Pirch had temporarily closed all of its showrooms. At this time, Pirch had defaulted on
                                               5   its obligations under the Credit Agreement by failing to (a) make payments for inventory delivered
                                               6   by Sub-Zero when due and (b) notify Sub-Zero of the significant changes in its financial condition
                                               7   including the cessation of operations.
                                               8              20.      Sub-Zero has performed all covenants, conditions and promises, required on its part
                                               9   under the terms of the Credit Agreement. Pirch has not.
                                        10                    21.      As a result of Pirch’s defaults, there is currently due, owing and unpaid the principal
                                        11         sum of $4,200,798.29, plus interest at the rate of 1.5% per month, together with late fees, expenses
                                        12         and attorneys’ fees and costs, all of which continue to accrue.
                                        13                    22.      Sub-Zero seeks relief from the automatic stay so that it can exercise its rights and
                                        14         remedies in order to recover its Inventory Collateral and its Display Units.
                                        15                    23.      Sub-Zero’s Inventory Collateral1 is located at various distribution centers and
                                        16         showrooms. Pirch’s utilizes the facility located at 1445 Engineer Street, Vista, California 92081
                                        17         (the “Engineer Facility”) as its primary distribution center. Pirch has utilized the following
                                        18         ancillary distribution centers from time to time: (1) 2450 Business Park Drive, Vista, California
                                        19         92081 (the “Business Park Facility”); (2)77-588 El Duna Court, Suite E, Palm Desert, California
                                        20         (the “Palm Desert Facility”); (3) 1322 Rocky Point Drive, Oceanside, California 92056 (the
                                        21         “Oceanside Facility”); and (4) 12740 E. Florence Ave, Santa Fe Springs, California 92081 (the
                                        22         “Santa Fe Springs Facility”) (collectively with the Engineer Facility, the “Distribution Centers”).
                                        23                    24.      Pirch’s six retail showrooms are located at: (1) 3303 Hyland Avenue, Suite D, Costa
                                        24         Mesa, California 92626 (the “Costa Mesa Location”); (2) 101 S. Brand Blvd., Glendale, California
                                        25         91210 (the “Glendale Location”); (3) 4545 La Jolla Village Drive, Suite E 1, San Diego, California
                                        26         92122 (the “La Jolla Location”); (4) 71905 Hwy 111, Suite B, Rancho Mirage, California 92270
                                        27         (the “Rancho Mirage Location”); (5) 202 N. Cedros Ave., Solana Beach, California 92075 (the
                                        28         1
                                                       Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
          BUCHALTER
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            L O S A N G E LE S
                                                                                  DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                              SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1   “Solana Beach Location”); (6) 2381 Aliso Creek Road, Suites 155 and 159, Laguna Niguel,
                                               2   California 92677 (the “Laguna Location”) and (7) 28341 Marguerite Parkway, Mission Viejo,
                                               3   California 92692 (the “Mission Viejo Location”) (collectively the “Showrooms”).
                                               4           25.     Sub-Zero had installed Display Units at each of the Showrooms. However, Sub-
                                               5   Zero has learned that prior to filing this case, Pirch cannibalized certain of its Showrooms and sold
                                               6   substantially all of the installed display units of all manufacturers at the Solana Beach Location and
                                               7   possibly others.
                                               8           26.     In order to ascertain the extent of its Inventory Collateral, Sub-Zero requested on
                                               9   numerous occasions after the shutdown, but prior to the commencement of this case, that Pirch
                                        10         provide an inventory report of Sub-Zero’s Inventory Collateral.
                                        11                 27.     On April 4, 2024, Pirch provided Sub-Zero a report disclosing the extent of Sub-
                                        12         Zero’s inventory which Pirch had valued at $3,650,475.20. A true and complete copy of Pirch’s
                                        13         April 4, 2024 inventory report is attached hereto as Exhibit 10.
                                        14                 28.     Having expected a higher inventory count and concerned over the alleged value and
                                        15         condition of the inventory, Sub-Zero demanded that Pirch allow its auditors to inspect and record
                                        16         the boxed inventory located at Pirch’s Distribution Centers.
                                        17                 29.     On April 15, 2024, Sub-Zero dispatched two auditors, Mark Marshall and Keene
                                        18         Kohrt, to inspect the Distribution Centers located in Vista, Palm Desert, and Santa Fe, California.
                                        19                 30.     The auditors inspected each unit of boxed inventory at those distribution centers and
                                        20         scanned each inspected unit’s bar code into Sub-Zero’s audit tracking system.
                                        21                 31.     Pirch stored the vast majority of Sub-Zero’s Inventory Collateral at the Engineer
                                        22         Facility. Pirch stored the remainder of Sub-Zero’s Collateral at the Santa Fe Springs Facility and
                                        23         the Palm Desert Facility. Pirch no longer utilized the Business Park Facility or the Oceanside
                                        24         Facility as a distribution center for Sub-Zero’s product.
                                        25                 32.     As a result of the audit and the auditor’s scanning of each boxed inventory item,
                                        26         Sub-Zero has compiled the auditor’s data into a comprehensive audit report depicting the item
                                        27         number, Pirch purchase order number, model number, serial number, brand, description, status,
                                        28
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A P R O F E S S I ON A L C OR P OR A T I O N       BN 82547205v3                                     6
            L O S A N G E LE S
                                                                             DECLARATION OF MARK ZAVRAS IN SUPPORT OF
                                                                         SUB-ZERO GROUP, INC.’S MOTION FOR RELIEF FROM STAY
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                                               1   delivery date, dealer price and suggested retail price (the “Sub-Zero Audit Report”). A true and
                                               2   complete copy of the Sub-Zero Audit Report is attached hereto as Exhibit 11.
                                               3           33.     The aggregate value of the Inventory Collateral reflected on the Sub-Zero Audit
                                               4   Report is approximately $3.1 million at the dealer price and $4.1 million at the manufacturer
                                               5   suggested retail price (“MSRP”). However, this is not the true value of the Inventory Collateral.
                                               6           34.     The Sub-Zero Audit Report classifies the Inventory Collateral as either “Current” or
                                               7   “OBS,” which stands for obsolete.
                                               8           35.     For the obsolete products, the Sub-Zero Audit Report reflects an aggregate dealer
                                               9   price of $1,022,525.00 and an MSRP of $1,378,582.00, which after applying the anticipated
                                        10         obsolete product realization percentages (as set forth in the Declaration of Kelly Ciulla), the value
                                        11         of those goods on resale would be in the range of $689,291.00 to $766,893.75.
                                        12                 36.     For current products, the Sub-Zero Audit Report reflects an aggregate dealer price
                                        13         of $2,101,889.00 and an MSRP of $2,712,635.70.
                                        14                 37.     Sub-Zero prepared a Display Unit inventory report indicating the dealer location,
                                        15         the brand, product description, model number, sku number, serial number, dealer price, display unit
                                        16         price, sold to Pirch amount, sale date, and comments columns (the “Display Unit Report”). A true
                                        17         and complete copy of the Display Unit Report is attached hereto as Exhibit 12.
                                        18                 38.     On this Display Unit Report, the “Comments” column indicates whether the
                                        19         particular display unit is a “consignment” unit, which means that the display unit is available for
                                        20         purchase by Pirch or by a consumer at the end of its useful display unit lifecycle. About half of the
                                        21         units reflected on this Display Unit Report are “consignment” units, which means that particular
                                        22         Display Unit is still owned by Sub-Zero. A true and complete copy of a report summarizing the
                                        23         pricing of all display units, the consignment units, and the non-consignment units at each location
                                        24         (the “Display Unit Summary Report”) is attached here to as Exhibit 13.
                                        25                 39.     The Display Unit Summary Report reflects a total dealer price of $1,396,761.00 and
                                        26         a total display unit price of $907,894.64 for both consignment and non-consignment goods. The
                                        27         Display Unit Summary Report reflects that the consignment goods, which are still owned by Sub-
                                        28         Zero, have a total dealer price of $686,349.00 and a total display unit price of $446,126.85 leaving
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            L O S A N G E LE S
                                                                             DECLARATION OF MARK ZAVRAS IN SUPPORT OF
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                                               1   a balance for the non-consignment goods of $710,412.00 for the dealer price and $461,767.80 at
                                               2   the display unit price. However, that is not the true value of the Display Units.
                                               3             40.      Applying the anticipated display unit realization percentage (as set forth in the
                                               4   Declaration of Kelly Ciulla), to the non-consignment display unit goods to which Sub-Zero’s lien
                                               5   would likely attach leads to a resale value of approximately $355,206.
                                               6             41.      Sub-Zero understands that only three Showrooms largely have their display units
                                               7   for all manufacturers, and those are the Showrooms that the Trustee’s desires to sell the leasehold
                                               8   interests, fixtures and display units to a third-party appliance retailer. Sub-Zero has been advised
                                               9   that substantially all of its Display Units and Inventory at those locations remain largely intact.
                                        10         Those locations are Costa Mesa, Mission Viejo, and Rancho Mirage. 2
                                        11                   42.      With respect to the three locations that are believed to be “intact” (i.e., the Costa
                                        12         Mesa, Mission Viejo and Rancho Mirage locations), the Display Unit Report reflects an aggregate
                                        13         dealer price of $695,687.00 and a display unit price of $452,196.55. Applying the 50% realization
                                        14         percentage to dealer price would result in a resale value of approximately $145,499.00.
                                        15                   43.      Adding these low and high range amounts for non-consignment Display Units to the
                                        16         Inventory Collateral value of $2,045,608.85 to $2,801,370.53 results in a total collateral value in
                                        17         the range of $2,191,107.85 to $3,156,576.63.
                                        18                   44.      Sub-Zero discovered that prior to the Petition Date, Pirch decided to liquidate the
                                        19         vast majority of the Display Units and inventory at the other Showrooms. Sub-Zero learned from
                                        20         design professionals that Pirch had been selling display units from the Solana Beach locations at
                                        21         approximately 10% of suggested retail value.
                                        22                   45.      The Debtor listed Sub-Zerio on Schedule D: Creditors Who Have Claims Secured
                                        23         by Property with a secured claim in the amount of $4,052,619.54 secured by assets in the amount
                                        24         of $5,135,290. Sub-Zero disputes the amount of the secured claim and the purported value of the
                                        25         inventory securing such claim.
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                                                       Sub-Zero does not believe that there are any Sub-Zero products at the Santa Monica location.
          BUCHALTER
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            L O S A N G E LE S
                                                                                  DECLARATION OF MARK ZAVRAS IN SUPPORT OF
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                                       1           46.     On May 8, 2024, Sub-Zero had timely tendered its reclamation demand seeking to

                                       2   reclaim approximately $300,000 worth of Inventory Collateral that was delivered to and received

                                       3   by Pirch in the 45-day period preceding the Petition Date.

                                       4           47.     Sub-Zero understands that the Trustee intends to conduct an auction of the inventory

                                       5   primarily out of the Engineer Facility.

                                       6           48.     Sub-Zero is concerned over the relatively minimal value that may be achieved of its

                                       7   high-end appliance products in a warehouse and online auction.

                                       8           I declare under the penalty of pe1jury under the laws of the United States of America that

                                       9   the foregoing is true and co1Tect. Executed on May 6_, 2024 at Scottsdale, Arizona.

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                                 11                                                          MARK~                vv ..

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                        EXHIBIT 1
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                              UB• ZERO




                    CREDIT APPLICATION




                        Sub-Zero Group West, Inc.
                     3200 Park Center Drive, Suite 310
                          Costa Mesa, CA 92626
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                                                                               130
 Sub-Zero Group West, Inc.                                                                         Credit Application and Agreement
      Section A                                                  General Information
Business Legal Name              _
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 Credit Limit Requested         _ _ __ ___ TSM Assigned _ _ __ _ __ _ _ _ __ Date                                                                1/ ~ j p ol          ?
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Phone Number(s}         (<?~) ':zlb h •• 3 b 3 ~                                        Year Business Established
Contacts
E-Mail Address for Order Acknowledgements
E-Mail address for Invoices and Statements
Phone number for Accounts Payable




                                                               I hereby certify that the Company holds valid seller's permit number             /00 - <J<;fo'--/(;
State Tax 1.0. No. _ _ _ _ _ __ _ ___ lssued pursuant to the Sales and Use Tax Law of                                     CA : that the Company Is engaged in
Contractor License# C/)3IL/ 0rype --"'
                                    (2,
                                      "'-_the business of selling: _ _ __ _ __ __ _ _ __ _ _
                                                                 APPL I flovl:e;$ . PL.V;:.(. e1N6, , llrn::>cx->~
Contractor's 80nding Co.      ,:::,U J.f3SC../~Afld lhal the tangIbfe personal property described herein which the Company shall purchase rr01n Sub-Zero
                               o t-Y1.-Cf?f/-~ ~ r o u p Wes~ lne- w,_lf be resold by ii In lho form of tangible personal property: PROVIDED. however, thal in ttie
Ins urance/Bonding Agent ~-l~L ft-Jl: -                event any or such property s used for any purpose other than retelll,on, demoMtrabon, or display ....t-rtJe holding
                    .                         /l _     it for sale In the regular course of busiriess, II Is understood lhal the Company is required by the Sales and Use
Agent's Address 06/0 g rG--t (tA UJL l..l;C--pax Law 1.0 report any pay for the lax. measured by lhe purdiase prce of such l)(operty 10 be purchased.
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Agent's Phone# ( 9{"7) 71) - ?g oo

          Section C                                              Corporation
(List all officers, stockholders, or member with 10% of ownership interest or more)
Name        l.. ~ r t ) , J 'f. f3 .                           Title
                                                                       - - - - - - - - - - -- -                         SS#
                                                                                                                               ------------
Home
Address
Home Telephone No.            _ _ _ _ _ _ _ _ __ _ _ __ __Driver's License No.
Name
          - - - - - - ---- - - ---Titie - ------------ SS#
Home Address
Home Telephone No.
                                  - - - -- -- - Driver's License No.
          Section D                         Partnership, Proprietorship and LLC 's
Registered Partnership/LLC Name                  L . CA-'ft1:3;?·rz:w            Pc.
Partner/Member Name
Home Address
City                                                  State                           Zip                                    SS#

Home Phone

Driver's License No.
Partner/Member Name
Home Address
City                                                   State                          Zip                                    SS#
Home Phone
Driver's License No.
           Case 24-01376-CL7            Filed 05/24/24          Entered 05/24/24 12:52:54                Doc 95          Pg. 13 of
                                                                  130
ATTACH LIST OF ADDITIONAL PARTNERS, IF ANY
           Section E                                         References
 CURRENT BANK INFORMATION




TRADE REFERENCES




!i5:?tt«s~#ij:;1i~ ii
                                                                                                                   Zip          Phone#




/!.()}ll.f:12_                    £/£.[ft_~l(l..AzvD /?le. K,QlfLE/L                        uJ,:J:
APPLIANCE FLOOR PLAN COMPANIES

                 Name                         Mailing Address               City               Sate                Zip          Phone#



   -   -     -   --       - ~                   -   -•   -    .     -         -                           - -       ~      -      -    -~-

           Section F                                         Credit Agreement
DEFINITION
On this application, the words "we", ·us·, or "our'' mean everyone who signs this agreement. "You" or "your" means Sub-Zero Group West,
Inc.
Signatures and Information:
We understand that you will make credit decisions based on the information that we have supplied to you on this form. We are giving you
this information so that you wilt extend credit to us. You are authori2-ed to ch eck our credit background.
Financial Documents:
We guarantee them to be accurate. We agree to supply updated financial documents to you, if requested. If there is any significant change
in our financial condition, we agree to notify you immediately in writing.
Disputes:
We agree to notify you in writing within ten (10) days of invoice date if we have a dispute with any of your invoices.

Payments and Late Charges
We agree to pay all amounts due to you as follows:
A. Normal Terms: Net 30 days
B. Contract Terms: We will pay per terms of contract.
We agree to pay interest at the rate of 1-1/2% per month on each invoice not paid within terms.
We agree that if we do not pay on time. in addition to amounts we owe you, we will pay:
A. All late charges
B. Fees charged by a collection agency or attorney and
C. All costs of collection or litigation induding but not limited to attorney's fees.
D. The parties agree that any judgment granted by a court will provide for an award of attorney' s fees incurred during any judgment
collection litigation and the customer agrees to such fees and all collection costs in addition to the amount of the judgment.

When invoices are past due or if assigned credit limit has been reached Sub Zero Group West, Inc. retains the right to refuse the extension
of credit.
If purchase order conflicts with Sub Zero Group West, Inc. we understand and agree "Normal Terms" or "Contract terms" (if applicable will
prevail)
Credit terms are subject to periodic review and can be modified at the sole discretion of S ub Zero Group West, Inc.
A fax or copy of this application and signature may be accepted as the original.

The Company will pay when due all charges, liens, or encumbrances on and all taxes and assessments now or hereafter imposed on or
affecting the Inventory and the realty on which the Inventory is located.

The Company will insure the inven tory in an amount customary to the Company's industry and will promptly provide upon request by Sub
Zero Group West. Inc. certificates evidencing such insurance.
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          Section F Continued                                          Credit Agreement

CERTIFICATION AND AUTHORIZATION:

WE CERTIFY THAT APPLICANT OR ITS OFFICERS OR PARTNERS ARE NOT PRESENTLY INVOLVED AS DEBTORS IN ANY PROCEEDINGS
OR BANKRUPTCY OR REORGANIZATION IN THE UNITED STATES BANKRUPTCY COURT, NOR HAVE WE BEEN INVOLVED FOR THE THREE
(3) YEARS PRECEDING THE DATE OF THIS APPLICATION.

We agree to pay our account under all the conditions stated on this application.

We authorize Sub Zero Group West, Inc., its employees and agents to verify all information we have provided on this application and to make such other
inquiries as deemed necessary to make a sound credit decision.



                                                                                                                                  (Name of Company)




                                                                       CHOICE OF LAW
This agreement shall be deemed to have been made in the State of California and the validity, construction, interpretation, and enforcement hereof, and lhe
rights of the parties hereto, shall be determined under. governed by and construed in accordance with the internal laws of the State of California. without
regard to principles of conOids of law. Any lawsuit resulting from sales of good by Sub-Zero to company, may. at the sole discretion of Sub-Zero Group West,
Inc., be oommenced in any court within the State of California. The company and Sub-Zero Group West, Inc. ead1 waive their respective right to a jury trial of
any claims or cause of adion based upon or arising out of this agreement or any transactions contemplated herein, induding contract daims, tort claims,
breach of duty dairns and all other common law or statutory daims.

NOTICE TO APPLICANT: CREDIT WILL BE MADE BASED UPON THE INFORMATION GIVEN IN THIS APPLICATION. PLEASE READ ENTIRE
APPLICATION BEFORE EXECUTING.

THE FEDERAL EQUAL CREDIT OPPORTUNITY ACT PROHIBITS CREDITORS FROM DISCRIMINATING AGAINST CREDIT APPLICANTS ON
THE BASIS OF RACE, COLOR, RELIGION, NATIONALITY ORIGIN, SEX OR MARITAL STATUS, THE FEDERAL AGENCY WHICH ADMINISTERS
COMPLIANCE WITH THIS LAW IS THE FEDERAL TRADE COMMISSION, WASHINGTON, D.C. 20580.

If your application for business credit is denied, you have lhe right to a written statement of the specific reasons for the denial. To obtain the statement, please
contact Christine Herrera, Sub-Zero Group, 15570 N. 83ro WfI'/, Scottsdale, AZ. 85260. 480-921-0900 wrthin 60 days from the date you are notified of our
decision. We wlll send you a written statement of reasons for 1!1e denial within 30 days of receiving your written request for the statement.
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                        EXHIBIT 2
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                             SUB-ZERO GROUP WEST, INC.
                    PURCHASE MONEY SECURITY INTEREST AGREEMENT

            This PURCHASE MONEY SECURITY INTEREST AGREEMENT (as amended,
    restated, supplemented or modified front time to time, the "Agreement") is made and entered into
    this _'2. "\ day of Jc..nt,,.,.,ry   __ ,20~,by and between PlRCH, TNC (the "Debtor"), and
    Sub-Zero Group West, [nc., FIKIA Westye Group West, lnc. (the "Secured Party").

          WHEREAS, from time to time, Secured Party will sell to Debtor on credit inventory and
   other goods (collectively, the "Inventory") at the purchase price set forth in a related invoice;

           WHEREAS, Secured Party requires Debtor enter into this agreement to secure the
   obligations of the Debtor to Secured Party pursuant to such purchases.

          NOW, THEREFORE, in consideration of the present and future extension of credit to the
   Debtor by the Secured Party, it is agreed as follows:

           1.      Defined Terms.

                       a. "Collateral" means (a) all Inventory purchased by Debtor from Secured
                          Party on or after the date hereof consisting of Sub-Zero Wolf, Cove, and
                          Asko (b) all accounts, accounts receivable, payment intangibles, general
                          intangibles, documents, instruments and chattel paper related thereto, (c) all
                          accessions thereto, (d) all substitutions, replacements or modifications
                          thereof, and (e) all proceeds (including cash proceeds and insurance
                          proceeds) and products thereof, whether now owned or existing or at any
                          time hereafter arising or acquired.

                       b. "Obligations" means all of the Debtor's duties, obligations, liabilities, and
                          covenants to Secured Party arising out of Debtor's purchase of Inventory
                          on or after the date hereof from Secured Pm1y, including, without limitation,
                          (i) all amounts due to Secured Party pursuant to each such purchase and (ii)
                          all fees, costs and expenses related thereto, in each case of the foregoing,
                          howsoever created, arising or evidenced, whether direct or indirect, absolute
                          or contingent, now or hereafter existing or arising, or due or to become due.

            2.      Creation of Security Interest. To secure the prompt performance and payment in
   full of the Obligations, the Debtor hereby grants to the Secured Party a purchase-money security
   interest in all of its right, title and interest in, to and under the Collateral. The security interest
   granted under this Agreement constitutes a purchase money security interest under California law.
   The Debtor hereby authorizes the Secured Party file a UCC-1 financing statement, and any
   continuations, amendments or termination statements thereto, naming the Debtor, as debtor, and
   the Secured Party, as secured party.
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           3.     Default. As used in this Agreement, the term "Event of Default" shall mean any
    one or more of the following:

                            a. any of the Obligations are not performed or paid in full when due;

                      b. any other obligation created by this Agreement, or in any agreement,
    document or instrument related hereto, is not complied with strictly according to the terms thel'eof;

                       c. any warranty or representation made by the Debtor to the Secured Party in
    this Agreement, or in any agreement, document or instrument related hereto, is false in any material
    respect when made or furnished;

                       d. the Collateral is (i) transferred to any location not specifically approved in
   advance by the Secured Pa11y, (ii) Jost, stolen, substantially damaged or seized by any third party
   pursuant to legal proceedings or (iii) is not sold in the ordinary course of business of the Debtor or
   pursuant to the related dealer agreement;

                    e. any liability, obligation or indebtedness of the Debtor is declared to be or
   otherwise becomes due and payable priot· to its specified maturity date;

                       f. any judgment or judgments, writ or writs, or warrant or warrants of
   attachment, or any similar process or processes shall be rendered against the Debtor and shall not
   have been paid, discharged or vacated or had execution thereof stayed pending appeal within 30
   days after entry or filing of such judgments;

                       g. a notice of lien, levy, or assignment is filed or recorded with respect to all
   or any or all assets of the Debtor by the United States government or any department, agency or
   instrumentality thereof or by any state, county, municipal or other governmental agency, or if any
   taxes or debts owing at any time to any one of them becomes a lien or encumbrances upon the
   Debtor's assets and any of the foregoing is not released, bonded or otherwise secured to the
   Secured Party's reasonable satisfaction within ten (l 0) days after the same becomes a lien or
   encumbrance on such assets;

                      h. any sale, transfer, lease or other disposition of all or substantially all of the
   assets of the Debtor, whether in a single transaction or a series of transactions; and

                        i. the Debtor becomes insolvent or generally fails to pay, or admits in writing
   its inability or refusal to pay, debts as they become due; or the Debtor applies for, consents to, or
   acquiesces in the appointment of a trustee, receiver or other custodian, or makes a general
   assignment for the benefit of creditors; or, in the absence of such application, consent or
   acquiescence, a trustee, receiver or other custodian is appointed for the Debtor or for a substantial
   part of the property of any thereof and is not discharged within sixty (60) days; or any bankrnptcy,
   reorganization, debt arrangement, or other case or proceeding under any bankruptcy or insolvency
   law, or any dissolution or liquidation proceeding, is commenced in respect of the Debtor, and if
   such case or proceeding is not commenced by the Debtor, it is consented to or acquiesced in by



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    the Debtor, or remains for sixty (60) days undismissed; or the Debtor takes any action to authorize,
    or in furtherance of, any of the foregoing.

           4.     Remedies Upon Defaul!. Upon the occurrence and during the continuance of an
    Event of Default, the Secured Party may:

                       a. without demand, enter upon the Debtor's premises where the Collateral is
    located and take possession and remove the Collateral; or

                          b. exercise all of its other rights and remedies hereunder, under the applicable
   Uniform Commercial Code, and under law or in equity, without liability to the Debtor therefore
   and without affecting the Debtor's obligations hereunder, including, without limitation, exercising
   its rtght to: (i) sell, lease or otherwise dispose of the Collateral or any part thereof at one or mme
   public or private sales, agreements or other dispositions, at wholesale or retail, for such
   consideration, or such terms, for cash or on credit, as the Secured Party may deem advisabJe, on
   at least ten (l 0) days' prior notice to the Debtor of any public sale or o:fthe Collateral after which
   private sale, agreement or other disposition may be made (which notice the Debtor acknowledges
   is reasonable); or (ii) retain the Collateral ot any part thereof.

           The Debtor shall pay all of the Secured Party's expenses, including, but not limited to, the
   costs of repossessing, storing, repairing and preparing the Collateral for sale or agreement,
   commissions payable in c01mection with any such sale or agreement, and reasonable attorney's
   fees. The net proceeds reafor.ed from any such sale, agreement or other disposition or the exercise
   of any other remedy, and all expenses (which amount shall be retained by the Secured Party), shall
   be applied toward payment of the amounts due from the Debtor to the Secured Party, including,
   without limitation, the Secured Party's expenses, with the Debtor to remain liable for any
   deficiency. All rights and remedies of the Secured Paiiy shall be cumulative and no failure to
   exercise and no delay in exercising any right or remedy shall operate as a wavier thereof, nor shaU
   a waiver on one occasion be construed to bar the exercise of any right or remedy on a future
   occasion.

            5.       Warranties. The Debtor represents, warrants, covenants and agrees as follows:

                       a. the exact legal name of the Debtor is as set forth on the signature page
   hereto, the jurisdiction of organization of the Debtor is the State of California and the mailing
   address of the Debtor is set forth in Section 10 below;

                       b. the security interest granted to the Secured Party Lutder this Agmemcnt,
   when properly perfected by filing, will constitute at all times a valid and perfected first priority
   security interest in the Collateral, vested in the Secured Party, free and clear of any levies, Hens,
   security interest and encumbrances other than those in favor of the Secured Party;

                     c. all Inventory will be used solely for commercial or business purposes (and
   not for consumer, person, family or household purposes);




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                      d. the Inventory is located at __Sec exhibit A__. The Debtor will not
    remov~ the Inventory from such location without Secured Party's prior written consent;

                      e. the Inventory is, and shall remain, in good order and repair and Debtor will
    not misuse, waste or destroy it;

                      f. the Debtor shall maintain the Inventoty pursuant to the manufacturer's
    standard preventive maintenance contract or by comparable maintenance contract;

                      g. the Secured Pru:ty has the right during n01·mal business to enter upon the
    premises where the Collateral is located in order inspect. observe or following an Event of Default,
    remove the Collateral, or otherwise protect the Secured Party's interest;

                     h. all applicable, federal, state and local sales, use, property, excise,
   withholding or other taxes imposed on or with respect to the Collateral, other than taxes levied on
   the Secured Party's net income, shall be paid by Debtor;

                       i. except for sales oflnventory to customers in the ordinary course of business
   or pursuant to any dealer agreements in effect between the Debtor and the Secured Party, the
   Collateral will not be sold, transferred, changed or otherwise disposed of without the Secured
   Party's prior written consent; and

                     j. the making, execution and performance by the Debtor of this Agreement
   have been duly authorized by all necessary actions and are not in conflict with the Debtor's
   governing documents. The individual executing this Agreement on the Debtor's behalf has been
   property authorized to do so.

              6. Seemed PartnRight To Pay Prior Liens. The Secured Party may, at the option of
   the Secured Party, discharge taxes, liens or security interests or other encumbrances at any time
   levied or placed on the Collateral, may pay for insurance on the Collateral and may pay for the
   maintenance and preservation of the Collateral, and the Debtor agrees to reimburse the Secured
   Party on demand for any payment so made, or any expense so incurred by the Secured Party
   pursuant hereto. Any such payment by the Secured Party by the Debtor shall be deemed an
   "Obligation" of the Debtor.

               7. Further Assurances. The Debtor shall execute and deliver to the Secured Party,
   upon the Secm·ed Party's request, such further instruments, financing statements and documents
   as the Secured Party deems necessary or advisable in order to maintain the Secured Party's first
   priority perfected security interest in the Collateral and otherwise effectuate the intent of this
   Agreement.

                8. Insuranc~. The Debtor. at its expense, shall keep the Collateral fully insured against
   loss, fire, theft, damage or destmction from any cause whatsoever (naming the Secured Party as
   additional insured and lender loss payee) in an amount not less than the full replacement cost of
   the Collateral withoi1t consideration for depreciation. The Debtor shall also provide such
   additional insurance against injury, loss or damage to person or property arising out of the use or


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    operation of the Collateral as is customarily maintained by the owners of like property, with
    insurance companies satisfactory to the Secured Party. All insurance; and any endorsements or
    other forms related thereto, shall be in form and substance satisfactory to the Secured Parly. AH
    insurance policies shall provide that the Secured Party shall be provided with thirty (30) days prior
    written notice of the effective date of any alteration to or cancellation of such insurance policy.

                 9. Indemnity. 1be Debtor shall and does hereby indemnify and save the Secured
    Party, it successors and assigns, and each of their officers, employees, agents and servants harmless
    from any and all [iabil.ities (including, without limitation, negligence, tort and strict liability),
    damages, expenses, claims, actions p.roceedings, judgments, settlements, losses, liens and
    obligations, including attorney's fees and costs, arising out of this Agreement, any agl'eements,
    documents and insttuments related hereto, and the Collateral (the "Claims"). The indemnities and
    obligations of the Debtor herein provided shall continue in full force and effect notwithstanding
    the expiration, termination or cancellation of this Agreement. The Debtor shall give the Secw·ed
    Party prompt written notice of any Claim.

                  10. Miscellaneous Provisions.

                      a. This Agreement shall be binding upon the heirs, successors, administrators
   and assigns of the parties.

                       b. The obligations of all persons signing as the Deb(or under this Agreement
   shall be joint and several.

                       c. This Agreement may be executed in any number of cotmterparts and by the
   different parties hereto on separate counterparts and each such counterpart shall be deemed to be
   an original, but all such COlmterparts shall together constitute but one and the same Agreement.
   Receipt of an executed signature page to this Agreement by facsimile or other electronic
   tmnsmission shall constitute effective delivery thereof. Electronic records of executed this
   Agreement maintained by the Secured Party shall deemed an original.

                        d. This Agreement shall be governed by and interpreted under the laws of the
   State of California without regard to that state's conflicts of law provisions. Each party agrees
   that, other than claims brought by one or more indi vidunl(s), entity or entities other than the parties.
   each dispute between or among any or all of the parties arising out of or relating in any way to this
   Agreement will be litigated at the trial level as a bench trial in state court in California or federal
   cowt in Los Angeles, California as each party hereby waives trial by jury. The Debtor: (i) hereby
   submits to personal and subject matter jurisdiction in such courts, (ii) agrees not to contest venue
   and (iii) agrees that, in the event that litigation of such dispute does not commence during the one-
   year period after the occurrence of the event giving rise to such dispute, the claims against the
   Secured Party in such dispute shall be barred.

                       e. Except as otherwise provided in this Agreement or as the parties otherwise
   may expressly agree in writing, no failure, refusal, neglect, delay, waiver, forbeai-ance or omission
   by the Secured Party to exercise any right(s) under this Agreement or to insist upon full compliance
   by any or all of the other parties with its or their duties, obligations or restrictions hereunder shall

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   constitute a waiver of any provision(s) of this Agreement or olhcrwise thereafter limil any or all
   of the Secured Party's rights to fully enforce any or all of the provision(s) and part(s) thereof of
   this Agreement.

                      f. The Debtor, upon default, will be responsible for all costs of collection,
   accrued interest and attorney's fees.

                      g. If any term or provision of this Agreement is invalid, illegal or
   unenforceable in any jurisdiction, such invalidity, illegality or uncnforceability will not affect any
   other term or provision of this Agreement or invalidate or render unenforceable such term or
   provision in any other jurisdiction.

                       h. For the purposes hereof, notices hereunder shall be sent to the following
   addresses, or to such other addresses as each such party may in writing hereafter indicate:

   If to the Debtor:

   Address:

   Officer:
   Emai I address:

   If to the Secured Party:

   Address:                  15570 N. 83 rd Way
                             Scottsdale, AZ 85260
   Contact:                  Mark Zavras
   Email address:            mark.zavras@subzero.com




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            IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
    as of the day and year first above written.

    DEBTOR:




    SECURED PARTY:                            Sub-Zero Group West, Inc.

                                              By:_7n~;:
                                              Name:~an
                                              Title:      QtaJ.r o, f l.l'u4e




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                     Exibit A to PIRCH, Inc. PMSI Store locations



                                            San Diego Store
                              4545 La Jolla Village Drive, Suite E-1
                                                                                  LAPC.
                                      San Diego, CA 92122               f2. 740 F~~ncc /r!A:'..
                                                                        ~ Fe. ~i"".5'6) ltt
                                       Costa Mesa Store                  qo'370
                                 3303 Hyland Avenue, Suite D
                                    Costa, Mesa, CA 92626
                                                                        Rcv1~tn /1."l rr4.~ e D c..
                                        Glendale Store
                                      101 S. Brand Blvd.
                                                                 77S-~g         E I f?u.-i<{ Co..t.rl- 51..;k.E
                                      Glendale, CA 91210         P°'- I1v1   Oese-.rt;· CA q 2?. I \
                                     Rancho Mirage Store
                                  71905 Highway 111, Suite B
                                   Rancho Mirage, CA 92270

                             PIRCH Corporate Office/Distribution
                              3817 Ocean Ranch Blvd,, Suite 115
                                    Oceanside, CA 92056


   Acknowledgement that the above address are true and correct



   Printed Name

  ;/1(4 fd;/if;~i;k--
   Signature

   (FO
   Title

    //2c,/2o11
   Date
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                        EXHIBIT 3
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 UCC FINANCING STATEMENT
 FOLLOW INSTRUCTIONS
  A, NAME & PHONE OF CONTACT AT FILER (optional)
      (800) 826-5256 ucc Division
  8, E-MAIL CONTACT AT FILER (optional)
      ucc@ncscredit.com CA sos
  C, SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                         California Secretary of State
                                                                                                                                         File Number: 197698422533
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           P:'•1             2-1
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                                                                                                                                     File Date: 02/21/2019 07:15 AM
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      L                                                                                                   _J
                                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONL V
 1. DEBTOR'S NAME: Provide only Q.!::I&. Debtor name (1a or lb) (use exact, full name; do not omit, modify, or abbreviate any part ol lhe Debtor's name); if any part of !he Individual Deblo(s
    name will not fit in line 1b. leavo all of item 1 blank. check here       D
                                                                        and provide the Individual Debtor 1r1formation in item 10 of the Financing Statemenl Addendum (Fo(m UCC1Ad)

      1a ORGANIZJ\TION'S NAME
       P irch,                       Inc.
 OR                                                                                                                                               ADDITIONAL NAME(SFINITIAL{S)
      1b, INDIVIDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                                                                        SUFFIX



 I c, MAILING ADDRESS                                                                           CITY                                              STATE     'POSTAL CODE                    COUNflW
  3817 Ocean Ranch Blvd.                                                 #115                    Oceanside                                         CA         92056                          USA
 2. DEBTOR'S NAME: Provide only Q.Q.ft OAbto, name (?a or ~b) (use exact. full name; do not omit, modily, or abb1·eviate any parl of the Debtor's name}; if any part of the Individual Debtor's
    name will not fit in line 2b, leave all ol ilem 2 blank. check here       D
                                                                        and provide the Individual Debtor information In ilem 10 of the Financing Statement Addendum (Form UCC1Ad)

      2n, ORGANIZATION'S NJ\ME


 OR
      2b, INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                               ACl[)ITIONAL NAME(S)IINITIAL{SJ           SUFFIX


 ilc MAILING ADDRESS                                                                            CITY                                              STATE     rOSTAL CODE                     COUN'mY



 3 SECURED PARTY'S NAME (Or NAME al ASSIGNEE ol ASSIGNOR SECURED PARTYJ· Provide onlylillQ Secured Pt1rly name (3a or 3b)
      3a, ORGANIZJ\TION'S NAME
      Sub-Zero Group West,                                              Inc.
OR
      3b, INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                               ADDITIONAL NAME(S}IINITIAL{SJ             SUFFIX



3c, MAILING ADDRESS                                                                             cnv                                               STATE     !POSTAL CODE                    COUNTRY

  4717 Hammersley Road                                                                           Madison                                          WI          :J3'/ll                        USA
4. COLLATERAL: This f111a11cing statement covers tne following co!laternl:
To secure the prompt pertormar1ce and payment in full ot the Obligations, the Debtor
hereby grants to the Secured Party a purchase-money security interest 1n all of Lts
r-i_ght, tit! e and i ntlcrc''.it in, to and und,,r thP co-11 atera I. "Col 1.ateral" means (a) a 11
Inventory purchased by Debtor from Secured Party on or afLer the date hereof consLs~in~
of Sub-Zero, Wolf, Cove, and Asko (b) all accounts, accounts receivable, payn~nt
intangibles, general intangibles, documents, instruments and chattel pa?er related
thereto, (c) all dcce,Jsions thore::o, (d) oil substitutions, replacemnnts or-
modi.fi.cations there~>f, and (o) alJ proceeds (including cash proceeds and insurance
proceeds) a11d produc:s thereof, whether now owned or existing or at any time hereafter
arisinq or acquired.




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           Public-Finance Transaction                                                           0 A Doblor is a TrAn5Milllng U11111y
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6, OPTIONAL FILER REFERENCE DATA:
 ucc~ U243715
                                                                                                                           International Association of Commercial Administrators /IACAl
FILING OFFICE COPY - UCC FINANCING STATEMENT (Form UCC1) (Rev, 04/20/11)
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 26 of
                                       130




                        EXHIBIT 4
      Case 24-01376-CL7                                Filed 05/24/24                        Entered 05/24/24 12:52:54                                          Doc 95                 Pg. 27 of
                                                                                               130




 UCC FINANCING STATEMENT AMENDMENT
 FOLLOW INSTRUCTIONS

  A. NAME & PHONE OF CONTACT AT FILER (optional)
        (800)         826-5256 UCC Division
  B. E-MAIL CONTACT AT FILER (optional)
       ucc@ncscredit.com CA SOS
  C. SEND ACKNOWLEDGMENT TO:                    (Name and Address)                                                           California Secretary of State
       !P   CS UCC Services Group
            0 Box 24101                                                                              7                      File Number: U230091056220
           Cleveland, OH 44124
           USA
                                                                                                                           File Date: 12/28/2023 07:12 AM
            (800)      82 6-5256
                                                                                                                       (This document was electronically filed)
       L                                                                                             _J
                                                                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

                                                                                                           1
 1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                   1b. □ This FINANCING STATEMENT AMENDMEN'f is lo be filed [for record]
                                                                                                                     (or recorded) In the REAL ESTATE RECORDS
  197698422533                            02/21/2019                                                                 Filer. llllUgJ Amendment Addendum (Foon UCC3Ad) 1lllll t><Qvide Oebto(& nan,,, In !lorn 13
 2.   D TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interesl(s) of Secured Party aulhorizing this Termination
           Statement

 3.   D ASSIGNMENT (full or partial}: Provide name of Assignee in item 7a or 7b, .sl!!.!i address of Assignee in item 7c aru;t name of Assignor in item 9
           For partial assignment, complete items 7 and 9 and. also indicate affected collateral in item 8

 4.   D CONTINUATION: Effectiveness of the Financing Statement Identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement Is
          continued for the additional period provided by applicable law

 5.   0 PARTY INFORMATION CHANGE:
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      This Chango affects 0Debtor or         Secured Party or record                ~.~~;,3~,'~~:r:'iJ°;f!'::, ~~d;~t ~~~ 1 ~c O~f~r 'fb~'~<ri'.';;f~~• Item 0~1!;,EJSe~!~~ i~~e6~e~~ibname
 6. CURRENT RECORD INFORMATION: Complele for Party Information Chango- provide onlyllllll. name (6a or 6b)
        6a. ORGANIZATION'S NAME
         Pirch,           Inc.
OR 6b. INDIVIDUAL'S SURNAME                                                                FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX



7 CHANGED OR ADDED INFORMATION· Comploto for MSlgnmonl or Pally Information Chonge-provi<loonlyQJN name (7i or 7b) (use exact, lull name· do not omit modify, or abbreviale any part ol lhe Debtor's name)
   7a. ORGANIZATION'S NAME
         Pirch,           Inc.
OR
        7b. INDIVIDUAL'S SURNAME


            INDIVIDUAL'S FIRST PERSONAL NAME


            INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                        SUFFIX


7c. MAILING ADDRESS
 2714 Loker Ave                       w.,   Suite 200-301                                 ICITY
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                                                                                                                                                             'POSTAL CODE
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8.    0 COLLATERAL CHANGE: ~ check one of these four boxes: 0 ADD collateral                               lJ DELETE collateral            0    RESTATE covered collateral           lJ ASSIGN collateral
          Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only S!Wl name (9a or 9b) (name or Assignor, If this is an Aoslgnment)
      II this is an Amendment authorized by a DEBTOR, check here           and provide name of authorizing 0eblor
       9a. ORGIINIZATION'S NAME
        Sub-Zero Group West,                          Inc.
OR 9b. INDIVIDUAL'S SURNAME                                                                FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)IINITIAL(S)               SUFFIX



10. OPTIONAL FILER REFERENCE DATA:
 UCC# 0243715 Pi.rch,                         Inc.
                                                                                                                        International Association of Commercial Administrators ilACAl
FILING OFFICE COPY- UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 28 of
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                        EXHIBIT 5
      Case 24-01376-CL7                                 Filed 05/24/24                         Entered 05/24/24 12:52:54                                          Doc 95                Pg. 29 of
                                                                                                 130




  UCC FINANCING STATEMENT AMENDMENT
  FOLLOW INSTRUCTIONS

   A. NAME & PHONE OF CONTACT AT FILER (optional)
        (800)         826-5256 UCC Division
   B. E-MAIL CONTACT AT FILER (optional)
        ucc@ncscredit.com CA SOS
   C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                        California Secretary of State
      !P   CS UCC Services Group
           O Box 24101                                                                                  7                               File Number: U230091349534
          Cleveland, OH 44124
          USA                                                                                                                      File Date: 12/29/2023 07:46 AM
          (800) 826-5256
                                                                                                                           (This document was electronically filed)
      L                                                                                                 _J
                                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                  1b.0 This FINANCING STAfEMENT AMENDMENT is to be filed [for record]
  197698422533                         02/21/2019                                                             1    (or recorded) In lhe REAL ESTATE RECORDS
                                                                                                                        Filer. lllllKlJ Amendment Addendum (Fomi UCC3Ad) i!llll provide Debtors name In llem 13
 2.   0 TERMINATION: Effec11veness of the Financing Slalemenl identified above Is lermlnaled wilh respect to the sacurlly intarast(sl of Secured Party aulhorizing this Termination
          Statement

 3.   D ASSIGNMENT (full ar partial): Provide name of Assignee in item 7a or 7b, 11111 address of Assignee in item 7c llmi name of Assignor in item 9
          For partial assignment. complete llama 7 and 9 arul also indicate affected collateral in Item 8

 4. ~ CONTINUATION: Effectiveness of the Financing Statement Identified above with respect lo the security inlerest(s) af Secured Party authorizing this Continuation Statement Is
          continued far Iha addltlanal period provided by applicable law

 5. 0 PARTY INFORMATION CHANGE:
      Check WlJl of these two boxes:                                       A!'!D Check JIDll of these three boxes to:
                                                                                    CHANGE name and/ur addJflSS: Complete                 ADD name: Complete item          DELETE name: Ghle record name
      This Change affecls                     Secured Party of record               Item aa or 8b; Billi llom 7a or 7b llD.11 item 7c     7a or 7b, lllll Hem 7c           lo be deleted In llem 6a or 6b
 6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only Wlll name (6a or 6b)
     Sa. ORGANIZATION'S NAME


 OR Sb. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX


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 OR 7b. INDIVIDUAL'S SURNAME



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           INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                          SUFFIX


 7c. MAILING ADDRESS
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                                                                                                                                                    STATE      POSTAL CODE                     COUNTRY



8. □ COLLATERAL CHANGE:                  61m check !ll!!l of these four boxes:     □ ADD collateral           LJ DELETE collateral           □ RESTATE covered collateral             □ ASSIGN collateral
         Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only Q!lJ! name (9a or 9b) (name of Assignor. if this is an Assignment)
   If this is an Amendment authorized by a DEBTOR, check here           D
                                                              and provide name or authorizing Debtor
      9a. ORGANIZATION'S NAME
       Sub-Zero Group West, Inc_
OR 9b. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX



10. OPTIONAL FILER REFERENCE DATA:
ucct 0243715 Pirch, Inc.
                                                                                                                          International Association of Commercial Administrators nACAl
FILING OFFICE COPY- UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 30 of
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                        EXHIBIT 6
Case 24-01376-CL7             Filed 05/24/24     Entered 05/24/24 12:52:54          Doc 95      Pg. 31 of
                                                   130




          ~CJLF'                           UB• ZE RO
                                         Sub-Zero Group West, Inc.
                          DISPLAY UNIT BAILMENT AND RESALE AGREEMENT

       THIS AGREEMENT is made as of this 2.ct day of &c,..vi , 20_15. (the "Effective Date") by and
among Pirch, Inc. ("Appliance Dealer") and Sub-Zero Group West, Inc. F/K/A Westye Group- West, Inc.
("Sub-Zero," and together with Appliance Dealer, each a "Party" and collectively the "Parties.")

                                                  Recitals

         WHEREAS, (a) Appliance Dealer promotes the sale of kitchen remodeling services through,
among other things, kitchen showroom displays; and (b) Sub-Zero is a distributor that sells certain brands
of kitchen appliances for resale;

        WHEREAS, Appliance Dealer and Sub-Zero each desire that Sub-Zero provide to Appliance
Dealer for display purposes one or more kitchen appliances chosen by Sub-Zero, which may include
without limitation refrigerators, freezers, ranges, stoves, exhaust hoods and dishwashers (individually, a
"Product" and collectively, the "Products"); and

         WHEREAS, Appliance Dealer may wish to purchase certain of the Products from Sub-Zero
following their display by Appliance Dealer.

         NOW, THEREFORE, intending to be legally bound , and in consideration for the promises and
mutual agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties agree as follows:

1.       Bailment Terms and Conditions.

         (a)     Selection and Delivery. Sub-Zero and Appliance Dealer will discuss the Products which
are appropriate for Appliance Dealer's needs, but Sub-Zero will have sole discretion in determining which,
if any, of the Products it will provide to Appliance Dealer. The Products may include, but are not limited
to, some or all of those bearing the trademarks SUB-ZERO, WOLF, COVE and ASKO (collectively, the
"Display Brands"). Sub-Zero will provide notice to Appliance Dealer at least 30 days prior to delivery to
Appliance Dealer of each Product selected by Sub-Zero. Such delivery will be at the expense of Sub-
zero. Appliance Dealer will reasonably cooperate with and facilitate such delivery.

          (b)       Ownership. Each Product delivered by Sub-Zero to Appliance Dealer (individually, a
"Display Unit" and collectively, "Display Units") will remain the sole and exclusive property of Sub-Zero,
and Sub-Zero will hold all right, title and interest therein and thereto, unless and until ownership of such
Display Unit is transferred pursuant to Section 2 or 7(c) of this Agreement. Sub-Zero may file a form
UCC-1 financing statement in each appropriate recording office, but the failure to do so or to maintain any
or all of such filings will not adversely affect Sub-Zero's rights.

          (c)     Replacement. At any time, upon a 30 day notice, Sub-Zero may do either or both of the
following: (i) remove, without replacement, any or all of the Display Units or (ii) replace any or all of the
Display Units with one or more other Display Units. Such removal may be performed by Sub-Zero and
Sub-Zero will pay the expenses of such removal, including without limitation delivery of each of the
removed units to one or more alternate locations. Appliance Dealer will reasonably cooperate with and
facilitate such removal, including without limitation providing reasonable access therefor.

         (d)      Purpose and Exclusivity. During the Display Term (as defined in Section (f) of this
Agreement): (i) Appliance Dealer's possession and use of each Display Unit will be for the purpose of
displaying and promoting such unit in the ordinary course of Appliance Dealer's business and such
Display Unit will not be used for anything else.


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          (e)     Showroom and Location Changes. During the Display Term: (i) each of Appliance
Dealers showroom locations which will feature one or more Display Units is set forth on Schedule B
("Appliance Dealer Display Locations"); (ii) Appliance Dealer agrees to provide written notice to Sub-Zero
at least 30 days in advance of any reconfiguration of one or more of its showrooms or if Appliance Dealer
intends to close one or more of its locations; and (iii) without the prior written consent of Sub-Zero,
Appliance Dealer will not move any or all Display Units from one of its locations to another location or to
any other place. Sub-Zero's rights under this Agreement will not be adversely affected by Sub-Zero's
failure to receive the notice referred to in this Section 1(e)(ii) of this Agreement.

        (f)       Insurance.

                         (1)     Appliance Dealer will bear all risk of loss, damage or destruction of the
Display Units during the period from the time of receipt thereof by Appliance Dealer until (i) removed from
Appliance Dealer's localion(s) by Sub-Zero or the designee(s) thereof or (ii) the transfer of ownership to
Appliance Dealer described in Section 2 or 7(c) of this Agreement (the "Display Term").

                         (2)       During the Display Term, Appliance Dealer agrees to carry at its own
expense theft, fire, personal injury and extended coverage insurance on each Display Unit. Such
insurance policy or policies will name Sub-Zero as a loss payee, and Appliance Dealer will furnish one or
more certificates of insurance to Sub-Zero evidencing such insurance coverage and stating that each
insurer will give Sub-Zero al least 21 days prior written notice of cancellation or material change in the
insurance. Coverage will be provided on a primary and non-contributory basis without regard to other
insurance available to Sub-Zero. Such insurance shall include a waiver of subrogation rights in favor of
Sub-Zero. The obligation to procure and maintain such coverage is a separate responsibility of Appliance
Dealer and independent of the duty to furnish such certificate(s).

         (g)      Encumbrances. Without in any way limiting Appliance Dealer's duties and obligations as
a bailee and otherwise under the law, Appliance Dealer, during the Display Term: (i) will keep all Display
Units free of all taxes, liens, encumbrances and security interests (other than that or those in favor of
Sub-Zero); (ii) will not mortgage, pledge, loan, grant, create or permit to be created any other security
interest or any lien or claim whatsoever in any or all Display Units; (iii) will pay or cause to be paid all rent
due on the premises where each Display Unit is or may be held; and (iv) warrants that each Display Unit
will remain the sole and exclusive personal property of Sub-Zero (or Sub-Zero's assignee) and will not
become a fixture even if such Display Unit becomes attached to real estate.

        (h)     Right to Inspection. Sub-Zero will have the right to inspect, and Appliance Dealer will
make available for inspection: (i) any and all Display Units in the possession of Appliance Dealer during
the Display Term at any reasonable time or limes.

2.       Purchase and Payment.

         (a)      Appliance Dealer Purchase. Effective as of the date (the "Purchase Dale") specified in a
written notice to Appliance Dealer from Sub-Zero (the "AD Purchase Notice"):

                        (1)    Appliance Dealer will be deemed to have purchased from Sub-Zero each
Display Unit described in such notice which has not been returned to Sub-Zero by the return date
specified in the AD Purchase Notice, which can be extended by either party by written notice:

                        (2)     no later than 45 days after the Purchase Date (or the lime period
otherwise expressly designated in such notice), Appliance Dealer will pay Sub-Zero therefor in cash an
amount designated by Sub-Zero, but in no event greater than 80% of the then-current acquisition price for
the same unit as new or, as determined by Sub-Zero, a comparable or substitute new unit.

         (b)      Purchase of Used, Lost, Damaged, or Destroyed Display Units. If Sub-Zero determines,
in its sole discretion, that Display Units are used, lost, damaged or destroyed, effective as of the date
specified in written notice (the "Automatic Purchase Date") to Appliance Dealer from Sub-Zero
("Automatic Purchase Notice," and together with the AD Purchase Notice, "Purchase Notices"):
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                         (1)    Appliance Dealer will be deemed to have purchased from Sub-Zero each
Display Unit described in such Automatic Purchase Notice;

                         (2)     no later than 30 days after the Automatic Purchase Date (or the time
period otherwise expressly designated in such notice), Appliance Dealer will pay Sub-Zero in cash an
amount that is equal to the price specified in such notice, but in no event greater than 80% of the then-
current acquisition price for the same unit as new or, as determined by Sub-Zero, a comparable or
substitute new unit.

         (c)     Any payment received from Appliance Dealer by Sub-Zero may be applied by Sub-Zero
against any obligation owing by Appliance Dealer to Sub-Zero, regardless of any statement appearing on
or referring to such payment, without discharging Appliance Dealer's liability for any additional amounts
owing by Appliance Dealer to Sub-Zero. The acceptance by Sub-Zero of such payment shall not
constitute a waiver of Sub-Zero's right to pursue any remaining balance.

         (d)     On any amount not paid by Appliance Dealer when due as specified in a Purchase
Notice, Appliance Dealer shall pay a late charge from the due date to the date of actual payment at the
rate of 18% per annum, or such lower rate as may be the maximum permitted by law. In the event that
Sub-Zero shall, inadvertently or otherwise, charge Appliance Dealer a higher rate than permitted by
applicable law, Sub-Zero shall make such refund to Appliance Dealer as law requires, which refund shall
constitute liquidated damages for such unlawful charges. Should Appliance Dealer fail to make any
payment required hereunder, Sub-Zero may, without notice, declare all obligations of Appliance Dealer to
Sub-Zero ("Obligations") immediately due and payable, whether or not such late charges are included in
any statement of account rendered by Sub-Zero to Appliance Dealer.

         (e)    Appliance Dealer and Agent (as defined below) represent that all checks issued to Sub-
zero will be honored by the drawee bank, and that no checks will be so issued unless Appliance Dealer
then has funds on deposit in an amount sufficient to cover all checks issued by Appliance Dealer.
Appliance Dealer, as well as the Agent, acknowledge that this representation will be materially relied
upon by Sub-Zero in making delivery of Display Units lo Appliance Dealer and extending credit
hereunder.

         (f)      Appliance Dealer waives any rights it may have against Sub-Zero pursuant to the terms
of Section 3-311 of the Uniform Commercial Code, which provides that subject to certain exceptions, if a
person against whom a claim is asserted proves that (i) that person in good faith tendered an instrument
to the claimant as full satisfaction of the claim, (ii) the amount of the claim was unliquidated or subject to a
bona fide dispute, and (iii) the claimant obtained payment of the instrument, the claim is discharged if the
person against whom the claim is asserted proves that the instrument or an accompanying written
communication contained a conspicuous statement to the effect that the instrument was tendered as full
satisfaction of the claim.

3.       Display Unit Resale.

        (a)      After Appliance Dealer becomes the owner of a Display Unit pursuant to Section 2 of this
Agreement, such owner may resell such Display Unit; provided that, prior to resale, such owner will
conspicuously label or mark such Display Unit as a "display model." If the purchaser of such Display Unit
from Appliance Dealer is not physically present to view such label or marking, prior to the completion of
any resale, such owner will inform such purchaser that such Display Unit was formerly used as a display
model in a kitchen showroom.

4.       Granting of Security Interest.

         (a)     As collateral securing all Obligations, Appliance Dealer grants to Sub-Zero a continuing
security interest in all Appliance Dealer's deposit accounts and all property of Appliance Dealer now or
hereafter in the possession of Sub-Zero (including goods purchased from Sub-Zero but not delivered,
whether or not paid for by Appliance Dealer), together with all Appliance Dealer's Sub-Zero, Wolf and
Best inventory.
                                                      3
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5.      Obligations of Agent and Appliance Dealer; Guaranty by Agent.

        (a)    By signing below, the agent executing this writing on behalf of the Appliance Dealer (the
"Agent") acknowledges in an individual (not representative) capacity that:

                          (1)     On behalf of the Appliance Dealer, it has read and agrees to be bound
by this Agreement, and it will govern and apply to all transactions between Appliance Dealer and Sub-
zero, unless specifically modified by a writing signed by Sub-Zero; and

                        (2)     All statements set forth herein are true and correct, the best of the
knowledge of the Agent and the Appliance Dealer, and such statements will be materially relied upon by
Sub-Zero in delivering Display Units hereunder and extending credit to the Appliance Dealer.

      (b)   TO INDUCE SUB-ZERO TO DELIVER AND SELL PRODUCTS TO APPLIANCE
DEALER, AGREES TO PAY ON DEMAND ALL OBLIGATIONS NOW OR HEREAFTER OWING BY
APPLIANCE DEALER TO SUB-ZERO.

6.      Termination.

        (a)      Each of the Parties may terminate this Agreement with or without cause at anytime and
regardless of the reason(s) therefore, by providing no less than 45 days' prior notice to the other Party.

        (b)      Notwithstanding anything to the contrary in Section 6(a) above, Sub-Zero may terminate
this Agreement effective upon receipt of the notice by Appliance Dealer or the dale specified therein if
one or more of the following have occurred: (i) the failure by Appliance Dealer to perform any or all of its
duties and obligations under this Agreement; (ii) any material misrepresentation by Appliance Dealer to
Sub-Zero regarding the Appliance Dealer's business and financial condition or regarding one or more
Display Units; (iii) Appliance Dealer becoming insolvent or unable to pay debts as they mature; (iv)
Appliance Dealer's failure to maintain a credit score above 500 (if an individual); (v) any assignment by
Appliance Dealer for the benefit of creditors; (vi) the institution of proceedings in bankruptcy or other
insolvency by or against Appliance Dealer; or (vii) the sale of all or substantially all of the business or
assets of Appliance Dealer.

7.       Miscellaneous.

         (a)      Primary Business Information. The form and principal location of business of Appliance
Dealer is set forth in Schedule C ("Primary Business Information"). Appliance Dealer will provide written
notice to Sub-Zero at least 30 days prior to any change in: (i) its state of incorporation or formation (if a
registered entity); (ii) the location of its principal place of business (if an unregistered entity), (iii) his or her
state of residence (if an individual) or (iv) the name of its business.

        (b)      Sale of Business. In the event that the Appliance Dealer sells all or more than 50% of its
assets to another entity (the "Successor") under circumstances in which the business then conducted by
Appliance Dealer is or may be continued by the Successor, Appliance Dealer shall give Sub-Zero thirty
days written notice thereof. In the event that Appliance Dealer does not provide such notice to Sub-Zero,
Appliance Dealer shall be liable for and shall pay on demand the amount of all accounts receivable due
by Successor to Sub-Zero arising from the dale of such sale of assets to the dale Sub-Zero learns of
such asset sale.

         (c)      Material Adverse Change in Appliance Dealer's Financial Condition. In the event the
Appliance Dealer makes a general assignment for the benefit of creditors; the filing by or against the
Appliance Dealer of a petition lo have Appliance Dealer adjudged as bankrupt or a petition for
reorganization or arrangement under any law relating to bankruptcy, ii will be deemed there has been a
material adverse change in the financial condition of Appliance Dealer. If the material adverse change is
a petition for reorganization and if Appliance Dealer does not receive a dismissal of the petition within 30
                                                     4
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Case 24-01376-CL7              Filed 05/24/24      Entered 05/24/24 12:52:54             Doc 95       Pg. 35 of
                                                     130



days of the filing of the petition each Display in Appliance Dealer's possession hereunder will be returned
to Sub-Zero. If the material adverse change is a general assignment for the benefit of creditors or the
filing by or against the Appliance Dealer under any law relating to bankruptcy, each Display in the
Appliance Dealer's possession hereunder will be returned to Sub-Zero upon demand by Sub-Zero.

          (d)    Verification of Credit References. Sub-Zero is authorized to contact any credit references
whether or not provided by Appliance Dealer, and to disclose any information reasonably necessary to
determine Appliance Dealer's credit worthiness. Sub-Zero may also disclose any information concerning
its relationship with Appliance Dealer that is requested by anyone identifying himself or herself as an
existing or potential creditor of Appliance Dealer.

          (e)      Notice. Unless otherwise expressly indicated in this Agreement, each notice, consent
and approval specifically provided for in this Agreement (individually, a "Communication" and collectively,
"Communications") to each Party must be in writing and shall be considered effective or received the
earliest of: (i) the seventh (7th) business day after the day when any such Communication is mailed by
certified or registered U.S. mail (return receipt requested) or the equivalent with postage prepaid to such
Party at its address shown in Schedule C (as long as written confirmation of receipt by or on behalf of
such other Party is received by the sending Party); (ii) the second (2 nd ) business day after the day such
Communication is received by an express courier service prepaid or billed to the sender and addressed
to such other Party at such address for delivery within such time period (as long as written confirmation of
receipt by or on behalf of such other Party is received by the sending Party); (iii) the first (1st) business
day after the day such Communication is sent by facsimile or e-mail addressed to such other Party at
such address (as long as written confirmation of receipt by or on behalf of such other Party is received by
the sending Party); and (iv) when such Communication is actually received or refused by or on behalf of
such other Party at such address (as long as written confirmation of such receipt or refusal is received by
the sending Party), except when such refusal is due to electronic or mechanical malfunction or failure.
For purposes of this Agreement, a "business day" is any day except a day which falls on a Saturday or
Sunday in the State of California or on a legal holiday recognized in such state. Each Party may from
time to time give notice of some other address(es) to which Communications shall be sent, in which event
Communications to such Party subsequently shall be sent to such address(es).

       (f)     Related Documents. Appliance Dealer agrees to execute any and all other documents
which Sub-Zero shall deem advisable to carry out the purposes of this Agreement.

         (g)    Construction. The Recitals shall be deemed to be part of this Agreement. The headings
in this Agreement are for reference only and will not affect the interpretation hereof. Time is of the
essence of this Agreement. Each Schedule referred to herein is attached hereto and made a part of this
Agreement. Wherever required by the context hereof, each pronoun used herein shall be deemed to
include both the singular and the plural and encompass each gender. This Agreement: (i) shall be
deemed to reflect the mutual intent of the Parties, and no rule of strict construction shall be applied
against any or all of the Parties and (ii) may be executed in separate counterparts (and any or all of such
counterparts may be transmitted or exchanged by facsimile or as portable document format (pdf) files),
each of which is deemed to be an original, and all of which taken together constitute one and the same
agreement. The terms and conditions of this Agreement are material bargained-for bases of this
Agreement and have been taken into account and reflected in determining the consideration to and from
each Party under this Agreement and the decision by each Party to enter into this Agreement.

         (h)      Severability. If any term or provision of this Agreement is invalid, illegal or unenforceable
in any jurisdiction, such invalidity, illegality or unenforceability will not affect any other term or provision of
this Agreement or invalidate or render unenforceable such term or provision in any other jurisdiction.

         (i)      Assignment. Appliance Dealer may not assign any of its rights or obligations hereunder
without the prior written consent of Sub-Zero. Any purported assignment in violation of this Section 7(i) of
will be null and void.

         U)      Successors and Assigns. This Agreement will be binding on and inure to the benefit of
the Parties hereto and their respective successors and assigns.
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         (k)     Integration. This Agreement (i) constitutes the entire understanding of the Parties with
respect to ownership and use of Display Units; (ii) is intended to exclusively govern the relationship
among the Parties with respect thereto; (iii) supersedes all agreements, representations or statements,
either oral or written; and (iv) except as otherwise expressly provided herein, may be amended or
modified only by a written supplement, duly executed by each of Parties. (In furtherance of this Section
7(k), each Party hereby waives its right, if any, to modify this Agreement orally.)

         (I)       No Waiver. No failure to exercise and no delay in exercising any right, power, or remedy
hereunder shall impair any right, power, or remedy which Sub-Zero may have, nor shall any such delay
be construed to be a waiver of any of such rights, powers, or remedies, or any acquiescence in any
breach or default hereunder; nor shall any waiver of any breach or default of Appliance Dealer hereunder
be deemed a waiver of any default or breach subsequently occurring. All rights and remedies granted to
Sub-Zero hereunder shall remain in full force and effect notwithstanding any single or partial exercise of,
or any discontinuance of action begun to enforce, any such right or remedy. The rights and remedies
specified herein are cumulative and not exclusive of each other or of any rights or remedies that Sub-Zero
would otherwise have. Any waiver, permit, consent or approval by Sub-Zero of any breach or default
hereunder must be in writing and shall be effective only to the extent set forth in such writing and only as
to that specific instance.

         (m)      Relief. In the event Sub-Zero files any action against Appliance Dealer to enforce or
defend any of the rights of Sub-Zero under this Agreement or files any response to or in any action filed
against Sub-Zero by Appliance Dealer, Sub-Zero shall be entitled: (i) to equitable relief without the
necessity of posting bond or other security (including without limitation entry of temporary and permanent
injunctions and orders of specific performance) and (ii) to recover from Appliance Dealer a judgment
wholly or partially in favor of Sub-Zero entered in such action, the attorneys' fees and litigation expenses
of Sub-Zero, such court costs and damages as permitted by law, the costs of collection thereof and such
other relief as a court may award or order. In the event of any breach or threatened breach of any
provision(s) or part(s) thereof of Sections 1 through 3 of this Agreement, remedies at law alone will not be
adequate.

        (n)     Costs and Expenses - General. In addition to the reimbursement for costs and expenses
described in Section 7(m) above, Appliance Dealer agrees to reimburse Sub-Zero for all costs and
expenses , including attorneys' fees, which Sub-Zero has incurred or may incur in connection with:

                        (1)     Any federal or state insolvency proceeding commenced by or against
Appliance Dealer, including those: (i) seeking dismissal or conversion of the bankruptcy proceeding or; (ii)
opposing confirmation of Appliance Dealer's plan thereunder; and

                       (2)      The actual costs, including photocopying, travel, and attorneys' fees and
expenses incurred in complying with any subpoena or other legal process attendant to any litigation in
which Appliance Dealer is a Party.

        (o)     Governing Law. All issues arising in connection herewith shall be governed by and
construed in accordance with the laws of the State of Illinois (the "Chosen State").

          (p)     Venue. Any suit, action or proceeding arising out of the subject matter hereof shall, if
Sub-Zero so elects, be instituted in any court sitting in the Chosen State (the "Acceptable Forums"). Each
Party agrees that the Acceptable Forums are convenient to it, and each Party irrevocably submits to the
jurisdiction of the Acceptable Forums, irrevocably agrees to be bound by any judgment rendered thereby
 in connection with this Agreement, and waives any and all objections to jurisdiction or venue that it may
 have under the laws of the Chosen State or otherwise in those courts in any such suit, action or
 proceeding. Should such proceeding be initiated in any other forum, Appliance Dealer waives any right to
oppose any motion or application made by Sub-Zero as a consequence of such proceeding having been
 commenced in a forum other than an Acceptable Forum.




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        (q)     Survivability. The following will survive the termination of this Agreement with respect to
 one or more of the Parties regardless of the reason(s) therefor: (i) Sections 1(b) through 5 and 7 and
 Schedules A and B of this Agreement and (ii) each definition contained in this Agreement.

        (r)        Independent Contractors.     The relationship among the Parties shall be that of
independent contractors and nothing herein shall make: (i) the Parties a franchise, partnership or joint
venture among any or all of them; or (b) Appliance Dealer an agent of Sub-Zero for any purpose .
Appliance Dealer shall have no authority or power to bind Sub-Zero or to contract in the name of and
create a liability against Sub-Zero in any way for any purpose.

IN WITNESS WHEREOF, each Party, intending this Agreement to be effective as of the Effective Date, has
caused this Agreement to be executed by its duly authorized representative.

APPLIANCE DEALER                                         SUB-ZERO
Pirch, Inc.                                              Sub-Zero Group West, Inc.



By:   ~ ~                                                 By:_ __ _ __ _ _ _ __ _ _

Print name: Mekall Kaltenbach                            Print name: Mark A. Zavra s
Title: CFO                                               Title: Director of Credit
Date: / I 2Ct / 20(      9                               Date:_ __ _ _ __




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                                                           Schedule A

        All Inventory bearing the name Sub-Zero, Wolf, Cove and Asko and all cash and non-cash proceeds
                                                   thereof.




                                                  Schedule B- Store Locations

      Pirch                                                 Pirch
      South Coast Collection                                Westfield UTC
      3303 Hyland Avenue, Suite D                           4545 La Jolla Village Drive, Suite E-1
      Costa Mesa, CA 92626                                  San Diego, CA 92122

      Pirch                                                 Pirch
      Glendale Galleria                                     71905 Hwy 111, Suite B
      101 S. Brand Blvd.                                    Rancho Mirage, CA 92270
      Glendale, CA 91210

      Pirch
      3817 Ocean Ranch Blvd., Suite 115
      Oceanside, CA 92056



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  ~CJLF                                 UB• ZER.O
                           SUB-ZERO GROUP WEST, INC.
                  PURCHASE MONEY SECURITY INTEREST AGREEMENT

        This PURCHASE MONEY SECURITY INTEREST AGREEMENT (as amended,
restated, supplemented or modified from time to time, the "Agreement") is made and entered into
this '2 '\ day of Jc..VlC..UU-7".     ,20~ ,by and between PIRCH, INC (the " Debtor"), and
Sub-Zero Group West, Inc., F/K/A Westye Group West, Inc. (the "Secured Party").

        WHEREAS, from time to time, Secured Party will sell to Debtor on credit inventory and
other goods (collectively, the "Inventory") at the purchase price set forth in a related invoice;

        WHEREAS, Secured Party requires Debtor enter into this agreement to secure the
obligations of the Debtor to Secured Party pursuant to such purchases.

       NOW, THEREFORE, in consideration of the present and future extension of credit to the
Debtor by the Secured Party, it is agreed as follows:

         1.       Defined Terms.

                       a. "Collateral" means (a) all Inventory purchased by Debtor from Secured
                          Party on or after the date hereof consisting of Sub-Zero Wolf, Cove, and
                          Asko (b) all accounts, accounts receivable, payment intangibles, general
                          intangibles, documents, instruments and chattel paper related thereto, (c) all
                          accessions thereto, (d) all substitutions, replacements or modifications
                          thereof, and (e) all proceeds (including cash proceeds and insurance
                          proceeds) and products thereof, whether now owned or existing or at any
                          time hereafter arising or acquired.

                       b. "Obligations" means all of the Debtor's duties, obligations, liabilities, and
                          covenants to Secured Party arising out of Debtor' s purchase of Inventory
                          on or after the date hereof from Secured Party, including, without limitation,
                          (i) all amounts due to Secured Party pursuant to each such purchase and (ii)
                          all fees, costs and expenses related thereto, in each case of the foregoing,
                          howsoever created, arising or evidenced, whether direct or indirect, absolute
                          or contingent, now or hereafter existing or arising, or due or to become due.

         2.      Creation of Security Interest. To secure the prompt performance and payment in
full of the Obligations, the Debtor hereby grants to the Secured Party a purchase-money security
interest in all of its right, title and interest in, to and under the Collateral. The security interest
granted under this Agreement constitutes a purchase money security interest under California law.
The Debtor hereby authorizes the Secured Party file a UCC-1 financing statement, and any
continuations, amendments or termination statements thereto, naming the Debtor, as debtor, and
the Secured Party, as secured party.




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       3.     Default. As used in this Agreement, the term "Event of Default" shall mean any
one or more of the following:

                         a. any of the Obligations are not performed or paid in full when due;

                  b. any other obligation created by this Agreement, or in any agreement,
document or instrument related hereto, is not complied with strictly according to the terms thereof;

                   c. any warranty or representation made by the Debtor to the Secured Party in
this Agreement, or in any agreement, document or instrument related hereto, is false in any material
respect when made or furnished;

                    d. the Collateral is (i) transferred to any location not specifically approved in
advance by the Secured Party, (ii) lost, stolen, substantially damaged or seized by any third party
pursuant to legal proceedings or (iii) is not sold in the ordinary course of business of the Debtor or
pursuant to the related dealer agreement;

                 e. any liability, obligation or indebtedness of the Debtor is declared to be or
otherwise becomes due and payable prior to its specified maturity date;

                    f. any judgment or judgments, writ or writs, or warrant or warrants of
attachment, or any similar process or processes shall be rendered against the Debtor and shall not
have been paid, discharged or vacated or had execution thereof stayed pending appeal within 30
days after entry or filing of such judgments;

                    g. a notice of lien, levy, or assignment is filed or recorded with respect to all
or any or all assets of the Debtor by the United States government or any department, agency or
instrumentality thereof or by any state, county, municipal or other governmental agency, or if any
taxes or debts owing at any time to any one of them becomes a lien or encumbrances upon the
Debtor's assets and any of the foregoing is not released, bonded or otherwise secured to the
Secured Party's reasonable satisfaction within ten (IO) days after the same becomes a lien or
encumbrance on such assets;

                   h. any sale, transfer, lease or other disposition of all or substantially all of the
assets of the Debtor, whether in a single transaction or a series of transactions; and

                     i. the Debtor becomes insolvent or generally fails to pay, or admits in writing
its inability or refusal to pay, debts as they become due; or the Debtor applies for, consents to, or
acquiesces in the appointment of a trustee, receiver or other custodian, or makes a general
assignment for the benefit of creditors; or, in the absence of such application, consent or
acquiescence, a trustee, receiver or other custodian is appointed for the Debtor or for a substantial
part of the property of any thereof and is not discharged within sixty (60) days; or any bankruptcy,
reorganization, debt arrangement, or other case or proceeding under any bankruptcy or insolvency
law, or any dissolution or liquidation proceeding, is commenced in respect of the Debtor, and if
such case or proceeding is not commenced by the Debtor, it is consented to or acquiesced in by



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the Debtor, or remains for sixty (60) days undismissed; or the Debtor takes any action to authorize,
or in furtherance of, any of the foregoing.

       4.     Remedies Upon Default. Upon the occurrence and during the continuance of an
Event of Default, the Secured Party may:

                   a. without demand, enter upon the Debtor's premises where the Collateral is
located and take possession and remove the Collateral; or

                       b. exercise all of its other rights and remedies hereunder, under the applicable
Uniform Commercial Code, and under law or in equity, without liability to the Debtor therefore
and without affecting the Debtor's obligations hereunder, including, without limitation, exercising
its right to: (i) sell, lease or otherwise dispose of the Collateral or any part thereof at one or more
public or private sales, agreements or other dispositions, at wholesale or retail, for such
consideration, or such terms, for cash or on credit, as the Secured Party may deem advisable, on
at least ten (I 0) days' prior notice to the Debtor of any public sale or of the Collateral after which
private sale, agreement or other disposition may be made (which notice the Debtor acknowledges
is reasonable); or (ii) retain the Collateral or any part thereof.

        The Debtor shall pay all of the Secured Party's expenses, including, but not limited to, the
costs of repossessing, storing, repairing and preparing the Collateral for sale or agreement,
commissions payable in connection with any such sale or agreement, and reasonable attorney's
fees. The net proceeds realized from any such sale, agreement or other disposition or the exercise
of any other remedy, and all expenses (which amount shall be retained by the Secured Party), shall
be applied toward payment of the amounts due from the Debtor to the Secured Party, including,
without limitation, the Secured Party's expenses, with the Debtor to remain liable for any
deficiency. All rights and remedies of the Secured Party shall be cumulative and no failure to
exercise and no delay in exercising any right or remedy shall operate as a wavier thereof, nor shall
a waiver on one occasion be construed to bar the exercise of any right or remedy on a future
occasion.

        5.        Warranties. The Debtor represents, warrants, covenants and agrees as follows:

                    a. the exact legal name of the Debtor is as set forth on the signature page
hereto, the jurisdiction of organization of the Debtor is the State of California and the mailing
address of the Debtor is set forth in Section IO below;

                    b. the security interest granted to the Secured Party under this Agreement,
when properly perfected by filing, will constitute at all times a valid and perfected first priority
security interest in the Collateral, vested in the Secured Party, free and clear of any levies, liens,
security interest and encumbrances other than those in favor of the Secured Party;

                  c. all Inventory will be used solely for commercial or business purposes (and
not for consumer, person, family or household purposes);




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                  d. the Inventory is located at __See exhibit A__. The Debtor will not
remove the Inventory from such location without Secured Party's prior written consent;

                  e. the Inventory is, and shall remain, in good order and repair and Debtor will
not misuse, waste or destroy it;

                  f. the Debtor shall maintain the Inventory pursuant to the manufacturer's
standard preventive maintenance contract or by comparable maintenance contract;

                  g. the Secured Party has the right during normal business to enter upon the
premises where the Collateral is located in order inspect, observe or following an Event of Default,
remove the Collateral, or otherwise protect the Secured Party's interest;

                  h. all applicable, federal, state and local sales, use, property, excise,
withholding or other taxes imposed on or with respect to the Collateral, other than taxes levied on
the Secured Party's net income, shall be paid by Debtor;

                    i. except for sales ofinventory to customers in the ordinary course of business
or pursuant to any dealer agreements in effect between the Debtor and the Secured Party, the
Collateral will not be sold, transferred, changed or otherwise disposed of without the Secured
Party's prior written consent; and

                  j. the making, execution and performance by the Debtor of this Agreement
have been duly authorized by all necessary actions and are not in conflict with the Debtor's
governing documents. The individual executing this Agreement on the Debtor's behalf has been
property authorized to do so.

            6. Secured Party's Right To Pay Prior Liens. The Secured Party may, at the option of
the Secured Party, discharge taxes, liens or security interests or other encumbrances at any time
levied or placed on the Collateral, may pay for insurance on the Collateral and may pay for the
maintenance and preservation of the Collateral, and the Debtor agrees to reimburse the Secured
Party on demand for any payment so made, or any expense so incurred by the Secured Party
pursuant hereto. Any such payment by the Secured Party by the Debtor shall be deemed an
"Obligation" of the Debtor.

            7. Further Assurances. The Debtor shall execute and deliver to the Secured Party,
upon the Secured Party's request, such further instruments, financing statements and documents
as the Secured Party deems necessary or advisable in order to maintain the Secured Party's first
priority perfected security interest in the Collateral and otherwise effectuate the intent of this
Agreement.

             8. Insurance. The Debtor, at its expense, shall keep the Collateral fully insured against
loss, fire, theft, damage or destruction from any cause whatsoever (naming the Secured Party as
additional insured and lender loss payee) in an amount not less than the full replacement cost of
the Collateral without consideration for depreciation. The Debtor shall also provide such
additional insurance against injury, loss or damage to person or property arising out of the use or


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operation of the Collateral as is customarily maintained by the owners of like property, with
insurance companies satisfactory to the Secured Party. All insurance, and any endorsements or
other forms related thereto, shall be in form and substance satisfactory to the Secured Party. All
insurance policies shall provide that the Secured Party shall be provided with thirty (30) days prior
written notice of the effective date of any alteration to or cancellation of such insurance policy.

             9. Indemnity. The Debtor shall and does hereby indemnify and save the Secured
Party, it successors and assigns, and each of their officers, employees, agents and servants harmless
from any and all liabilities (including, without limitation, negligence, tort and strict liability),
damages, expenses, claims, actions proceedings, judgments, settlements, losses, liens and
obligations, including attorney's fees and costs, arising out of this Agreement, any agreements,
documents and instruments related hereto, and the Collateral (the "Claims"). The indemnities and
obligations of the Debtor herein provided shall continue in full force and effect notwithstanding
the expiration, termination or cancellation of this Agreement. The Debtor shall give the Secured
Party prompt written notice of any Claim.

             10. Miscellaneous Provisions.

                   a. This Agreement shall be binding upon the heirs, successors, administrators
and assigns of the parties.

                    b. The obligations of all persons signing as the Debtor under this Agreement
shall be joint and several.

                    c. This Agreement may be executed in any number of counterparts and by the
different parties hereto on separate counterparts and each such counterpart shall be deemed to be
an original, but all such counterparts shall together constitute but one and the same Agreement.
Receipt of an executed signature page to this Agreement by facsimile or other electronic
transmission shall constitute effective delivery thereof. Electronic records of executed this
Agreement maintained by the Secured Party shall deemed an original.

                     d. This Agreement shall be governed by and interpreted under the laws of the
State of California without regard to that state's conflicts of law provisions. Each party agrees
that, other than claims brought by one or more individual(s), entity or entities other than the parties,
each dispute between or among any or all of the parties arising out of or relating in any way to this
Agreement will be litigated at the trial level as a bench trial in state court in California or federal
court in Los Angeles, California as each party hereby waives trial by jury. The Debtor: (i) hereby
submits to personal and subject matter jurisdiction in such courts, (ii) agrees not to contest venue
and (iii) agrees that, in the event that litigation of such dispute does not commence during the one-
year period after the occurrence of the event giving rise to such dispute, the claims against the
Secured Party in such dispute shall be barred.

                    e. Except as otherwise provided in this Agreement or as the parties otherwise
may expressly agree in writing, no failure, refusal, neglect, delay, waiver, forbearance or omission
by the Secured Party to exercise any right(s) under this Agreement or to insist upon full compliance
by any or all of the other parties with its or their duties, obligations or restrictions hereunder shall


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constitute a waiver of any provision(s) of this Agreement or otherwise thereafter limit any or all
of the Secured Party's rights to fully enforce any or all of the provision(s) and part(s) thereof of
this Agreement.

                   f. The Debtor, upon default, will be responsible for all costs of collection,
accrued interest and attorney's fees.

                   g. If any term or prov1s1on of this Agreement is invalid, illegal or
unenforceable in any jurisdiction, such invalidity, illegality or unenforceabi lity will not affect any
other term or provision of this Agreement or invalidate or render unenforceable such term or
provision in any other jurisdiction.

                   h. For the purposes hereof, notices hereunder shall be sent to the following
addresses, or to such other addresses as each such party may in writing hereafter indicate:

If to the Debtor:

Address:

Officer:
Email address:

If to the Secured Party:

Address:                 15570 N. 83 rd Way
                         Scottsdale, AZ 85260
Contact:                 Mark Zavras
Email address:           mark.zavras@subzero.com




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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
as of the day and year first above written.

DEBTOR:                                       PIRC& irr ,



SECURED PARTY:                               Sub-Zero Group West, Inc.

                                            By: - - - - - - - - - - - - - -
                                            Name:
                                                   -------------
                                            Title: - - - - - - - - - - - - -




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                 Exibit A to PIRCH, Inc. PMSI Store locations



                                        San Diego Store
                          4545 La Jolla Village Drive, Suite E-1
                                                                          LAPC
                                  San Diego, CA 92122              ri 74 C) f~~ncc fnle.
                                                                   ~ c Fe. Sf('1 V';5'S) J1t
                                    Costa Mesa Store               qoC:>70
                              3303 Hyland Avenue, Suite D
                                 Costa, Mesa, CA 92626
                                                                 ROJ)()-c MI ras e De
                                     Glendale Store           77S-'6K £ I Du""'i Co.,._rf- Sv.;k,E
                                   101 S. Brand Blvd.
                                   Glendale, CA 91210         P~!~ 0eseff7 CA q 22 1\
                                  Rancho Mirage Store
                               71905 Highway 111, Suite B
                                Rancho Mirage, CA 92270

                          PIRCH Corporate Office/Distribution
                           3817 Ocean Ranch Blvd., Suite 115
                                 Oceanside, CA 92056


Acknowledgement that the above address are true and correct



Printed Name

ftt!(g~
Signature


Title

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Date
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                        EXHIBIT 7
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UCC FINANCING STATEMENT                                                                                      130
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
   Mary Cowan
   (440)461-9661
B. E-MAIL CONTACT AT FILER (optional)


C. SEND ACKNOWLEDGMENT TO: (Name and Address)
   NCS UCC Services Group
   POBOX24101                                                                                                                                DOCUMENT NUMBER: 76955570002
   CLEVELA:.'JD, OH 44124                                                                                                                    FILING NUMBER: 19-7698418578
   USA                                                                                                                                       FILING DATE: 02/21/2019 06:53

                                                                                                                                             IMAGE GENERATED ELECTRONICALLY FOR XML FILING
                                                                                                                                             THE ABOVE SPACE IS FOR CA FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only !l!l!! Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debto(s name); if any part of the Individual Debto(s name will not flt
   in tine 1b, leave all of item 1 blank, check here rand provide the Individual Debtor inlormation in item 10of the Financing Statement Addendum (Form UCC1Ad)

       1a. ORGANIZATION'S NAME
       Pirch,Inc.
OR
       1 b. INDIVIDUAL'S SURNAME                                                                      FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)'INITIAL(S)            SUFFIX



1c. MAILING ADDRESS                                                                                   CITY                                                  STATE        POSTAL CODE                 COUNTRY
3817 Ocean Ranch Blvd. #115                                                                           Oceanside                                             CA
                                                                                                                                                                         I
                                                                                                                                                                         92056                       USA
2. DEBTOR'S NAME: Provide only !l!l!! Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debto(s name); if any part of the Individual Debto(s name will not flt
   in tine 2b, leave all of item 2 blank, check here Land provide the Individual Debtor inlormation in item 10 of the Financing Statement Addendum (Form UCC1Ad)

       2a. ORGANIZATION'S NAME


OR
       2b. INDIVIDUAL'S SURNAME                                                                       FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)nNITIAL(S)             SUFFIX



2c. MAILING ADDRESS                                                                                   CITY                                                  STATE        I
                                                                                                                                                                         POSTAL CODE                 COUNTRY




3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only 2!J!! Secured Party name (3a or 3b)

       3a. ORGANIZATION'S NAME
       Sub-Zero Group West, Inc.
OR
       3b. INDIVIDUAL'S SURNAME                                                                       FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)'INITIAL(S)            SUFFIX



3c. MAILING ADDRESS                                                                                   CITY                                                  STATE        POSTA.L CODE                COUNTRY
4717 Hammersley Road                                                                                  Madison                                               WI           I537]1                      USA
4. COLLATERAL: This financing statement covers lhe fallowing collateral:
As collateral securing all Obligations, Appliance Dealer g.Tlmts to Sub-Zero a continuing security interest in all Appliance Dealer's
deposit accounts and all property of Appliance Dealer now or hereafter in the possession of Sub-Zero (including goods purchased from
Sub-Zero but not delivered, whether or not paid for by Appliance Dealer}, together will all Appliance Dealer's Sub-Zero, Wolf and Best
Invent01y. Appliance Dealer and Sub-Zero each desire that Sub-Zero provide to Appliance Dealer for display purposed one or more
kitchen appliances chosen by Sub-Zero, which may include without limitation refrigerators, freezers, ranges, stoves, exhaust hoods and
dishwashers (individually, a "Product" and collectively, the "Products.") The products may include, but a.re not limited to, some or all
of those bearing the trademarks SUB-ZERO, WOLF, CO'VE and ASKO (collectively, the "Display Brands"}.




5. Check!!!l!:£ Wapplicable and check!!!l!:£ one box: Collateral is   r:   held in a Trust (see UCC1 Ad, item 17 and instructions)     r:   being administered by a Decedent's Personal Representative

Ba. Check!!!l!:£ Wapplicable and check!!!l!:£ one box:                                                                                         6b. Check!!!l!:£ if applicable and checkg one box:

   r   Public-Finance Transaction       r1Manufadured-Home Transaction               r A Debtor is a Transmitting UIHily                           r:Agricultural Lien       LNon-UCC Filing

7. ALTERNATIVE DESIGNATION (II applicable):              r·Lessee/Lessor         r   Consignee/Consignor      r   Seller/Buyer       p:eallee/Ballor    r   Llcensee/Lk:ensor


8. OPTIONAL FILER REFERENCE DATA:
U243717 2019022109531 l

FILING OFFICE COPY
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 49 of
                                       130




                        EXHIBIT 8
      Case 24-01376-CL7                                 Filed 05/24/24                         Entered 05/24/24 12:52:54                                           Doc 95                Pg. 50 of
                                                                                                 130




  UCC FINANCING STATEMENT AMENDMENT
  FOLLOW INSTRUCTIONS

     A. NAME & PHONE OF CONTACT AT FILER (optional)
         ( 800) 826-5256 UCC Division
     B. E-MAIL CONTACT AT FILER (optional)
        ucc@ncscredit.com CA SOS
     C. SEND ACKNOWLEDGMENT TO:                   (Name and Address)                                                             California Secretary of State
          CS UCC Services Group
       ~
          O Box 24101
         Cleveland, OH 44124
                                                                                                        7                       File Number: U230089736229
         USA                                                                                                                   File Date: 12/21/2023 09:39 AM
         (800) 826-5256
                                                                                                                           (This document was electronically filed)
       L                                                                                                _J
                                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
                                                                                                                1b, □ This FINANCING STATEMENT AMENDMENT is to be filed [for record)
                                                                                                               1
 1a. INITIAL FINANCING STATEMENT FILE NUMBER
                                                                                                                      (or racordod) in the REAL ESTATE RECORDS
     197698418578                       02/21/2019                                                                    Filer: llllllCiJ Amendment Addendum (Fonm UCC3Ad) llllll pn,vldo Debtor's name in item 13
 2.   0 TERMINATION: Erfectiveness of the Financing Statement identified abovo is terminated with respect to the securily interest(s) of Secured Party authorizing this Termination
           Statement

 3.   D ASSIGNMENT {full or partial): Provide name of Assignoo in item 7a or 7b, .fil!.d. address of Assignee in ilem 7c and name of Assignor in ilem 9
           For partial assignment, complete items 7 and 9 arui also indicale affected collateral in item 8

 4.   D CONTINUATION: Effectiveness of the Financing Statement Identified above with respect to the security interes!(s) of Secured Party authorizing this Continuation Statement is
          continued for Iha additional period provided by applicable law

 5,   0 PARTY INFORMATION CHANGE:
                                                                            ~ Check Qfil!. of these three boxes to:


                                                                                  ~ ~e~~~~r i~::r:~o;, ~~d~~~b ~ii~!1~c O~~~r 'n,~~~e"1nf~~e ilem
                                                                                                                                                                             DELETE name: Give record name
                                               Socured Party of record                                                                                                       lo be doleled In llom 6a or 6b
 6. CURRENT RECORD INFORMATION: Complelo for Party Information Change· provide only Q!!l!. name (6a or 6b)
     6a, ORGANIZATION'S NAME
         Pirch, Inc.
 OR 6b. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                     ADDITIONAL NAME(S}/INITIAL(S)               SUFFIX



 7 CHANGED OR ADDED INFORMATION· C,,mploto for Assignmanl or Party Information Change• provide anly Jl!lll name (7• or 7b)(use exacl full name· do nol omil mtldity orabbreviale any part of lhe Debtor's rnime)
    7n. ORGANIZATION'S NAME
         Pirch, Inc.
 OR
        7b. INDIVIDUAL'S SURNAME


            INDIVIDUAL'S FIRST PERSONAL NAME


           INDIVIDUAL'S ADDITIONAL NAME(SJ/INITIAL(S)                                                                                                                                            SUFFIX


 7c. MAILING ADDRESS
 2714 Loker Ave                     w, Suite 200-301                                         ICARLSBAD
                                                                                              CfTY
                                                                                                                                                    !CA
                                                                                                                                                      STATE     'POSTAL CODE
                                                                                                                                                                  92010
                                                                                                                                                                                                 COUNTRY
                                                                                                                                                                                                  USA
8.   0 COLLATERAL CHANGE: ~ check Q!!l!. of these four boxes: 0 ADD collateral                                □ DELETE collateral             D RESTATE covered collateral              lJ ASSIGN collateral
          Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only ll!!l! name (9a or 9bJ (name of Assignor. If this is an Assignment}
      If this is an Amendment authorized by a DEBTOR, check here              and provide name of authorizing Debtor
       9a. ORGANIZATION'S NAME
        Sub-Zero Group Wesl, Inc.
OR 9b. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


10. OPTIONAL FILER REFERENCE DATA:
 UCC# U243717 Pirch, Inc.
                                                                       International Association of Commerclal Administrators IIACAl
FILING OFFICE COPY - UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 51 of
                                       130




                        EXHIBIT 9
      Case 24-01376-CL7                                  Filed 05/24/24                         Entered 05/24/24 12:52:54                                            Doc 95                Pg. 52 of
                                                                                                  130




  UCC FINANCING STATEMENT AMENDMENT
  FOLLOW INSTRUCTIONS

     A. NAME & PHONE OF CONTACT AT FILER (optional)
         (800)         826-5256 UCC Division
     B. E-MAIL CONTACT AT FILER (optional)
        ucc@ncscredit.com CA SOS
     C. SEND ACKNOWLEDGMENT TO:                   (Name and Address)                                                                     California Secretary of State
       f;;  CS UCC Services Group
            0 Box 24101                                                                                 7                              File Number: U230089945232
           Cleveland, OH 44124
           USA
                                                                                                                                  File Date: 12/22/2023 07:31 AM
           (800) 8~6-5756
                                                                                                                              (This document was electronically filed)
       L                                                                                                _J
                                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

                                                                                                               1
 1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                       1b. □ This FINANCING STATEM_ ENT AMENDMENT is to be filed [for record]
                                           02/21/2019                                                                    (or reoorded) In lhe REAL ESTATE RECORDS
     197698418578                                                                                                        Filer. llllillib Amendment Addendum (Form UC03Ad) i!!III D<OVide Debl01's name in ilem 13
 2.   0 TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect lo the security interest(s) of Secured Party authorizing this Termination
           Statement

 3.   D ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b, and address of Assignee in item 7c m:19. name of Assignor in ilem 9
           For partial assignment, complete items 7 and 9 a.mi also indicate affected collateral in item 8

 4. ~ CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is
      continued for Iha additional period provided by applicable law

 5.   0 PARTY INFORMATION CHANGE:
                                                                            Af'ill Check 2Jll1 of these lhrea boxes lo:
      Check 2.1J..e. of these two boxes:
                                                                                  □ ~e~~:;r ":tt::ri:c;;, ~d;~~ ~~~~t~c                  o:~~r    'rt~~9~~~e~e item □ gebL0E~~=~~ i~~e6 ~e~~~name


        Sa. ORGANIZATION'S NAME


 OR 6b. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                       ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX



 7. CHANGED OR ADDED INFORMATION: Complete for Assign men I or P>tty Information Cllango, provi11o only grui namn (7• or 7b)lu,o exacl full name· do nol omit modify orabbraviata any part ol Iha Debtor's namo)
     7a. ORGANIZATION'S NAME


 OR
        7b. INDFVIOUAL'S SURNAME


            INDIVIDUAL'S FIRST PERSONAL NAME


            INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                            SUFFIX


 7c. MAILING ADDRESS                                                                                                                                  rTATE      rOSTAL CODE                     COUNTRY
                                                                                             rTY


8.   0 COLLATERAL CHANGE: i\l§Q check QllJl. of these four boxes: 0 ADD collateral                            lJ DELETE collateral              0 RESTATE covered collaleral            0 ASSIGN collateral
          Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only Ql1l! name (9a or 9b) (name of Assignor, If this is an Assignment)
   If this is an Amendment authorized by a DEBTOR. check here            D
                                                              and provide name of authorizing Debtor
      9a. ORGANIZATION'S NAME;
        Sub-Zero Group West, Inc.
OR 9b. INDIVIDUAL'S SURNAME                                                                  FIRST PERSONAL NAME                                       ADDITIONAL NAME(S)nNITIAL(S)              SUFFIX



10. OPTIONAL FILER REFERENCE DATA:
 UCC# 0243717 Pirch, Inc.
                                                                                                                             International Association         of Commercial Administrators /IACAl
FILING OFFICE COPY- UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04120111)
Case 24-01376-CL7   Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 53 of
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                       EXHIBIT 10
   Case 24-01376-CL7    Filed 05/24/24   Entered 05/24/24 12:52:54   Doc 95   Pg. 54 of
                                           130




Row Labels     Sum of Extended cost
LADC                      398,594.65
Little Vista              114,667.50
OSDC                       60,142.05
Palm Desert               277,552.36
Vista                   2,799,518.64
(blank)
Grand Total             3,650,475.20
                          Case 24-01376-CL7          Filed 05/24/24                 Entered 05/24/24 12:52:54                    Doc 95          Pg. 55 of
                                                                                      130

Item Number   Location Code   Bin       QTY Type   QTY       QTY Allocated     Item Description                                  Current Cost   Manufacturer   Extended cost  Location
0000021       10805           LAL238    On Hand          1                   0 STAINLESS STEEL DRAWER PANELS (2-PANEL SET)             $470.00 SUB-ZERO               $470.00 LADC
                                                                               4" TOE KICK - TUBULAR HANDLE
0000045       10817           N06B      On Hand          1                   0 SLIDE-OUT BIN                                           $140.00 SUB-ZERO               $140.00   Vista
0000046       10817           T03A      On Hand          2                   0 90 DEGREE DOOR STOP                                        $0.00 SUB-ZERO                $0.00   Vista
4132190       10817           N03A      On Hand          1                   0 HANDLE ASSY                                             $156.64 SUB-ZERO               $156.64   Vista
7003399       10817           N02A      On Hand          7                   0 RETROFIT PANEL KIT, OVERLAY, FOR-BI48S                  $328.00 SUB-ZERO             $2,296.00   Vista
7003400       10817           N04A      On Hand          1                   0 RETROFIT PANEL KIT, OVERLAY, FOR-BI42S                  $348.00 SUB-ZERO               $348.00   Vista
7003411       10805           LAF101    On Hand          1                   0 DUAL INSTALL HEATER KIT                                 $336.00 SUB-ZERO               $336.00   LADC
7003455       10001           U11       On Hand          1                   0 FRONT DOOR PANEL KIT - STAINLESS STEEL                  $476.00 SUB-ZERO               $476.00   OSDC
7003455       10817           N11A      On Hand          2                   0 FRONT DOOR PANEL KIT - STAINLESS STEEL                  $476.00 SUB-ZERO               $952.00   Vista
7003455       10817           N14A      On Hand          1                   0 FRONT DOOR PANEL KIT - STAINLESS STEEL                  $476.00 SUB-ZERO               $476.00   Vista
7003465       10817           N04A      On Hand          1                   0 KIT,DOOR HANDLE SIDE BY SIDE                            $172.00 SUB-ZERO               $172.00   Vista
7003519       10817           N04D      On Hand          1                   0 83" GRILL, LOUVERED, FOR BI36                           $296.00 SUB-ZERO               $296.00   Vista
7003520       30816           DISC4     On Hand          1                   0 83" GRILL,LOUVERED, FOR BI42                            $352.00 SUB-ZERO               $352.00   Little Vista
7003521       10817           N03A      On Hand          1                   0 83" FINISHED HEIGHT FOR A 48"                           $380.00 SUB-ZERO               $380.00   Vista
7003543       10805           OFFICE    On Hand          1                   0 83" GRILL, STAINLESS PRO LOUVERED, BI36                 $344.00 SUB-ZERO               $344.00   LADC
7003543       10817           N04A      On Hand          1                   0 83" GRILL, STAINLESS PRO LOUVERED, BI36                 $344.00 SUB-ZERO               $344.00   Vista
7003544       10802           PANELS    On Hand          0                   0 83" GRILL, STAINLESS PRO LOUVERED, BI42                 $380.00 SUB-ZERO                 $0.00   Palm Desert
7003545       10805           LAK106    On Hand          1                   0 83" FINISHED HEIGHT FOR A 48"                           $400.00 SUB-ZERO               $400.00   LADC
7003545       10817           N02A      On Hand          1                   0 83" FINISHED HEIGHT FOR A 48"                           $400.00 SUB-ZERO               $400.00   Vista
7004811       10817           BW34A     On Hand          1                   0 BI-36R & BI-36F 72" SIDE-BY-SIDE INSTALLATION KIT       $828.00 SUB-ZERO               $828.00   Vista

7004813       10817           BW33A     On Hand          1                   0 DUAL INSTALL WIDE GRILL - STAINLESS STEEL              $1,020.00 SUB-ZERO            $1,020.00 Vista
7004855       10817           T13B      On Hand          1                   0 PARTIAL FRAMED KIT - 2 PANEL SET - FOR BI42SD            $184.00 SUB-ZERO             $184.00 Vista
                                                                               AND BI48SD
7005226       10805           OFFICE    On Hand          1                   0 RETROFIT FRAMED PANEL KIT                               $328.00   SUB-ZERO             $328.00   LADC
7005226       10817           N03A      On Hand          1                   0 RETROFIT FRAMED PANEL KIT                               $328.00   SUB-ZERO             $328.00   Vista
7005226       10817           N04A      On Hand          1                   0 RETROFIT FRAMED PANEL KIT                               $328.00   SUB-ZERO             $328.00   Vista
7005227       10805           LAJ131    On Hand          3                   0 RETROFIT PANEL KIT, FRAMED, BI42S                       $328.00   SUB-ZERO             $984.00   LADC
7005227       10817           N04A      On Hand          2                   0 RETROFIT PANEL KIT, FRAMED, BI42S                       $328.00   SUB-ZERO             $656.00   Vista
7005227       10817           N05A      On Hand          1                   0 RETROFIT PANEL KIT, FRAMED, BI42S                       $328.00   SUB-ZERO             $328.00   Vista
7005865       10802           BASKET3   On Hand          2                   0 90 DEGREE DOOR STOP                                       $0.00   SUB-ZERO               $0.00   Palm Desert
7005865       10817           T03A      On Hand          2                   0 90 DEGREE DOOR STOP                                       $0.00   SUB-ZERO               $0.00   Vista
7005924       10805           LAF113    On Hand          1                   0 SOLID OVERLAY DOOR                                      $288.00   SUB-ZERO             $288.00   LADC
7006792       10805           LAF113    On Hand          1                   0 27" MODEL - 4" TOE SPACE - CLA                          $500.00   SUB-ZERO             $500.00   LADC
7006853       10802           J54       On Hand          1                   0 DOOR 21" - PRO HANDLE                                   $148.00   SUB-ZERO             $148.00   Palm Desert
7006853       10817           N10F      On Hand          7                   0 DOOR 21" - PRO HANDLE                                   $148.00   SUB-ZERO           $1,036.00   Vista
7006854       10817           N10F      On Hand          1                   0 17-1/2" DRAWER HANDLE                                   $148.00   SUB-ZERO             $148.00   Vista
7006855       10817           T01AA     On Hand          1                   0 23 5/8" PRO DRAWER HANDLE                               $148.00   SUB-ZERO             $148.00   Vista
7006857       10817           N10F      On Hand          2                   0 39 9/16" PRO DOOR HANDLE                                $160.00   SUB-ZERO             $320.00   Vista
7006858       10817           N02A      On Hand          1                   0 37 1/2" PRO DOOR HANDLE                                 $168.00   SUB-ZERO             $168.00   Vista
7007132       10817           N02A      On Hand          1                   0 GRILLE,STAINLESS 36                                     $416.00   SUB-ZERO             $416.00   Vista
7007137       10805           OFFICE    On Hand          1                   0 84" GRILLE, OVERLAY, BI42                               $212.00   SUB-ZERO             $212.00   LADC
7007246       10805           LAL192    On Hand          1                   0 HNDL,PKG,SS 24X3/4,OBR,CLSC,TH                          $144.00   SUB-ZERO             $144.00   LADC
7007253       10817           N02A      On Hand          1                   0 63 7/8" - CLASSIC STAINLESS                             $152.00   SUB-ZERO             $152.00   Vista
7008853       10817           N08A      On Hand          2                   0 DUAL FLUSH DOOR PANEL - STAINLESS STEEL, PRO            $824.00   SUB-ZERO           $1,648.00   Vista
                                                                               HANDLE, BI36R-F
7008871       10817           N03C      On Hand          1                   0 SOLID STAINLESS STEEL PANEL                             $232.00 SUB-ZERO               $232.00 Vista
7008872       10817           N05A      On Hand          1                   0 SOLID GRILL PANEL FOR FLUSH INSET                       $264.00 SUB-ZERO               $264.00 Vista
                                                                               APPLICATION - STAINLESS STEEL
7008905       10802           PANELS    On Hand          1                   0 DOOR PANEL, FLUSH INST - STAINLESS STEEL, PRO           $704.00 SUB-ZERO               $704.00 Palm Desert
                                                                               HANDLE, BI36UG
7008917       10817           N14A      On Hand          1                   0 FREEZER DOOR PANEL, FLUSH INST - STAINLESS              $588.00 SUB-ZERO               $588.00 Vista
                                                                               STEEL, PRO HANDLE, BI42S
7008923       10817           N01A      On Hand          1                   0 REFRIG DOOR PANEL, FLUSH INST - STAINLESS               $676.00 SUB-ZERO               $676.00 Vista
                                                                               STEEL, PRO HANDLE, BI48S
                          Case 24-01376-CL7            Filed 05/24/24                Entered 05/24/24 12:52:54                Doc 95         Pg. 56 of
                                                                                       130

Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost  Manufacturer   Extended cost  Location
7008926       10817           N01A        On Hand          1                   0 FREEZER DOOR PANEL, FLUSH INST - STAINLESS         $612.00 SUB-ZERO              $612.00 Vista
                                                                                 STEEL, PRO HANDLE, BI48S
7010371       10817           N04A        On Hand          1                   0 KICKPLATE KIT, STAINLESS/ RH, BI36                 $40.00   SUB-ZERO              $40.00   Vista
7010372       10817           N10F        On Hand          1                   0 KICKPLATE KIT, STAINLESS/ LH, BI36                 $40.00   SUB-ZERO              $40.00   Vista
7010397       10817           T01AA       On Hand          2                   0 KICKPLATE, STAINLESS, BI36U                        $34.00   SUB-ZERO              $68.00   Vista
7012363       10817           N03C        On Hand          1                   0 FILLER, UC-15 15" TO 18"                           $76.00   SUB-ZERO              $76.00   Vista
7013395       10817           T03A        On Hand          1                   0 KICKPLATE, STAINLESS, UC15                          $0.00   SUB-ZERO               $0.00   Vista
7013395       30816           RECEIVING   On Hand          1                   0 KICKPLATE, STAINLESS, UC15                          $0.00   SUB-ZERO               $0.00   Little Vista
7013400       10817           Q01A        On Hand          1                   0 ICE MAKER CLEANING SOLUTION                        $20.00   SUB-ZERO              $20.00   Vista
7013400       10817           R01AA       On Hand          1                   0 ICE MAKER CLEANING SOLUTION                        $20.00   SUB-ZERO              $20.00   Vista
7013401       10817           P01A        On Hand          1                   0 ICE MAKER SANITIZING SOLUTION                      $20.00   SUB-ZERO              $20.00   Vista
7013401       10817           T01AA       On Hand          1                   0 ICE MAKER SANITIZING SOLUTION                      $20.00   SUB-ZERO              $20.00   Vista
7014851       10805           LAK106      On Hand          3                   0 CLASSIC LOUVERED GRILLE INSERT                    $172.00   SUB-ZERO             $516.00   LADC
7014851       10817           N05A        On Hand          3                   0 CLASSIC LOUVERED GRILLE INSERT                    $172.00   SUB-ZERO             $516.00   Vista
7014852       10805           LAL233      On Hand          1                   0 GRILLE INSERT                                     $184.00   SUB-ZERO             $184.00   LADC
7014852       10817           N05A        On Hand          1                   0 GRILLE INSERT                                     $184.00   SUB-ZERO             $184.00   Vista
7014890       10805           OFFICE      On Hand          1                   0 STANDARD 2-HANDLE SET                             $136.00   SUB-ZERO             $136.00   LADC
7014890       10817           N03A        On Hand          2                   0 STANDARD 2-HANDLE SET                             $136.00   SUB-ZERO             $272.00   Vista
7015859       10001           A02-03B     On Hand          1                   0 REPLACEMENT KEY SET                                 $4.45   SUB-ZERO               $4.45   OSDC
7020160       10802           PANELS      On Hand          1                   0 PRO LOUVERED GRILL, FLUSH INST, BI48              $352.00   SUB-ZERO             $352.00   Palm Desert
7020161       10817           BW33A       On Hand          1                   0 60" PRO LOUVERED DUAL INSTLALLATION KIT -         $848.00   SUB-ZERO             $848.00   Vista
                                                                                 STAINLESS STEEL, FLUSH, WS30 & BI30U
7023380       10805           OFFICE      On Hand          2                   0 REFRIGERATOR DOOR PANEL, FLUSH INSET, PRO         $704.00 SUB-ZERO             $1,408.00 LADC
                                                                                 HANDLE, BI36UFD
7023628       10805           LAF101      On Hand          0                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO                 $0.00 LADC
                                                                                 INSTALL)
7023628       10805           RECEIVING   On Hand          1                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO               $216.00 LADC
                                                                                 INSTALL)
7023628       10805           STAGING     On Hand          2                   2 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO               $432.00 LADC
                                                                                 INSTALL)
7023628       10817           H01         On Hand          0                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO                 $0.00 Vista
                                                                                 INSTALL)
7023628       10817           N01A        On Hand          4                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO               $864.00 Vista
                                                                                 INSTALL)
7023628       10817           RECEIVING   On Hand          0                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO                 $0.00 Vista
                                                                                 INSTALL)
7023628       10817           STAGING     On Hand          3                   2 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO               $648.00 Vista
                                                                                 INSTALL)
7023628       10817           WILL CALL   On Hand          0                   0 DUAL INSTALLATION KIT (HANDLE-TO-HANDLE           $216.00 SUB-ZERO                 $0.00 Vista
                                                                                 INSTALL)
7023702       10802           PANELS      On Hand          1                   0 PANEL,DWR 30 TH TK4                               $444.00   SUB-ZERO             $444.00   Palm Desert
7023702       10817           N02B        On Hand          1                   0 PANEL,DWR 30 TH TK4                               $444.00   SUB-ZERO             $444.00   Vista
7023702       10817           N04D        On Hand          1                   0 PANEL,DWR 30 TH TK4                               $444.00   SUB-ZERO             $444.00   Vista
7023702       10817           N05A        On Hand          1                   0 PANEL,DWR 30 TH TK4                               $444.00   SUB-ZERO             $444.00   Vista
7023704       10802           PANELS      On Hand          0                   0 PANEL, DRAWER 36" TH TK4                          $528.00   SUB-ZERO               $0.00   Palm Desert
7023704       10802           STAGING     On Hand          0                   0 PANEL, DRAWER 36" TH TK4                          $528.00   SUB-ZERO               $0.00   Palm Desert
7023704       10817           N02A        On Hand          0                   0 PANEL, DRAWER 36" TH TK4                          $528.00   SUB-ZERO               $0.00   Vista
7023704       10817           STAGING     On Hand          0                   0 PANEL, DRAWER 36" TH TK4                          $528.00   SUB-ZERO               $0.00   Vista
7023704       30816           A11C-D      On Hand          1                   0 PANEL, DRAWER 36" TH TK4                          $528.00   SUB-ZERO             $528.00   Little Vista
7023706       10802           PANELS      On Hand          1                   0 PANEL,DOOR 30 T TH RH                             $600.00   SUB-ZERO             $600.00   Palm Desert
7023707       10817           N05A        On Hand          1                   0 PANEL,DOOR 30 T TH LH                             $600.00   SUB-ZERO             $600.00   Vista
7023708       10817           N06A        On Hand          0                   0 PANEL, DOOR 36" TH RH                             $668.00   SUB-ZERO               $0.00   Vista
7023708       10817           N11A        On Hand          1                   0 PANEL, DOOR 36" TH RH                             $668.00   SUB-ZERO             $668.00   Vista
7023708       10817           STAGING     On Hand          0                   0 PANEL, DOOR 36" TH RH                             $668.00   SUB-ZERO               $0.00   Vista
7023709       10802           PANELS      On Hand          0                   0 PANEL,DOOR 36 T TH LH                             $668.00   SUB-ZERO               $0.00   Palm Desert
7023709       10802           STAGING     On Hand          0                   0 PANEL,DOOR 36 T TH LH                             $668.00   SUB-ZERO               $0.00   Palm Desert
7023709       30816           A11C-D      On Hand          1                   0 PANEL,DOOR 36 T TH LH                             $668.00   SUB-ZERO             $668.00   Little Vista
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Item Number   Location Code   Bin          QTY Type   QTY       QTY Allocated     Item Description                             Current Cost    Manufacturer   Extended cost     Location
7023710       10817           N15A         On Hand          1                   0 PANEL,DOOR 24 C TH TK4 RH                          $540.00   SUB-ZERO               $540.00   Vista
7023711       10817           N14A         On Hand          2                   0 PANEL,DOOR 24 C TH TK4 LH                          $568.00   SUB-ZERO             $1,136.00   Vista
7024476       10817           N16F         On Hand          1                   0 KIT,DUAL INSTALL BASE                              $148.00   SUB-ZERO               $148.00   Vista
7024476       10817           STAGING      On Hand          0                   0 KIT,DUAL INSTALL BASE                              $148.00   SUB-ZERO                 $0.00   Vista
7025227       10817           N04A         On Hand          2                   0 HANDLE,TH 50.125                                   $168.00   SUB-ZERO               $336.00   Vista
7025227       10817           R01B         On Hand          2                   0 HANDLE,TH 50.125                                   $168.00   SUB-ZERO               $336.00   Vista
7025228       10817           T03A         On Hand          1                   0 HANDLE,TH 33.250                                   $148.00   SUB-ZERO               $148.00   Vista
7025229       10817           Q01AA        On Hand          1                   0 HANDLE,TH 27.250                                   $148.00   SUB-ZERO               $148.00   Vista
7025229       10817           Q01AAA       On Hand          1                   0 HANDLE,TH 27.250                                   $148.00   SUB-ZERO               $148.00   Vista
7025304       10805           LAF111       On Hand          1                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO               $696.00   LADC
7025304       10817           N01A         On Hand          1                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO               $696.00   Vista
7025304       10817           N06A         On Hand          1                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO               $696.00   Vista
7025304       10817           N08A         On Hand          1                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO               $696.00   Vista
7025304       10817           RECEIVING    On Hand          0                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO                 $0.00   Vista
7025304       30802           PANELS       On Hand          1                   0 PANEL,DOOR 30 C PH TK4 RH                          $696.00   SUB-ZERO               $696.00   Palm Desert
7025305       10817           N07A         On Hand          1                   0 PANEL,DOOR 30 C PH TK4 LH                          $696.00   SUB-ZERO               $696.00   Vista
7025305       10817           N12A         On Hand          1                   0 PANEL,DOOR 30 C PH TK4 LH                          $696.00   SUB-ZERO               $696.00   Vista
7025308       10805           LAF61        On Hand          0                   0 PANEL,DWR 30 PH TK4                                $500.00   SUB-ZERO                 $0.00   LADC
7025308       10805           STAGING      On Hand          0                   0 PANEL,DWR 30 PH TK4                                $500.00   SUB-ZERO                 $0.00   LADC
7025308       10817           N08D         On Hand          2                   0 PANEL,DWR 30 PH TK4                                $500.00   SUB-ZERO             $1,000.00   Vista
7025309       10817           N05A         On Hand          1                   0 PANEL,DWR 30 PH TK6                                $476.00   SUB-ZERO               $476.00   Vista
7025312       10802           PANELS       On Hand          1                   0 PANEL,DOOR 30 T PH RH                              $600.00   SUB-ZERO               $600.00   Palm Desert
7025313       10802           PANELS       On Hand          1                   0 PANEL,DOOR 30 T PH LH                              $600.00   SUB-ZERO               $600.00   Palm Desert
7025314       10817           STAGING      On Hand          0                   0 PANEL,DOOR 36 T PH RH                              $636.00   SUB-ZERO                 $0.00   Vista
7025316       10817           N17A         On Hand          1                   0 PANEL, DOOR 36 C PH TK4 RH                         $700.00   SUB-ZERO               $700.00   Vista
7025317       10817           N06A         On Hand          1                   0 PANEL, DOOR 36 C PH TK4 LH                         $788.00   SUB-ZERO               $788.00   Vista
7025317       10817           RECEIVING    On Hand          0                   0 PANEL, DOOR 36 C PH TK4 LH                         $788.00   SUB-ZERO                 $0.00   Vista
7025320       10805           LAF91        On Hand          1                   0 PANEL,DOOR 24 C PH TK4 RH                          $532.00   SUB-ZERO               $532.00   LADC
7025320       10817           N06A         On Hand          1                   0 PANEL,DOOR 24 C PH TK4 RH                          $532.00   SUB-ZERO               $532.00   Vista
7025321       10805           LAF101       On Hand          2                   0 PANEL,DOOR 24 C PH TK4 LH                          $600.00   SUB-ZERO             $1,200.00   LADC
7025324       10817           BW34C        On Hand          1                   0 PANEL, DOOR 18 C PH TK4 RH                         $452.00   SUB-ZERO               $452.00   Vista
7025324       10817           N15A         On Hand          1                   0 PANEL, DOOR 18 C PH TK4 RH                         $452.00   SUB-ZERO               $452.00   Vista
7025325       10805           LAF91        On Hand          1                   0 PANEL, DOOR 18 C PH TK4 LH                         $500.00   SUB-ZERO               $500.00   LADC
7025325       10817           N01A         On Hand          1                   0 PANEL, DOOR 18 C PH TK4 LH                         $500.00   SUB-ZERO               $500.00   Vista
7025325       10817           N06A         On Hand          2                   0 PANEL, DOOR 18 C PH TK4 LH                         $500.00   SUB-ZERO             $1,000.00   Vista
7025325       10817           RECEIVING    On Hand          0                   0 PANEL, DOOR 18 C PH TK4 LH                         $500.00   SUB-ZERO                 $0.00   Vista
7025325       30802           PANELS       On Hand          1                   0 PANEL, DOOR 18 C PH TK4 LH                         $500.00   SUB-ZERO               $500.00   Palm Desert
7025327       10817           N15A         On Hand          1                   0 PANEL, DOOR 18 C PH TK6 LH                         $476.00   SUB-ZERO               $476.00   Vista
7025328       10817           N11A         On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH         $564.00   SUB-ZERO               $564.00   Vista

7025329       10817           N08A         On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH        $504.00 SUB-ZERO                 $504.00 Vista

7025329       10817           N14A         On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH        $504.00 SUB-ZERO                 $504.00 Vista

7025336       10001           OSDC AUDIT   On Hand          0                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH        $668.00 SUB-ZERO                   $0.00 OSDC

7025336       10001           OSDC AUDIT   In Use           1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH        $668.00 SUB-ZERO                 $668.00 OSDC

7025336       10805           LAF91        On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH        $668.00 SUB-ZERO                 $668.00 LADC

7025337       10805           RECEIVING    On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH        $668.00 SUB-ZERO                 $668.00 LADC

7025337       10817           N07A         On Hand          0                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH        $668.00 SUB-ZERO                   $0.00 Vista

7025337       10817           N14A         On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH        $668.00 SUB-ZERO                 $668.00 Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                         Current Cost  Manufacturer   Extended cost  Location
7025337       10817           N15A        On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH                     $668.00 SUB-ZERO              $668.00 Vista

7025340       10805           LAF91       On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH W                  $756.00 SUB-ZERO               $756.00 LADC
                                                                                 LOCK
7025341       10817           BW34C       On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH W                  $756.00 SUB-ZERO               $756.00 Vista
                                                                                 LOCK
7025346       10802           PANELS      On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-RH                    $676.00 SUB-ZERO               $676.00 Palm Desert

7025353       10817           N11A        On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-PRO HANDLE-LH                    $668.00 SUB-ZERO               $668.00 Vista

7025360       10817           N02B        On Hand          1                   0 PANEL,DWR 24 PH TK4                                           $456.00   SUB-ZERO             $456.00   Vista
7025360       10817           N05B        On Hand          1                   0 PANEL,DWR 24 PH TK4                                           $456.00   SUB-ZERO             $456.00   Vista
7025360       10817           N05D        On Hand          1                   0 PANEL,DWR 24 PH TK4                                           $456.00   SUB-ZERO             $456.00   Vista
7025360       10817           N06B        On Hand          1                   0 PANEL,DWR 24 PH TK4                                           $456.00   SUB-ZERO             $456.00   Vista
7025362       10817           N04C        On Hand          1                   0 PANEL,DWR 27 PH TK4                                           $476.00   SUB-ZERO             $476.00   Vista
7025362       10817           N06B        On Hand          2                   0 PANEL,DWR 27 PH TK4                                           $476.00   SUB-ZERO             $952.00   Vista
7025366       10817           N14A        On Hand          1                   0 PANEL, DOOR 36 C TH TK4 RH                                    $700.00   SUB-ZERO             $700.00   Vista
7025367       10805           LAF111      On Hand          1                   0 PANEL, DOOR 36 C TH TK4 LH                                    $788.00   SUB-ZERO             $788.00   LADC
7025372       10817           N18A        On Hand          1                   0 PANEL, DOOR 18 C TH TK4 RH                                    $500.00   SUB-ZERO             $500.00   Vista
7025373       10817           N12A        On Hand          1                   0 PANEL, DOOR 18 C TH TK4 LH                                    $500.00   SUB-ZERO             $500.00   Vista
7025373       10817           N16A        On Hand          1                   0 PANEL, DOOR 18 C TH TK4 LH                                    $500.00   SUB-ZERO             $500.00   Vista
7025376       10805           LAF91       On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                  $564.00   SUB-ZERO             $564.00   LADC
                                                                                 RH
7025376       10817           N08A        On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                  $564.00 SUB-ZERO               $564.00 Vista
                                                                                 RH
7025380       10817           N15A        On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                  $624.00 SUB-ZERO               $624.00 Vista
                                                                                 RH W LOCK
7025381       10817           N03A        On Hand          2                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                     $0.00 SUB-ZERO                $0.00 Vista
                                                                                 LH W LOCK
7025393       10805           LAF101      On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                  $760.00 SUB-ZERO               $760.00 LADC
                                                                                 LH
7025401       10802           PANELS      On Hand          1                   0 84" FINISHED HEIGHT SS PANEL-TUBULAR HANDLE-                  $668.00 SUB-ZERO               $668.00 Palm Desert
                                                                                 LH
7025408       10817           N07B        On Hand          1                   0 PANEL,DWR 24 TH TK4                                           $404.00   SUB-ZERO             $404.00   Vista
7025410       10817           N05E        On Hand          1                   0 PANEL,DWR 27 TH TK4                                           $476.00   SUB-ZERO             $476.00   Vista
7026115       10817           N02A        On Hand          0                   0 HANDLE,PH 48.375                                              $168.00   SUB-ZERO               $0.00   Vista
7026115       10817           N04A        On Hand          1                   0 HANDLE,PH 48.375                                              $168.00   SUB-ZERO             $168.00   Vista
7026115       10817           RECEIVING   On Hand          0                   0 HANDLE,PH 48.375                                              $168.00   SUB-ZERO               $0.00   Vista
7026115       10817           STAGING     On Hand          0                   0 HANDLE,PH 48.375                                              $168.00   SUB-ZERO               $0.00   Vista
7026118       10805           LAL224      On Hand          1                   0 HANDLE,PH 22.500                                              $120.00   SUB-ZERO             $120.00   LADC
7026838       10817           N03A        On Hand          2                   0 KIT, KICKPLATE 48"                                             $52.00   SUB-ZERO             $104.00   Vista
7026838       30802           H41         On Hand          1                   0 KIT, KICKPLATE 48"                                             $52.00   SUB-ZERO              $52.00   Palm Desert
7026839       10817           N04A        On Hand          1                   0 KIT, KICKPLATE 54"                                             $52.00   SUB-ZERO              $52.00   Vista
7026841       10817           N04A        On Hand          2                   0 KIT, KICKPLATE 66"                                             $68.00   SUB-ZERO             $136.00   Vista
7026842       10817           N03A        On Hand          2                   0 KIT, KICKPLATE 72"                                             $68.00   SUB-ZERO             $136.00   Vista
7027154       10817           N17A        On Hand          1                   0 Framed Handle Kit, Full-Length Standard (3-Handle Set)        $228.00   SUB-ZERO             $228.00   Vista

7027169       10802           PANELS      On Hand          1                   0 Flush Inset Panel - PRO Handle Refrigerator Door              $732.00   SUB-ZERO             $732.00   Palm Desert
7027250       10802           J54         On Hand          1                   0 HANDLE, PH 30.500                                             $148.00   SUB-ZERO             $148.00   Palm Desert
7028450       10817           N03E        On Hand          2                   0 BULK STORAGE DRAWER                                           $620.00   SUB-ZERO           $1,240.00   Vista
7028773       10001           Z09-02C     On Hand          2                   0 LOCK KIT                                                       $84.00   SUB-ZERO             $168.00   OSDC
7028773       10817           STAGING     On Hand          0                   0 LOCK KIT                                                       $84.00   SUB-ZERO               $0.00   Vista
7029174       10805           LAL223      On Hand          1                   0 HANDLE.SS TH SQ 30 X 1                                        $148.00   SUB-ZERO             $148.00   LADC
7029829       10805           LAF91       On Hand          3                   0 KIT,DUAL INSTALL HANDLE-HINGE                                 $216.00   SUB-ZERO             $648.00   LADC
7029829       10817           N02A        On Hand          1                   0 KIT,DUAL INSTALL HANDLE-HINGE                                 $216.00   SUB-ZERO             $216.00   Vista
7029829       10817           N13A        On Hand          2                   0 KIT,DUAL INSTALL HANDLE-HINGE                                 $216.00   SUB-ZERO             $432.00   Vista
7029829       10817           N16A        On Hand          1                   0 KIT,DUAL INSTALL HANDLE-HINGE                                 $216.00   SUB-ZERO             $216.00   Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                          Current Cost   Manufacturer   Extended cost     Location
7029830       10817           N01A        On Hand          2                   0 KIT,DUAL INSTALL HINGE-HINGE                                    $216.00 SUB-ZERO               $432.00    Vista
7029830       10817           N04A        On Hand          1                   0 KIT,DUAL INSTALL HINGE-HINGE                                    $216.00 SUB-ZERO               $216.00    Vista
7029830       10817           N18A        On Hand          1                   0 KIT,DUAL INSTALL HINGE-HINGE                                    $216.00 SUB-ZERO               $216.00    Vista
7029830       10817           T13B        On Hand          1                   0 KIT,DUAL INSTALL HINGE-HINGE                                    $216.00 SUB-ZERO               $216.00    Vista
7029956       10817           T01A        On Hand          1                   0 REDUCED TOE KICK DIVIDER ***                                      $40.00 SUB-ZERO                $40.00   Vista
7030218       10817           N15A        On Hand          1                   0 PANEL REF FLSH INST SS TH SQ                                    $668.00 SUB-ZERO               $668.00    Vista
7030219       10817           N15A        On Hand          1                   0 PANEL,FRE FLSH INST SS TH SQ                                    $596.00 SUB-ZERO               $596.00    Vista
7030222       10817           BW34C       On Hand          1                   0 PANEL,REF FLSH INST SS TH SQ                                    $664.00 SUB-ZERO               $664.00    Vista
7030225       10802           PANELS      On Hand          1                   0 PANEL,REF FLSH INST SS TH SQ                                    $760.00 SUB-ZERO               $760.00    Palm Desert
7030238       10802           PANELS      On Hand          2                   0 Flush Inset Panel - Tubular Handle Stainless Refrigerator       $698.00 SUB-ZERO              $1,396.00   Palm Desert
                                                                                 Door
7030242       10802           PANELS      On Hand          1                   0 Flush Inset Panel - Tubular Handle Freezer Drawer Panel         $392.00 SUB-ZERO               $392.00 Palm Desert

7030431       10817           N03D        On Hand          1                   0 PANEL,DOOR 15" PH SQ                                          $308.00   SUB-ZERO               $308.00    Vista
7030431       10817           N05C        On Hand          1                   0 PANEL,DOOR 15" PH SQ                                          $308.00   SUB-ZERO               $308.00    Vista
7030433       10817           N15B        On Hand          1                   0 PANEL,DOOR 18" PH SQ                                          $360.00   SUB-ZERO               $360.00    Vista
7030447       10817           N03B        On Hand          1                   0 DUAL INSTALLATION KIT                                          $84.00   SUB-ZERO                $84.00    Vista
7030447       10817           N04B        On Hand          1                   0 DUAL INSTALLATION KIT                                          $84.00   SUB-ZERO                $84.00    Vista
7030802       10802           J54         On Hand          1                   0 LOCK KIT                                                      $120.00   SUB-ZERO               $120.00    Palm Desert
7031923       10805           LAF101      On Hand          1                   0 SOLID OVERLAY DOOR RH                                         $408.00   SUB-ZERO               $408.00    LADC
7031926       10817           N06A        On Hand          1                   0 SOLID OVERLAY DOOR LH                                         $460.00   SUB-ZERO               $460.00    Vista
7040181       10805           LAL212      On Hand          1                   0 HUMIDOR FOR INTEGRATED WINE UNIT                              $696.00   SUB-ZERO               $696.00    LADC
7042312       10805           LAF113      On Hand          1                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00   SUB-ZERO               $356.00    LADC
                                                                                 Right Hinge
7042312       10817           N11C        On Hand          3                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO               $1,068.00 Vista
                                                                                 Right Hinge
7042312       10817           STAGING     On Hand          0                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO                   $0.00 Vista
                                                                                 Right Hinge
7042312       10817           WILL CALL   On Hand          0                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO                   $0.00 Vista
                                                                                 Right Hinge
7042313       10805           OFFICE      On Hand          1                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO                 $356.00 LADC
                                                                                 Left Hinge
7042313       10817           N07B        On Hand          1                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO                 $356.00 Vista
                                                                                 Left Hinge
7042313       10817           STAGING     On Hand          0                   0 24" Designer Series Undercounter Solid Overlay Door -         $356.00 SUB-ZERO                   $0.00 Vista
                                                                                 Left Hinge
7042655       10802           H41         On Hand          1                   0 48" Designer Series Undercounter Stainless Steel Solid        $136.00 SUB-ZERO                 $136.00 Palm Desert
                                                                                 Dual Kickplate
7043202       10817           N04A        On Hand          2                   0 HANDLE,PRO,TALL DOOR,SST                                      $114.49   SUB-ZERO               $228.98    Vista
824357        10001           A04-04B     On Hand          1                   0 FILTERS FOR A 45” DOWN DRAFT                                   $75.00   SUB-ZERO                $75.00    OSDC
825558        10817           P11C        On Hand          1                   0 WOLF CHIMNEY,LOWER-SVCE                                       $221.25   SUB-ZERO               $221.25    Vista
9011700       10817           N02B        On Hand          1                   0 STAINLESS DRAWER PANEL SET, 4" TK, OUTDOOR,                   $460.20   SUB-ZERO               $460.20    Vista
                                                                                 PRO HANDLE
9011700       10817           N03B        On Hand          2                   0 STAINLESS DRAWER PANEL SET, 4" TK, OUTDOOR,                   $460.20 SUB-ZERO                 $920.40 Vista
                                                                                 PRO HANDLE
9011700       30816           RECEIVING   On Hand          1                   0 STAINLESS DRAWER PANEL SET, 4" TK, OUTDOOR,                   $460.20 SUB-ZERO                 $460.20 Little Vista
                                                                                 PRO HANDLE
9013005       10817           N05C        On Hand          1                   0 PANEL, TOP PRO 36                                             $192.00   SUB-ZERO               $192.00    Vista
9013057       10817           N05A        On Hand          1                   0 PANEL, TOP PRO 48                                             $228.00   SUB-ZERO               $228.00    Vista
9013058       10817           N06A        On Hand          1                   0 PANEL, SIDE PRO 48                                            $556.00   SUB-ZERO               $556.00    Vista
9013058       10817           N12A        On Hand          2                   0 PANEL, SIDE PRO 48                                            $556.00   SUB-ZERO             $1,112.00    Vista
9013060       10817           N02A        On Hand          1                   0 KICKPLATE KIT                                                  $72.00   SUB-ZERO                $72.00    Vista
9013060       10817           N03A        On Hand          1                   0 KICKPLATE KIT                                                  $72.00   SUB-ZERO                $72.00    Vista
9018893       10001           A154        On Hand          1                   0 DRAWER DIVIDER SET, PRO 48                                    $108.00   SUB-ZERO               $108.00    OSDC
9018893       10817           N03D        On Hand          1                   0 DRAWER DIVIDER SET, PRO 48                                    $108.00   SUB-ZERO               $108.00    Vista
9028514       10817           N04D        On Hand          0                   0 24" Designer Series Undercounter Stainless Steel Glass        $292.00   SUB-ZERO                 $0.00    Vista
                                                                                 Door Panel with Pro Handle - Left Hinge
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9028514       10817           N11C         On Hand          1                   0 24" Designer Series Undercounter Stainless Steel Glass           $292.00    SUB-ZERO              $292.00 Vista
                                                                                  Door Panel with Pro Handle - Left Hinge
9028514       10817           STAGING      On Hand          0                   0 24" Designer Series Undercounter Stainless Steel Glass           $292.00    SUB-ZERO                $0.00 Vista
                                                                                  Door Panel with Pro Handle - Left Hinge
9028514       30805           DISPLAY 16   On Hand          1                   0 24" Designer Series Undercounter Stainless Steel Glass           $292.00    SUB-ZERO              $292.00 LADC
                                                                                  Door Panel with Pro Handle - Left Hinge
9028543       10817           N05C         On Hand          1                   0 24"Designer Series Undercounter Outdoor Stainless Steel          $332.00    SUB-ZERO              $332.00 Vista
                                                                                  Solid Door Panel with Pro Handle - Left Hing
9028545       10817           N02B         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $292.00    SUB-ZERO              $292.00 Vista
                                                                                  Door Panel with Pro Handle - Right Hinge
9028545       10817           N02C         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $292.00    SUB-ZERO              $292.00 Vista
                                                                                  Door Panel with Pro Handle - Right Hinge
9028545       10817           N03E         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $292.00    SUB-ZERO              $292.00 Vista
                                                                                  Door Panel with Pro Handle - Right Hinge
9028869       10802           PANELS       On Hand          1                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO               $96.00 Palm Desert
                                                                                  Handle
9028869       10802           RECEIVING    On Hand          0                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO                $0.00 Palm Desert
                                                                                  Handle
9028869       10805           LAK134       On Hand          0                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO                $0.00 LADC
                                                                                  Handle
9028869       10805           STAGING      On Hand          1                   1 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO               $96.00 LADC
                                                                                  Handle
9028869       10817           I01          On Hand          0                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO                $0.00 Vista
                                                                                  Handle
9028869       10817           N05B         On Hand          3                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO              $288.00 Vista
                                                                                  Handle
9028869       10817           N05D         On Hand          0                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO                $0.00 Vista
                                                                                  Handle
9028869       10817           RECEIVING    On Hand          0                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO                $0.00 Vista
                                                                                  Handle
9028869       10817           STAGING      On Hand          1                   1 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO               $96.00 Vista
                                                                                  Handle
9028869       30816           A06A-D       On Hand          1                   0 Designer Series Undercounter Dual Install Kit - Handle-to-         $96.00   SUB-ZERO               $96.00 Little Vista
                                                                                  Handle
9029025       10817           N03B         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Solid            $268.00    SUB-ZERO              $268.00 Vista
                                                                                  Door Panel with Pro Handle - Left Hinge
9029026       10817           N05B         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $324.00    SUB-ZERO              $324.00 Vista
                                                                                  Door Panel with Lock and Tubular Handle - Left
9029028       10805           LAF61        On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $292.00    SUB-ZERO              $292.00 LADC
                                                                                  Door Panel with Tubular Handle - Left Hinge
9029031       10817           N03C         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Solid            $268.00    SUB-ZERO              $268.00 Vista
                                                                                  Door Panel with Pro Handle - Right Hinge
9029032       10817           N05B         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $324.00    SUB-ZERO              $324.00 Vista
                                                                                  Door Panel with Lock and Tubular Handle - Righ
9029034       10802           PANELS       On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Glass            $292.00    SUB-ZERO              $292.00 Palm Desert
                                                                                  Door Panel with Tubular Handle - Right Hinge
9029035       10817           N02C         On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Solid            $268.00    SUB-ZERO              $268.00 Vista
                                                                                  Door Panel with Tubular Handle - Right Hinge
9029035       10817           N05B         On Hand          2                   0 24"Designer Series Undercounter Stainless Steel Solid            $268.00    SUB-ZERO              $536.00 Vista
                                                                                  Door Panel with Tubular Handle - Right Hinge
9029035       30805           DISPLAY 62   On Hand          1                   0 24"Designer Series Undercounter Stainless Steel Solid            $268.00    SUB-ZERO              $268.00 LADC
                                                                                  Door Panel with Tubular Handle - Right Hinge
9029153       10817           N11C         On Hand          1                   0 15" Designer Series Undercounter Stainless Steel Glass           $240.00    SUB-ZERO              $240.00 Vista
                                                                                  Door Panel with Pro Handle - Left Hinge
9029153       30816           A07A-D       On Hand          1                   0 15" Designer Series Undercounter Stainless Steel Glass           $240.00    SUB-ZERO              $240.00 Little Vista
                                                                                  Door Panel with Pro Handle - Left Hinge
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Item Number   Location Code   Bin      QTY Type   QTY       QTY Allocated     Item Description                                             Current Cost  Manufacturer   Extended cost  Location
9029161       30816           A07A-D   On Hand          1                   0 15" Designer Series Undercounter Stainless Steel Glass             $240.00 SUB-ZERO              $240.00 Little Vista
                                                                              Door Panel with Pro Handle - Right Hinge
9029162       10817           N05C     On Hand          1                   0 15" Designer Series Undercounter Stainless Steel Solid            $216.00 SUB-ZERO               $216.00 Vista
                                                                              Door Panel with Pro Handle - Right Hinge
9029169       10817           N04C     On Hand          1                   0 24" Designer Series Undercounter ADA Height Stainless             $264.00 SUB-ZERO               $264.00 Vista
                                                                              Steel Glass Door Panel with Pro Handle - Left

9029177       10805           LAF61    On Hand          1                   0 24" Designer Series Undercounter ADA Height Stainless             $264.00 SUB-ZERO               $264.00 LADC
                                                                              Steel Glass Door Panel with Pro Handle - Right

9029178       10817           N02B     On Hand          1                   0 24" Designer Series Undercounter ADA Height Stainless             $240.00 SUB-ZERO               $240.00 Vista
                                                                              Steel Solid Door Panel with Pro Handle - Right

9033703       10817           N08A     On Hand          1                   0 Classic Dual Installation Kit With 72" Grille Frame               $872.00 SUB-ZERO               $872.00 Vista
9033704       10802           PANELS   On Hand          1                   0 Classic Dual Installation Kit With 72" Pro Louvered Grille       $1,128.00 SUB-ZERO             $1,128.00 Palm Desert

9033707       10802           PANELS   On Hand          1                   0 Classic Dual Installation Kit                                     $336.00   SUB-ZERO             $336.00   Palm Desert
9033707       10805           LAF91    On Hand          1                   0 Classic Dual Installation Kit                                     $336.00   SUB-ZERO             $336.00   LADC
9033707       10817           N08A     On Hand          2                   0 Classic Dual Installation Kit                                     $336.00   SUB-ZERO             $672.00   Vista
9033707       10817           N15A     On Hand          1                   0 Classic Dual Installation Kit                                     $336.00   SUB-ZERO             $336.00   Vista
9036005       10817           Q01AA    On Hand          2                   0 Designer Series Undercounter Tubular Handle                       $144.00   SUB-ZERO             $288.00   Vista
9036855       10817           R01AAA   On Hand          1                   0 Classic 42" Stainless Steel Flush Inset Grille Panel              $264.00   SUB-ZERO             $264.00   Vista
9036856       10817           N02A     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Grille Panel              $296.00   SUB-ZERO             $296.00   Vista
9036856       10817           N13F     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Grille Panel              $296.00   SUB-ZERO             $296.00   Vista
9036857       10817           N11A     On Hand          1                   0 Classic 42" Stainless Steel Flush Inset Refrigerator Door         $732.00   SUB-ZERO             $732.00   Vista
                                                                              Panel with Pro Handle
9036857       10817           N16A     On Hand          1                   0 Classic 42" Stainless Steel Flush Inset Refrigerator Door         $732.00 SUB-ZERO               $732.00 Vista
                                                                              Panel with Pro Handle
9036860       10817           N11A     On Hand          1                   0 Classic 42" Stainless Steel Flush Inset Freezer Door Panel        $664.00 SUB-ZERO               $664.00 Vista
                                                                              wtih Pro Handle
9036860       10817           N16A     On Hand          1                   0 Classic 42" Stainless Steel Flush Inset Freezer Door Panel        $664.00 SUB-ZERO               $664.00 Vista
                                                                              wtih Pro Handle
9036864       10817           N07A     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Refrigerator Door         $760.00 SUB-ZERO               $760.00 Vista
                                                                              Panel with Pro Handle
9036864       10817           N16A     On Hand          2                   0 Classic 48" Stainless Steel Flush Inset Refrigerator Door         $760.00 SUB-ZERO              $1,520.00 Vista
                                                                              Panel with Pro Handle
9036865       10802           PANELS   On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Refrigerator Door         $760.00 SUB-ZERO               $760.00 Palm Desert
                                                                              Panel with Pro Handle
9036866       10817           N06A     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Freezer Door Panel        $692.00 SUB-ZERO               $692.00 Vista
                                                                              with Pro Handle
9036866       10817           T13B     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Freezer Door Panel        $692.00 SUB-ZERO               $692.00 Vista
                                                                              with Pro Handle
9037591       10817           N05A     On Hand          1                   0 Classic 48" Stainless Steel Flush Inset Drawer Panel with         $436.00 SUB-ZERO               $436.00 Vista
                                                                              Pro Handle
9037592       10817           N03A     On Hand          2                   0 Classic 48" French Door Stainless Steel Flush Inset Door          $756.00 SUB-ZERO              $1,512.00 Vista
                                                                              Panel with Pro Handle
9038231       10817           N13F     On Hand          1                   0 Classic 30" Stainless Steel Flush Inset Grille Panel              $192.00   SUB-ZERO             $192.00   Vista
9038248       10817           N02C     On Hand          1                   0 Wine Bulk Storage Drawer                                          $712.00   SUB-ZERO             $712.00   Vista
9038248       10817           N02D     On Hand          1                   0 Wine Bulk Storage Drawer                                          $712.00   SUB-ZERO             $712.00   Vista
9038293       10817           Q01A     On Hand          1                   0 Classic 36" Over-and Under Overlay or Flush Inset Retrofit        $304.00   SUB-ZERO             $304.00   Vista
                                                                              Panel Kit
9038295       10817           Q01A     On Hand          1                   0 Classic 42" French Door Overlay or Flush Inset Retrofit           $312.00 SUB-ZERO               $312.00 Vista
                                                                              Panel Kit
9038360       10817           N11A     On Hand          1                   0 Classic 36" Stainless Steel Flush Inset Door Panel with           $704.00 SUB-ZERO               $704.00 Vista
                                                                              Pro Handle
9038364       10802           PANELS   On Hand          2                   0 Classic 36" French Door Stainless Steel Flush Inset Door          $704.00 SUB-ZERO              $1,408.00 Palm Desert
                                                                              Panel with Tubular Handle
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Item Number        Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                           Current Cost   Manufacturer   Extended cost  Location
9038366            10805           OFFICE      On Hand          1                   0 Classic 36" Stainless Steel Flush Inset Drawer Panel with        $380.00 SUB-ZERO               $380.00 LADC
                                                                                      Pro Handle
9038367            10802           PANELS      On Hand          1                   0 Classic 36" Stainless Steel Flush Inset Drawer Panel with        $380.00 SUB-ZERO               $380.00 Palm Desert
                                                                                      Tubular Handle
9038627            10802           J54         On Hand          1                   0 Classic 30" Stainless Steel Kickplate - Right Hinge                $40.00 SUB-ZERO               $40.00 Palm Desert
9038709            10802           PANELS      On Hand          1                   0 Classic Dual Installation Kit With 66" Pro Louvered Grille     $1,096.00 SUB-ZERO             $1,096.00 Palm Desert

9042354            10817           N03A        On Hand          1                   0 1" Diameter, 60-3/4" Tubular Handle                            $168.00   SUB-ZERO               $168.00   Vista
9042354            10817           N04A        On Hand          1                   0 1" Diameter, 60-3/4" Tubular Handle                            $168.00   SUB-ZERO               $168.00   Vista
9042355            10817           R01B        On Hand          1                   0 36 1/16" Pro Handle                                            $148.00   SUB-ZERO               $148.00   Vista
9042359            10802           J54         On Hand          1                   0 1" Diameter, 25" Tubular Handle                                $148.00   SUB-ZERO               $148.00   Palm Desert
9042360            10817           R01B        On Hand          1                   0 30" Pro Handle                                                 $148.00   SUB-ZERO               $148.00   Vista
9042361            10817           N01A        On Hand          0                   0 1" Diameter, 31" Tubular Handle                                $148.00   SUB-ZERO                 $0.00   Vista
9042361            10817           RECEIVING   On Hand          0                   0 1" Diameter, 31" Tubular Handle                                $148.00   SUB-ZERO                 $0.00   Vista
9042361            10817           STAGING     On Hand          1                   1 1" Diameter, 31" Tubular Handle                                $148.00   SUB-ZERO               $148.00   Vista
9044352            10817           N01A        On Hand          0                   0 DUAL INSTALLATION KIT W/ DUAL WIDE GRILLE-60"                $1,076.00   SUB-ZERO                 $0.00   Vista
                                                                                      PRO LOUVERED
9044352            10817           RECEIVING   On Hand          0                   0 DUAL INSTALLATION KIT W/ DUAL WIDE GRILLE-60"                $1,076.00 SUB-ZERO                   $0.00 Vista
                                                                                      PRO LOUVERED
9044352            10817           STAGING     On Hand          1                   1 DUAL INSTALLATION KIT W/ DUAL WIDE GRILLE-60"                $1,076.00 SUB-ZERO               $1,076.00 Vista
                                                                                      PRO LOUVERED
9044753            10817           N04A        On Hand          2                   0 Classic 42" Overlay or Flush Inset Grille Frame - 84"          $244.00 SUB-ZERO                 $488.00 Vista
                                                                                      Finished Height
9044753            10817           RECEIVING   On Hand          0                   0 Classic 42" Overlay or Flush Inset Grille Frame - 84"          $244.00 SUB-ZERO                   $0.00 Vista
                                                                                      Finished Height
9044753            10817           STAGING     On Hand          0                   0 Classic 42" Overlay or Flush Inset Grille Frame - 84"          $244.00 SUB-ZERO                   $0.00 Vista
                                                                                      Finished Height
9044759            10817           N16A        On Hand          1                   0 Classic Stainless Steel Side Panel                             $696.00   SUB-ZERO               $696.00   Vista
9044760            10817           STAGING     On Hand          0                   0 Custom Front Panel Mounting Kit                                $208.00   SUB-ZERO                 $0.00   Vista
9045094            10817           N02A        On Hand          1                   0 Classic 36" Pro Louvered Flush Inset Grille - 84"              $316.00   SUB-ZERO               $316.00   Vista
9045095            10817           N03A        On Hand          1                   0 Classic 42" Pro Louvered Flush Inset Grille - 84"              $336.00   SUB-ZERO               $336.00   Vista
9045096            10817           N13C        On Hand          1                   0 Classic 48" Pro Louvered Flush Inset Grille - 84"              $352.00   SUB-ZERO               $352.00   Vista
9055389            10817           T03A        On Hand          1                   0 36" Toekick                                                     $40.00   SUB-ZERO                $40.00   Vista
9055390            10802           J54         On Hand          1                   0 Classic 42" Stainless Steel Kickplate                           $40.00   SUB-ZERO                $40.00   Palm Desert
9055390            10817           N02A        On Hand          1                   0 Classic 42" Stainless Steel Kickplate                           $40.00   SUB-ZERO                $40.00   Vista
BI-36R/O-RH        10817           A02         On Hand          2                   0 36" ALL REFRIGERATOR - OVERLAY / INSET                       $5,359.00   SUB-ZERO            $10,718.00   Vista
BI-36R/O-RH        10817           A03         On Hand          1                   0 36" ALL REFRIGERATOR - OVERLAY / INSET                       $5,359.00   SUB-ZERO             $5,359.00   Vista
BI-36R/O-RH        10817           B03         On Hand          0                   0 36" ALL REFRIGERATOR - OVERLAY / INSET                       $5,359.00   SUB-ZERO                 $0.00   Vista
BI-36U/O-RH        10817           A02         On Hand          0                   0 BI-36U Over-and-Under                                        $6,959.00   SUB-ZERO                 $0.00   Vista
BI-36U/O-RH        10817           WILL CALL   On Hand          1                   0 BI-36U Over-and-Under                                        $6,959.00   SUB-ZERO             $6,959.00   Vista
BI-36U/S/PH-RH     10817           A02         On Hand          1                   0 BI-36U Over-and-Under                                        $9,295.00   SUB-ZERO             $9,295.00   Vista
BI-36UFD/O         10817           A02         On Hand          1                   0 36" BUILT-IN FRENCH DOOR REFRIGERATOR -                      $8,039.00   SUB-ZERO             $8,039.00   Vista
                                                                                      OVERLAY
BI-36UFD/O         10817           A03         On Hand          0                   0 36" BUILT-IN FRENCH DOOR REFRIGERATOR -                      $8,039.00 SUB-ZERO                   $0.00 Vista
                                                                                      OVERLAY
BI-36UFDID/O       10817           A02         On Hand          2                   0 36" FRENCH DOOR WITH INTERNAL DISPENSER                      $7,719.00   SUB-ZERO            $15,438.00   Vista
BI-36UFDID/O       10817           A03         On Hand          0                   0 36" FRENCH DOOR WITH INTERNAL DISPENSER                      $7,719.00   SUB-ZERO                 $0.00   Vista
BI-36UFDID/S/PH    10802           A11         On Hand          1                   0 36" FRENCH DOOR WITH INTERNAL DISPENSER                      $8,975.00   SUB-ZERO             $8,975.00   Palm Desert
BI-36UG/S/PH-LH    60817           WH USE      On Hand          1                   0 36" BOTTOM FREEZER, GLASS DOOR                                   $0.00   SUB-ZERO                 $0.00   Vista
                                                                                      REFRIGERATOR - CLASSIC SS PRO HANDLE LEFT
                                                                                      HINGE
BI-36UID/S/PH-RH   10805           LAA12       On Hand          1                   0 36" OVER-AND-UNDER WITH INTERNAL DISPENSER                   $9,615.00 SUB-ZERO               $9,615.00 LADC

BI-42S/O           10817           A01         On Hand          0                   0 42" SIDE-BY-SIDE - OVERLAY / INSET                           $7,911.00   SUB-ZERO                 $0.00   Vista
BI-42S/O           10817           STAGING     On Hand          0                   0 42" SIDE-BY-SIDE - OVERLAY / INSET                           $7,911.00   SUB-ZERO                 $0.00   Vista
BI-42S/S/PH        10805           LAA12       On Hand          1                   1 42" BUILT-IN SIDE BY SIDE - STAINLESS STEEL                  $9,351.00   SUB-ZERO             $9,351.00   LADC
BI-42S/S/PH        10805           RECEIVING   On Hand          0                   0 42" BUILT-IN SIDE BY SIDE - STAINLESS STEEL                  $9,351.00   SUB-ZERO                 $0.00   LADC
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Item Number       Location Code   Bin            QTY Type   QTY       QTY Allocated     Item Description                                          Current Cost    Manufacturer   Extended cost     Location
BI-42S/S/PH       10817           A01            On Hand          0                   0 42" BUILT-IN SIDE BY SIDE - STAINLESS STEEL                   $9,351.00   SUB-ZERO                 $0.00   Vista
BI-42S/S/TH       40001           RGA REQ        On Hand          1                   0 42" BUILT-IN SIDE BY SIDE - ST                                $8,655.00   SUB-ZERO             $8,655.00   OSDC
BI-42UFD/S/PH     10817           A01            On Hand          1                   0 42" BUILT-IN OVER-AND-UNDER REFRIGERATOR W/                   $9,215.00   SUB-ZERO             $9,215.00   Vista
                                                                                        FRENCH DOOR - CLASSIC SS PRO HANDLE
BI-42UFDID/O      10817           A01            On Hand          3                   0 42" FRENCH DOOR WITH INTERNAL DISPENSER                       $8,159.00   SUB-ZERO           $24,477.00    Vista
BI-42UFDID/O      10817           INSTALL ONLY   On Hand          1                   0 42" FRENCH DOOR WITH INTERNAL DISPENSER                       $8,159.00   SUB-ZERO            $8,159.00    Vista
BI-42UFDID/S/PH   10817           A01            On Hand          1                   0 42" FRENCH DOOR WITH INTERNAL DISPENSER                       $9,495.00   SUB-ZERO            $9,495.00    Vista
BI-42UFDID/S/TH   10817           A01            On Hand          1                   0 42" FRENCH DOOR WITH INTERNAL DISPENSER                      $10,263.00   SUB-ZERO           $10,263.00    Vista
BI-48S/O          10817           A01            On Hand          1                   0 48" SIDE-BY-SIDE - OVERLAY / INSET                            $7,911.00   SUB-ZERO            $7,911.00    Vista
BI-48S/S/PH       10817           A01            On Hand          1                   0 48" BUILT-IN SIDE BY SIDE - ST                                $9,319.00   SUB-ZERO            $9,319.00    Vista
BI-48S/S/TH       10817           A01            On Hand          3                   0 48" BUILT-IN SIDE BY SIDE - ST                                $9,319.00   SUB-ZERO           $27,957.00    Vista
BI-48SD/S/PH      10817           A01            On Hand          1                   0 48" SIDE-BY-SIDE WITH DISPENSER - CLASSIC SS                  $9,903.00   SUB-ZERO            $9,903.00    Vista
                                                                                        PRO HANDLE
BI-48SID/S/PH     10817           A01            On Hand          1                   0 48" BUILT-IN SIDE BY SIDE REFRIGERATOR,                       $9,583.00 SUB-ZERO              $9,583.00 Vista
                                                                                        INTERNAL DISPENSER, PRO HANDLES - STAINLESS
                                                                                        STEEL
BI-48SID/S/TH     10817           A01            On Hand          0                   0 48" SIDE-BY-SIDE WITH INTERNAL DISPENSER -                    $9,583.00 SUB-ZERO                  $0.00 Vista
                                                                                        CLASSIC SS TUBULAR HANDLE
BI-48SID/S/TH     10817           STAGING        On Hand          1                   1 48" SIDE-BY-SIDE WITH INTERNAL DISPENSER -                    $9,583.00 SUB-ZERO              $9,583.00 Vista
                                                                                        CLASSIC SS TUBULAR HANDLE
BI-48SID/S/TH     10817           WILL CALL      On Hand          0                   0 48" SIDE-BY-SIDE WITH INTERNAL DISPENSER -                    $9,583.00 SUB-ZERO                  $0.00 Vista
                                                                                        CLASSIC SS TUBULAR HANDLE
CL3050U/O/L       10817           B04            On Hand          2                   0 30" Classic Over-and-Under Refrigerator/Freezer - Panel       $8,015.00 SUB-ZERO             $16,030.00 Vista
                                                                                        Ready
CL3050U/O/R       10817           A04            On Hand          1                   0 30" Classic Over-and-Under Refrigerator/Freezer - Panel       $8,015.00 SUB-ZERO              $8,015.00 Vista
                                                                                        Ready
CL3050U/O/R       10817           B04            On Hand          2                   0 30" Classic Over-and-Under Refrigerator/Freezer - Panel       $8,015.00 SUB-ZERO             $16,030.00 Vista
                                                                                        Ready
CL3050U/O/R       10817           STAGING        On Hand          1                   1 30" Classic Over-and-Under Refrigerator/Freezer - Panel       $8,015.00 SUB-ZERO              $8,015.00 Vista
                                                                                        Ready
CL3050UG/O/L      10817           A04            On Hand          1                   0 30" Classic Over-and-Under Refrigerator/Freezer with          $9,055.00 SUB-ZERO              $9,055.00 Vista
                                                                                        Glass Door - Panel Ready
CL3050UG/S/P/R    10817           A04            On Hand          2                   0 30" Classic Over-and-Under Refrigerator/Freezer with         $10,223.00 SUB-ZERO             $20,446.00 Vista
                                                                                        Glass Door
CL3050UID/O/L     10817           A04            On Hand          1                   0 30" Classic Over-and-Under Refrigerator/Freezer with          $8,351.00 SUB-ZERO              $8,351.00 Vista
                                                                                        Internal Dispenser - Panel Ready
CL3050UID/O/R     10817           A04            On Hand          1                   0 30" Classic Over-and-Under Refrigerator/Freezer with          $8,351.00 SUB-ZERO              $8,351.00 Vista
                                                                                        Internal Dispenser - Panel Ready
CL3050W/O/R       10817           A04            On Hand          0                   0 30" Classic Wine Storage - Panel Ready                        $7,015.00   SUB-ZERO                $0.00    Vista
CL3050W/S/P/R     10817           B04            On Hand          0                   0 30" Classic Wine Storage                                      $7,919.00   SUB-ZERO                $0.00    Vista
CL3650F/O/L       10817           A03            On Hand          1                   0 36" Classic Freezer - Panel Ready                             $6,615.00   SUB-ZERO            $6,615.00    Vista
CL3650F/O/L       10817           B03            On Hand          0                   0 36" Classic Freezer - Panel Ready                             $6,615.00   SUB-ZERO                $0.00    Vista
CL3650F/O/R       10817           A03            On Hand          0                   0 36" Classic Freezer - Panel Ready                             $6,615.00   SUB-ZERO                $0.00    Vista
CL3650F/O/R       10817           STAGING        On Hand          1                   0 36" Classic Freezer - Panel Ready                             $6,615.00   SUB-ZERO            $6,615.00    Vista
CL3650F/S/P/L     10805           RECEIVING      On Hand          1                   0 36" Classic Freezer                                           $7,847.00   SUB-ZERO            $7,847.00    LADC
CL3650F/S/P/L     10817           A03            On Hand          1                   0 36" Classic Freezer                                           $7,847.00   SUB-ZERO            $7,847.00    Vista
CL3650F/S/P/R     10817           STAGING        On Hand          0                   0 36" Classic Freezer                                           $7,847.00   SUB-ZERO                $0.00    Vista
CL3650F/S/T/R     10817           A03            On Hand          0                   0 36" Classic Freezer                                           $7,847.00   SUB-ZERO                $0.00    Vista
CL3650R/O/L       10817           A03            On Hand          0                   0 36" Classic Refrigerator - Panel Ready                        $6,279.00   SUB-ZERO                $0.00    Vista
CL3650R/O/L       10817           STAGING        On Hand          1                   0 36" Classic Refrigerator - Panel Ready                        $6,279.00   SUB-ZERO            $6,279.00    Vista
CL3650R/O/R       10817           A03            On Hand          2                   0 36" Classic Refrigerator - Panel Ready                        $5,703.00   SUB-ZERO           $11,406.00    Vista
CL3650R/S/P/R     10817           A02            On Hand          1                   0 36" Classic Refrigerator                                      $7,503.00   SUB-ZERO            $7,503.00    Vista
CL3650R/S/P/R     10817           I01            On Hand          0                   0 36" Classic Refrigerator                                      $7,503.00   SUB-ZERO                $0.00    Vista
CL3650R/S/T/R     10817           A03            On Hand          1                   0 36" Classic Refrigerator                                      $7,503.00   SUB-ZERO            $7,503.00    Vista
CL3650RG/O/R      10817           A03            On Hand          1                   0 36" Classic Refrigerator with Glass Door - Panel Ready        $7,263.00   SUB-ZERO            $7,263.00    Vista

CL3650RG/S/P/L    10817           A03            On Hand          2                   0 36" Classic Refrigerator with Glass Door                      $8,263.00 SUB-ZERO             $16,526.00 Vista
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Item Number       Location Code   Bin            QTY Type   QTY       QTY Allocated      Item Description                                            Current Cost    Manufacturer   Extended cost     Location
CL3650RG/S/P/R    10805           RECEIVING      On Hand          1                    0 36" Classic Refrigerator with Glass Door                        $8,263.00   SUB-ZERO             $8,263.00   LADC
CL3650RG/S/P/R    10817           A03            On Hand          1                    0 36" Classic Refrigerator with Glass Door                        $8,263.00   SUB-ZERO             $8,263.00   Vista
CL3650RG/S/P/R    10817           B03            On Hand          0                    0 36" Classic Refrigerator with Glass Door                        $8,263.00   SUB-ZERO                 $0.00   Vista
CL3650RG/S/T/L    10817           A03            On Hand          1                    0 36" Classic Refrigerator with Glass Door                        $8,263.00   SUB-ZERO             $8,263.00   Vista
CL3650RID/S/P/L   10817           INSTALL ONLY   On Hand          1                    0 36" Classic Refrigerator with Internal Dispenser                $7,879.00   SUB-ZERO             $7,879.00   Vista
CL3650U/O/L       10817           A03            On Hand          2                    0 36" Classic Over-and-Under Refrigerator/Freezer - Panel         $8,279.00   SUB-ZERO            $16,558.00   Vista
                                                                                         Ready
CL3650U/O/L       10817           STAGING        On Hand          1                    0 36" Classic Over-and-Under Refrigerator/Freezer - Panel         $8,279.00   SUB-ZERO            $8,279.00 Vista
                                                                                         Ready
CL3650U/S/P/L     10817           A03            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer                 $9,743.00   SUB-ZERO                $0.00    Vista
CL3650U/S/P/L     10817           STAGING        On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer                 $9,743.00   SUB-ZERO                $0.00    Vista
CL3650U/S/T/R     10817           A03            On Hand          1                    0 36" Classic Over-and-Under Refrigerator/Freezer                 $9,743.00   SUB-ZERO            $9,743.00    Vista
CL3650UFD/O       10817           A03            On Hand          0                    0 36" Classic French Door Refrigerator/Freezer - Panel            $8,039.00   SUB-ZERO                $0.00    Vista
                                                                                         Ready
CL3650UFD/O       10817           STAGING        On Hand          0                    0 36" Classic French Door Refrigerator/Freezer - Panel            $8,039.00   SUB-ZERO                $0.00 Vista
                                                                                         Ready
CL3650UFD/S/P     10817           A03            On Hand          0                    0 36" Classic French Door Refrigerator/Freezer                   $10,335.00   SUB-ZERO                $0.00    Vista
CL3650UFD/S/P     10817           STAGING        On Hand          0                    0 36" Classic French Door Refrigerator/Freezer                   $10,335.00   SUB-ZERO                $0.00    Vista
CL3650UFD/S/P     40817           RGA            On Hand          1                    0 36" Classic French Door Refrigerator/Freezer                   $10,335.00   SUB-ZERO           $10,335.00    Vista
CL3650UFDID/S/P   10817           STAGING        On Hand          0                    0 36" Classic French Door Refrigerator/Freezer with Internal     $10,671.00   SUB-ZERO                $0.00    Vista
                                                                                         Dispenser
CL3650UG/O/L      10817           A03            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with            $9,391.00   SUB-ZERO                $0.00 Vista
                                                                                         Glass Door - Panel Ready
CL3650UG/S/P/R    10817           A03            On Hand          1                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,647.00   SUB-ZERO           $10,647.00 Vista
                                                                                         Glass Door
CL3650UG/S/T/L    10817           A03            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,647.00   SUB-ZERO                $0.00 Vista
                                                                                         Glass Door
CL3650UID/O/L     10817           A02            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with            $8,607.00   SUB-ZERO                $0.00 Vista
                                                                                         Internal Dispenser - Panel Ready
CL3650UID/O/L     10817           A03            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with            $8,607.00   SUB-ZERO                $0.00 Vista
                                                                                         Internal Dispenser - Panel Ready
CL3650UID/O/L     10817           STAGING        On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with            $8,607.00   SUB-ZERO                $0.00 Vista
                                                                                         Internal Dispenser - Panel Ready
CL3650UID/S/P/R   10805           LAA14          On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,071.00   SUB-ZERO                $0.00 LADC
                                                                                         Internal Dispenser
CL3650UID/S/P/R   10805           STAGING        On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,071.00   SUB-ZERO                $0.00 LADC
                                                                                         Internal Dispenser
CL3650UID/S/T/R   10817           A03            On Hand          1                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,071.00   SUB-ZERO           $10,071.00 Vista
                                                                                         Internal Dispenser
CL3650UID/S/T/R   10817           A04            On Hand          0                    0 36" Classic Over-and-Under Refrigerator/Freezer with           $10,071.00   SUB-ZERO                $0.00 Vista
                                                                                         Internal Dispenser
CL4250S/O         10817           STAGING        On Hand          0                    0 42" Classic Side-by-Side Refrigerator/Freezer - Panel           $8,703.00   SUB-ZERO                $0.00 Vista
                                                                                         Ready
CL4250S/S/P       10817           A01            On Hand          1                    0 42" Classic Side-by-Side Refrigerator/Freezer                  $10,287.00   SUB-ZERO           $10,287.00    Vista
CL4250S/S/P       10817           I01            On Hand          0                   -1 42" Classic Side-by-Side Refrigerator/Freezer                  $10,287.00   SUB-ZERO                $0.00    Vista
CL4250S/S/P       10817           STAGING        On Hand          0                    0 42" Classic Side-by-Side Refrigerator/Freezer                  $10,287.00   SUB-ZERO                $0.00    Vista
CL4250S/S/P       40817           RECEIVING      On Hand          0                    0 42" Classic Side-by-Side Refrigerator/Freezer                  $10,287.00   SUB-ZERO                $0.00    Vista
CL4250S/S/T       10817           STAGING        On Hand          0                    0 42" Classic Side-by-Side Refrigerator/Freezer                  $10,287.00   SUB-ZERO                $0.00    Vista
CL4250SD/O        10817           A01            On Hand          1                    0 42" Classic Side-by-Side Refrigerator/Freezer with              $9,055.00   SUB-ZERO            $9,055.00    Vista
                                                                                         Dispenser - Panel Ready
CL4250SID/O       10802           A11            On Hand          1                    0 42" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,055.00   SUB-ZERO            $9,055.00 Palm Desert
                                                                                         Dispenser - Panel Ready
CL4250SID/O       10802           STAGING        On Hand          0                    0 42" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,055.00   SUB-ZERO                $0.00 Palm Desert
                                                                                         Dispenser - Panel Ready
CL4250SID/O       10817           A01            On Hand          1                    0 42" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,055.00   SUB-ZERO            $9,055.00 Vista
                                                                                         Dispenser - Panel Ready
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Item Number       Location Code   Bin          QTY Type   QTY       QTY Allocated     Item Description                                            Current Cost    Manufacturer   Extended cost   Location
CL4250SID/O       10817           STAGING      On Hand          0                   0 42" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,055.00   SUB-ZERO                 $0.00 Vista
                                                                                      Dispenser - Panel Ready
CL4250SID/S/P     10817           STAGING      On Hand          0                   0 42" Classic Side-by-Side Refrigerator/Freezer with Internal    $10,599.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
CL4250UFD/O       10802           STAGING      On Hand          1                   1 42" Classic French Door Refrigerator/Freezer - Panel            $9,375.00   SUB-ZERO            $9,375.00 Palm Desert
                                                                                      Ready
CL4250UFD/S/P     10805           LAA12        On Hand          0                   0 42" Classic French Door Refrigerator/Freezer                   $10,951.00   SUB-ZERO                $0.00 LADC
CL4250UFD/S/P     10805           STAGING      On Hand          0                   0 42" Classic French Door Refrigerator/Freezer                   $10,951.00   SUB-ZERO                $0.00 LADC
CL4250UFDID/O     10817           A01          On Hand          0                   0 42" Classic French Door Refrigerator/Freezer with Internal      $9,703.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser - Panel Ready
CL4250UFDID/O     10817           STAGING      On Hand          1                   1 42" Classic French Door Refrigerator/Freezer with Internal      $9,703.00   SUB-ZERO            $9,703.00 Vista
                                                                                      Dispenser - Panel Ready
CL4250UFDID/S/T   10805           LAA12        On Hand          0                   0 42" Classic French Door Refrigerator/Freezer with Internal     $11,287.00   SUB-ZERO                $0.00 LADC
                                                                                      Dispenser
CL4250UFDID/S/T   10805           STAGING      On Hand          0                   0 42" Classic French Door Refrigerator/Freezer with Internal     $11,287.00   SUB-ZERO                $0.00 LADC
                                                                                      Dispenser
CL4850S/O         10817           A01          On Hand          1                   0 48" Classic Side-by-Side Refrigerator/Freezer - Panel           $9,407.00   SUB-ZERO            $9,407.00 Vista
                                                                                      Ready
CL4850S/O         10817           I01          On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer - Panel           $9,407.00   SUB-ZERO                $0.00 Vista
                                                                                      Ready
CL4850S/S/P       10802           A11          On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer                  $11,087.00   SUB-ZERO                $0.00   Palm Desert
CL4850S/S/P       10802           STAGING      On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer                  $11,087.00   SUB-ZERO                $0.00   Palm Desert
CL4850S/S/T       10802           A11          On Hand          3                   0 48" Classic Side-by-Side Refrigerator/Freezer                  $11,087.00   SUB-ZERO           $33,261.00   Palm Desert
CL4850SD/O        10817           A01          On Hand          1                   0 48" Classic Side-by-Side Refrigerator/Freezer with              $9,759.00   SUB-ZERO            $9,759.00   Vista
                                                                                      Dispenser - Panel Ready
CL4850SD/O        10817           STAGING      On Hand          1                   1 48" Classic Side-by-Side Refrigerator/Freezer with              $9,759.00   SUB-ZERO            $9,759.00 Vista
                                                                                      Dispenser - Panel Ready
CL4850SD/S/T      10817           A01          On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer with             $11,399.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
CL4850SD/S/T      10817           INSTALL ONLY On Hand          1                   0 48" Classic Side-by-Side Refrigerator/Freezer with             $11,399.00   SUB-ZERO           $11,399.00 Vista
                                                                                      Dispenser
CL4850SD/S/T      10817           RECEIVING    On Hand          1                   0 48" Classic Side-by-Side Refrigerator/Freezer with             $11,399.00   SUB-ZERO           $11,399.00 Vista
                                                                                      Dispenser
CL4850SD/S/T      10817           STAGING      On Hand          2                   2 48" Classic Side-by-Side Refrigerator/Freezer with             $11,399.00   SUB-ZERO           $22,798.00 Vista
                                                                                      Dispenser
CL4850SD/S/T      10817           WILL CALL    On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer with             $11,399.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
CL4850SID/O       10817           A01          On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,759.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser - Panel Ready
CL4850SID/O       10817           STAGING      On Hand          0                   0 48" Classic Side-by-Side Refrigerator/Freezer with Internal     $9,759.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser - Panel Ready
CL4850SID/S/P     10817           A01          On Hand          1                   0 48" Classic Side-by-Side Refrigerator/Freezer with Internal    $11,399.00   SUB-ZERO           $11,399.00 Vista
                                                                                      Dispenser
CL4850UFD/O       10817           A01          On Hand          1                   0 48" Classic French Door Refrigerator/Freezer - Panel           $10,087.00   SUB-ZERO           $10,087.00 Vista
                                                                                      Ready
CL4850UFDID/S/P   10805           STAGING      On Hand          0                   0 48" Classic French Door Refrigerator/Freezer with Internal     $11,831.00   SUB-ZERO                $0.00 LADC
                                                                                      Dispenser
CL4850UFDID/S/T   10817           A01          On Hand          0                   0 48" Classic French Door Refrigerator/Freezer with Internal     $11,831.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
CL4850UFDID/S/T   10817           I01          On Hand          0                   0 48" Classic French Door Refrigerator/Freezer with Internal     $11,831.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
CL4850UFDID/S/T   10817           STAGING      On Hand          0                   0 48" Classic French Door Refrigerator/Freezer with Internal     $11,831.00   SUB-ZERO                $0.00 Vista
                                                                                      Dispenser
DEC1850FI/L       10817           A04          On Hand          0                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,                 $6,207.00   SUB-ZERO                $0.00 Vista
                                                                                      LEFT HINGE - PANEL READY
DEC1850FI/L       10817           C04          On Hand          3                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,                 $6,207.00   SUB-ZERO           $18,621.00 Vista
                                                                                      LEFT HINGE - PANEL READY
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                    Current Cost    Manufacturer   Extended cost   Location
DEC1850FI/L   10817           I01         On Hand          0                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO                 $0.00 Vista
                                                                                 LEFT HINGE - PANEL READY
DEC1850FI/L   10817           RECEIVING   On Hand          1                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO            $6,207.00 Vista
                                                                                 LEFT HINGE - PANEL READY
DEC1850FI/L   30001           LAGUNA      On Hand          1                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO            $6,207.00 OSDC
                                                                                 LEFT HINGE - PANEL READY
DEC1850FI/L   30001           RECEIVING   On Hand          0                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO                $0.00 OSDC
                                                                                 LEFT HINGE - PANEL READY
DEC1850FI/L   60817           SERVICE     On Hand          1                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO            $6,207.00 Vista
                                                                                 LEFT HINGE - PANEL READY
DEC1850FI/R   10805           LAA12       On Hand          1                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO            $6,207.00 LADC
                                                                                 RIGHT HINGE - PANEL READY
DEC1850FI/R   10817           C04         On Hand          4                   0 (Available Q1 in 2023) 18" COLUMN, ALL FREEZER,         $6,207.00   SUB-ZERO           $24,828.00 Vista
                                                                                 RIGHT HINGE - PANEL READY
DEC1850W/L    10817           A04         On Hand          0                   0 (Available Q1 in 2023) 18" COLUMN WINE, LEFT HINGE-     $5,391.00   SUB-ZERO                $0.00 Vista
                                                                                 PANEL READY
DEC1850W/L    10817           C04         On Hand          2                   0 (Available Q1 in 2023) 18" COLUMN WINE, LEFT HINGE-     $5,391.00   SUB-ZERO           $10,782.00 Vista
                                                                                 PANEL READY
DEC1850W/R    30001           LAGUNA      On Hand          1                   0 (Available Q1 in 2023) 18" COLUMN WINE, RIGHT           $3,504.15   SUB-ZERO            $3,504.15 OSDC
                                                                                 HINGE- PANEL READY
DEC1850W/R    30001           RECEIVING   On Hand          0                   0 (Available Q1 in 2023) 18" COLUMN WINE, RIGHT           $3,504.15   SUB-ZERO                $0.00 OSDC
                                                                                 HINGE- PANEL READY
DEC2450FI/L   10805           LAA13       On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO                $0.00 LADC
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10805           RECEIVING   On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO                $0.00 LADC
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10805           STAGING     On Hand          1                   1 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO            $6,655.00 LADC
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10817           A04         On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO                $0.00 Vista
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10817           C03         On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO            $6,655.00 Vista
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10817           I01         On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO                $0.00 Vista
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10817           RECEIVING   On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO                $0.00 Vista
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/L   10817           STAGING     On Hand          1                   1 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO            $6,655.00 Vista
                                                                                 LEFT HINGE- PANEL READY
DEC2450FI/R   10817           C03         On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN, ALL FREEZER,         $6,655.00   SUB-ZERO            $6,655.00 Vista
                                                                                 RIGHT HINGE- PANEL READY
DEC2450R/L    10817           C03         On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN, ALL                  $6,079.00   SUB-ZERO            $6,079.00 Vista
                                                                                 REFRIGERATOR, LEFT HINGE- PANEL READY
DEC2450R/R    10805           LAA13       On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN, ALL                  $6,687.00   SUB-ZERO            $6,687.00 LADC
                                                                                 REFRIGERATOR, RIGHT HINGE- PANEL READY
DEC2450W/L    10802           A11         On Hand          2                   0 (Available Q1 in 2023) 24" COLUMN WINE, LEFT HINGE-     $3,816.15   SUB-ZERO            $7,632.30 Palm Desert
                                                                                 PANEL READY
DEC2450W/L    30816           B03-D       On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN WINE, LEFT HINGE-     $3,816.15   SUB-ZERO            $3,816.15 Little Vista
                                                                                 PANEL READY
DEC2450W/R    10802           A11         On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN WINE, RIGHT           $5,871.00   SUB-ZERO            $5,871.00 Palm Desert
                                                                                 HINGE- PANEL READY
DEC2450W/R    10805           LAA13       On Hand          1                   0 (Available Q1 in 2023) 24" COLUMN WINE, RIGHT           $5,871.00   SUB-ZERO            $5,871.00 LADC
                                                                                 HINGE- PANEL READY
DEC2450W/R    10817           C03         On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN WINE, RIGHT           $5,871.00   SUB-ZERO                $0.00 Vista
                                                                                 HINGE- PANEL READY
DEC2450W/R    10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 24" COLUMN WINE, RIGHT           $5,871.00   SUB-ZERO                $0.00 Vista
                                                                                 HINGE- PANEL READY
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Item Number    Location Code   Bin          QTY Type   QTY       QTY Allocated     Item Description                                      Current Cost  Manufacturer   Extended cost   Location
DEC3050FI/L    10817           A04          On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO             $7,087.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/L    10817           B04          On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO            $7,087.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/L    10817           I01          On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/L    10817           INSTALL ONLY On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/L    10817           RECEIVING    On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/L    10817           STAGING      On Hand          1                   1 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO            $7,087.00 Vista
                                                                                   LEFT HINGE- PANEL READY
DEC3050FI/R    10817           B04          On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN ALL FREEZER,            $7,087.00 SUB-ZERO            $7,087.00 Vista
                                                                                   RIGHT HINGE - PANEL READY
DEC3050R/R     10817           A04          On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN ALL                     $7,087.00 SUB-ZERO            $7,087.00 Vista
                                                                                   REFRIGERATOR, RIGHT HINGE- PANEL READY
DEC3050R/R     10817           I01          On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL                     $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   REFRIGERATOR, RIGHT HINGE- PANEL READY
DEC3050R/R     10817           RECEIVING    On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL                     $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   REFRIGERATOR, RIGHT HINGE- PANEL READY
DEC3050R/R     10817           STAGING      On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN ALL                     $7,087.00 SUB-ZERO                $0.00 Vista
                                                                                   REFRIGERATOR, RIGHT HINGE- PANEL READY
DEC3050RID/R   10805           LAA13        On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO            $7,423.00 LADC
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   10805           STAGING      On Hand          1                   1 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO            $7,423.00 LADC
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   10817           A04          On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO                $0.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   10817           I01          On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO                $0.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   10817           RECEIVING    On Hand          0                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO                $0.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   10817           STAGING      On Hand          2                   2 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO           $14,846.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   30001           RECEIVING    On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO            $7,423.00 OSDC
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050RID/R   30802           A11          On Hand          1                   0 (Available Q1 in 2023) 30" COLUMN REFRIGERATOR            $7,423.00 SUB-ZERO            $7,423.00 Palm Desert
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3050W/L     10817           A04          On Hand          1                   0 (Available Q1 in 2023) 30" WINE COLUMN, LEFT HINGE-       $4,393.35 SUB-ZERO            $4,393.35 Vista
                                                                                   PANEL READY
DEC3050W/R     10802           A11          On Hand          1                   0 (Available Q1 in 2023) 30" WINE COLUMN, RIGHT             $5,919.00 SUB-ZERO            $5,919.00 Palm Desert
                                                                                   HINGE- PANEL READY
DEC3050W/R     10817           A04          On Hand          1                   0 (Available Q1 in 2023) 30" WINE COLUMN, RIGHT             $5,919.00 SUB-ZERO            $5,919.00 Vista
                                                                                   HINGE- PANEL READY
DEC3050W/R     10817           I01          On Hand          0                   0 (Available Q1 in 2023) 30" WINE COLUMN, RIGHT             $5,919.00 SUB-ZERO                $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3050W/R     10817           STAGING      On Hand          1                   0 (Available Q1 in 2023) 30" WINE COLUMN, RIGHT             $5,919.00 SUB-ZERO            $5,919.00 Vista
                                                                                   HINGE- PANEL READY
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Item Number    Location Code   Bin          QTY Type   QTY       QTY Allocated     Item Description                                  Current Cost  Manufacturer   Extended cost   Location
DEC3050W/R     10817           WILL CALL    On Hand          0                   0 (Available Q1 in 2023) 30" WINE COLUMN, RIGHT         $5,919.00 SUB-ZERO                 $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10805           LAA14        On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO                $0.00 LADC
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10805           STAGING      On Hand          1                   1 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO            $7,407.00 LADC
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           A02          On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO            $7,407.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           A03          On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO            $7,407.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           A04          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO                $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           I01          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO                $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           RECEIVING    On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO                $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    10817           STAGING      On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO                $0.00 Vista
                                                                                   HINGE- PANEL READY
DEC3650FI/L    30805           DISPLAY 41   On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO            $7,407.00 LADC
                                                                                   HINGE- PANEL READY
DEC3650FI/L    30816           B03-D        On Hand          2                   0 (Available Q1 in 2023) 36" COLUMN FREEZER, LEFT       $7,407.00 SUB-ZERO           $14,814.00 Little Vista
                                                                                   HINGE- PANEL READY
DEC3650R/L     10805           LAA12        On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO            $7,511.00 LADC
                                                                                   LEFT HINGE- PANEL READY
DEC3650R/L     10805           STAGING      On Hand          1                   1 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO            $7,511.00 LADC
                                                                                   LEFT HINGE- PANEL READY
DEC3650R/R     10817           A03          On Hand          2                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO           $15,022.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     10817           A04          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO                $0.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     10817           B03          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO                $0.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     10817           I01          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO                $0.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     10817           RECEIVING    On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO                $0.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     10817           STAGING      On Hand          1                   1 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO            $7,511.00 Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650R/R     30816           DISD4        On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR,       $7,511.00 SUB-ZERO            $7,511.00 Little Vista
                                                                                   RIGHT HINGE- PANEL READY
DEC3650RID/L   10817           A03          On Hand          2                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR        $7,847.00 SUB-ZERO           $15,694.00 Vista
                                                                                   W/ DISPENSER, LEFT HINGE- PANEL READY

DEC3650RID/R   10817           A03          On Hand          1                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR        $7,847.00 SUB-ZERO            $7,847.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3650RID/R   10817           A04          On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR        $7,847.00 SUB-ZERO                $0.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3650RID/R   10817           STAGING      On Hand          0                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR        $7,847.00 SUB-ZERO                $0.00 Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY

DEC3650RID/R   30816           B03-D        On Hand          2                   0 (Available Q1 in 2023) 36" COLUMN REFRIGERATOR        $7,847.00 SUB-ZERO           $15,694.00 Little Vista
                                                                                   W/ DISPENSER, RIGHT HINGE- PANEL READY
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Item Number     Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                 Current Cost    Manufacturer   Extended cost   Location
DET3050CI/L     10817           A04         On Hand          3                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $7,015.00   SUB-ZERO            $21,045.00 Vista
                                                                                   FRIDGE W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
DET3050CI/R     10802           A11         On Hand          1                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $7,711.00   SUB-ZERO            $7,711.00 Palm Desert
                                                                                   FRIDGE W/ FREEZER DRAWERS, RIGHT-HINGE-
                                                                                   PANEL READY
DET3050CI/R     10817           A04         On Hand          3                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $7,711.00   SUB-ZERO           $23,133.00 Vista
                                                                                   FRIDGE W/ FREEZER DRAWERS, RIGHT-HINGE-
                                                                                   PANEL READY
DET3050CI/R     10817           B04         On Hand          1                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $7,711.00   SUB-ZERO            $7,711.00 Vista
                                                                                   FRIDGE W/ FREEZER DRAWERS, RIGHT-HINGE-
                                                                                   PANEL READY
DET3050CI/R     10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $7,711.00   SUB-ZERO                $0.00 Vista
                                                                                   FRIDGE W/ FREEZER DRAWERS, RIGHT-HINGE-
                                                                                   PANEL READY
DET3050CIID/L   10817           A04         On Hand          3                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $5,230.55   SUB-ZERO           $15,691.65 Vista
                                                                                   FRIDGE W/ DISP & FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL
DET3050CIID/L   10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $5,230.55   SUB-ZERO                $0.00 Vista
                                                                                   FRIDGE W/ DISP & FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL
DET3050CIID/R   10817           A04         On Hand          1                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $8,047.00   SUB-ZERO            $8,047.00 Vista
                                                                                   FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                   HINGE- PANE
DET3050CIID/R   10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL COMBO     $8,047.00   SUB-ZERO                $0.00 Vista
                                                                                   FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                   HINGE- PANE
DET3050FI/L     10817           B04         On Hand          4                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $7,631.00   SUB-ZERO           $30,524.00 Vista
                                                                                   FREEZER W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
DET3050FI/L     10817           STAGING     On Hand          1                   1 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $7,631.00   SUB-ZERO            $7,631.00 Vista
                                                                                   FREEZER W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
DET3050FI/L     10817           WILL CALL   On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $7,631.00   SUB-ZERO                $0.00 Vista
                                                                                   FREEZER W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
DET3050FI/R     10817           A04         On Hand          3                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $7,631.00   SUB-ZERO           $22,893.00 Vista
                                                                                   FREEZER W/ FREEZER DRAWERS, RIGHT-HINGE-
                                                                                   PANEL READY
DET3050R/R      10817           A04         On Hand          1                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $4,902.95   SUB-ZERO            $4,902.95 Vista
                                                                                   REFRIGERATOR W/ FRIDGE DRAWERS, RIGHT-
                                                                                   HINGE- PANEL RE
DET3050R/R      10817           STAGING     On Hand          1                   1 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $4,902.95   SUB-ZERO            $4,902.95 Vista
                                                                                   REFRIGERATOR W/ FRIDGE DRAWERS, RIGHT-
                                                                                   HINGE- PANEL RE
DET3050R/R      10817           WILL CALL   On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $4,902.95   SUB-ZERO                $0.00 Vista
                                                                                   REFRIGERATOR W/ FRIDGE DRAWERS, RIGHT-
                                                                                   HINGE- PANEL RE
DET3050RID/R    10817           A04         On Hand          0                   0 (Available Q1 in 2023) 30" INTEGRATED TALL ALL       $7,871.00   SUB-ZERO                $0.00 Vista
                                                                                   REFRIGERATOR W/ FRIDGE DRAWERS -INT DISP,
                                                                                   RIGHT-HINGE
DET3650CI/L     10802           A11         On Hand          1                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO     $8,111.00   SUB-ZERO            $8,111.00 Palm Desert
                                                                                   FRIDGE W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
DET3650CI/L     10817           I01         On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO     $8,111.00   SUB-ZERO                $0.00 Vista
                                                                                   FRIDGE W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                   PANEL READY
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Item Number       Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                       Current Cost    Manufacturer   Extended cost   Location
DET3650CI/L       10817           RECEIVING   On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $8,111.00   SUB-ZERO                 $0.00 Vista
                                                                                     FRIDGE W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                     PANEL READY
DET3650CI/L       10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $8,111.00   SUB-ZERO                $0.00 Vista
                                                                                     FRIDGE W/ FREEZER DRAWERS, LEFT-HINGE-
                                                                                     PANEL READY
DET3650CIID/R     10802           A11         On Hand          1                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $7,207.00   SUB-ZERO            $7,207.00 Palm Desert
                                                                                     FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                     HINGE- PAN
DET3650CIID/R     10817           I01         On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $7,207.00   SUB-ZERO                $0.00 Vista
                                                                                     FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                     HINGE- PAN
DET3650CIID/R     10817           STAGING     On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $7,207.00   SUB-ZERO                $0.00 Vista
                                                                                     FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                     HINGE- PAN
DET3650CIID/R     30816           B03-D       On Hand          1                   0 (Available Q1 in 2023) 36" INTEGRATED TALL COMBO           $7,207.00   SUB-ZERO            $7,207.00 Little Vista
                                                                                     FRIDGE W/ DISP & FREEZER DRAWERS, RIGHT-
                                                                                     HINGE- PAN
DET3650R/R        10817           A03         On Hand          2                   0 (Available Q1 in 2023) 36" INTEGRATED TALL                 $7,951.00   SUB-ZERO           $15,902.00 Vista
                                                                                     REFRIGERATOR W/ FRIDGE DRAWERS, RIGHT-
                                                                                     HINGE- PANEL READY
DET3650R/R        10817           B03         On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL                 $7,951.00   SUB-ZERO                $0.00 Vista
                                                                                     REFRIGERATOR W/ FRIDGE DRAWERS, RIGHT-
                                                                                     HINGE- PANEL READY
DET3650RID/L      10817           A03         On Hand          2                   0 (Available Q1 in 2023) 36" INTEGRATED TALL                 $8,287.00   SUB-ZERO           $16,574.00 Vista
                                                                                     REFRIGERATOR W/ FRIDGE DRAWERS -INT DISP,
                                                                                     LEFT-HINGE- PAN
DET3650RID/R      10817           A03         On Hand          4                   0 (Available Q1 in 2023) 36" INTEGRATED TALL                 $8,287.00   SUB-ZERO           $33,148.00 Vista
                                                                                     REFRIGERATOR W/ FRIDGE DRAWERS -INT DISP,
                                                                                     LEFT-HINGE- PAN
DET3650RID/R      10817           B03         On Hand          0                   0 (Available Q1 in 2023) 36" INTEGRATED TALL                 $8,287.00   SUB-ZERO                $0.00 Vista
                                                                                     REFRIGERATOR W/ FRIDGE DRAWERS -INT DISP,
                                                                                     LEFT-HINGE- PAN
DEU1550B/L        10817           K04         On Hand          1                   0 15" Designer Undercounter Beverage Center with Solid       $2,047.00   SUB-ZERO            $2,047.00 Vista
                                                                                     Door - Panel Ready - Left Hinge
DEU1550B/R        10817           K04         On Hand          2                   0 15" Designer Undercounter Beverage Center with Solid       $2,047.00   SUB-ZERO            $4,094.00 Vista
                                                                                     Door - Panel Ready - Right Hinge
DEU1550BG/L       10817           K04         On Hand          1                   0 15" Designer Undercounter Beverage Center - Panel          $2,127.00   SUB-ZERO            $2,127.00 Vista
                                                                                     Ready - Left Hinge
DEU1550BG/R       10817           K04         On Hand          1                   0 15" Designer Undercounter Beverage Center - Panel          $2,127.00   SUB-ZERO            $2,127.00 Vista
                                                                                     Ready - Right Hinge
DEU1550BG/R       10817           RECEIVING   On Hand          0                   0 15" Designer Undercounter Beverage Center - Panel          $2,127.00   SUB-ZERO                $0.00 Vista
                                                                                     Ready - Right Hinge
DEU1550W/R        10817           K04         On Hand          2                   0 15" Designer Undercounter Wine Storage - Panel Ready -     $2,295.00   SUB-ZERO            $4,590.00 Vista
                                                                                     Right Hinge
DEU2450BG/ADA/L   10817           K01         On Hand          0                   0 24" Designer Undercounter ADA Height Beverage Center -     $2,295.00   SUB-ZERO                $0.00 Vista
                                                                                     Panel Ready - Left Hinge
DEU2450BG/ADA/L   10817           STAGING     On Hand          0                   0 24" Designer Undercounter ADA Height Beverage Center -     $2,295.00   SUB-ZERO                $0.00 Vista
                                                                                     Panel Ready - Left Hinge
DEU2450BG/ADA/R 10817             K01         On Hand          0                   0 24" Designer Undercounter ADA Height Beverage Center -     $2,295.00   SUB-ZERO                $0.00 Vista
                                                                                     Panel Ready - Right Hinge
DEU2450BG/ADA/R 10817             STAGING     On Hand          1                   1 24" Designer Undercounter ADA Height Beverage Center -     $2,295.00   SUB-ZERO            $2,295.00 Vista
                                                                                     Panel Ready - Right Hinge
DEU2450BG/L       10817           K01         On Hand          2                   0 24" Designer Undercounter Beverage Center – Panel          $2,279.00   SUB-ZERO            $4,558.00 Vista
                                                                                     Ready - Left Hinge
DEU2450BG/L       10817           RECEIVING   On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel          $2,279.00   SUB-ZERO                $0.00 Vista
                                                                                     Ready - Left Hinge
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Item Number      Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                          Current Cost  Manufacturer   Extended cost   Location
DEU2450BG/L      10817           STAGING     On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                 $0.00 Vista
                                                                                    Ready - Left Hinge
DEU2450BG/R      10802           D11         On Hand          1                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO            $2,279.00 Palm Desert
                                                                                    Ready - Right Hinge
DEU2450BG/R      10805           LAD10       On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 LADC
                                                                                    Ready - Right Hinge
DEU2450BG/R      10805           RECEIVING   On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 LADC
                                                                                    Ready - Right Hinge
DEU2450BG/R      10805           STAGING     On Hand          1                   1 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO            $2,279.00 LADC
                                                                                    Ready - Right Hinge
DEU2450BG/R      10817           G02         On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 Vista
                                                                                    Ready - Right Hinge
DEU2450BG/R      10817           K01         On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 Vista
                                                                                    Ready - Right Hinge
DEU2450BG/R      10817           RECEIVING   On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 Vista
                                                                                    Ready - Right Hinge
DEU2450BG/R      10817           STAGING     On Hand          3                   3 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO            $6,837.00 Vista
                                                                                    Ready - Right Hinge
DEU2450BG/R      30001           RECEIVING   On Hand          1                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO            $2,279.00 OSDC
                                                                                    Ready - Right Hinge
DEU2450BG/R      40001           RECEIVING   On Hand          0                   0 24" Designer Undercounter Beverage Center – Panel             $2,279.00 SUB-ZERO                $0.00 OSDC
                                                                                    Ready - Right Hinge
DEU2450CI/L      10817           K01         On Hand          0                   0 24" Designer Undercounter Refrigerator/Freezer with Ice       $2,455.00 SUB-ZERO                $0.00 Vista
                                                                                    Maker – Panel Ready - Left Hinge
DEU2450CI/L      10817           STAGING     On Hand          1                   0 24" Designer Undercounter Refrigerator/Freezer with Ice       $2,455.00 SUB-ZERO            $2,455.00 Vista
                                                                                    Maker – Panel Ready - Left Hinge
DEU2450CI/R      10817           K01         On Hand          0                   0 24" Designer Undercounter Refrigerator/Freezer with Ice       $2,455.00 SUB-ZERO                $0.00 Vista
                                                                                    Maker – Panel Ready - Right Hinge
DEU2450CI/R      10817           STAGING     On Hand          1                   0 24" Designer Undercounter Refrigerator/Freezer with Ice       $2,455.00 SUB-ZERO            $2,455.00 Vista
                                                                                    Maker – Panel Ready - Right Hinge
DEU2450R/ADA/R   10817           K01         On Hand          1                   0 24" Designer Undercounter ADA Height Refrigerator -           $2,103.00 SUB-ZERO            $2,103.00 Vista
                                                                                    Panel Ready - Right Hinge
DEU2450R/L       10817           K01         On Hand          2                   0 24" Designer Undercounter Refrigerator – Panel Ready -        $2,103.00 SUB-ZERO            $4,206.00 Vista
                                                                                    Left Hinge
DEU2450R/L       10817           RECEIVING   On Hand          0                   0 24" Designer Undercounter Refrigerator – Panel Ready -        $2,103.00 SUB-ZERO                $0.00 Vista
                                                                                    Left Hinge
DEU2450R/R       10817           K01         On Hand          1                   0 24" Designer Undercounter Refrigerator – Panel Ready -        $2,103.00 SUB-ZERO            $2,103.00 Vista
                                                                                    Right Hinge
DEU2450R/R       10817           RECEIVING   On Hand          0                   0 24" Designer Undercounter Refrigerator – Panel Ready -        $2,103.00 SUB-ZERO                $0.00 Vista
                                                                                    Right Hinge
DEU2450R/R       10817           STAGING     On Hand          0                   0 24" Designer Undercounter Refrigerator – Panel Ready -        $2,103.00 SUB-ZERO                $0.00 Vista
                                                                                    Right Hinge
DEU2450RO/L      10817           K01         On Hand          0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO                $0.00 Vista
                                                                                    Left Hinge
DEU2450RO/L      10817           STAGING     On Hand          0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO                $0.00 Vista
                                                                                    Left Hinge
DEU2450RO/L      30001           LAGUNA      On Hand          1                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO            $2,807.00 OSDC
                                                                                    Left Hinge
DEU2450RO/L      30001           RECEIVING   On Hand          0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO                $0.00 OSDC
                                                                                    Left Hinge
DEU2450RO/R      10805           DOCK        On Hand          0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO                $0.00 LADC
                                                                                    Right Hinge
DEU2450RO/R      10805           RECEIVING   On Hand          0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO                $0.00 LADC
                                                                                    Right Hinge
DEU2450RO/R      10805           STAGING     On Hand          1                   1 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00 SUB-ZERO            $2,807.00 LADC
                                                                                    Right Hinge
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Item Number      Location Code   Bin         QTY Type   QTY        QTY Allocated     Item Description                                          Current Cost    Manufacturer   Extended cost   Location
DEU2450RO/R      10817           I01         On Hand           0                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00   SUB-ZERO                 $0.00 Vista
                                                                                     Right Hinge
DEU2450RO/R      10817           K01         On Hand           1                   0 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00   SUB-ZERO            $2,807.00 Vista
                                                                                     Right Hinge
DEU2450RO/R      10817           STAGING     On Hand           1                   1 24" Outdoor Undercounter Refrigerator – Panel Ready -         $2,807.00   SUB-ZERO            $2,807.00 Vista
                                                                                     Right Hinge
DEU2450W/ADA/R   10817           STAGING     On Hand           0                   0 24" Designer Undercounter ADA Height Wine Storage -           $2,551.00   SUB-ZERO                $0.00 Vista
                                                                                     Panel Ready - Right Hinge
DEU2450W/L       10817           K01         On Hand           0                   0 24" Designer Undercounter Wine Storage – Panel Ready -        $3,207.00   SUB-ZERO                $0.00 Vista
                                                                                     Left Hinge
DEU2450W/L       10817           STAGING     On Hand           1                   1 24" Designer Undercounter Wine Storage – Panel Ready -        $3,207.00   SUB-ZERO            $3,207.00 Vista
                                                                                     Left Hinge
DEU2450W/R       10817           K01         On Hand           2                   0 24" Designer Undercounter Wine Storage – Panel Ready -        $3,207.00   SUB-ZERO            $6,414.00 Vista
                                                                                     Right Hinge
DEU2450W/R       10817           STAGING     On Hand           1                   0 24" Designer Undercounter Wine Storage – Panel Ready -        $3,207.00   SUB-ZERO            $3,207.00 Vista
                                                                                     Right Hinge
DEU2450W/R       30816           DISG3       On Hand           1                   1 24" Designer Undercounter Wine Storage – Panel Ready -        $3,207.00   SUB-ZERO            $3,207.00 Little Vista
                                                                                     Right Hinge
IC-18FI-LH       10805           LAA12       On Hand           1                   0 18" COLUMN ALL FREEZER WITH ICE MAKER                         $5,927.00   SUB-ZERO            $5,927.00   LADC
IC-18FI-LH       10805           RECEIVING   On Hand           1                   0 18" COLUMN ALL FREEZER WITH ICE MAKER                         $5,927.00   SUB-ZERO            $5,927.00   LADC
IC-18FI-LH       10817           C04         On Hand           5                   0 18" COLUMN ALL FREEZER WITH ICE MAKER                         $5,927.00   SUB-ZERO           $29,635.00   Vista
IC-18FI-LH       60817           WH USE      On Hand           1                   0 18" COLUMN ALL FREEZER WITH ICE MAKER                         $5,927.00   SUB-ZERO            $5,927.00   Vista
IC-18FI-RH       10817           STAGING     On Hand           0                   0 18" COLUMN ALL FREEZER WITH ICE MAKER                         $5,671.00   SUB-ZERO                $0.00   Vista
IC-24CI-LH       10817           C03         On Hand           1                   0 24" Column Combination refrigerator/freezer w/ice maker -     $6,031.00   SUB-ZERO            $6,031.00   Vista
                                                                                     NEW
IC-24FI-LH       10817           A04         On Hand           1                   0 24" INTEGRATED COLUMN, ALL FREEZER, LEFT-                     $5,719.00   SUB-ZERO            $5,719.00 Vista
                                                                                     HINGED
IC-24FI-LH       10817           C03         On Hand           5                   0 24" INTEGRATED COLUMN, ALL FREEZER, LEFT-                     $5,719.00   SUB-ZERO           $28,595.00 Vista
                                                                                     HINGED
IC-30FI-LH       10817           A04         On Hand           6                   0 30" INTEGRATED COLUMN ALL FREEZER, LEFT-                      $6,759.00   SUB-ZERO           $40,554.00 Vista
                                                                                     HINGE
IC-30FI-LH       10817           STAGING     On Hand           1                   1 30" INTEGRATED COLUMN ALL FREEZER, LEFT-                      $6,759.00   SUB-ZERO            $6,759.00 Vista
                                                                                     HINGE
IC-30FI-RH       40805           RECEIVING   On Hand           0                   0 30" INTEGRATED COLUMN ALL FREEZER, RIGHT-                     $6,167.00   SUB-ZERO                $0.00 LADC
                                                                                     HINGE
IC-30RID-LH      10805           LAA13       On Hand           1                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR W/                     $6,335.00   SUB-ZERO            $6,335.00 LADC
                                                                                     INTERNAL DISPENSER, LEFT-HINGE - STAINLESS
                                                                                     STEEL
IC-30RID-LH      10817           A04         On Hand           2                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR W/                     $6,335.00   SUB-ZERO           $12,670.00 Vista
                                                                                     INTERNAL DISPENSER, LEFT-HINGE - STAINLESS
                                                                                     STEEL
IC-30RID-LH      40805           RECEIVING   On Hand           0                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR W/                     $6,335.00   SUB-ZERO                $0.00 LADC
                                                                                     INTERNAL DISPENSER, LEFT-HINGE - STAINLESS
                                                                                     STEEL
IC-30RID-RH      10805           LAA13       On Hand           1                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR W/                     $6,239.00   SUB-ZERO            $6,239.00 LADC
                                                                                     INTERNAL DISPENSER, RIGHT-HINGE
IC-30RID-RH      10817           A04         On Hand           5                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR W/                     $6,239.00   SUB-ZERO           $31,195.00 Vista
                                                                                     INTERNAL DISPENSER, RIGHT-HINGE
IC-30R-LH        10802           A11         On Hand           1                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR,                       $5,959.00   SUB-ZERO            $5,959.00 Palm Desert
                                                                                     LEFT-HINGE
IC-30R-LH        10817           A04         On Hand           6                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR,                       $5,959.00   SUB-ZERO           $35,754.00 Vista
                                                                                     LEFT-HINGE
IC-30R-LH        10817           B04         On Hand           1                   0 30" INTEGRATED COLUMN ALL REFRIGERATOR,                       $5,959.00   SUB-ZERO            $5,959.00 Vista
                                                                                     LEFT-HINGE
IC-30R-RH        10802           A11         On Hand           1                   0 30" COLUMN ALL REFRIGERATOR                                   $6,447.00   SUB-ZERO            $6,447.00 Palm Desert
IC-30R-RH        10805           LAA13       On Hand           1                   0 30" COLUMN ALL REFRIGERATOR                                   $6,447.00   SUB-ZERO            $6,447.00 LADC
IC-30R-RH        10817           A04         On Hand          13                   0 30" COLUMN ALL REFRIGERATOR                                   $6,447.00   SUB-ZERO           $83,811.00 Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                            Current Cost    Manufacturer   Extended cost     Location
IC-30R-RH     10817           B04         On Hand          1                   0 30" COLUMN ALL REFRIGERATOR                     $6,447.00   SUB-ZERO             $6,447.00   Vista
IC-30R-RH     10817           STAGING     On Hand          1                   1 30" COLUMN ALL REFRIGERATOR                     $6,447.00   SUB-ZERO             $6,447.00   Vista
IC-30R-RH     60817           WH USE      On Hand          1                   0 30" COLUMN ALL REFRIGERATOR                     $6,447.00   SUB-ZERO             $6,447.00   Vista
IC-36FI-LH    10805           LAA12       On Hand          1                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00   SUB-ZERO             $6,439.00   LADC
                                                                                 MAKER, LEFT HINGE
IC-36FI-LH    10805           LAA14       On Hand          1                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO              $6,439.00 LADC
                                                                                 MAKER, LEFT HINGE
IC-36FI-LH    10805           RECEIVING   On Hand          0                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO                  $0.00 LADC
                                                                                 MAKER, LEFT HINGE
IC-36FI-LH    10805           STAGING     On Hand          0                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO                  $0.00 LADC
                                                                                 MAKER, LEFT HINGE
IC-36FI-LH    10817           A03         On Hand          6                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO             $38,634.00 Vista
                                                                                 MAKER, LEFT HINGE
IC-36FI-RH    10805           LAA14       On Hand          1                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO              $6,439.00 LADC
                                                                                 MAKER, RIGHT HINGE
IC-36FI-RH    10817           A03         On Hand          1                   0 36" INTEGRATED, COLUMN, ALL FREEZER, ICE        $6,439.00 SUB-ZERO              $6,439.00 Vista
                                                                                 MAKER, RIGHT HINGE
IC-36RID-LH   10817           A02         On Hand          1                   0 36" COLUMN ALL REFRIGERATOR WITH INTERNAL       $7,135.00 SUB-ZERO              $7,135.00 Vista
                                                                                 DISPENSER
IC-36RID-LH   10817           A03         On Hand          0                   0 36" COLUMN ALL REFRIGERATOR WITH INTERNAL       $7,135.00 SUB-ZERO                  $0.00 Vista
                                                                                 DISPENSER
IC-36RID-RH   10805           LAA12       On Hand          0                   0 36" COLUMN ALL REFRIGERATOR W/ INTERNAL         $6,695.00 SUB-ZERO                  $0.00 LADC
                                                                                 DISPENSER
IC-36RID-RH   10805           RECEIVING   On Hand          0                   0 36" COLUMN ALL REFRIGERATOR W/ INTERNAL         $6,695.00 SUB-ZERO                  $0.00 LADC
                                                                                 DISPENSER
IC-36RID-RH   10805           STAGING     On Hand          0                   0 36" COLUMN ALL REFRIGERATOR W/ INTERNAL         $6,695.00 SUB-ZERO                  $0.00 LADC
                                                                                 DISPENSER
IC-36RID-RH   10817           A03         On Hand          2                   0 36" COLUMN ALL REFRIGERATOR W/ INTERNAL         $6,695.00 SUB-ZERO             $13,390.00 Vista
                                                                                 DISPENSER
IC-36R-LH     10805           LAA14       On Hand          1                   0 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO            $6,311.00    LADC
IC-36R-LH     10805           STAGING     On Hand          0                   0 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO                $0.00    LADC
IC-36R-LH     10817           A02         On Hand          1                   0 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO            $6,311.00    Vista
IC-36R-LH     10817           A03         On Hand          2                   0 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO           $12,622.00    Vista
IC-36R-LH     10817           STAGING     On Hand          1                   1 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO            $6,311.00    Vista
IC-36R-RH     10805           LAA14       On Hand          1                   0 36" COLUMN ALL REFRIGERATOR                     $6,311.00   SUB-ZERO            $6,311.00    LADC
ID-24F        10817           STAGING     On Hand          0                   0 24" DRAWER FREEZER                              $3,783.00   SUB-ZERO                $0.00    Vista
ID-24FI       10817           K01         On Hand          1                   0 24" DRAWER FREEZER WITH ICE MAKER               $3,455.00   SUB-ZERO            $3,455.00    Vista
ID-24FI       10817           STAGING     On Hand          1                   1 24" DRAWER FREEZER WITH ICE MAKER               $3,455.00   SUB-ZERO            $3,455.00    Vista
ID-24R        10802           D11         On Hand          1                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    Palm Desert
ID-24R        10805           DOCK        On Hand          1                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    LADC
ID-24R        10805           RECEIVING   On Hand          0                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO                $0.00    LADC
ID-24R        10817           I02         On Hand          1                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    Vista
ID-24R        10817           K01         On Hand          0                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO                $0.00    Vista
ID-24R        10817           STAGING     On Hand          1                   1 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    Vista
ID-24R        30001           LAGUNA      On Hand          1                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    OSDC
ID-24R        30001           RECEIVING   On Hand          0                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO                $0.00    OSDC
ID-24R        30802           D11         On Hand          1                   0 24" DRAWER REFRIGERATOR                         $3,767.00   SUB-ZERO            $3,767.00    Palm Desert
ID-24RO       10817           K01         On Hand          0                   0 24" INTEGRATED, DRAWERS, ALL REFRIGERATOR       $4,055.00   SUB-ZERO                $0.00    Vista

ID-24RO       10817           STAGING     On Hand          1                   0 24" INTEGRATED, DRAWERS, ALL REFRIGERATOR       $4,055.00 SUB-ZERO              $4,055.00 Vista

ID-24RO       10817           WILL CALL   On Hand          1                   0 24" INTEGRATED, DRAWERS, ALL REFRIGERATOR       $4,055.00 SUB-ZERO              $4,055.00 Vista

ID-24RO       30816           RECEIVING   On Hand          1                   0 24" INTEGRATED, DRAWERS, ALL REFRIGERATOR       $4,055.00 SUB-ZERO              $4,055.00 Little Vista

ID-27R        10817           K01         On Hand          0                   0 27" DRAWER REFRIGERATOR                         $3,863.00 SUB-ZERO                  $0.00 Vista
ID-27R        10817           STAGING     On Hand          0                   0 27" DRAWER REFRIGERATOR                         $3,863.00 SUB-ZERO                  $0.00 Vista
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Item Number    Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost               Manufacturer   Extended cost   Location
ID-27R         60817           SERVICE     On Hand          1                   0 27" DRAWER REFRIGERATOR                          $3,863.00              SUB-ZERO             $3,863.00 Vista
ID-30C         10817           I01         On Hand          0                   0 30" DRAWER REFRIGERATOR / FREEZER - PANEL        $3,639.00              SUB-ZERO                 $0.00 Vista
                                                                                  READY
ID-30C         10817           K01         On Hand          1                   0 30" DRAWER REFRIGERATOR / FREEZER - PANEL        $3,639.00              SUB-ZERO            $3,639.00 Vista
                                                                                  READY
ID-30C         10817           STAGING     On Hand          0                   0 30" DRAWER REFRIGERATOR / FREEZER - PANEL        $3,639.00              SUB-ZERO                $0.00 Vista
                                                                                  READY
ID-30CI        10817           I01         On Hand          0                   0 30" DRAWER REFRIGERATOR / FREEZER W/ ICE         $4,271.00              SUB-ZERO                $0.00 Vista
                                                                                  MAKER - PANEL READY
ID-30CI        10817           K01         On Hand          0                   0 30" DRAWER REFRIGERATOR / FREEZER W/ ICE         $4,271.00              SUB-ZERO                $0.00 Vista
                                                                                  MAKER - PANEL READY
ID-30CI        10817           STAGING     On Hand          2                   2 30" DRAWER REFRIGERATOR / FREEZER W/ ICE         $4,271.00              SUB-ZERO            $8,542.00 Vista
                                                                                  MAKER - PANEL READY
ID-30CI        30816           B02-D       On Hand          2                   0 30" DRAWER REFRIGERATOR / FREEZER W/ ICE         $4,271.00              SUB-ZERO            $8,542.00 Little Vista
                                                                                  MAKER - PANEL READY
ID-30CI        40817           RGA         On Hand          1                   0 30" DRAWER REFRIGERATOR / FREEZER W/ ICE         $4,271.00              SUB-ZERO            $4,271.00 Vista
                                                                                  MAKER - PANEL READY
ID-30F         10817           K01         On Hand          1                   0 30" DRAWER FREEZER - PANEL READY                 $3,479.00              SUB-ZERO            $3,479.00   Vista
ID-30F         10817           STAGING     On Hand          0                   0 30" DRAWER FREEZER - PANEL READY                 $3,479.00              SUB-ZERO                $0.00   Vista
ID-30FI        10805           DOCK        On Hand          1                   0 30" DRAWER FREEZER WITH ICE MAKER                $3,599.00              SUB-ZERO            $3,599.00   LADC
ID-30FI        10817           K01         On Hand          0                   0 30" DRAWER FREEZER WITH ICE MAKER                $3,599.00              SUB-ZERO                $0.00   Vista
ID-30R         10802           D11         On Hand          1                   0 30" DRAWER REFRIGERATOR                          $3,927.00              SUB-ZERO            $3,927.00   Palm Desert
ID-30R         10817           K01         On Hand          1                   0 30" DRAWER REFRIGERATOR                          $3,927.00              SUB-ZERO            $3,927.00   Vista
ID-36C         10817           K01         On Hand          3                   0 36" DRAWER COMBINATION                           $4,287.00              SUB-ZERO           $12,861.00   Vista
ID-36C         10817           STAGING     On Hand          0                   0 36" DRAWER COMBINATION                           $4,287.00              SUB-ZERO                $0.00   Vista
ID-36C         40805           RECEIVING   On Hand          0                   0 36" DRAWER COMBINATION                           $4,287.00              SUB-ZERO                $0.00   LADC
ID-36CI        10802           D11         On Hand          1                   0 36" DRAWER COMBINATION WITH ICE MAKER            $4,207.00              SUB-ZERO            $4,207.00   Palm Desert
ID-36CI        10817           K01         On Hand          2                   0 36" DRAWER COMBINATION WITH ICE MAKER            $4,207.00              SUB-ZERO            $8,414.00   Vista
ID-36R         10817           K01         On Hand          2                   0 36" DRAWER REFRIGERATOR                          $4,071.00              SUB-ZERO            $8,142.00   Vista
ID-36R         10817           STAGING     On Hand          0                   0 36" DRAWER REFRIGERATOR                          $4,071.00              SUB-ZERO                $0.00   Vista
IT-30CIID-RH   10817           A04         On Hand          1                   0 30" TALL COMBINATION WITH INTERNAL DISPENSER      $6,743.00             SUB-ZERO            $6,743.00   Vista

IT-30CI-LH     10802           A11         On Hand          1                   0 30" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,455.00 SUB-ZERO           $6,455.00 Palm Desert
                                                                                  LEFT-HINGE - STAINLESS STEEL
IT-30CI-RH     10817           A04         On Hand          1                   0 30" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,455.00 SUB-ZERO           $6,455.00 Vista
                                                                                  RIGHT-HINGE - PANEL READY
IT-30CI-RH     10817           B04         On Hand          0                   0 30" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,455.00 SUB-ZERO               $0.00 Vista
                                                                                  RIGHT-HINGE - PANEL READY
IT-30CI-RH     10817           STAGING     On Hand          1                   1 30" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,455.00 SUB-ZERO           $6,455.00 Vista
                                                                                  RIGHT-HINGE - PANEL READY
IT-30FI-LH     10817           A04         On Hand          3                   0 30" INTEGRATED TALL FREEZER, LEFT-HINGE -                      $6,415.00 SUB-ZERO          $19,245.00 Vista
                                                                                  PANEL READY
IT-30R-RH      10817           A04         On Hand          1                   0 30" INTEGRATED TALL REFRIGERATOR, RIGHT-                       $6,855.00 SUB-ZERO           $6,855.00 Vista
                                                                                  HINGE
IT-36CIID-LH   10817           A03         On Hand          1                   0 Refrigerator/Freezer 36" Integrated w/Internal Dispenser &     $7,095.00 SUB-ZERO           $7,095.00 Vista
                                                                                  Icemaker Panel Ready
IT-36CIID-RH   10817           A03         On Hand          1                   0 36" TALL COMBINATION WITH INTERNAL DISPENSER                   $7,095.00 SUB-ZERO           $7,095.00 Vista

IT-36CIID-RH   10817           STAGING     On Hand          1                   1 36" TALL COMBINATION WITH INTERNAL DISPENSER                   $7,095.00 SUB-ZERO           $7,095.00 Vista

IT-36CIID-RH   10817           WILL CALL   On Hand          1                   0 36" TALL COMBINATION WITH INTERNAL DISPENSER                   $7,095.00 SUB-ZERO           $7,095.00 Vista

IT-36CI-LH     10802           A11         On Hand          1                   0 36" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,919.00 SUB-ZERO           $6,919.00 Palm Desert
                                                                                  LEFT-HINGE
IT-36CI-LH     10817           A03         On Hand          3                   0 36" INTEGRATED TALL REFRIGERATOR / FREEZER,                    $6,919.00 SUB-ZERO          $20,757.00 Vista
                                                                                  LEFT-HINGE
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Item Number       Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost   Manufacturer   Extended cost   Location
IT-36CI-RH        10817           A03         On Hand          3                   0 36" INTEGRATED TALL REFRIGERATOR / FREEZER,      $6,815.00 SUB-ZERO             $20,445.00 Vista
                                                                                     RIGHT-HINGE - PANEL READY
IT-36R-LH         10802           A11         On Hand          1                   0 36" INTEGRATED TALL REFRIGERATOR, LEFT-HINGE      $7,223.00 SUB-ZERO            $7,223.00 Palm Desert

IT-36R-RH         10817           A03         On Hand          2                   0 36" INTEGRATED TALL REFRIGERATOR, RIGHT-           $6,783.00 SUB-ZERO          $13,566.00 Vista
                                                                                     HINGE
IW-18-LH          10805           RECEIVING   On Hand          1                   0 18" INTEGRATED WINE STORAGE                        $4,727.00   SUB-ZERO         $4,727.00   LADC
IW-18-LH          10817           C04         On Hand          1                   0 18" INTEGRATED WINE STORAGE                        $4,727.00   SUB-ZERO         $4,727.00   Vista
IW-24-LH          10805           LAA13       On Hand          1                   0 24" INTEGRATED WINE STORAGE                        $5,151.00   SUB-ZERO         $5,151.00   LADC
IW-24-LH          10817           C03         On Hand          4                   0 24" INTEGRATED WINE STORAGE                        $5,151.00   SUB-ZERO        $20,604.00   Vista
IW-24-LH          10817           STAGING     On Hand          3                   3 24" INTEGRATED WINE STORAGE                        $5,151.00   SUB-ZERO        $15,453.00   Vista
IW-24-RH          10817           C03         On Hand          5                   0 24" INTEGRATED WINE STORAGE                            $0.00   SUB-ZERO             $0.00   Vista
IW-24-RH          10817           STAGING     On Hand          0                   0 24" INTEGRATED WINE STORAGE                            $0.00   SUB-ZERO             $0.00   Vista
IW-30CI-RH        10817           A04         On Hand          2                   0 30" INTEGRATED, WINE, COMBO STORAGE, RIGHT         $4,564.95   SUB-ZERO         $9,129.90   Vista
                                                                                     HINGE
IW-30-LH          10817           A04         On Hand          1                   0 30" INTEGRATED WINE STORAGE                        $5,831.00 SUB-ZERO           $5,831.00 Vista
IW-30-RH          10817           B04         On Hand          1                   0 30" INTEGRATED WINE STORAGE                        $5,919.00 SUB-ZERO           $5,919.00 Vista
IW-30R-RH         10817           B04         On Hand          1                   0 30" INTEGRATED WINE STORAGE WITH BULK              $6,903.00 SUB-ZERO           $6,903.00 Vista
                                                                                     STORAGE DRAWERS
PRO3650/LH        10817           A03         On Hand          1                   0 36" PRO REFRIGERATOR/FREEZER - LEFT HINGE         $12,479.00 SUB-ZERO          $12,479.00 Vista
PRO3650/RH        10817           A03         On Hand          0                   0 36" PRO REFRIGERATOR/FREEZER - RIGHT HINGE        $12,479.00 SUB-ZERO               $0.00 Vista

PRO3650G/LH       10817           A04         On Hand          0                   0 36" PRO REFRIGERATOR/FREEZER - GLASS DOOR -       $12,479.00 SUB-ZERO               $0.00 Vista
                                                                                     LEFT HINGE
PRO3650G/LH       10817           WILL CALL   On Hand          1                   0 36" PRO REFRIGERATOR/FREEZER - GLASS DOOR -       $12,479.00 SUB-ZERO          $12,479.00 Vista
                                                                                     LEFT HINGE
PRO3650G/RH       10817           A01         On Hand          1                   0 36" PRO REFRIGERATOR/FREEZER - GLASS DOOR -       $12,479.00 SUB-ZERO          $12,479.00 Vista
                                                                                     RIGHT HINGE
PRO3650G/RH       10817           A03         On Hand          1                   0 36" PRO REFRIGERATOR/FREEZER - GLASS DOOR -       $12,479.00 SUB-ZERO          $12,479.00 Vista
                                                                                     RIGHT HINGE
PRO4850           10802           A11         On Hand          1                   0 48" PRO REFRIGERATOR/FREEZER                      $16,063.00 SUB-ZERO          $16,063.00 Palm Desert
PRO4850G          30816           RECEIVING   On Hand          0                   0 48" PRO REFRIGERATOR/FREEZER - GLASS DOOR              $0.00 SUB-ZERO               $0.00 Little Vista

UC-15I            10805           RECEIVING   On Hand          2                   0 15" ICE MACHINE                                    $2,703.00   SUB-ZERO         $5,406.00   LADC
UC-15I            10817           K04         On Hand          2                   0 15" ICE MACHINE                                    $2,703.00   SUB-ZERO         $5,406.00   Vista
UC-15I            10817           STAGING     On Hand          2                   2 15" ICE MACHINE                                    $2,703.00   SUB-ZERO         $5,406.00   Vista
UC-15I            40817           RECEIVING   On Hand          0                   0 15" ICE MACHINE                                    $2,703.00   SUB-ZERO             $0.00   Vista
UC-15IO           10817           K04         On Hand          1                   0 UNDER COUNTER ICE MAKER OUTDOOR                    $2,967.00   SUB-ZERO         $2,967.00   Vista
UC-15IO           30816           RECEIVING   On Hand          1                   0 UNDER COUNTER ICE MAKER OUTDOOR                    $2,967.00   SUB-ZERO         $2,967.00   Little Vista
UC-15IP           10805           OFFICE2     On Hand          4                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO        $13,660.00   LADC
UC-15IP           10805           RECEIVING   On Hand          0                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO             $0.00   LADC
UC-15IP           10805           STAGING     On Hand          0                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO             $0.00   LADC
UC-15IP           10817           K04         On Hand          2                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO         $6,830.00   Vista
UC-15IP           10817           STAGING     On Hand          1                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO         $3,415.00   Vista
UC-15IP           10817           WILL CALL   On Hand          0                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO             $0.00   Vista
UC-15IP           60817           WH USE      On Hand          1                   0 15" ICE MACHINE WITH PUMP                          $3,415.00   SUB-ZERO         $3,415.00   Vista
UC-15IPO          10802           D11         On Hand          1                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO         $3,687.00   Palm Desert
UC-15IPO          10802           RECEIVING   On Hand          0                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO             $0.00   Palm Desert
UC-15IPO          10802           STAGING     On Hand          1                   1 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO         $3,687.00   Palm Desert
UC-15IPO          10805           RECEIVING   On Hand          2                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO         $7,374.00   LADC
UC-15IPO          10817           K04         On Hand          0                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO             $0.00   Vista
UC-15IPO          10817           STAGING     On Hand          0                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO             $0.00   Vista
UC-15IPO          10817           WILL CALL   On Hand          1                   0 15" ICE MAKER W/ DRAIN PUMP OU                     $3,687.00   SUB-ZERO         $3,687.00   Vista
UC-24BG/S/PH-RH   10817           K01         On Hand          1                   0 UC-24BG Beverage Center                            $1,951.00   SUB-ZERO         $1,951.00   Vista
UC-24BG/S/TH-LH   10817           K01         On Hand          1                   0 24" BEVERAGE CENTER, GLASS DOOR - CLASSIC SS       $1,951.00   SUB-ZERO         $1,951.00   Vista
                                                                                     TUBULAR HANDLE
UC-24BG/S/TH-RH   10817           K01         On Hand          1                   0 24" BEVERAGE CENTER - GLASS DO                     $1,951.00 SUB-ZERO           $1,951.00 Vista
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Item Number     Location Code   Bin            QTY Type   QTY       QTY Allocated     Item Description                                     Current Cost     Manufacturer   Extended cost     Location
UC-24CI-RH      10805           DOCK           On Hand          0                   0 UC-24C Refrigerator/Freezer                              $2,039.00    SUB-ZERO                 $0.00   LADC
UC-24CI-RH      10805           STAGING        On Hand          0                   0 UC-24C Refrigerator/Freezer                              $2,039.00    SUB-ZERO                 $0.00   LADC
UC-24C-LH       10817           K01            On Hand          2                   0 UC-24C Refrigerator/Freezer                              $1,919.00    SUB-ZERO             $3,838.00   Vista
UC-24RO/PH-RH   10817           K01            On Hand          1                   0 24" UNDER-COUNTER OUTDOOR ALL                            $2,343.00    SUB-ZERO             $2,343.00   Vista
                                                                                      REFRIGERATOR, RIGHT-HINGE
UC-24RO/PH-RH   10817           STAGING        On Hand          0                   0 24" UNDER-COUNTER OUTDOOR ALL                            $2,343.00    SUB-ZERO                $0.00 Vista
                                                                                      REFRIGERATOR, RIGHT-HINGE
UW-24/O-LH      10817           K01            On Hand          1                   0 24" WINE STORAGE, GLASS DOOR, OVERLAY, LEFT              $2,719.00    SUB-ZERO            $2,719.00 Vista
                                                                                      HINGE
827304          10817           Q01AA          On Hand          2                   0 Handle Kit - Pro                                             $56.00   Cove                       112 Vista
827304          10817           RECEIVING      On Hand          0                   0 Handle Kit - Pro                                             $56.00   Cove                         0 Vista
9009548         10817           N11C           On Hand          1                   0 60 cm Door Panel, Stainless, Pro Handle, 4" Toe Kick       $123.00    Cove                       123 Vista
9018924         10802           J54            On Hand          1                   0 24" Kickplate, Stainless, 4” Toe Kick                        $18.00   Cove                        18 Palm Desert
9019419         10817           N03C           On Hand          2                   0 24" DOOR PANEL, STAINLESS, TUBULAR HANDLE, 4"              $119.00    Cove                       238 Vista
                                                                                      TOE KICK
9019419         10805           STAGING        On Hand          0                   0 24" DOOR PANEL, STAINLESS, TUBULAR HANDLE, 4"              $119.00    Cove                         0 LADC
                                                                                      TOE KICK
9019419         10805           LAL213         On Hand          1                   0 24" DOOR PANEL, STAINLESS, TUBULAR HANDLE, 4"              $119.00    Cove                       119 LADC
                                                                                      TOE KICK
9019419         10802           PANELS         On Hand          4                   0 24" DOOR PANEL, STAINLESS, TUBULAR HANDLE, 4"              $119.00    Cove                       476 Palm Desert
                                                                                      TOE KICK
9019420         30816           RECEIVING      On Hand          0                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                         0 Little Vista
                                                                                      KICK
9019420         10817           STAGING        On Hand          0                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                         0 Vista
                                                                                      KICK
9019420         10817           RECEIVING      On Hand          1                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                       137 Vista
                                                                                      KICK
9019420         10817           N05B           On Hand          3                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                       411 Vista
                                                                                      KICK
9019420         10805           STAGING        On Hand          0                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                         0 LADC
                                                                                      KICK
9019420         10805           RECEIVING      On Hand          1                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                       137 LADC
                                                                                      KICK
9019420         10805           LAL233         On Hand          0                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                         0 LADC
                                                                                      KICK
9019420         10805           LAF51          On Hand          1                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                       137 LADC
                                                                                      KICK
9019420         10802           PANELS         On Hand          2                   0 24" DOOR PANEL, STAINLESS, PRO HANDLE, 4" TOE              $137.00    Cove                       274 Palm Desert
                                                                                      KICK
DW2450          10805           STAGING        On Hand          1                   1 24" Dishwasher Panel Ready                               $1,742.00    Cove                     1742 LADC
DW2450          10817           I02            On Hand          1                   0 24" Dishwasher Panel Ready                               $1,742.00    Cove                     1742 Vista
DW2450          10817           RECEIVING      On Hand          0                   0 24" Dishwasher Panel Ready                               $1,742.00    Cove                        0 Vista
DW2450          10817           STAGING        On Hand          1                   1 24" Dishwasher Panel Ready                               $1,742.00    Cove                     1742 Vista
DW2450          10817           WILL CALL      On Hand          1                   0 24" Dishwasher Panel Ready                               $1,742.00    Cove                     1742 Vista
DW2450          10802           E11            On Hand          1                   0 24" Dishwasher Panel Ready                               $1,742.00    Cove                     1742 Palm Desert
DW2450          30816           RECEIVING      On Hand          3                   0 24" Dishwasher Panel Ready                               $1,742.00    Cove                     5226 Little Vista
DW2450WS        10817           STAGING        On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 Vista
DW2450WS        10802           E11            On Hand          7                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                    12782 Palm Desert
DW2450WS        10802           RECEIVING      On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 Palm Desert
DW2450WS        10805           LA DISH WALL   On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 LADC
DW2450WS        10805           RECEIVING      On Hand          2                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                     3652 LADC
DW2450WS        10805           STAGING        On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 LADC
DW2450WS        10817           I02            On Hand          5                   2 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                     9130 Vista
DW2450WS        10817           RECEIVING      On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 Vista
DW2450WS        30001           LAGUNA         On Hand          1                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                     1826 OSDC
DW2450WS        30001           RECEIVING      On Hand          0                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                        0 OSDC
DW2450WS        30816           B02-D          On Hand          1                   0 24" Dishwasher Panel Ready with Water Softner            $1,826.00    Cove                     1826 Little Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                            Current Cost     Manufacturer   Extended cost     Location
7011075       10817           Q01AAA      On Hand          1                   0 HANDLE,PRO 15 DOOR                                $135.00    WOLF                  $135.00    Vista
801640        10805           LAF23       On Hand          1                   0 600 CFM REMOTE BLOWER                             $547.00    WOLF                  $547.00    LADC
801641        10817           N05B        On Hand          1                   0 900 CFM REMOTE                                    $689.00    WOLF                  $689.00    Vista
801641        10817           RECEIVING   On Hand          0                   0 900 CFM REMOTE                                    $689.00    WOLF                     $0.00   Vista
804365        10817           Q01AA       On Hand          1                   0 FREE RED KNOB KIT FOR DF30 RANGES                    $0.00   WOLF                     $0.00   Vista
804365        10817           R01AA       On Hand          1                   0 FREE RED KNOB KIT FOR DF30 RANGES                    $0.00   WOLF                     $0.00   Vista
804367        10001           A125        On Hand          1                   0 BLACK KNOB PACKAGE, 48-60DF (FREE OPTION)            $0.00   WOLF                     $0.00   OSDC
804367        10802           J54         On Hand          1                   0 BLACK KNOB PACKAGE, 48-60DF (FREE OPTION)            $0.00   WOLF                     $0.00   Palm Desert
804368        10805           LAL223      On Hand          1                   0 FREE RED KNOB KIT FOR DF30 RANGES                    $0.00   WOLF                     $0.00   LADC
804368        10817           T03A        On Hand          2                   0 FREE RED KNOB KIT FOR DF30 RANGES                    $0.00   WOLF                     $0.00   Vista
804370        10817           Q01AA       On Hand          1                   0 RED KNOB PACKAGE, 48-60DF (FREE OPTION)              $0.00   WOLF                     $0.00   Vista
804372        10817           N05D        On Hand          1                   0 TWO-BURNER WOK GRATE (WOK COVE                      $81.00   WOLF                   $81.00    Vista
804372        10817           STAGING     On Hand          1                   1 TWO-BURNER WOK GRATE (WOK COVE                      $81.00   WOLF                   $81.00    Vista
804377        10817           R01A        On Hand          1                   0 BRASS BEZELS DF36                                   $50.00   WOLF                   $50.00    Vista
804378        10817           R01AA       On Hand          1                   0 BRASS BEZELS DF36                                   $58.00   WOLF                   $58.00    Vista
804379        10817           R01AAA      On Hand          2                   0 BRASS BEZELS DF48/60                                $54.00   WOLF                  $108.00    Vista
806828        10001           A04-01A     On Hand          1                   0 WOLF DUAL FUEL RANGE CONTROL PANEL FOR 48         $300.00    WOLF                  $300.00    OSDC
                                                                                 RANGE
807142        10805           LAL222      On Hand          1                   0 BAKE STONE KIT 36"                                $177.00    WOLF                  $177.00    LADC
807142        10817           N04D        On Hand          1                   0 BAKE STONE KIT 36"                                $177.00    WOLF                  $177.00    Vista
808152        10805           LAL212      On Hand          0                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                    $0.00    LADC
808152        10805           STAGING     On Hand          0                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                    $0.00    LADC
808152        10817           N06F        On Hand          0                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                    $0.00    Vista
808152        10817           STAGING     On Hand          0                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                    $0.00    Vista
808152        30001           RECEIVING   On Hand          1                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                   $65.00    OSDC
808152        30816           DISC6       On Hand          1                   0 DOOR KIT - INTEGRATED, WD30                        $65.00    WOLF                   $65.00    Little Vista
808331        10802           H43         On Hand          1                   0 600 CFM INLINE BLOWER                             $435.00    WOLF                  $435.00    Palm Desert
808331        10805           LAF31       On Hand          1                   0 600 CFM INLINE BLOWER                             $435.00    WOLF                  $435.00    LADC
808331        10805           RECEIVING   On Hand          0                   0 600 CFM INLINE BLOWER                             $435.00    WOLF                    $0.00    LADC
808331        10817           P08D        On Hand          1                   0 600 CFM INLINE BLOWER                             $435.00    WOLF                  $435.00    Vista
808332        10817           P10A        On Hand          1                   0 BLOWER, 1100 CFM - INLINE                         $624.00    WOLF                  $624.00    Vista
808332        10817           P13B        On Hand          1                   0 BLOWER, 1100 CFM - INLINE                         $624.00    WOLF                  $624.00    Vista
808528        10817           N03A        On Hand          1                   0 20" RISER WITH SHELF SRT48*                       $639.00    WOLF                  $639.00    Vista
808529        10817           N03C        On Hand          1                   0 CONTAINER SET (6-PC SET)                          $373.00    WOLF                  $373.00    Vista
809710        10817           N13F        On Hand          1                   0 11" CUTTING BOARD FOR DF RANGE                    $100.00    WOLF                  $100.00    Vista
809710        10817           Q01AA       On Hand          1                   0 11" CUTTING BOARD FOR DF RANGE                    $100.00    WOLF                  $100.00    Vista
809710        10817           R01A        On Hand          1                   0 11" CUTTING BOARD FOR DF RANGE                    $100.00    WOLF                  $100.00    Vista
809710        10817           STAGING     On Hand          0                   0 11" CUTTING BOARD FOR DF RANGE                    $100.00    WOLF                    $0.00    Vista
809959        10817           N03B        On Hand          1                   0 27" E SERIES TRIM - CLASSIC FI                    $327.00    WOLF                  $327.00    Vista
809959        10817           N06B        On Hand          1                   0 27" E SERIES TRIM - CLASSIC FI                    $327.00    WOLF                  $327.00    Vista
809959        10817           N15B        On Hand          1                   0 27" E SERIES TRIM - CLASSIC FI                    $327.00    WOLF                  $327.00    Vista
809960        10817           N15B        On Hand          1                   0 27" E SERIES TRIM - CLASSIC FI                    $370.00    WOLF                  $370.00    Vista
810433        10805           OFFICE      On Hand          1                   0 BACKSPLASH W/ RACKS                               $643.00    WOLF                  $643.00    LADC
810438        10802           PANELS      On Hand          1                   0 BACKSPLASH, W/ RACKS 66X38                      $1,043.00    WOLF                $1,043.00    Palm Desert
810710        10805           LAL238      On Hand          1                   0 DUCT COVER ASSY-PROWALL 30,6                      $385.00    WOLF                  $385.00    LADC
810710        10817           N14E        On Hand          1                   0 DUCT COVER ASSY-PROWALL 30,6                      $385.00    WOLF                  $385.00    Vista
810713        10817           P10B        On Hand          2                   0 6" DUCT COVER                                     $420.00    WOLF                  $840.00    Vista
810722        10817           BW34A       On Hand          1                   0 DUCT COVER ASSY-PROWALL 60,12                     $516.00    WOLF                  $516.00    Vista
810724        10805           LAF24       On Hand          1                   0 DUCT COVER ASSY-PROWALL 30,18                     $470.00    WOLF                  $470.00    LADC
810729        10817           P10C        On Hand          1                   0 18" DUCT COVER                                    $628.00    WOLF                  $628.00    Vista
810729        10817           P14D        On Hand          1                   0 18" DUCT COVER                                    $628.00    WOLF                  $628.00    Vista
810734        10805           LAF23       On Hand          1                   0 DUCT COVER ASSY-PROWALL 48,24                     $639.00    WOLF                  $639.00    LADC
810735        10817           N13E        On Hand          1                   0 DUCT COVER ASSY-PROWALL 54,24                     $593.00    WOLF                  $593.00    Vista
810736        10817           P14C        On Hand          1                   0 DUCT COVER ASSY-PROWALL 60,24                     $612.00    WOLF                  $612.00    Vista
810737        10805           LAF23       On Hand          1                   0 DUCT COVER, PRO WALL 24X66                        $635.00    WOLF                  $635.00    LADC
810919        10817           R01AA       On Hand          1                   0 RANGE SIDE FILLER TRIM (SET OF TWO)               $123.00    WOLF                  $123.00    Vista
810991        10805           STAGING     On Hand          0                   0 BLOWER, INTERNAL-500CFM                           $458.00    WOLF                    $0.00    LADC
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost  Manufacturer   Extended cost  Location
810998        10817           P01AAA      On Hand          1                   0 RED KNOB KIT FOR SRT30, SRT36 & SRT48 RANGES       $115.00 WOLF                  $115.00 Vista

811020        10817           P14B        On Hand          1                   0 6" DUCT COVER                                       $443.00   WOLF               $443.00   Vista
811022        10817           P10B        On Hand          1                   0 6" DUCT COVER                                       $474.00   WOLF               $474.00   Vista
811022        10817           P14D        On Hand          1                   0 6" DUCT COVER                                       $474.00   WOLF               $474.00   Vista
811024        10805           LAL236      On Hand          1                   0 12" DUCT COVER FOR 36" PRO WALL CHIMNEY             $489.00   WOLF               $489.00   LADC
                                                                                 HOOD
811024        10817           P10B        On Hand          1                   0 12" DUCT COVER FOR 36" PRO WALL CHIMNEY             $489.00 WOLF                 $489.00 Vista
                                                                                 HOOD
811026        10817           P10B        On Hand          1                   0 DUCT COVER ASSY-PROCHIM 48,12                       $527.00   WOLF               $527.00   Vista
811028        10805           LAK144      On Hand          1                   0 18" DUCT COVER - STAINLESS STEEL                    $539.00   WOLF               $539.00   LADC
811034        10817           P10B        On Hand          1                   0 24" DUCT COVER                                      $566.00   WOLF               $566.00   Vista
811194        10817           N13C        On Hand          1                   0 3 1/4 X 14" TO 10" ROUND TRANS                       $92.00   WOLF                $92.00   Vista
811616        10817           P14C        On Hand          1                   0 DUCT COVER, PRO ISLAND 12"                          $547.00   WOLF               $547.00   Vista
811619        10805           LAF92       On Hand          1                   0 DUCT COVER, PRO ISLAND 18"                          $604.00   WOLF               $604.00   LADC
811838        10817           N04A        On Hand          1                   0 RECIRCULATING KIT PRO WALL 30"                      $701.00   WOLF               $701.00   Vista
812278        10805           LAK134      On Hand          1                   0 GRIDDLE CLEANING KIT                                $146.00   WOLF               $146.00   LADC
812278        10817           STAGING     On Hand          0                   0 GRIDDLE CLEANING KIT                                $146.00   WOLF                 $0.00   Vista
812278        10817           T01A        On Hand          0                   0 GRIDDLE CLEANING KIT                                $146.00   WOLF                 $0.00   Vista
812601        10817           N08F        On Hand          0                   0 DRWR FRONT, 30X2 W/ PRO HANDLE                      $400.00   WOLF                 $0.00   Vista
812601        10817           STAGING     On Hand          1                   1 DRWR FRONT, 30X2 W/ PRO HANDLE                      $400.00   WOLF               $400.00   Vista
813970        10805           LAF113      On Hand          1                   0 DUCT COVER, PRO WALL 30X36                          $670.00   WOLF               $670.00   LADC
813974        10817           P10C        On Hand          1                   0 DUCT COVER - PRO WALL 30X60                         $670.00   WOLF               $670.00   Vista
814088-D      30802           J15         On Hand          1                   0 DOOR, ACCESS - 36                                   $550.00   WOLF               $550.00   Palm Desert
814092-D      30802           J56         On Hand          1                   0 13" 3-DRAWER UNIT                                   $842.00   WOLF               $842.00   Palm Desert
814105        10817           N18E        On Hand          1                   0 30" BBQ LINER - BUILT-IN                            $982.00   WOLF               $982.00   Vista
814106        10817           N14C        On Hand          1                   0 36" INSULATING LINER                                $655.85   WOLF               $655.85   Vista
814423        10805           LAF22       On Hand          1                   0 INTERNAL 1200 CFM                                   $778.00   WOLF               $778.00   LADC
814423        10805           RECEIVING   On Hand          1                   0 INTERNAL 1200 CFM                                   $778.00   WOLF               $778.00   LADC
814423        10805           STAGING     On Hand          1                   1 INTERNAL 1200 CFM                                   $778.00   WOLF               $778.00   LADC
814423        10817           P08B        On Hand          5                   1 INTERNAL 1200 CFM                                   $778.00   WOLF             $3,890.00   Vista
814423        10817           RECEIVING   On Hand          0                   0 INTERNAL 1200 CFM                                   $778.00   WOLF                 $0.00   Vista
814423        10817           STAGING     On Hand          3                   3 INTERNAL 1200 CFM                                   $778.00   WOLF             $2,334.00   Vista
814732        10817           STAGING     On Hand          1                   1 COVER, BUILT IN,36                                  $142.00   WOLF               $142.00   Vista
814734        10817           N16F        On Hand          2                   0 COVER, BUILT IN,42                                    $0.00   WOLF                 $0.00   Vista
815320        10817           T03A        On Hand          3                   0 WOLF GRILL STAINLESS STEEL GRILL COVER               $65.74   WOLF               $197.22   Vista
816255        10817           P01AA       On Hand          1                   0 KNOB, BLACK BM13                                     $35.00   WOLF                $35.00   Vista
817394        10817           R01AA       On Hand          1                   0 WOLF BLOWER CABLE                                    $39.38   WOLF                $39.38   Vista
818031        10817           N10F        On Hand          1                   0 STAINLESS STEEL KNOB KIT FOR SRT30, SRT36 &         $135.00   WOLF              $135.00    Vista
                                                                                 SRT48 RANGES
818844        10001           A101        On Hand          1                   0 CANVAS COVER FOR WOLF 54" OUTDOOR GAS               $208.00 WOLF                 $208.00 OSDC
                                                                                 GRILL
819074        10817           N13F        On Hand          1                   0 RISER, 5 X 36 - GAS RANGE                           $200.00   WOLF               $200.00   Vista
819084        10805           LAF91       On Hand          1                   0 RISER, 20 X 60 - GAS RANGE                          $782.00   WOLF               $782.00   LADC
819376        10802           J54         On Hand          1                   0 BROILER PAN                                          $46.00   WOLF                $46.00   Palm Desert
819377        10805           LAL223      On Hand          1                   0 BROILER PAN                                          $58.00   WOLF                $58.00   LADC
820036        10817           N03B        On Hand          1                   0 27" BLACK GLASS MW                                  $370.00   WOLF               $370.00   Vista
820036        10817           N15B        On Hand          1                   0 27" BLACK GLASS MW                                  $370.00   WOLF               $370.00   Vista
820425        10817           P01AA       On Hand          1                   0 FREE STAINLESS STEEL KNOB KIT FOR DF30                $0.00   WOLF                 $0.00   Vista
                                                                                 RANGES
820426        10817           N10F        On Hand          1                   0 FREE STAINLESS STEEL KNOB KIT FOR DF36                $0.00 WOLF                   $0.00 Vista
                                                                                 RANGES
820427        10001           A121        On Hand          1                   0 STAINLESS STEEL KIT, 48-60DF (FREE OPTION)            $0.00   WOLF                 $0.00   OSDC
820427        10001           A125        On Hand          1                   0 STAINLESS STEEL KIT, 48-60DF (FREE OPTION)            $0.00   WOLF                 $0.00   OSDC
820427        10805           LAL223      On Hand          1                   0 STAINLESS STEEL KIT, 48-60DF (FREE OPTION)            $0.00   WOLF                 $0.00   LADC
820427        10817           Q01AA       On Hand          1                   0 STAINLESS STEEL KIT, 48-60DF (FREE OPTION)            $0.00   WOLF                 $0.00   Vista
821106        30816           DISC6       On Hand          1                   0 Transformer for Steam Ovens                           $0.00   WOLF                 $0.00   Little Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                               Current Cost  Manufacturer   Extended cost  Location
821178        10817           P01A        On Hand          1                   0 BLACK KNOB KIT, 30 - GAS RANGE                       $115.00 WOLF                  $115.00 Vista
821182        10802           J54         On Hand          1                   0 STAINLESS STEEL KNOB KIT FOR 36" GAS RANGE           $150.00 WOLF                  $150.00 Palm Desert

821194        10805           LAL233      On Hand          1                   0 FULL EXTENSION GLIDE RACK FOR 30" GAS RANGE         $150.00 WOLF                   $150.00 LADC
                                                                                 OVENS
821194        10805           RECEIVING   On Hand          0                   0 FULL EXTENSION GLIDE RACK FOR 30" GAS RANGE         $150.00 WOLF                     $0.00 LADC
                                                                                 OVENS
821195        10805           LAL233      On Hand          1                   0 FULL EXTENSION RACK, 36 - GAS RANGE                 $150.00    WOLF                $150.00   LADC
821195        10805           RECEIVING   On Hand          0                   0 FULL EXTENSION RACK, 36 - GAS RANGE                 $150.00    WOLF                  $0.00   LADC
821199        10817           N16F        On Hand          2                   0 KICKPLATE, 36 -NEW GAS RANGE                         $15.00    WOLF                 $30.00   Vista
821200        10817           N04F        On Hand          1                   0 KICKPLATE, 48 -NEW GAS RANGE                         $19.00    WOLF                 $19.00   Vista
821201        10817           N02A        On Hand          1                   0 KICKPLATE, 60 - GAS RANGE                            $19.00    WOLF                 $19.00   Vista
821343        10817           N11F        On Hand          2                   0 30" FRAMED TRIM KIT, E SERIES                       $172.50    WOLF                $345.00   Vista
821344        10817           N11F        On Hand          1                   0 E SERIES UNFRAMED STAINLESS STEELTRIM KIT           $170.00    WOLF                $170.00   Vista
                                                                                 FOR STEAM OVEN
821697        10817           R01AAA      On Hand          1                   0 FRONT LEG COVERS -NEW GAS RANGE                      $65.00    WOLF                 $65.00   Vista
822026        10001           A1410       On Hand          1                   0 22" CUTTING BOARD                                   $112.00    WOLF                $112.00   OSDC
822026        10817           R01AA       On Hand          0                   0 22" CUTTING BOARD                                   $112.00    WOLF                  $0.00   Vista
822026        10817           STAGING     On Hand          1                   1 22" CUTTING BOARD                                   $112.00    WOLF                $112.00   Vista
822113        10802           J54         On Hand          3                   0 MD24TE/S FLUSH INSET VENT                            $37.02    WOLF                $111.06   Palm Desert
822113        10817           N10F        On Hand          1                   0 MD24TE/S FLUSH INSET VENT                            $37.02    WOLF                 $37.02   Vista
822113        10817           Q01AA       On Hand          5                   0 MD24TE/S FLUSH INSET VENT                            $37.02    WOLF                $185.10   Vista
822114        10817           Q01A        On Hand          2                   0 MD30TE/S & MD30PE/S FLUSH INSET VENT                 $25.35    WOLF                 $50.70   Vista
822114        10817           STAGING     On Hand          0                   0 MD30TE/S & MD30PE/S FLUSH INSET VENT                 $25.35    WOLF                  $0.00   Vista
822171        10817           N04A        On Hand          1                   0 HORIZONTAL DISCHARGE KIT, 66"                       $142.00    WOLF                $142.00   Vista
822192        10817           Q01AAA      On Hand          1                   0 BLACK KNOB KIT - 30, GAS RANGE (FREE OPTION)          $0.00    WOLF                  $0.00   Vista

822193        10817           Q01AAA      On Hand          2                   0 SST KNOB KIT - 30, GAS RANGE (FREE OPTION)             $0.00 WOLF                    $0.00 Vista
822194        10805           LAL223      On Hand          1                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 LADC
                                                                                 KIT)
822194        10805           RECEIVING   On Hand          0                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 LADC
                                                                                 KIT)
822194        10817           P01A        On Hand          0                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 Vista
                                                                                 KIT)
822194        10817           P01AAA      On Hand          1                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 Vista
                                                                                 KIT)
822194        10817           R01AA       On Hand          1                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 Vista
                                                                                 KIT)
822194        10817           STAGING     On Hand          0                   0 BLACK KNOB KIT - 36, GAS RANGE (FREE OPTION            $0.00 WOLF                    $0.00 Vista
                                                                                 KIT)
822195        10802           J54         On Hand          1                   0 SST KNOB KIT - 36, GAS RANGE (FREE OPTION)             $0.00   WOLF                  $0.00   Palm Desert
822195        10805           RECEIVING   On Hand          1                   0 SST KNOB KIT - 36, GAS RANGE (FREE OPTION)             $0.00   WOLF                  $0.00   LADC
822195        10817           P01AAA      On Hand          5                   0 SST KNOB KIT - 36, GAS RANGE (FREE OPTION)             $0.00   WOLF                  $0.00   Vista
822195        10817           R01AA       On Hand          1                   0 SST KNOB KIT - 36, GAS RANGE (FREE OPTION)             $0.00   WOLF                  $0.00   Vista
822195        10817           STAGING     On Hand          1                   1 SST KNOB KIT - 36, GAS RANGE (FREE OPTION)             $0.00   WOLF                  $0.00   Vista
822196        10802           J54         On Hand          1                   0 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00   WOLF                  $0.00   Palm Desert

822196        10802           RECEIVING   On Hand          0                   0 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00 WOLF                    $0.00 Palm Desert

822196        10817           P01A        On Hand          4                   0 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00 WOLF                    $0.00 Vista

822196        10817           P01AAA      On Hand          6                   0 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00 WOLF                    $0.00 Vista

822196        10817           STAGING     On Hand          1                   1 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00 WOLF                    $0.00 Vista

822196        10817           WILL CALL   On Hand          0                   0 FREE BLACK KNOBS FOR 48" & 60" ALL-GAS RANGE           $0.00 WOLF                    $0.00 Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost   Manufacturer   Extended cost   Location
822197        10805           LAL223      On Hand          1                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                     $0.00 LADC
                                                                                 RANGES
822197        10805           RECEIVING   On Hand          1                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                    $0.00 LADC
                                                                                 RANGES
822197        10817           N12F        On Hand          1                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                    $0.00 Vista
                                                                                 RANGES
822197        10817           P01AAA      On Hand          1                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                    $0.00 Vista
                                                                                 RANGES
822197        10817           Q01A        On Hand          1                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                    $0.00 Vista
                                                                                 RANGES
822197        10817           R01A        On Hand          3                   0 FREE STAINLESS STEEL KNOB SET FOR 48"/60"             $0.00 WOLF                    $0.00 Vista
                                                                                 RANGES
822725        10817           STAGING     On Hand          0                   0 600 CFM INTERNAL BLOWER                            $508.00 WOLF                     $0.00   Vista
822726        10805           LAL223      On Hand          1                   0 300 CFM INTERNAL BLOWER                            $370.00 WOLF                   $370.00   LADC
822732        10805           LAL224      On Hand          1                   0 TRANSITIONAL STAINLESS TUBE HANDLE KIT             $123.00 WOLF                   $123.00   LADC
823244        10817           N06E        On Hand          1                   0 30" BAKE STONE KIT                                 $200.00 WOLF                   $200.00   Vista
823247        10817           P01AAA      On Hand          1                   0 30" DEHYDRATION KIT                                $158.00 WOLF                   $158.00   Vista
823272        10817           R01AA       On Hand          1                   0 SS KNOB KIT (ORDER 2 FOR DBL)                         $0.00 WOLF                    $0.00   Vista
823273        10805           LAL223      On Hand          1                   0 RED KNOB KIT (ORDER 2 FOR DBL)                       $30.00 WOLF                   $30.00   LADC
823273        10805           LAL224      On Hand          1                   0 RED KNOB KIT (ORDER 2 FOR DBL)                       $30.00 WOLF                   $30.00   LADC
823273        10817           Q01A        On Hand          3                   0 RED KNOB KIT (ORDER 2 FOR DBL)                       $30.00 WOLF                   $90.00   Vista
823274        10802           J54         On Hand          1                   0 BLACK FOC KNOB (FREE OPTION) (ORDER 2 FOR             $0.00 WOLF                    $0.00   Palm Desert
                                                                                 DBL)
823274        10805           LAL223      On Hand          1                   0 BLACK FOC KNOB (FREE OPTION) (ORDER 2 FOR             $0.00 WOLF                    $0.00 LADC
                                                                                 DBL)
823274        10805           RECEIVING   On Hand          0                   0 BLACK FOC KNOB (FREE OPTION) (ORDER 2 FOR             $0.00 WOLF                    $0.00 LADC
                                                                                 DBL)
823274        10805           STAGING     On Hand          0                   0 BLACK FOC KNOB (FREE OPTION) (ORDER 2 FOR             $0.00 WOLF                    $0.00 LADC
                                                                                 DBL)
823277        10817           N13C        On Hand          1                   0 (30" M-SERIES) CONTEMPROARY WARMING                $393.00 WOLF                   $393.00 Vista
                                                                                 DRAWER FRONT
823278        10817           N02C        On Hand          1                   0 (30" M-SERIES) TRANSITIONAL STYLE WARMING          $393.00 WOLF                   $393.00 Vista
                                                                                 DRAWER FRONT
823278        10817           N13F        On Hand          1                   0 (30" M-SERIES) TRANSITIONAL STYLE WARMING          $393.00 WOLF                   $393.00 Vista
                                                                                 DRAWER FRONT
823279        10802           PANELS      On Hand          1                   0 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                   $393.00 Palm Desert
                                                                                 FRONT
823279        10805           LAL213      On Hand          0                   0 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                     $0.00 LADC
                                                                                 FRONT
823279        10805           STAGING     On Hand          0                   0 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                     $0.00 LADC
                                                                                 FRONT
823279        10817           N05D        On Hand          0                   0 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                     $0.00 Vista
                                                                                 FRONT
823279        10817           STAGING     On Hand          1                   1 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                   $393.00 Vista
                                                                                 FRONT
823279        10817           WILL CALL   On Hand          1                   0 (30"M-SERIES) PRO STYLE WARMING DRAWER             $393.00 WOLF                   $393.00 Vista
                                                                                 FRONT
823530        30001           RECEIVING   On Hand          1                   0 DUCT, HIGH CEILING - WALL                          $242.45 WOLF                   $242.45   OSDC
823531        10817           Q08C        On Hand          1                   0 DUCT, HIGH CEILING - ISLAND                        $855.00 WOLF                   $855.00   Vista
824485        10817           R01AA       On Hand          1                   0 GRATE, PROFESSIONAL / WOK                            $65.00 WOLF                   $65.00   Vista
824487        10817           Q01AA       On Hand          1                   0 KNOBS, 36” PROFESSIONAL / BLACK (FREE OF              $0.00 WOLF                    $0.00   Vista
                                                                                 CHARGE OPTION)
824487        10817           RECEIVING   On Hand          0                   0 KNOBS, 36” PROFESSIONAL / BLACK (FREE OF              $0.00 WOLF                    $0.00 Vista
                                                                                 CHARGE OPTION)
824488        10817           R01AA       On Hand          1                   0 KNOBS, 30” PROFESSIONAL / STAINLESS (FREE OF          $0.00 WOLF                    $0.00 Vista
                                                                                 CHARGE OPTION)
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                            Current Cost  Manufacturer   Extended cost  Location
824641        10817           N14C        On Hand          1                   0 30” STAINLESS CONVECTION MICROWAVE TRIM KIT       $384.00 WOLF                  $384.00 Vista

824642        10817           T15E        On Hand          1                   0 30” BLACK STANDARD MICROWAVE TRIM KIT              $393.00 WOLF                 $393.00 Vista
825146        10817           R01AA       On Hand          1                   0 30" Black Knob Set                                  $73.00 WOLF                  $73.00 Vista
825148        10817           R01A        On Hand          1                   0 KNOB KIT, BLACK, SIDE BURNER AND BURNER             $50.00 WOLF                  $50.00 Vista
                                                                                 MODULE
826012        10802           J54         On Hand          1                   0 HANDLE, WWD PROFESSIONAL                           $139.00   WOLF               $139.00   Palm Desert
826012        10817           Q01A        On Hand          1                   0 HANDLE, WWD PROFESSIONAL                           $139.00   WOLF               $139.00   Vista
826405        10802           I43         On Hand          1                   0 30" M Series Transitional Trim Kit                 $173.00   WOLF               $173.00   Palm Desert
826405        10802           PANELS      On Hand          1                   0 30" M Series Transitional Trim Kit                 $173.00   WOLF               $173.00   Palm Desert
826406        10817           N04D        On Hand          1                   0 30" E Series Transitional Trim Kit                 $216.00   WOLF               $216.00   Vista
826407        10817           N04B        On Hand          1                   0 30" M Series Professional Trim Kit                 $162.00   WOLF               $162.00   Vista
826543        10805           LAL224      On Hand          1                   0 30" Transitional                                   $347.00   WOLF               $347.00   LADC
826668        10802           J54         On Hand          1                   0 Pro Handle                                         $158.00   WOLF               $158.00   Palm Desert
826668        10817           P01A        On Hand          0                   0 Pro Handle                                         $158.00   WOLF                 $0.00   Vista
826668        10817           STAGING     On Hand          1                   1 Pro Handle                                         $158.00   WOLF               $158.00   Vista
826668        10817           T03A        On Hand          1                   0 Pro Handle                                         $158.00   WOLF               $158.00   Vista
826900        10817           P10A        On Hand          1                   0 54" X 30" PRO ISLAND DUCT COVER                    $655.00   WOLF               $655.00   Vista
826900        10817           P10B        On Hand          1                   0 54" X 30" PRO ISLAND DUCT COVER                    $655.00   WOLF               $655.00   Vista
826903        10805           LAF82       On Hand          1                   0 42" X 30" PRO CHIMNEY DUCT COVER                   $561.00   WOLF               $561.00   LADC
826904        10001           H71         On Hand          1                   0 48" X 30" PRO CHIMNEY DUCT COVER                   $697.00   WOLF               $697.00   OSDC
826985        10805           LAL223      On Hand          1                   0 RED KNOB KIT, CONTEMP CKTP (Free of Charge           $0.00   WOLF                 $0.00   LADC
                                                                                 Option)
826986        10817           P01AA       On Hand          3                   0 STAINLESS STEEL KNOB KIT, CONTEMP CKTP (Free         $0.00 WOLF                   $0.00 Vista
                                                                                 of Charge Option)
827131        10805           LAL224      On Hand          1                   0 FILLER STRIP, HOOD                                  $23.00   WOLF                $23.00   LADC
827131        10817           Q01A        On Hand          1                   0 FILLER STRIP, HOOD                                  $23.00   WOLF                $23.00   Vista
827132        10001           A83         On Hand          1                   0 FILLER STRIP, DOWNDRAFT                             $23.00   WOLF                $23.00   OSDC
827256        10001           A102        On Hand          1                   0 KIT, 24" SIDE TRIM, E SERIES                        $50.00   WOLF                $50.00   OSDC
827313        10805           LAL223      On Hand          1                   0 BLACK KNOB KIT                                       $0.00   WOLF                 $0.00   LADC
827313        10805           RECEIVING   On Hand          0                   0 BLACK KNOB KIT                                       $0.00   WOLF                 $0.00   LADC
827313        10805           STAGING     On Hand          0                   0 BLACK KNOB KIT                                       $0.00   WOLF                 $0.00   LADC
827313        10817           P01A        On Hand          8                   0 BLACK KNOB KIT                                       $0.00   WOLF                 $0.00   Vista
827313        10817           Q01AAA      On Hand          4                   0 BLACK KNOB KIT                                       $0.00   WOLF                 $0.00   Vista
827314        10805           LAL223      On Hand          2                   0 STAINLESS STEEL KNOB KIT, SRT                        $0.00   WOLF                 $0.00   LADC
827314        10817           P01AA       On Hand          8                   0 STAINLESS STEEL KNOB KIT, SRT                        $0.00   WOLF                 $0.00   Vista
827314        10817           STAGING     On Hand          2                   2 STAINLESS STEEL KNOB KIT, SRT                        $0.00   WOLF                 $0.00   Vista
827318        10817           Q01AA       On Hand          1                   0 36"/48" SRT Red Knobs                              $150.00   WOLF               $150.00   Vista
827398        10802           J54         On Hand          1                   0 SIDE TRIM, MDD30, LEFT/RIGHT KIT                    $54.00   WOLF                $54.00   Palm Desert
827600        10817           N13D        On Hand          2                   0 DOOR, ACCESS - 30                                  $566.00   WOLF             $1,132.00   Vista
827600        10817           N14B        On Hand          1                   0 DOOR, ACCESS - 30                                  $566.00   WOLF               $566.00   Vista
827600        10817           N14C        On Hand          1                   0 DOOR, ACCESS - 30                                  $566.00   WOLF               $566.00   Vista
827601        10817           N14B        On Hand          5                   0 DOOR, ACCESS - 36                                  $658.00   WOLF             $3,290.00   Vista
827602        10805           LAF23       On Hand          1                   0 DOOR, ACCESS - 42                                  $732.00   WOLF               $732.00   LADC
827602        10805           LAL241      On Hand          1                   0 DOOR, ACCESS - 42                                  $732.00   WOLF               $732.00   LADC
827602        10817           N14B        On Hand          4                   0 DOOR, ACCESS - 42                                  $732.00   WOLF             $2,928.00   Vista
827602        10817           WILL CALL   On Hand          1                   0 DOOR, ACCESS - 42                                  $732.00   WOLF               $732.00   Vista
827603        10817           N03A        On Hand          1                   0 DOOR, ACCESS - 54                                  $928.00   WOLF               $928.00   Vista
827604        10805           LAJ142      On Hand          2                   0 DRAWER, SINGLE - 30                                $878.00   WOLF             $1,756.00   LADC
827604        10817           N14D        On Hand          1                   0 DRAWER, SINGLE - 30                                $878.00   WOLF               $878.00   Vista
827606        10817           N14C        On Hand          0                   0 DRAWER, TRIPLE - 13                                  $0.00   WOLF                 $0.00   Vista
827606        10817           STAGING     On Hand          1                   1 DRAWER, TRIPLE - 13                                  $0.00   WOLF                 $0.00   Vista
827691        10817           N11F        On Hand          1                   0 SOUS VIDE BASKET                                    $73.00   WOLF                $73.00   Vista
827725        10817           N04B        On Hand          1                   0 24" CONTEMPORARY BLACK GLASS FRONT, VS24            $85.00   WOLF                $85.00   Vista

827726        10817           N04C        On Hand          1                   0 24" STAINLESS STEEL FRONT, VS24                    $100.00 WOLF                 $100.00 Vista
827858        10817           T01AA       On Hand          1                   0 CSO30 HANDLE / E SERIES CONTEMPORARY               $139.00 WOLF                 $139.00 Vista
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Item Number   Location Code   Bin          QTY Type   QTY       QTY Allocated     Item Description                             Current Cost     Manufacturer   Extended cost   Location
827869        10817           N14C         On Hand          0                   0 30” M SERIES, STAINLESS CONVECTION                 $393.00    WOLF                     $0.00 Vista
                                                                                  MICROWAVE TRIM KIT
827869        10817           N15E         On Hand          1                   0 30” M SERIES, STAINLESS CONVECTION                 $393.00    WOLF                  $393.00 Vista
                                                                                  MICROWAVE TRIM KIT
827869        10817           STAGING      On Hand          0                   0 30” M SERIES, STAINLESS CONVECTION                 $393.00    WOLF                    $0.00 Vista
                                                                                  MICROWAVE TRIM KIT
827870        10817           N15B         On Hand          1                   0 30” M SERIES, STAINLESS STANDARD MICROWAVE         $347.00    WOLF                  $347.00 Vista
                                                                                  TRIM KIT
827871        10802           H33          On Hand          1                   0 30" X 36" PRO WALL HOOD DUCT COVER                 $705.00    WOLF                  $705.00   Palm Desert
827871        10817           N18E         On Hand          1                   0 30" X 36" PRO WALL HOOD DUCT COVER                 $705.00    WOLF                  $705.00   Vista
827871        10817           P10B         On Hand          1                   0 30" X 36" PRO WALL HOOD DUCT COVER                 $705.00    WOLF                  $705.00   Vista
827874        10817           N18E         On Hand          1                   0 48" X 36" PRO WALL HOOD DUCT COVER                 $758.00    WOLF                  $758.00   Vista
827878        10817           N15D         On Hand          1                   0 36" X 36" PRO CHIMNEY DUCT COVER                   $724.00    WOLF                  $724.00   Vista
827880        10805           LAF23        On Hand          1                   0 48" X 36" PRO CHIMNEY DUCT COVER                   $758.00    WOLF                  $758.00   LADC
827880        10817           P10A         On Hand          1                   0 48" X 36" PRO CHIMNEY DUCT COVER                   $758.00    WOLF                  $758.00   Vista
828022        10802           PANELS       On Hand          1                   0 30" SS E SERIES MICROWAVE TRIM                     $362.00    WOLF                  $362.00   Palm Desert
828075        10817           N07F         On Hand          1                   0 RECIRCULATING FILTERS, CEILING HOOD                $100.00    WOLF                  $100.00   Vista
828197        30816           RECEIVING    On Hand          5                   0 KIT,SHOWROOM,DFIR,WO                                  $0.00   WOLF                    $0.00   Little Vista
828438        10802           J54          On Hand          1                   0 30" DUAL FUEL STAINLESS STEEL KNOBS (NO               $0.00   WOLF                    $0.00   Palm Desert
                                                                                  CHARGE OPTION)
828439        10802           J54          On Hand          1                   0 36" DUAL FUEL STAINLESS STEEL KNOBS (NO               $0.00   WOLF                    $0.00 Palm Desert
                                                                                  CHARGE OPTION)
828439        10817           Q01AAA       On Hand          2                   0 36" DUAL FUEL STAINLESS STEEL KNOBS (NO               $0.00   WOLF                    $0.00 Vista
                                                                                  CHARGE OPTION)
828439        10817           R01AAA       On Hand          1                   0 36" DUAL FUEL STAINLESS STEEL KNOBS (NO               $0.00   WOLF                    $0.00 Vista
                                                                                  CHARGE OPTION)
828439        10817           STAGING      On Hand          0                   0 36" DUAL FUEL STAINLESS STEEL KNOBS (NO               $0.00   WOLF                    $0.00 Vista
                                                                                  CHARGE OPTION)
828440        10802           J54          On Hand          1                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Palm Desert
                                                                                  (NO CHARGE OPTION)
828440        10802           RECEIVING    On Hand          0                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Palm Desert
                                                                                  (NO CHARGE OPTION)
828440        10805           LAL223       On Hand          1                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 LADC
                                                                                  (NO CHARGE OPTION)
828440        10805           STAGING      On Hand          1                   1 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 LADC
                                                                                  (NO CHARGE OPTION)
828440        10817           P01AA        On Hand          3                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Vista
                                                                                  (NO CHARGE OPTION)
828440        10817           P01AAA       On Hand          7                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Vista
                                                                                  (NO CHARGE OPTION)
828440        10817           STAGING      On Hand          1                   1 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Vista
                                                                                  (NO CHARGE OPTION)
828440        30802           J14          On Hand          1                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 Palm Desert
                                                                                  (NO CHARGE OPTION)
828440        30805           DISPLAY 11   On Hand          1                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS           $0.00   WOLF                    $0.00 LADC
                                                                                  (NO CHARGE OPTION)
828441        10805           LAL223       On Hand          1                   0 48" AND 60" DUAL FUEL BLACK KNOBS (NO CHARGE          $0.00   WOLF                    $0.00 LADC
                                                                                  OPTION)
828441        10805           RECEIVING    On Hand          1                   0 48" AND 60" DUAL FUEL BLACK KNOBS (NO CHARGE          $0.00   WOLF                    $0.00 LADC
                                                                                  OPTION)
828441        10817           P01A         On Hand          4                   0 48" AND 60" DUAL FUEL BLACK KNOBS (NO CHARGE          $0.00   WOLF                    $0.00 Vista
                                                                                  OPTION)
828441        10817           Q01AAA       On Hand          2                   0 48" AND 60" DUAL FUEL BLACK KNOBS (NO CHARGE          $0.00   WOLF                    $0.00 Vista
                                                                                  OPTION)
828441        10817           STAGING      On Hand          0                   0 48" AND 60" DUAL FUEL BLACK KNOBS (NO CHARGE          $0.00   WOLF                    $0.00 Vista
                                                                                  OPTION)
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost   Manufacturer          Extended cost   Location
828442        10805           LAL223      On Hand          1                   1 36" DUAL FUEL BLACK KNOBS (NO CHARGE OPTION)          $0.00 WOLF                            $0.00 LADC

828442        10805           RECEIVING   On Hand          0                   0 36" DUAL FUEL BLACK KNOBS (NO CHARGE OPTION)                  $0.00 WOLF                   $0.00 LADC

828442        10817           Q01AA       On Hand          2                   0 36" DUAL FUEL BLACK KNOBS (NO CHARGE OPTION)                  $0.00 WOLF                   $0.00 Vista

828442        10817           R01AAA      On Hand          0                   0 36" DUAL FUEL BLACK KNOBS (NO CHARGE OPTION)                  $0.00 WOLF                   $0.00 Vista

828447        10817           P08C        On Hand          1                   0 DUCT COVER, PRO OUTDOOR, 18X36                              $350.35   WOLF               $350.35   Vista
828801        10805           LAL222      On Hand          1                   0 INTEGRATED PANEL ADAPTER KIT                                 $39.00   WOLF                $39.00   LADC
828801        10817           Q01AAA      On Hand          3                   0 INTEGRATED PANEL ADAPTER KIT                                 $39.00   WOLF               $117.00   Vista
828801        10817           RECEIVING   On Hand          0                   0 INTEGRATED PANEL ADAPTER KIT                                 $39.00   WOLF                 $0.00   Vista
828801        40817           RECEIVING   On Hand          0                   0 INTEGRATED PANEL ADAPTER KIT                                 $39.00   WOLF                 $0.00   Vista
829155        10802           J55         On Hand          0                   0 BLOWER, INTERNAL-800CFM                                     $643.00   WOLF                 $0.00   Palm Desert
829155        10817           P08B        On Hand          1                   0 BLOWER, INTERNAL-800CFM                                     $643.00   WOLF               $643.00   Vista
829155        10817           RECEIVING   On Hand          1                   0 BLOWER, INTERNAL-800CFM                                     $643.00   WOLF               $643.00   Vista
829155        10817           STAGING     On Hand          1                   1 BLOWER, INTERNAL-800CFM                                     $643.00   WOLF               $643.00   Vista
829155        30816           RECEIVING   On Hand          1                   0 BLOWER, INTERNAL-800CFM                                     $643.00   WOLF               $643.00   Little Vista
829280        10817           Q01AAA      On Hand          1                   0 NG High Altitude Conversion Kit                              $54.00   WOLF                $54.00   Vista
829294        30001           RECEIVING   On Hand          1                   0 PANCEL ASSY, FR, GLASS, 24, ACC                               $0.00   WOLF                 $0.00   OSDC
829297        10817           N13F        On Hand          1                   0 PANCEL ASSY, FR, SS, 30, ACC                                $119.00   WOLF               $119.00   Vista
829306        10817           N15B        On Hand          1                   0 30" Convection Microwave Trim (E Transitional & M           $393.00   WOLF               $393.00   Vista
                                                                                 Contemporary Stainless)
829310        10805           LAF51       On Hand          0                   0 30" Standard Microwave Trim (E Transitional & M             $393.00 WOLF                   $0.00 LADC
                                                                                 Contemporary Stainless)
829310        10817           N15E        On Hand          2                   0 30" Standard Microwave Trim (E Transitional & M             $393.00 WOLF                 $786.00 Vista
                                                                                 Contemporary Stainless)
829310        10817           RECEIVING   On Hand          0                   0 30" Standard Microwave Trim (E Transitional & M             $393.00 WOLF                   $0.00 Vista
                                                                                 Contemporary Stainless)
829837        10817           N04B        On Hand          1                   0 (30" E-Series) Pro Style Warming Drawer Front               $393.00 WOLF                 $393.00 Vista
829839        10817           R01B        On Hand          1                   0 (30" E-Series) Transitional Style Warming Drawer Front      $393.00 WOLF                 $393.00 Vista

9015763       10817           Q01A        On Hand          1                   0 48" AND 60" DUAL FUEL STAINLESS STEEL KNOBS                 $146.00 WOLF                 $146.00 Vista
                                                                                 (FULL PRICE)
9016123       10001           A91         On Hand          1                   0 48" X 10" DUAL FUEL RANGE RISER                             $285.00   WOLF               $285.00   OSDC
9016124       10817           N02A        On Hand          1                   0 48" X 20" DUAL FUEL RANGE RISER WITH SHELF                  $620.00   WOLF               $620.00   Vista
9018545       10817           R01B        On Hand          1                   0 48" DUAL FUEL KICKPLATE - 3"                                 $35.00   WOLF                $35.00   Vista
9022087       10817           Q01AA       On Hand          1                   0 30" DUAL FUEL AND INDUCTION RANGE KICKPLATE -                $19.00   WOLF                $19.00   Vista
                                                                                 2 1/2"
9022089       10817           N05F        On Hand          1                   0 30" DUAL FUEL AND INDUCTION RANGE KICKPLATE -                $19.00 WOLF                  $19.00 Vista
                                                                                 4"
9022090       10817           N04E        On Hand          1                   0 30" DUAL FUEL AND INDUCTION RANGE KICKPLATE -                $15.00 WOLF                  $15.00 Vista
                                                                                 4 1/2"
9022092       10805           LAL213      On Hand          1                   0 36" DUAL FUEL AND INDUCTION RANGE KICKPLATE -                $27.00 WOLF                  $27.00 LADC
                                                                                 3 1/2"
9022093       10817           N05F        On Hand          1                   0 36" DUAL FUEL AND INDUCTION RANGE KICKPLATE -                $27.00 WOLF                  $27.00 Vista
                                                                                 4"
9022120       10805           LAL213      On Hand          1                   0 60" DUAL FUEL RANGE KICKPLATE - 4 1/2"                       $46.00   WOLF                $46.00   LADC
9022120       10817           N11F        On Hand          1                   0 60" DUAL FUEL RANGE KICKPLATE - 4 1/2"                       $46.00   WOLF                $46.00   Vista
9022347       10001           A92         On Hand          2                   0 2 1/2" FRONT LEG COVERS                                      $58.00   WOLF               $116.00   OSDC
9022537       10817           N11C        On Hand          1                   0 22" CUTTING BOARD                                           $108.00   WOLF               $108.00   Vista
9022537       10817           N16F        On Hand          1                   0 22" CUTTING BOARD                                           $108.00   WOLF               $108.00   Vista
9022538       10817           N05D        On Hand          2                   0 36" FULL-EXTENSION BALL-BEARING OVEN RACK                   $146.00   WOLF               $292.00   Vista

9022587       10001           A92         On Hand          3                   0 2 1/2" REAR CASTER COVERS                                    $81.00 WOLF                 $243.00 OSDC
9022591       10817           Q01A        On Hand          1                   0 4 1/2" Rear Caster Covers                                    $81.00 WOLF                  $81.00 Vista
9022609       10817           T01A        On Hand          1                   0 4 1/2" FRONT LEG COVERS                                      $62.00 WOLF                  $62.00 Vista
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9030652       10817           N04D        On Hand          2                   0 30" FULL-EXTENSION BALL-BEARING OVENRACK                        $146.00 WOLF                  $292.00 Vista
9039691       10001           A145        On Hand          1                   0 48" AND 60" DUAL FUEL RED KNOBS (FULL PRICE)                    $146.00 WOLF                  $146.00 OSDC

9039691       10817           R01A        On Hand          1                   0 48" AND 60" DUAL FUEL RED KNOBS (FULL PRICE)                   $146.00 WOLF                   $146.00 Vista

9056271       10817           Q01AA       On Hand          1                   0 Brushed Gray Knobs NC                                            $0.00    WOLF                  $0.00   Vista
9056273       10802           J54         On Hand          1                   0 Brushed Brass Knobs NC                                           $0.00    WOLF                  $0.00   Palm Desert
9056273       10817           T01A        On Hand          3                   0 Brushed Brass Knobs NC                                           $0.00    WOLF                  $0.00   Vista
9056274       10817           R01AA       On Hand          1                   0 Brushed Brass Knobs                                            $146.00    WOLF                $146.00   Vista
9056275       10805           LAL223      On Hand          1                   0 Brushed Gray Knobs NC                                            $0.00    WOLF                  $0.00   LADC
9056275       10817           Q01AA       On Hand          1                   0 Brushed Gray Knobs NC                                            $0.00    WOLF                  $0.00   Vista
9056338       10817           P01AA       On Hand          0                   0 Brushed Brass Knobs NC                                           $0.00    WOLF                  $0.00   Vista
9056338       10817           STAGING     On Hand          0                   0 Brushed Brass Knobs NC                                           $0.00    WOLF                  $0.00   Vista
9056341       10817           P01AA       On Hand          2                   0 Brushed Gray Knobs NC                                            $0.00    WOLF                  $0.00   Vista
9056352       10817           P01AA       On Hand          1                   0 Knobs for CG304P/S - Black (Free of Charge)                      $0.00    WOLF                  $0.00   Vista
9056352       10817           RECEIVING   On Hand          0                   0 Knobs for CG304P/S - Black (Free of Charge)                      $0.00    WOLF                  $0.00   Vista
9056356       10805           LAL233      On Hand          1                   0 Brushed Brass Knobs NC                                           $0.00    WOLF                  $0.00   LADC
9056363       10817           P01AA       On Hand          2                   0 Knobs for CG365P/S - Brushed Stainless (Free of Charge)          $0.00    WOLF                  $0.00   Vista

9056363       10817           STAGING     On Hand          0                   0 Knobs for CG365P/S - Brushed Stainless (Free of Charge)           $0.00 WOLF                    $0.00 Vista

9056786       10817           P01AA       On Hand          1                   0 Brushed Brass Bezels                                             $81.00 WOLF                   $81.00 Vista
9056787       10817           Q01AA       On Hand          1                   0 BRUSHED BRASS BEZELS FOR DUAL FUEL 48"                           $62.40 WOLF                   $62.40 Vista
                                                                                 RANGE
9056787       10817           R01AA       On Hand          1                   0 BRUSHED BRASS BEZELS FOR DUAL FUEL 48"                           $62.40 WOLF                   $62.40 Vista
                                                                                 RANGE
9056787       10817           STAGING     On Hand          0                   0 BRUSHED BRASS BEZELS FOR DUAL FUEL 48"                           $62.40 WOLF                    $0.00 Vista
                                                                                 RANGE
9056787       10817           T01A        On Hand          2                   0 BRUSHED BRASS BEZELS FOR DUAL FUEL 48"                           $62.40 WOLF                  $124.80 Vista
                                                                                 RANGE
BM13          10817           P08C        On Hand          1                   0 13" BURNER MODULE                                               $875.55   WOLF                $875.55   Vista
BM13          10817           R04A        On Hand          1                   0 13" BURNER MODULE                                               $875.55   WOLF                $875.55   Vista
CE304C/B      10817           Q07D        On Hand          1                   0 30" CONTEMPORARY ELECTRIC COOKTOP                             $1,716.00   WOLF              $1,716.00   Vista
CE365C/B      10817           Q05B        On Hand          1                   0 36" CONTEMPORARY ELECTRIC COOKTOP                             $1,940.00   WOLF              $1,940.00   Vista
CG243TF/S     10817           Q06B        On Hand          1                   0 24" FRAMED TRANSITIONAL GAS COOKTOP / NG                      $1,301.00   WOLF              $1,301.00   Vista
CG304P/S/LP   10817           Q04B        On Hand          1                   0 30" PROFESSIONAL GAS COOKTOP / LP - 4                         $1,532.00   WOLF              $1,532.00   Vista
                                                                                 BURNERS SS
CG365C/S      10805           LAB13       On Hand          1                   0 36" CONTEMPORARY GAS COOKTOP                                  $2,194.00   WOLF              $2,194.00   LADC
CG365C/S      10805           RECEIVING   On Hand          0                   0 36" CONTEMPORARY GAS COOKTOP                                  $2,194.00   WOLF                  $0.00   LADC
CG365C/S      10817           H01         On Hand          0                   0 36" CONTEMPORARY GAS COOKTOP                                  $2,194.00   WOLF                  $0.00   Vista
CG365C/S      10817           RECEIVING   On Hand          0                   0 36" CONTEMPORARY GAS COOKTOP                                  $2,194.00   WOLF                  $0.00   Vista
CG365CS       30001           RECEIVING   On Hand          1                   0 **NEW** 36" Contemporary 5 Burner Gas Cooktop- SS             $1,978.00   WOLF              $1,978.00   OSDC
                                                                                 ** AVAIL 2016**
CG365P/S      10817           H01         On Hand          0                   0 36" PROFESSIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Vista

CG365P/S      10817           Q04B        On Hand          1                   0 36" PROFESSIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                $1,847.00 Vista

CG365P/S      10817           RECEIVING   On Hand          0                   0 36" PROFESSIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Vista

CG365P/S      10817           STAGING     On Hand          0                   0 36" PROFESSIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Vista

CG365P/S      30816           A05C-D      On Hand          0                   0 36" PROFESSIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Little Vista

CG365T/S      10817           H01         On Hand          0                   0 36" TRANSITIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Vista

CG365T/S      10817           RECEIVING   On Hand          0                   0 36" TRANSITIONAL GAS COOKTOP - 5 BURNERS SS                   $1,847.00 WOLF                    $0.00 Vista
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Item Number     Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                        Current Cost   Manufacturer   Extended cost   Location
CG365T/S        10817           STAGING     On Hand          0                   0 36" TRANSITIONAL GAS COOKTOP - 5 BURNERS SS                  $1,847.00 WOLF                     $0.00 Vista

CG365T/S        30816           A06B-D      On Hand          1                   0 36" TRANSITIONAL GAS COOKTOP - 5 BURNERS SS                 $1,847.00 WOLF                 $1,847.00 Little Vista

CI152TF/S       10805           LAF52       On Hand          1                   0 15" TRANSITIONAL INDUCTION COOKTOP                          $1,185.00   WOLF               $1,185.00   LADC
CI152TF/S       10817           Q04C        On Hand          1                   0 15" TRANSITIONAL INDUCTION COOKTOP                          $1,185.00   WOLF               $1,185.00   Vista
CI243C/B        10817           Q06B        On Hand          0                   0 24" CONTEMPORARY INDUCTION COOKTOP                          $1,385.00   WOLF                   $0.00   Vista
CI243C/B        10817           STAGING     On Hand          0                   0 24" CONTEMPORARY INDUCTION COOKTOP                          $1,385.00   WOLF                   $0.00   Vista
CI30460C/B      10817           Q05A        On Hand          1                   0 30" CONTEMPORARY INDUCTION COOKTOP                          $2,448.00   WOLF               $2,448.00   Vista
CI30460C/B      10817           Q05B        On Hand          1                   0 30" CONTEMPORARY INDUCTION COOKTOP                          $2,448.00   WOLF               $2,448.00   Vista
CI30460C/B      10817           Q07A        On Hand          1                   0 30" CONTEMPORARY INDUCTION COOKTOP                          $2,448.00   WOLF               $2,448.00   Vista
CI304T/S        10817           Q07B        On Hand          5                   0 30" TRANSITIONAL INDUCTION COOKTOP                          $1,275.95   WOLF               $6,379.75   Vista
CI304TF/S       10817           Q06D        On Hand          2                   0 COOKTOP, INDUCTION, 30", TRANSITIONAL, SS -                 $2,063.00   WOLF               $4,126.00   Vista
                                                                                   STANDALONE FRAME
CI36560C/B      10817           Q04B        On Hand          2                   0 36" CONTEMPORARY INDUCTION COOKTOP                          $2,925.00   WOLF               $5,850.00   Vista
CI36560C/B      10817           RECEIVING   On Hand          0                   0 36" CONTEMPORARY INDUCTION COOKTOP                          $2,925.00   WOLF                   $0.00   Vista
CI36560C/B      30816           RECEIVING   On Hand          1                   0 36" CONTEMPORARY INDUCTION COOKTOP                          $2,925.00   WOLF               $2,925.00   Little Vista
CI36560T/S      10817           Q04B        On Hand          0                   0 36" TRANSITIONAL INDUCTION COOKTOP                          $2,925.00   WOLF                   $0.00   Vista
CI36560T/S      10817           STAGING     On Hand          0                   0 36" TRANSITIONAL INDUCTION COOKTOP                          $2,925.00   WOLF                   $0.00   Vista
CI365C/B        10817           Q06B        On Hand          0                   0 36" CONTEMPORARY INDUCTION COOKTOP                          $2,032.00   WOLF                   $0.00   Vista
CI365C/B        10817           STAGING     On Hand          0                   0 36" CONTEMPORARY INDUCTION COOKTOP                          $2,032.00   WOLF                   $0.00   Vista
CI365T/S        10817           Q07A        On Hand          1                   0 36" TRANSITIONAL INDUCTION COOKTOP                          $2,271.00   WOLF               $2,271.00   Vista
CI365TF/S       10817           Q06B        On Hand          1                   0 COOKTOP, INDUCTION, 36", TRANSITIONAL, SS -                 $2,271.00   WOLF               $2,271.00   Vista
                                                                                   STANDALONE FRAME
CI365TF/S       10817           Q07A        On Hand          1                   0 COOKTOP, INDUCTION, 36", TRANSITIONAL, SS -                 $2,271.00 WOLF                 $2,271.00 Vista
                                                                                   STANDALONE FRAME
CSO2450TE/S/T   10817           T17D        On Hand          1                   0 24" E Series Transitional Convection Steam Oven             $4,450.00 WOLF                 $4,450.00 Vista
CSO24TE/S/TH    10817           T17D        On Hand          3                   0 24" E SERIES TRANSITIONAL CONVECTION STEAM                  $3,110.00 WOLF                 $9,330.00 Vista
                                                                                   OVEN - SS TUBULAR HANDLE
CSO3050CM/B     10817           T15C        On Hand          1                   0 30” M Series Contemporary Handleless Convection Steam       $3,938.35 WOLF                 $3,938.35 Vista
                                                                                   Oven
CSO3050CM/B     30816           A05C-D      On Hand          1                   0 30” M Series Contemporary Handleless Convection Steam       $3,938.35 WOLF                 $3,938.35 Little Vista
                                                                                   Oven
CSO3050CM/S     10817           T15C        On Hand          2                   0 30” M Series Contemporary Stainless Steel Handleless        $6,059.00 WOLF                $12,118.00 Vista
                                                                                   Convection Steam Oven
CSO3050CM/S     30816           RECEIVING   On Hand          1                   0 30” M Series Contemporary Stainless Steel Handleless        $6,059.00 WOLF                 $6,059.00 Little Vista
                                                                                   Convection Steam Oven
CSO3050PE/S/P   10817           T15C        On Hand          1                   0 30" E Series Professional Convection Steam Oven             $5,674.00   WOLF               $5,674.00   Vista
CSO3050TE/S/T   10802           EAST WALL   On Hand          1                   0 30" E Series Transitional Convection Steam Oven             $5,674.00   WOLF               $5,674.00   Palm Desert
CSO3050TE/S/T   10817           STAGING     On Hand          0                   0 30" E Series Transitional Convection Steam Oven             $5,674.00   WOLF                   $0.00   Vista
CSO3050TE/S/T   10817           T17B        On Hand          4                   0 30" E Series Transitional Convection Steam Oven             $5,674.00   WOLF              $22,696.00   Vista
CSO3050TM/S/T   10817           T17B        On Hand          1                   0 30" M Series Transitional Convection Steam Oven             $3,688.10   WOLF               $3,688.10   Vista
CSO30CM/B       10817           T16D        On Hand          1                   0 30” M SERIES CONTEMPORARY BLACK GLASS                           $0.00   WOLF                   $0.00   Vista
                                                                                   CONVECTION STEAM OVEN
CSO30CM/B       30001           RECEIVING   On Hand          1                   0 30” M SERIES CONTEMPORARY BLACK GLASS                           $0.00 WOLF                     $0.00 OSDC
                                                                                   CONVECTION STEAM OVEN
CSO30CM/S       10802           EAST WALL   On Hand          1                   0 30” M SERIES CONTEMPORARY STAINLESS STEEL                   $4,442.00 WOLF                 $4,442.00 Palm Desert
                                                                                   CONVECTION STEAM OVEN
CSO30CM/S       10817           STAGING     On Hand          0                   0 30” M SERIES CONTEMPORARY STAINLESS STEEL                   $4,442.00 WOLF                     $0.00 Vista
                                                                                   CONVECTION STEAM OVEN
CSO30CM/S       10817           T17C        On Hand          2                   0 30” M SERIES CONTEMPORARY STAINLESS STEEL                   $4,442.00 WOLF                 $8,884.00 Vista
                                                                                   CONVECTION STEAM OVEN
CSO30PE/S/PH    10805           LAI41       On Hand          1                   0 30" E SERIES PROFESSIONAL CONVECTION STEAM                  $4,265.00 WOLF                 $4,265.00 LADC
                                                                                   OVEN - SS PRO HANDLE
CSO30PE/S/PH    10805           LAI61       On Hand          1                   0 30" E SERIES PROFESSIONAL CONVECTION STEAM                  $4,265.00 WOLF                 $4,265.00 LADC
                                                                                   OVEN - SS PRO HANDLE
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Item Number      Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                      Current Cost     Manufacturer   Extended cost   Location
CSO30PE/S/PH     10805           LAI82       On Hand          1                   0 30" E SERIES PROFESSIONAL CONVECTION STEAM                $4,265.00    WOLF                 $4,265.00 LADC
                                                                                    OVEN - SS PRO HANDLE
CSO30PE/S/PH     10817           T15B        On Hand          2                   0 30" E SERIES PROFESSIONAL CONVECTION STEAM                $4,265.00    WOLF                $8,530.00 Vista
                                                                                    OVEN - SS PRO HANDLE
CSO30PM/S/PH     10817           STAGING     On Hand          1                   1 30" M SERIES PROFESSIONAL CONVECTION STEAM                $3,834.00    WOLF                $3,834.00 Vista
                                                                                    OVEN - SS PRO HANDLE
CSO30PM/S/PH     10817           T15B        On Hand          0                   0 30" M SERIES PROFESSIONAL CONVECTION STEAM                $3,834.00    WOLF                    $0.00 Vista
                                                                                    OVEN - SS PRO HANDLE
CSO30PM/S/PH     40805           40805       On Hand          0                   0 30" M SERIES PROFESSIONAL CONVECTION STEAM                $3,834.00    WOLF                    $0.00 LADC
                                                                                    OVEN - SS PRO HANDLE
CSO30TE/S/TH     10805           STAGING     On Hand          0                   0 WOLF CONVECTION STEAM OVEN TUBULAR                        $3,849.00    WOLF                    $0.00 LADC
                                                                                    HANDLE
CSO30TE/S/TH     10817           T15D        On Hand          1                   0 WOLF CONVECTION STEAM OVEN TUBULAR                        $3,849.00    WOLF                $3,849.00 Vista
                                                                                    HANDLE
CSO30TM/S/TH     10805           LAI11       On Hand          1                   0 30" M SERIES TRANSITIONAL CONVECTION STEAM                $3,811.00    WOLF                $3,811.00 LADC
                                                                                    OVEN - SS TUBULAR HANDLE
CSO30TM/S/TH     10817           T16B        On Hand          5                   0 30" M SERIES TRANSITIONAL CONVECTION STEAM                $3,811.00    WOLF               $19,055.00 Vista
                                                                                    OVEN - SS TUBULAR HANDLE
CSO30TM/S/TH     10817           T16C        On Hand          6                   0 30" M SERIES TRANSITIONAL CONVECTION STEAM                $3,811.00    WOLF               $22,866.00 Vista
                                                                                    OVEN - SS TUBULAR HANDLE
CSOP2450TE/S/T   10817           T17D        On Hand          1                   0 24" E Series Transitional Convection Steam Oven -         $4,904.00    WOLF                $4,904.00 Vista
                                                                                    Plumbed
CSOP3050CM/B     10805           LAI51       On Hand          1                   0 30" M Series Contemporary Handleless Convection Steam     $6,513.00    WOLF                $6,513.00 LADC
                                                                                    Oven - Plumbed
CSOP3050CM/B     10817           STAGING     On Hand          1                   1 30" M Series Contemporary Handleless Convection Steam     $6,513.00    WOLF                $6,513.00 Vista
                                                                                    Oven - Plumbed
CSOP3050CM/B     10817           T16D        On Hand          0                   0 30" M Series Contemporary Handleless Convection Steam     $6,513.00    WOLF                    $0.00 Vista
                                                                                    Oven - Plumbed
CSOP3050CM/B/T   40817           RGA         On Hand          1                   0 30" M Series Contemporary Convection Steam Oven -         $6,136.00    WOLF                $6,136.00 Vista
                                                                                    Plumbed
CSOP3050CM/S     10817           STAGING     On Hand          1                   1 30” M Series Contemporary Stainless Steel Handleless      $4,233.45    WOLF                $4,233.45 Vista
                                                                                    Convection Steam Oven - Plumbed
CSOP3050CM/S     10817           T15D        On Hand          0                   0 30” M Series Contemporary Stainless Steel Handleless      $4,233.45    WOLF                    $0.00 Vista
                                                                                    Convection Steam Oven - Plumbed
CSOP3050CM/S     10817           T16D        On Hand          3                   0 30” M Series Contemporary Stainless Steel Handleless      $4,233.45    WOLF               $12,700.35 Vista
                                                                                    Convection Steam Oven - Plumbed
CSOP3050CM/S     10817           WILL CALL   On Hand          0                   0 30” M Series Contemporary Stainless Steel Handleless      $4,233.45    WOLF                    $0.00 Vista
                                                                                    Convection Steam Oven - Plumbed
CSOP3050PE/S/P   10817           STAGING     On Hand          1                   0 30" E Series Professional Convection Steam Oven -         $6,136.00    WOLF                $6,136.00 Vista
                                                                                    Plumbed
CSOP3050PE/S/P   10817           T15B        On Hand          0                   0 30" E Series Professional Convection Steam Oven -         $6,136.00    WOLF                    $0.00 Vista
                                                                                    Plumbed
CSOP3050PM/S/P   10817           STAGING     On Hand          1                   1 30" M Series Professional Convection Steam Oven -         $6,136.00    WOLF                $6,136.00 Vista
                                                                                    Plumbed
CSOP3050PM/S/P   10817           T15C        On Hand          0                   0 30" M Series Professional Convection Steam Oven -         $6,136.00    WOLF                    $0.00 Vista
                                                                                    Plumbed
CSOP3050TE/S/T   10817           STAGING     On Hand          0                   0 30" E Series Transitional Convection Steam Oven -         $6,136.00    WOLF                    $0.00 Vista
                                                                                    Plumbed
CSOP3050TE/S/T   10817           T15D        On Hand          0                   0 30" E Series Transitional Convection Steam Oven -         $6,136.00    WOLF                    $0.00 Vista
                                                                                    Plumbed
CSOP3050TM/S/T   10817           T15D        On Hand          1                   0 30" M Series Transitional Convection Steam Oven -         $6,136.00    WOLF                $6,136.00 Vista
                                                                                    Plumbed
CW24/B           30001           RECEIVING   On Hand          1                   0 COFFEE CUP WARMER / BLACK                                      $0.00   WOLF                    $0.00   OSDC
CW24/S           10805           LAF51       On Hand          0                   0 COFFEE CUP WARMER / STAINLESS                               $579.80    WOLF                    $0.00   LADC
CW24/S           10805           STAGING     On Hand          0                   0 COFFEE CUP WARMER / STAINLESS                               $579.80    WOLF                    $0.00   LADC
CW24/S           10817           N17F        On Hand          1                   0 COFFEE CUP WARMER / STAINLESS                               $579.80    WOLF                  $579.80   Vista
CW24/S           30816           DISG3       On Hand          1                   1 COFFEE CUP WARMER / STAINLESS                               $579.80    WOLF                  $579.80   Little Vista
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Item Number        Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost    Manufacturer   Extended cost   Location
DD36:WOLF          10805           LAF23       On Hand          1                   0 36" COOKTOP DOWNDRAFT VENTILATION W 36" H        $1,254.00   WOLF                 $1,254.00 LADC
                                                                                      14" D 2 3/8"
DD36-WOLF          30802           H12         On Hand          1                   0 36" COOKTOP DOWNDRAFT VENTILATION W 36" H        $1,254.00   WOLF                $1,254.00 Palm Desert
                                                                                      14" D 2 3/8"
DD45               10805           LAF23       On Hand          1                   0 45" COOKTOP DOWNDRAFT VENTILATION W 45 1/2"      $1,493.00   WOLF                $1,493.00 LADC
                                                                                      H 14" D 2 3/8"
DF30450/S/P        10817           G01         On Hand          1                   0 30" DUAL FUEL RANGE - 4 BURNERS - NG             $5,844.00   WOLF                $5,844.00   Vista
DF30450/S/P        10817           I01         On Hand          0                   0 30" DUAL FUEL RANGE - 4 BURNERS - NG             $5,844.00   WOLF                    $0.00   Vista
DF30450/S/P        10817           STAGING     On Hand          0                   0 30" DUAL FUEL RANGE - 4 BURNERS - NG             $5,844.00   WOLF                    $0.00   Vista
DF30450/S/P/LP     10817           G01         On Hand          1                   0 30" DUAL FUEL RANGE - 4 BURNERS - LP             $5,844.00   WOLF                $5,844.00   Vista
DF36450C/S/P       10805           LAB13       On Hand          1                   0 36" DUAL FUEL RANGE - 4 BURNERS AND INFRARED     $9,101.00   WOLF                $9,101.00   LADC
                                                                                      CHARBROILER - NG
DF36450C/S/P       10817           G01         On Hand          1                   0 36" DUAL FUEL RANGE - 4 BURNERS AND INFRARED     $9,101.00   WOLF                $9,101.00 Vista
                                                                                      CHARBROILER - NG
DF36450G/S/P       10817           G01         On Hand          0                   0 36" DUAL FUEL RANGE - 4 BURNERS AND INFRARED     $8,238.00   WOLF                    $0.00 Vista
                                                                                      GRIDDLE - NG
DF36450G/S/P       10817           STAGING     On Hand          1                   1 36" DUAL FUEL RANGE - 4 BURNERS AND INFRARED     $8,238.00   WOLF                $8,238.00 Vista
                                                                                      GRIDDLE - NG
DF36650/S/P/LP     10817           G01         On Hand          0                   0 36" DUAL FUEL RANGE - 6 BURNERS - LP             $8,007.00   WOLF                    $0.00 Vista
DF48450CG/S/P      10817           G01         On Hand          2                   0 48" DUAL FUEL RANGE - 4 BURNERS, INFRARED        $8,177.65   WOLF               $16,355.30 Vista
                                                                                      CHARBROILER AND INFRARED GRIDDLE - NG
DF48450CG/S/P      10817           G02         On Hand          1                   0 48" DUAL FUEL RANGE - 4 BURNERS, INFRARED        $8,177.65   WOLF                $8,177.65 Vista
                                                                                      CHARBROILER AND INFRARED GRIDDLE - NG
DF48450CG/S/P      10817           WILL CALL   On Hand          1                   0 48" DUAL FUEL RANGE - 4 BURNERS, INFRARED        $8,177.65   WOLF                $8,177.65 Vista
                                                                                      CHARBROILER AND INFRARED GRIDDLE - NG
DF48450DG/S/P/LP   10817           G01         On Hand          1                   0 48" DUAL FUEL RANGE - 4 BURNERS AND INFRARED    $12,581.00   WOLF               $12,581.00 Vista
                                                                                      DUAL GRIDDLE - LP
DF48450F/S/P       10817           G01         On Hand          1                   0 48" DUAL FUEL RANGE - 4 BURNERS AND FRENCH      $13,058.00   WOLF               $13,058.00 Vista
                                                                                      TOP - NG
DF48450F/S/P       10817           G02         On Hand          1                   0 48" DUAL FUEL RANGE - 4 BURNERS AND FRENCH      $13,058.00   WOLF               $13,058.00 Vista
                                                                                      TOP - NG
DF48650C/S/P       10817           G01         On Hand          1                   0 48" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $11,896.00   WOLF               $11,896.00 Vista
                                                                                      CHARBROILER - NG
DF48650G/S/P       10817           G02         On Hand          1                   0 48" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $11,896.00   WOLF               $11,896.00 Vista
                                                                                      GRIDDLE - NG
DF48650G/S/P       10817           I01         On Hand          0                   0 48" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $11,896.00   WOLF                    $0.00 Vista
                                                                                      GRIDDLE - NG
DF48650G/S/P       10817           STAGING     On Hand          0                   0 48" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $11,896.00   WOLF                    $0.00 Vista
                                                                                      GRIDDLE - NG
DF48650G/S/P/LP    10817           G01         On Hand          1                   0 48" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $11,896.00   WOLF               $11,896.00 Vista
                                                                                      GRIDDLE - LP
DF48850/S/P        10817           STAGING     On Hand          0                   0 48" DUAL FUEL RANGE - 8 BURNERS - NG            $11,203.00   WOLF                    $0.00 Vista
DF48850/S/P/LP     10817           G01         On Hand          1                   0 48" DUAL FUEL RANGE - 8 BURNERS - LP            $11,203.00   WOLF               $11,203.00 Vista
DF60650CG/S/P      30001           LAGUNA      On Hand          1                   0 60" DUAL FUEL RANGE - 6 BURNERS, INFRARED       $14,768.00   WOLF               $14,768.00 OSDC
                                                                                      CHARBROILER AND INFRARED GRIDDLE - NG
DF60650CG/S/P      30001           RECEIVING   On Hand          0                   0 60" DUAL FUEL RANGE - 6 BURNERS, INFRARED       $14,768.00   WOLF                    $0.00 OSDC
                                                                                      CHARBROILER AND INFRARED GRIDDLE - NG
DF60650CG/S/P/LP   10817           G02         On Hand          1                   0 60" DUAL FUEL RANGE - 6 BURNERS, INFRARED       $14,768.00   WOLF               $14,768.00 Vista
                                                                                      CHARBROILER AND INFRARED GRIDDLE - LP
DF60650DG/S/P      10817           G02         On Hand          1                   0 60" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $15,507.00   WOLF               $15,507.00 Vista
                                                                                      DUAL GRIDDLE - NG
DF60650DG/S/P      10817           RECEIVING   On Hand          0                   0 60" DUAL FUEL RANGE - 6 BURNERS AND INFRARED    $15,507.00   WOLF                    $0.00 Vista
                                                                                      DUAL GRIDDLE - NG
DF60650F/S/P/LP    10817           G02         On Hand          1                   0 60" DUAL FUEL RANGE - 6 BURNERS AND FRENCH      $15,984.00   WOLF               $15,984.00 Vista
                                                                                      TOP - LP
DO3050PE/S/P       10817           G01         On Hand          1                   0 30" PROFESSIONAL DOUBLE E SERIES OVEN            $5,774.00   WOLF                $5,774.00 Vista
DO3050PE/S/P       10817           I02         On Hand          0                   0 30" PROFESSIONAL DOUBLE E SERIES OVEN            $5,774.00   WOLF                    $0.00 Vista
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Item Number    Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                        Current Cost    Manufacturer   Extended cost   Location
DO3050PM/S/P   10805           LAB13       On Hand          1                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                 $7,330.00 LADC
                                                                                  HANDLE
DO3050PM/S/P   10817           G01         On Hand          0                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                    $0.00 Vista
                                                                                  HANDLE
DO3050PM/S/P   10817           I02         On Hand          0                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                    $0.00 Vista
                                                                                  HANDLE
DO3050PM/S/P   10817           RECEIVING   On Hand          0                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                    $0.00 Vista
                                                                                  HANDLE
DO3050PM/S/P   10817           STAGING     On Hand          0                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                    $0.00 Vista
                                                                                  HANDLE
DO3050PM/S/P   30816           B03-D       On Hand          0                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN, PRO                  $7,330.00   WOLF                    $0.00 Little Vista
                                                                                  HANDLE
DO3050TE/S/T   10802           D11         On Hand          2                   0 30" TRANSITIONAL DOUBLE E SERIES OVEN                       $5,728.00   WOLF               $11,456.00 Palm Desert
DO3050TE/S/T   10817           G01         On Hand          1                   0 30" TRANSITIONAL DOUBLE E SERIES OVEN                       $5,728.00   WOLF                $5,728.00 Vista
DO30CM/B       10802           D11         On Hand          1                   0 30" M SERIES CONTEMPORARY DOUBLE OVEN -                     $6,621.00   WOLF                $6,621.00 Palm Desert
                                                                                  BLACK GLASS
DO30CM/S       10817           G01         On Hand          5                   0 30" M Series Contemporary Double Oven - Stainless Steel     $6,321.00   WOLF               $31,605.00 Vista

DO30CM/S       10817           STAGING     On Hand          1                   1 30" M Series Contemporary Double Oven - Stainless Steel     $6,321.00 WOLF                  $6,321.00 Vista

DO30CM/S       10817           WILL CALL   On Hand          0                   0 30" M Series Contemporary Double Oven - Stainless Steel     $6,321.00 WOLF                      $0.00 Vista

DO30PM/S/PH    10805           LAB13       On Hand          1                   0 30" M SERIES PROFESSIONAL DOUBLE OVEN - SS                  $6,552.00 WOLF                  $6,552.00 LADC
                                                                                  PRO HANDLE
DO30TM/S/TH    10817           G01         On Hand          1                   0 30" M SERIES TRANSITIONAL DOUBLE OVEN - SS                  $6,205.00 WOLF                  $6,205.00 Vista
                                                                                  TUBULAR HANDLE
EC24/B         10817           R18C        On Hand          1                   0 24" COFFEE SYSTEM - BLACK                                   $2,563.00   WOLF                $2,563.00   Vista
EC24/S         10001           H82         On Hand          0                   0 24" COFFEE SYSTEM / STAINLESS                               $2,525.00   WOLF                    $0.00   OSDC
EC24/S         10805           LAI14       On Hand          2                   0 24" COFFEE SYSTEM / STAINLESS                               $2,525.00   WOLF                $5,050.00   LADC
EC24/S         10805           STAGING     On Hand          0                   0 24" COFFEE SYSTEM / STAINLESS                               $2,525.00   WOLF                    $0.00   LADC
EC24/S         10817           R18C        On Hand          2                   0 24" COFFEE SYSTEM / STAINLESS                               $2,525.00   WOLF                $5,050.00   Vista
EC2450TE/S     30001           RECEIVING   On Hand          1                   0 24" E Series Transitional Coffee System                     $2,941.00   WOLF                $2,941.00   OSDC
EC2450TE/S     30816           DISG3       On Hand          1                   1 24" E Series Transitional Coffee System                     $2,941.00   WOLF                $2,941.00   Little Vista
EC3050CM/B     10805           LAI91       On Hand          1                   0 30" M Series Contemporary Coffee System                     $2,106.65   WOLF                $2,106.65   LADC
EC3050CM/B     10817           R18A        On Hand          0                   0 30" M Series Contemporary Coffee System                     $2,106.65   WOLF                    $0.00   Vista
EC3050CM/S     10817           R18B        On Hand          1                   0 30" M Series Contemporary Stainless Steel Coffee System     $3,241.00   WOLF                $3,241.00   Vista

EC3050PE/S     10817           R18B        On Hand          0                   0 30" E Series Professional Coffee System                     $3,241.00   WOLF                    $0.00   Vista
EC3050PM/S     10817           R18A        On Hand          2                   0 30" M Series Professional Coffee System                     $3,241.00   WOLF                $6,482.00   Vista
EC3050PM/S     10817           R18B        On Hand          1                   0 30" M Series Professional Coffee System                     $3,241.00   WOLF                $3,241.00   Vista
EC3050PM/S     10817           RECEIVING   On Hand          0                   0 30" M Series Professional Coffee System                     $3,241.00   WOLF                    $0.00   Vista
EC3050TE/S     10817           R18A        On Hand          2                   0 30" E Series Transitional Coffee System                     $3,241.00   WOLF                $6,482.00   Vista
EC3050TM/S     10817           R18A        On Hand          2                   0 30" M Series Transitional Coffee System                     $3,241.00   WOLF                $6,482.00   Vista
FM15TF/S       10817           Q08B        On Hand          1                   0 15" TRANSITIONAL FRYER MODULE                               $1,616.00   WOLF                $1,616.00   Vista
GR304-LP       10817           STAGING     On Hand          1                   1 30" LP GAS RANGE, FOUR BURNER, SS                           $4,180.00   WOLF                $4,180.00   Vista
GR364C         10805           RECEIVING   On Hand          1                   0 36" NATURAL GAS RANGE, FOUR BURNER W/                       $6,205.00   WOLF                $6,205.00   LADC
                                                                                  CHARBROILER - STAINLESS STEEL
GR364C         10817           G01         On Hand          1                   0 36" NATURAL GAS RANGE, FOUR BURNER W/                       $6,205.00 WOLF                  $6,205.00 Vista
                                                                                  CHARBROILER - STAINLESS STEEL
GR364G         10802           C11         On Hand          0                   0 36" GAS RANGES - 4 BURNERS, GRIDDLE                         $6,205.00   WOLF                    $0.00   Palm Desert
GR364G         10805           STAGING     On Hand          0                   0 36" GAS RANGES - 4 BURNERS, GRIDDLE                         $6,205.00   WOLF                    $0.00   LADC
GR364G         10817           I02         On Hand          1                   0 36" GAS RANGES - 4 BURNERS, GRIDDLE                         $6,205.00   WOLF                $6,205.00   Vista
GR364G         10817           RECEIVING   On Hand          0                   0 36" GAS RANGES - 4 BURNERS, GRIDDLE                         $6,205.00   WOLF                    $0.00   Vista
GR366          10805           STAGING     On Hand          0                   0 36" GAS RANGES - 6 BURNERS                                  $5,536.00   WOLF                    $0.00   LADC
GR366          10817           G01         On Hand          0                   0 36" GAS RANGES - 6 BURNERS                                  $5,536.00   WOLF                    $0.00   Vista
GR366          10817           G02         On Hand          0                   0 36" GAS RANGES - 6 BURNERS                                  $5,536.00   WOLF                    $0.00   Vista
GR366          10817           STAGING     On Hand          1                   1 36" GAS RANGES - 6 BURNERS                                  $5,536.00   WOLF                $5,536.00   Vista
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost  Manufacturer   Extended cost   Location
GR366-LP      10817           G01         On Hand          1                   0 36" LP RANGE, SIX BURNER - STAINLESS STEEL       $5,536.00 WOLF                 $5,536.00 Vista
GR484DG       10817           G02         On Hand          0                   0 48" NATURAL GAS RANGE, FOUR BURNER W/            $6,546.15 WOLF                     $0.00 Vista
                                                                                 DOUBLE GRIDDLE - STAINLESS STEEL
GR484DG       10817           STAGING     On Hand          1                   1 48" NATURAL GAS RANGE, FOUR BURNER W/            $6,546.15 WOLF                $6,546.15 Vista
                                                                                 DOUBLE GRIDDLE - STAINLESS STEEL
GR484DG-LP    10817           G02         On Hand          0                   0 48" GAS RANGES / LP - 4 BURNERS, DOUBLE          $9,139.00 WOLF                    $0.00 Vista
                                                                                 GRIDDLE
GR486G        10805           LAB13       On Hand          0                   0 48" Gas Range                                    $9,386.00   WOLF                  $0.00   LADC
GR486G        10805           RECEIVING   On Hand          2                   0 48" Gas Range                                    $9,386.00   WOLF             $18,772.00   LADC
GR486G        10805           STAGING     On Hand          2                   2 48" Gas Range                                    $9,386.00   WOLF             $18,772.00   LADC
GR486G        10817           G01         On Hand          1                   0 48" Gas Range                                    $9,386.00   WOLF              $9,386.00   Vista
GR486G        10817           G02         On Hand          1                   0 48" Gas Range                                    $9,386.00   WOLF              $9,386.00   Vista
GR486G        10817           I01         On Hand          0                   0 48" Gas Range                                    $9,386.00   WOLF                  $0.00   Vista
GR486G        10817           I02         On Hand          0                   0 48" Gas Range                                    $9,386.00   WOLF                  $0.00   Vista
GR488         10805           LAB13       On Hand          1                   0 48" GAS RANGES - 8 BURNERS                       $8,693.00   WOLF              $8,693.00   LADC
GR488         10817           G02         On Hand          1                   0 48" GAS RANGES - 8 BURNERS                       $8,693.00   WOLF              $8,693.00   Vista
GR606CG       10817           G02         On Hand          2                   0 60" NATURAL GAS RANGE, SIX BURNER W/            $11,873.00   WOLF             $23,746.00   Vista
                                                                                 CHARBROILER & GRIDDLE - STAINLESS STEEL
GR606DG       10817           G02         On Hand          1                   0 60" GAS RANGES - 6 BURNERS, DOUBLE GRIDDLE      $11,873.00 WOLF               $11,873.00 Vista

GR606DG       10817           STAGING     On Hand          0                   0 60" GAS RANGES - 6 BURNERS, DOUBLE GRIDDLE      $11,873.00 WOLF                    $0.00 Vista

IR36550/S/P   10817           G01         On Hand          1                   0 36" PROFESSIONAL INDUCTION RANGE                 $4,431.00   WOLF              $4,431.00   Vista
IR36550/S/P   30816           RECEIVING   On Hand          1                   0 36" PROFESSIONAL INDUCTION RANGE                 $4,431.00   WOLF              $4,431.00   Little Vista
IR36550/S/T   10802           C11         On Hand          0                   0 36" TRANSITIONAL INDUCTION RANGE                 $8,862.00   WOLF                  $0.00   Palm Desert
IR36550/S/T   10802           RECEIVING   On Hand          0                   0 36" TRANSITIONAL INDUCTION RANGE                 $8,862.00   WOLF                  $0.00   Palm Desert
IR36550/S/T   30816           RECEIVING   On Hand          1                   1 36" TRANSITIONAL INDUCTION RANGE                 $8,862.00   WOLF              $8,862.00   Little Vista
IR36550/S/T   40817           SERVICE     On Hand          1                   0 36" TRANSITIONAL INDUCTION RANGE                 $8,862.00   WOLF              $8,862.00   Vista
MD24TE/S      10802           EAST WALL   On Hand          2                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00   WOLF              $3,248.00   Palm Desert

MD24TE/S      10802           RECEIVING   On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 Palm Desert

MD24TE/S      10805           LAI41       On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 LADC

MD24TE/S      10805           RECEIVING   On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 LADC

MD24TE/S      10805           STAGING     On Hand          1                   1 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                $1,624.00 LADC

MD24TE/S      10817           H01         On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 Vista

MD24TE/S      10817           RECEIVING   On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 Vista

MD24TE/S      10817           STAGING     On Hand          1                   1 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                $1,624.00 Vista

MD24TE/S      10817           T14D        On Hand          2                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                $3,248.00 Vista

MD24TE/S      40001           RECEIVING   On Hand          0                   0 E SERIES 24" TRANSITIONAL MICROWAVE DRAWER       $1,624.00 WOLF                    $0.00 OSDC

MD30PE/S      10817           STAGING     On Hand          0                   0 30" DRAWER MICROWAVE OVEN - PROFESSIONAL         $1,662.00 WOLF                    $0.00 Vista

MD30PE/S      10817           T14C        On Hand          0                   0 30" DRAWER MICROWAVE OVEN - PROFESSIONAL         $1,662.00 WOLF                    $0.00 Vista

MD30TE/S      10817           STAGING     On Hand          1                   1 30" TRANSITIONAL E SERIES DRAWER MICROWAVE       $1,662.00 WOLF                $1,662.00 Vista
                                                                                 OVEN
MD30TE/S      10817           T14C        On Hand          1                   0 30" TRANSITIONAL E SERIES DRAWER MICROWAVE       $1,662.00 WOLF                $1,662.00 Vista
                                                                                 OVEN
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Item Number    Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                                 Current Cost    Manufacturer   Extended cost   Location
MDD30CM/B/TH   10805           LAI62       On Hand          3                   0 30" M Series Drop Down Door Microwave Oven -         $1,662.00   WOLF                 $4,986.00 LADC
                                                                                  Contemporary
MDD30PM/S/PH   10805           LAI71       On Hand          1                   0 30" M Series Drop Down Door Microwave Oven -         $1,824.00   WOLF                $1,824.00 LADC
                                                                                  Professional
MDD30PM/S/PH   10817           H01         On Hand          0                   0 30" M Series Drop Down Door Microwave Oven -         $1,824.00   WOLF                    $0.00 Vista
                                                                                  Professional
MDD30PM/S/PH   10817           RECEIVING   On Hand          0                   0 30" M Series Drop Down Door Microwave Oven -         $1,824.00   WOLF                    $0.00 Vista
                                                                                  Professional
MDD30PM/S/PH   10817           STAGING     On Hand          0                   0 30" M Series Drop Down Door Microwave Oven -         $1,824.00   WOLF                    $0.00 Vista
                                                                                  Professional
MDD30TE/S/TH   10817           T14B        On Hand          1                   0 30" E Series Drop Down Door Microwave Oven -         $1,732.00   WOLF                $1,732.00 Vista
                                                                                  Transitional
MDD30TM/S/TH   10817           T14B        On Hand          1                   0 30" M Series Drop Down Door Microwave Oven -         $1,562.00   WOLF                $1,562.00 Vista
                                                                                  Transitional
MS24           10802           EAST WALL   On Hand          1                   0 24" STANDARD MICROWAVE OVEN                            $661.00   WOLF                  $661.00   Palm Desert
MS24           10817           STAGING     On Hand          2                   0 24" STANDARD MICROWAVE OVEN                            $661.00   WOLF                $1,322.00   Vista
MS24           10817           T14E        On Hand          0                   0 24" STANDARD MICROWAVE OVEN                            $661.00   WOLF                    $0.00   Vista
MS24           40001           RECEIVING   On Hand          0                   0 24" STANDARD MICROWAVE OVEN                            $661.00   WOLF                    $0.00   OSDC
OG30           10802           STAGING     On Hand          0                   0 30" OUTDOOR GAS GRILL                                $3,629.80   WOLF                    $0.00   Palm Desert
OG30-LP        10817           F03         On Hand          1                   0 OG30-LP (30" OUTDOOR GRILL)                          $3,903.00   WOLF                $3,903.00   Vista
OG36           10817           F03         On Hand          0                   0 36" Outdoor Gas Grill                                $4,927.00   WOLF                    $0.00   Vista
OG36           10817           STAGING     On Hand          1                   1 36" Outdoor Gas Grill                                $4,927.00   WOLF                $4,927.00   Vista
OG36           30816           RECEIVING   On Hand          1                   0 36" Outdoor Gas Grill                                $4,927.00   WOLF                $4,927.00   Little Vista
OG42           10817           F03         On Hand          0                   0 42" Outdoor Gas Grill                                $4,234.00   WOLF                    $0.00   Vista
OG42           10817           STAGING     On Hand          0                   0 42" Outdoor Gas Grill                                $4,234.00   WOLF                    $0.00   Vista
OG42-LP        10817           F03         On Hand          2                   0 OG42-LP (42" OUTDOOR GRILL)                          $2,386.50   WOLF                $4,773.00   Vista
OG54           10817           F03         On Hand          0                   0 OG54 (54" OUTDOOR GRILL)                             $7,052.00   WOLF                    $0.00   Vista
OG54           10817           STAGING     On Hand          5                   5 OG54 (54" OUTDOOR GRILL)                             $7,052.00   WOLF               $35,260.00   Vista
PL341912       10817           RECEIVING   On Hand          0                   0 36 IN PRO HOOD LINER - 19 INCHES DEEP                $1,054.00   WOLF                    $0.00   Vista
PL341912       10817           S12A        On Hand          1                   0 36 IN PRO HOOD LINER - 19 INCHES DEEP                $1,054.00   WOLF                $1,054.00   Vista
PL341912       10817           STAGING     On Hand          1                   1 36 IN PRO HOOD LINER - 19 INCHES DEEP                $1,054.00   WOLF                $1,054.00   Vista
PL342212       10817           STAGING     On Hand          0                   0 34" PRO HOOD LINER - 22" DEEP                        $1,054.00   WOLF                    $0.00   Vista
PL461912       10805           LAF11       On Hand          0                   0 PRO HOOD LINER 46 3/8" WIDE X 19 1/4" DEEP X 12"     $1,147.00   WOLF                    $0.00   LADC
                                                                                  HIGH, (48" LINER)
PL461912       10805           STAGING     On Hand          1                   1 PRO HOOD LINER 46 3/8" WIDE X 19 1/4" DEEP X 12"     $1,147.00   WOLF                $1,147.00 LADC
                                                                                  HIGH, (48" LINER)
PL461912       10817           S12B        On Hand          1                   0 PRO HOOD LINER 46 3/8" WIDE X 19 1/4" DEEP X 12"     $1,147.00   WOLF                $1,147.00 Vista
                                                                                  HIGH, (48" LINER)
PL461912       10817           STAGING     On Hand          2                   2 PRO HOOD LINER 46 3/8" WIDE X 19 1/4" DEEP X 12"     $1,147.00   WOLF                $2,294.00 Vista
                                                                                  HIGH, (48" LINER)
PL522212       10817           S12C        On Hand          1                   0 54" PRO HOOD LINER                                   $1,193.00   WOLF                $1,193.00   Vista
PL581912       10817           STAGING     On Hand          1                   1 60" PRO HOOD LINER                                   $1,239.00   WOLF                $1,239.00   Vista
PL582212       10817           S12C        On Hand          1                   0 Pro Hood Liners                                      $1,239.00   WOLF                $1,239.00   Vista
PW302210       10802           H23         On Hand          1                   0 30" PRO WALL-MOUNT CANOPY RANGE HOOD, 22"            $1,447.00   WOLF                $1,447.00   Palm Desert
                                                                                  DEEP - STAINLESS STEEL
PW302418       10805           LAF21       On Hand          1                   0 30" PRO WALL HOOD                                    $1,639.00   WOLF                $1,639.00   LADC
PW302418       10817           S11A        On Hand          2                   0 30" PRO WALL HOOD                                    $1,639.00   WOLF                $3,278.00   Vista
PW362210       10805           STAGING     On Hand          0                   0 36" PRO LOW-PROFILE WALL HOOD                        $1,555.00   WOLF                    $0.00   LADC
PW362418       10802           B11         On Hand          1                   0 Pro Wall Hoods                                       $1,747.00   WOLF                $1,747.00   Palm Desert
PW362418       10817           S11B        On Hand          1                   0 Pro Wall Hoods                                       $1,747.00   WOLF                $1,747.00   Vista
PW362718       10805           LAF21       On Hand          1                   0 36" PRO WALL HOOD                                    $1,662.00   WOLF                $1,662.00   LADC
PW363318O      10817           BW18B       On Hand          1                   0 36" OUTDOOR PRO WALL HOOD                            $1,391.00   WOLF                $1,391.00   Vista
PW363318O      10817           BW35C       On Hand          1                   0 36" OUTDOOR PRO WALL HOOD                            $1,391.00   WOLF                $1,391.00   Vista
PW422210       10817           S11D        On Hand          1                   0 PRO WALL HOOD 42" WIDE X 22" DEEP X 10" HIGH         $1,662.00   WOLF                $1,662.00   Vista

PW422418       10817           S11C        On Hand          1                   0 Pro Wall Hoods                                       $1,855.00 WOLF                  $1,855.00 Vista
PW482418       10805           STAGING     On Hand          0                   0 Pro Wall Hoods                                       $1,963.00 WOLF                      $0.00 LADC
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Item Number    Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                               Current Cost    Manufacturer   Extended cost     Location
PW482418       10817           RECEIVING   On Hand          0                   0 Pro Wall Hoods                                     $1,963.00   WOLF                     $0.00   Vista
PW482418       10817           S11D        On Hand          1                   0 Pro Wall Hoods                                     $1,963.00   WOLF                 $1,963.00   Vista
PW482418       10817           STAGING     On Hand          0                   0 Pro Wall Hoods                                     $1,963.00   WOLF                     $0.00   Vista
PW482718       10817           S11C        On Hand          1                   0 48" PRO WALL HOOD - 27" DEEP                       $2,017.00   WOLF                 $2,017.00   Vista
PW542418       10805           LAF21       On Hand          1                   0 54" PRO WALL HOOD - 24" DEEP                       $2,078.00   WOLF                 $2,078.00   LADC
PW542418       10817           BW36A       On Hand          1                   0 54" PRO WALL HOOD - 24" DEEP                       $2,078.00   WOLF                 $2,078.00   Vista
PW542418       10817           BW40D       On Hand          1                   0 54" PRO WALL HOOD - 24" DEEP                       $2,078.00   WOLF                 $2,078.00   Vista
PW602418       10817           BW13B       On Hand          1                   0 60" PRO WALL HOOD - 24" DEEP                       $2,186.00   WOLF                 $2,186.00   Vista
PW602718       10817           BW09C       On Hand          0                   0 Pro Wall Hoods                                     $2,240.00   WOLF                     $0.00   Vista
PW662418       10817           BW37A       On Hand          1                   0 PRO WALL HOOD 66" WIDE X 24" DEEP X 18" HIGH       $2,294.00   WOLF                 $2,294.00   Vista

PW662718       10817           BW13B       On Hand          1                   0 PRO WALL HOOD 66" WIDE X 27" DEEP X 18" HIGH       $2,348.00 WOLF                  $2,348.00 Vista

PWC362418      10817           S11B        On Hand          1                   0 36" PRO-STYLE CHIMNEY HOOD 24" DEEP -              $1,902.00 WOLF                  $1,902.00 Vista
                                                                                  STAINLESS STEEL
PWC482418      10817           S11C        On Hand          1                   0 48" PRO WALL CHIMNEY HOOD                          $2,094.00 WOLF                  $2,094.00 Vista
SO3050CM/B     10817           G01         On Hand          1                   0 30" SINGLE WALLOVEN, M SERIES,                     $2,332.50 WOLF                  $2,332.50 Vista
                                                                                  CONTEMPORARY TRIM
SO3050CM/B     10817           RECEIVING   On Hand          0                   0 30" SINGLE WALLOVEN, M SERIES,                     $2,332.50 WOLF                      $0.00 Vista
                                                                                  CONTEMPORARY TRIM
SO3050CM/S     10805           LAB13       On Hand          1                   0 30" SINGLE WALLOVEN, M SERIES,                     $4,727.00 WOLF                  $4,727.00 LADC
                                                                                  CONTEMPORARY STAINLESS TRIM
SO3050CM/S     10805           RECEIVING   On Hand          0                   0 30" SINGLE WALLOVEN, M SERIES,                     $4,727.00 WOLF                      $0.00 LADC
                                                                                  CONTEMPORARY STAINLESS TRIM
SO3050CM/S     10817           G01         On Hand          0                   0 30" SINGLE WALLOVEN, M SERIES,                     $4,727.00 WOLF                      $0.00 Vista
                                                                                  CONTEMPORARY STAINLESS TRIM
SO3050CM/S     10817           I02         On Hand          0                   0 30" SINGLE WALLOVEN, M SERIES,                     $4,727.00 WOLF                      $0.00 Vista
                                                                                  CONTEMPORARY STAINLESS TRIM
SO3050CM/S     10817           STAGING     On Hand          0                   0 30" SINGLE WALLOVEN, M SERIES,                     $4,727.00 WOLF                      $0.00 Vista
                                                                                  CONTEMPORARY STAINLESS TRIM
SO3050PE/S/P   10802           D11         On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    Palm Desert
SO3050PE/S/P   10802           RECEIVING   On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    Palm Desert
SO3050PE/S/P   10805           LAB13       On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    LADC
SO3050PE/S/P   10805           LAL11       On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    LADC
SO3050PE/S/P   10805           RECEIVING   On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    LADC
SO3050PE/S/P   10805           STAGING     On Hand          1                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    LADC
SO3050PE/S/P   30802           D11         On Hand          0                   0 30" PROFESSIONAL SINGLE E SERIES OVEN                  $0.00   WOLF                    $0.00    Palm Desert
SO3050PM/S/P   10817           G01         On Hand          0                   0 30" M SERIES PROFESSIONAL SINGLE OVEN, PRO         $4,789.00   WOLF                    $0.00    Vista
                                                                                  HANDLE
SO3050PM/S/P   10817           G02         On Hand          0                   0 30" M SERIES PROFESSIONAL SINGLE OVEN, PRO         $4,789.00 WOLF                      $0.00 Vista
                                                                                  HANDLE
SO3050PM/S/P   10817           STAGING     On Hand          1                   1 30" M SERIES PROFESSIONAL SINGLE OVEN, PRO         $4,789.00 WOLF                  $4,789.00 Vista
                                                                                  HANDLE
SO3050TE/S/T   10802           D11         On Hand          2                   0 30" TRANSITIONAL SINGLE E SERIES OVEN              $3,842.00   WOLF                $7,684.00    Palm Desert
SO3050TE/S/T   10817           G01         On Hand          0                   0 30" TRANSITIONAL SINGLE E SERIES OVEN              $3,842.00   WOLF                    $0.00    Vista
SO3050TE/S/T   10817           I02         On Hand          0                   0 30" TRANSITIONAL SINGLE E SERIES OVEN              $3,842.00   WOLF                    $0.00    Vista
SO3050TE/S/T   10817           STAGING     On Hand          1                   1 30" TRANSITIONAL SINGLE E SERIES OVEN              $3,842.00   WOLF                $3,842.00    Vista
SO30CE/B/TH    10817           G01         On Hand          1                   0 30" E SERIES SINGLE OVEN CONTEMPORARY -            $3,380.00   WOLF                $3,380.00    Vista
                                                                                  BLACK GLASS TUBULAR HANDLE
SO30CM/B       30001           LAGUNA      On Hand          1                   0 30" M SERIES CONTEMPORARY SINGLE OVEN -                $0.00 WOLF                      $0.00 OSDC
                                                                                  BLACK GLASS
SO30CM/B       30001           RECEIVING   On Hand          0                   0 30" M SERIES CONTEMPORARY SINGLE OVEN -                $0.00 WOLF                      $0.00 OSDC
                                                                                  BLACK GLASS
SPO24TE/S/TH   10805           LAI21       On Hand          1                   0 24" E SERIES TRANSITIONAL DROP-DOWN DOOR           $1,986.00 WOLF                  $1,986.00 LADC
                                                                                  SPEED OVEN
SPO24TE/S/TH   10805           RECEIVING   On Hand          0                   0 24" E SERIES TRANSITIONAL DROP-DOWN DOOR           $1,986.00 WOLF                      $0.00 LADC
                                                                                  SPEED OVEN
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Item Number    Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                             Current Cost     Manufacturer   Extended cost   Location
SPO24TE/S/TH   10817           STAGING     On Hand          1                   1 24" E SERIES TRANSITIONAL DROP-DOWN DOOR         $1,986.00    WOLF                 $1,986.00 Vista
                                                                                  SPEED OVEN
SPO24TE/S/TH   10817           T18D        On Hand          2                   0 24" E SERIES TRANSITIONAL DROP-DOWN DOOR         $1,986.00    WOLF                $3,972.00 Vista
                                                                                  SPEED OVEN
SPO30CM/B/TH   10817           T18C        On Hand          1                   0 30" M SERIES CONTEMPORARY DROP-DOWN DOOR         $2,078.00    WOLF                $2,078.00 Vista
                                                                                  SPEED OVEN
SPO30PE/S/PH   10805           LAI12       On Hand          0                   0 30" E SERIES PROFESSIONAL DROP-DOWN DOOR         $1,097.00    WOLF                    $0.00 LADC
                                                                                  SPEED OVEN
SPO30PE/S/PH   10805           LAI72       On Hand          0                   0 30" E SERIES PROFESSIONAL DROP-DOWN DOOR         $1,097.00    WOLF                    $0.00 LADC
                                                                                  SPEED OVEN
SPO30PE/S/PH   10805           STAGING     On Hand          0                   0 30" E SERIES PROFESSIONAL DROP-DOWN DOOR         $1,097.00    WOLF                    $0.00 LADC
                                                                                  SPEED OVEN
SPO30PE/S/PH   10817           T18C        On Hand          1                   0 30" E SERIES PROFESSIONAL DROP-DOWN DOOR         $1,097.00    WOLF                $1,097.00 Vista
                                                                                  SPEED OVEN
SPO30PM/S/PH   10805           STAGING     On Hand          0                   0 30" M SERIES PROFESSIONAL DROP-DOWN DOOR         $2,248.00    WOLF                    $0.00 LADC
                                                                                  SPEED OVEN
SPO30PM/S/PH   10817           T18B        On Hand          1                   0 30" M SERIES PROFESSIONAL DROP-DOWN DOOR         $2,248.00    WOLF                $2,248.00 Vista
                                                                                  SPEED OVEN
SPO30TE/S/TH   10802           EAST WALL   On Hand          1                   0 30" E SERIES TRANSITIONAL DROP-DOWN DOOR         $2,109.00    WOLF                $2,109.00 Palm Desert
                                                                                  SPEED OVEN
SPO30TE/S/TH   10817           STAGING     On Hand          0                   0 30" E SERIES TRANSITIONAL DROP-DOWN DOOR         $2,109.00    WOLF                    $0.00 Vista
                                                                                  SPEED OVEN
SPO30TE/S/TH   10817           T18B        On Hand          2                   0 30" E SERIES TRANSITIONAL DROP-DOWN DOOR         $2,109.00    WOLF                $4,218.00 Vista
                                                                                  SPEED OVEN
SRT304         10817           BW20A       On Hand          0                   0 30" NATURAL GAS RANGETOP, 4 SEALED BURNERS -     $2,694.00    WOLF                    $0.00 Vista
                                                                                  STAINLESS STEEL
SRT304         10817           BW20D       On Hand          0                   0 30" NATURAL GAS RANGETOP, 4 SEALED BURNERS -     $2,694.00    WOLF                    $0.00 Vista
                                                                                  STAINLESS STEEL
SRT304         10817           BW21D       On Hand          0                   0 30" NATURAL GAS RANGETOP, 4 SEALED BURNERS -     $2,694.00    WOLF                    $0.00 Vista
                                                                                  STAINLESS STEEL
SRT362W        10817           BW19D       On Hand          3                   0 36" SEALED BURNER RANGETOP - 2 BURNERS AND            $0.00   WOLF                    $0.00 Vista
                                                                                  WOK BURNER
SRT364C        10817           BW20D       On Hand          1                   0 36" SEALED BURNER RANGETOP W/ CHARBROILER        $4,073.00    WOLF                $4,073.00 Vista

SRT364G        10817           BW20D       On Hand          1                   0 36" NATURAL GAS 4 SEALED BURNE                    $4,073.00   WOLF                $4,073.00   Vista
SRT364G        30802           EAST WALL   On Hand          1                   0 36" NATURAL GAS 4 SEALED BURNE                    $4,073.00   WOLF                $4,073.00   Palm Desert
SRT366         10817           STAGING     On Hand          0                   0 36" SEALED BURNER RANGETOPS - 6 BURNERS           $3,372.00   WOLF                    $0.00   Vista
SRT484CG       10817           BW17D       On Hand          0                   0 48" NATURAL GAS 4 SEALED BURNE                    $4,527.00   WOLF                    $0.00   Vista
SRT484DG       10817           BW17D       On Hand          0                   0 48" SEALED BURNER RANGETOP W/ 24" GRIDDLE         $5,066.00   WOLF                    $0.00   Vista

SRT484DG       10817           STAGING     On Hand          1                   1 48" SEALED BURNER RANGETOP W/ 24" GRIDDLE         $5,066.00 WOLF                  $5,066.00 Vista

SRT486C        10805           LAB13       On Hand          1                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                $4,365.00   LADC
SRT486C        10817           BW21D       On Hand          1                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                $4,365.00   Vista
SRT486G        10802           C11         On Hand          1                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                $4,365.00   Palm Desert
SRT486G        10817           BW26C       On Hand          0                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                    $0.00   Vista
SRT486G        10817           G02         On Hand          0                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                    $0.00   Vista
SRT486G        10817           RECEIVING   On Hand          0                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                    $0.00   Vista
SRT486G        10817           S01B        On Hand          0                   0 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                    $0.00   Vista
SRT486G        10817           STAGING     On Hand          1                   1 48" NATURAL GAS 6 SEALED BURNE                    $4,365.00   WOLF                $4,365.00   Vista
SRT486G-LP     10817           BW17D       On Hand          2                   0 48" LPL GAS 6 SEALED BURNER RANGETOP W/           $3,903.00   WOLF                $7,806.00   Vista
                                                                                  GRIDDLE
SRT486G-LP     10817           STAGING     On Hand          0                   0 48" LPL GAS 6 SEALED BURNER RANGETOP W/           $3,903.00 WOLF                      $0.00 Vista
                                                                                  GRIDDLE
VC36S          10805           LAI31       On Hand          1                   0 36" CEILING-MOUNTED HOOD - STAINLESS STEEL        $1,724.00 WOLF                  $1,724.00 LADC

VC36W          10802           H22         On Hand          1                   0 36" CEILING-MOUNTED HOOD - WHITE GLASS            $1,770.00 WOLF                  $1,770.00 Palm Desert
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Item Number   Location Code   Bin         QTY Type   QTY       QTY Allocated     Item Description                            Current Cost     Manufacturer Extended cost   Location
VI42B         10817           S12D        On Hand          1                   0 42" COOKTOP ISLAND HOOD / BLACK                 $2,394.00    WOLF               $2,394.00 Vista
VI45G         10805           LAF22       On Hand          1                   0 45" COOKTOP ISLAND HOOD / GLASS                 $2,340.00    WOLF               $2,340.00 LADC
VS24          10805           LAI41       On Hand          1                   0 24" VACUUM SEAL DRAWER                               $0.00   WOLF                   $0.00 LADC
VS24          10805           LAI71       On Hand          1                   0 24" VACUUM SEAL DRAWER                               $0.00   WOLF                   $0.00 LADC
VS24          30001           RECEIVING   On Hand          1                   0 24" VACUUM SEAL DRAWER                               $0.00   WOLF                   $0.00 OSDC
VS24          30816           RECEIVING   On Hand          1                   0 24" VACUUM SEAL DRAWER                               $0.00   WOLF                   $0.00 Little Vista
VW30S         10817           S12D        On Hand          1                   0 30" COOKTOP WALL HOOD / STAINLESS               $1,378.00    WOLF               $1,378.00 Vista
VW36B         10817           N15D        On Hand          0                   0 36" COOKTOP WALL HOOD / BLACK                        $0.00   WOLF                   $0.00 Vista
VW36B         10817           S12D        On Hand          1                   0 36" COOKTOP WALL HOOD / BLACK                        $0.00   WOLF                   $0.00 Vista
VW36B         10817           STAGING     On Hand          0                   0 36" COOKTOP WALL HOOD / BLACK                        $0.00   WOLF                   $0.00 Vista
VW36B         30001           RECEIVING   On Hand          1                   0 36" COOKTOP WALL HOOD / BLACK                        $0.00   WOLF                   $0.00 OSDC
VW36G         10817           Q03C        On Hand          1                   0 36" COOKTOP WALL HOOD / GLASS                   $1,470.00    WOLF               $1,470.00 Vista
VW36S         10817           N15C        On Hand          0                   0 36" COOKTOP WALL HOOD / STAINLESS               $1,424.00    WOLF                   $0.00 Vista
VW36S         10817           RECEIVING   On Hand          0                   0 36" COOKTOP WALL HOOD / STAINLESS               $1,424.00    WOLF                   $0.00 Vista
VW36S         10817           STAGING     On Hand          0                   0 36" COOKTOP WALL HOOD / STAINLESS               $1,424.00    WOLF                   $0.00 Vista
WGCO170SR     40001           RECEIVING   On Hand          0                   0 ELITE COUNTERTOP OVEN - STAINLESS AND BLACK       $487.47    WOLF GOURMET           $0.00 OSDC
                                                                                 KNOBS INCLUDED
WOLF:826101   10817           N14F        On Hand          1                   0 RECIRCULATION KIT,DOWNDRAFT                       $689.00    WOLF                    $689.00   Vista
WOLF:DD30     10805           LAF23       On Hand          0                   0 30" DOWNDRAFT VENTILATION                       $1,331.00    WOLF                      $0.00   LADC
WOLF:DD30     10817           Q12B        On Hand          1                   0 30" DOWNDRAFT VENTILATION                       $1,331.00    WOLF                  $1,331.00   Vista
WOLF:DD36     10817           STAGING     On Hand          0                   0 36" DOWNDRAFT VENTILATION                       $1,393.00    WOLF                      $0.00   Vista
WWD30         10802           H22         On Hand          1                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   Palm Desert
WWD30         10805           LAI91       On Hand          1                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   LADC
WWD30         10817           P18B        On Hand          0                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   Vista
WWD30         10817           STAGING     On Hand          2                   2 Warming Drawer                                       $0.00   WOLF                      $0.00   Vista
WWD30         10817           WILL CALL   On Hand          1                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   Vista
WWD30         30001           RECEIVING   On Hand          1                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   OSDC
WWD30         30816           RECEIVING   On Hand          1                   0 Warming Drawer                                       $0.00   WOLF                      $0.00   Little Vista
WWD30O        10805           LAI11       On Hand          0                   0 OUTDOOR WARMING DRAWER                          $1,739.00    WOLF                      $0.00   LADC
WWD30O        10805           RECEIVING   On Hand          0                   0 OUTDOOR WARMING DRAWER                          $1,739.00    WOLF                      $0.00   LADC
WWD30O        10805           STAGING     On Hand          0                   0 OUTDOOR WARMING DRAWER                          $1,739.00    WOLF                      $0.00   LADC
WWD30O        10817           P18A        On Hand          1                   0 OUTDOOR WARMING DRAWER                          $1,739.00    WOLF                  $1,739.00   Vista
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                       EXHIBIT 11
                            Case 24-01376-CL7      Filed 05/24/24         Entered 05/24/24 12:52:54     Doc 95      Pg. 95 of
                                                                              130/ Pirch
                                                                         Sub-Zero
                                                                      Inventory Audit Report
                                                                         (April 15, 2024)
Item #    Model #                        Description       Brand        Status  Serial    PO                     Price          Date           UMRP
5610304   SO30CE/B/TH                    Oven              Wolf         OBS      22516867 PO254494               $     3,380.00   5/22/2020    $    4,349.00
5610312   DD36                           Ventilation       Wolf         CURRENT 15573749 PIRCH RANCHO MRGE CND   $          -     7/14/2020    $    1,809.00
5310311   IT-30CI-RH                     Refrigerator      Sub-Zero     OBS       5814802 PO256832               $     6,455.00   7/23/2020    $    8,739.00
5310843   UW-24/O-LH                     Wine unit         Sub-Zero     OBS       3288768 PO260417               $     2,719.00    8/5/2020    $    3,399.00
5231024   UC-24BG/S/PH-RH                Refrigerator      Sub-Zero     OBS       3710900 PO268812               $     1,951.00   1/20/2021    $    2,429.00
5231015   UC-24C-LH                      Refrigerator      Sub-Zero     OBS       3706600 PO276117               $     1,919.00    4/1/2021    $    2,399.00
5231015   UC-24C-LH                      Refrigerator      Sub-Zero     OBS       3706566 PO276117               $     1,919.00    4/1/2021    $    2,399.00
5610303   EC24/B                         Built in Coffee   Wolf         OBS      13764321 PO277532               $     2,525.00    4/7/2021    $    3,669.00
5231020   UC-24BG/S/TH-RH                Refrigerator      Sub-Zero     OBS       3711290 PO276117               $     1,951.00    4/9/2021    $    2,429.00
5310273   IC-30RID-RH                    Refrigerator      Sub-Zero     OBS       5867053 PO273354               $     6,239.00    6/9/2021    $    8,849.00
5310271   IC-30R-RH                      Refrigerator      Sub-Zero     OBS       5872024 PO274828               $     6,047.00   7/16/2021    $    8,459.00
5610538   CSO30TM/S/TH                   Steam Oven        Wolf         CURRENT 13581495 SPECIAL PO283802        $     3,872.00   7/28/2021    $    3,989.00
5610533   CSO30CM/S                      Steam Oven        Wolf         CURRENT 13585749 PO284443                $     4,026.00    8/4/2021    $    4,219.00
5610533   CSO30CM/S                      Steam Oven        Wolf         CURRENT 13582999 SPECIAL PO283799        $     4,026.00    8/4/2021    $    4,219.00
5310302   IT-30FI-LH                     Refrigerator      Sub-Zero     OBS       5868799 PO273685               $     6,511.00    8/4/2021    $    9,099.00
5610276   EC24/S                         Built in Coffee   Wolf         OBS      13767766 SPECIAL PO283799       $     2,563.00   8/13/2021    $    3,669.00
5610313   DD45                           Ventilation       Wolf         CURRENT 15600964 PO286630                $     1,370.00   8/25/2021    $    1,939.00
5610323   VI45G                          Ventilation       Wolf         CURRENT 15593651 PO286064                $     2,232.00    9/3/2021    $    3,199.00
5310493   IW-24-RH                       Wine unit         Sub-Zero     OBS       5883515 SPECIAL PO276099       $     5,151.00    9/9/2021    $    7,199.00
5310494   IW-24-LH                       Wine unit         Sub-Zero     OBS       5885115 SPECIAL PO276099       $     5,151.00   9/15/2021    $    7,199.00
5610538   CSO30TM/S/TH                   Steam Oven        Wolf         CURRENT 13584000 PO285467                $     3,872.00   9/17/2021    $    3,989.00
5610312   DD36                           Ventilation       Wolf         CURRENT 15604172 PO285469                $     1,270.00   9/17/2021    $    1,809.00
5310272   IC-30R-LH                      Refrigerator      Sub-Zero     OBS       5886212 PO268654               $     6,047.00   9/22/2021    $    8,459.00
5310273   IC-30RID-RH                    Refrigerator      Sub-Zero     OBS       5880973 SPECIAL PO276099       $     6,335.00   10/8/2021    $    8,849.00
5231028   UC-24RO/PH-RH                  Refrigerator      Sub-Zero     OBS       3711042 PO289413               $     2,343.00 10/15/2021     $    2,929.00
5610538   CSO30TM/S/TH                   Steam Oven        Wolf         CURRENT 13586480 PO285469                $     3,872.00 10/27/2021     $    3,989.00
5610538   CSO30TM/S/TH                   Steam Oven        Wolf         CURRENT 13586478 PO288988                $     3,872.00 10/27/2021     $    3,989.00
5310271   IC-30R-RH                      Refrigerator      Sub-Zero     OBS       5890896 SPECIAL PO279815       $     6,047.00 11/12/2021     $    8,459.00
5310632   IC-36FI-LH                     Refrigerator      Sub-Zero     OBS       5885724 PO277796               $     6,439.00   12/3/2021    $    8,829.00
5311052   ID-24R                         Refrigerator      Sub-Zero     CURRENT   5908781 PO281402               $     3,367.00   12/8/2021    $    4,709.00
5310493   IW-24-RH                       Wine              Sub-Zero     OBS       5893741 SPECIAL PO279815       $     5,151.00 12/10/2021     $    7,199.00
5310494   IW-24-LH                       Wine unit         Sub-Zero     OBS       5894674 PO280261               $     5,151.00 12/16/2021     $    7,199.00
5610276   EC24/S                         Built in Coffee   Wolf         OBS      13767915 PO296046               $     2,687.00    1/6/2022    $    3,669.00
5310273   IC-30RID-RH                    Refrigerator      Sub-Zero     OBS       5896395 SPECIAL PO279815       $     6,335.00   1/19/2022    $    8,849.00
5310716   BI-42UFDID/O                   Refrigerator      Sub-Zero     OBS       4727626 PO287977               $     8,279.00    2/3/2022    $   11,579.00
5310271   IC-30R-RH                      Refrigerator      Sub-Zero     OBS       5930085 SPECIAL PO279815       $     6,047.00   2/10/2022    $    8,459.00
5310282   IC-30FI-LH                     Refrigerator      Sub-Zero     OBS       5893977 SPECIAL PO279815       $     6,167.00   2/10/2022    $    8,449.00
5310632   IC-36FI-LH                     Refrigerator      Sub-Zero     OBS       5928520 PO280993               $     6,439.00   2/16/2022    $    8,829.00
5610436   SRT362W                        Cooktop           Wolf         CURRENT 18667639 296538 COSTA MESA CND   $          -       3/7/2022   $    5,639.00
5310823   BI-48S/O                       Refrigerator      Sub-Zero     OBS       4735373 SPECIAL PO283379       $     8,031.00    3/9/2022    $   11,229.00
5310421   IW-30-RH                       Wine              Sub-Zero     OBS       5933740 PO284447               $     5,919.00   3/11/2022    $    8,289.00
5311175   BI-48S/S/TH                    Refrigerator      Sub-Zero     OBS       4731473 PO285467               $     9,455.00   3/16/2022    $   13,219.00
5310252   IW-18-LH                       Refrigerator      Sub-Zero     OBS       5937229 SPECIAL PO283381       $     4,727.00   3/25/2022    $    6,609.00
5310302   IT-30FI-LH                     Refrigerator      Sub-Zero     OBS       5939203 SPECIAL PO283379       $     6,511.00    4/7/2022    $    9,099.00
5310302   IT-30FI-LH                     Refrigerator      Sub-Zero     OBS       5938741 SPECIAL PO283379       $     6,511.00    4/7/2022    $    9,099.00
5310422   IW-30-LH                       Wine unit         Sub-Zero     OBS       5938086 SPECIAL PO279815       $     5,919.00    4/7/2022    $    8,289.00
5310271   IC-30R-RH                      Refrigerator      Sub-Zero     OBS       5940084 SPECIAL PO283379       $     6,047.00   4/12/2022    $    8,459.00
5310272   IC-30R-LH                      Refrigerator      Sub-Zero     OBS       5938621 SPECIAL PO283379       $     6,047.00   4/12/2022    $    8,459.00
5310273   IC-30RID-RH                    Refrigerator      Sub-Zero     OBS       5938410 SPECIAL PO283381       $     6,335.00   4/12/2022    $    8,849.00



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                                                                   Sub-Zero
                                                                Inventory Audit Report
                                                                   (April 15, 2024)
Item #    Model #                     Description    Brand        Status  Serial    PO                     Price          Date          UMRP
5310273   IC-30RID-RH                 Refrigerator   Sub-Zero     OBS       5938406 SPECIAL PO283381       $     6,335.00   4/12/2022   $    8,849.00
5310273   IC-30RID-RH                 Refrigerator   Sub-Zero     OBS       5938398 SPECIAL PO283381       $     6,335.00   4/12/2022   $    8,849.00
5310271   IC-30R-RH                   Refrigerator   Sub-Zero     OBS       5940182 SPECIAL PO283379       $     6,047.00   4/14/2022   $    8,459.00
5310271   IC-30R-RH                   Refrigerator   Sub-Zero     OBS       5940102 SPECIAL PO283379       $     6,047.00   4/14/2022   $    8,459.00
5310271   IC-30R-RH                   Refrigerator   Sub-Zero     OBS       5940018 SPECIAL PO283379       $     6,047.00   4/14/2022   $    8,459.00
5310431   IW-30R-RH                   Refrigerator   Sub-Zero     OBS       5939952 SPECIAL PO283379       $     6,903.00   4/14/2022   $    9,659.00
5310543   IC-36RID-RH                 Refrigerator   Sub-Zero     OBS       5943362 SPECIAL PO283381       $     6,695.00   4/20/2022   $    9,359.00
5310543   IC-36RID-RH                 Refrigerator   Sub-Zero     OBS       5940250 SPECIAL PO283379       $     6,695.00   4/20/2022   $    9,359.00
5310541   IC-36R-RH                   Refrigerator   Sub-Zero     OBS       5943272 SPECIAL PO283381       $     6,407.00   4/22/2022   $    8,959.00
5310542   IC-36R-LH                   Refrigerator   Sub-Zero     OBS       5942250 SPECIAL PO283381       $     6,407.00   4/22/2022   $    8,959.00
5610627   CSO30PE/S/PH                Steam Oven     Wolf         CURRENT 13593893 PO000000000302659       $     4,265.00   4/28/2022   $    5,279.00
5610254   CG304P/S/LP                 Cooktop        Wolf         CURRENT 18656235 PO000000000297223       $     1,532.00   4/29/2022   $    2,089.00
5610627   CSO30PE/S/PH                Steam Oven     Wolf         CURRENT 13593904 PO000000000297215       $     4,065.00   4/29/2022   $    5,279.00
5310274   IC-30RID-LH                 Refrigerator   Sub-Zero     OBS       5944223 SPECIAL PO283379       $     6,335.00    5/2/2022   $    8,849.00
5310832   PRO4850                     Refrigerator   Sub-Zero     CURRENT   3580168 SPECIAL PO286905       $   14,367.00     5/5/2022   $   20,079.00
5310639   IW-30CI-RH                  Wine unit      Sub-Zero     OBS       5943405 282719 UTC SAN DIEGO   $     4,564.95    5/6/2022   $    9,829.00
5610538   CSO30TM/S/TH                Steam Oven     Wolf         CURRENT 13591660 PO000000000302659       $     4,265.00   5/10/2022   $    3,989.00
5311154   IT-36CI-LH                  Refrigerator   Sub-Zero     OBS       5948182 SPECIAL PO283381       $     6,919.00   5/25/2022   $    9,669.00
5311154   IT-36CI-LH                  Refrigerator   Sub-Zero     OBS       5948179 SPECIAL PO283379       $     6,919.00   5/25/2022   $    9,669.00
5310542   IC-36R-LH                   Refrigerator   Sub-Zero     OBS       5959587 SPECIAL PO283381       $     6,407.00    6/1/2022   $    8,959.00
5310631   IC-36FI-RH                  Refrigerator   Sub-Zero     OBS       5947395 PO288373               $     6,439.00    6/1/2022   $    8,829.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5946959 SPECIAL PO283379       $     5,799.00    6/2/2022   $    7,939.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5945242 SPECIAL PO283379       $     5,799.00    6/2/2022   $    7,939.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5945240 SPECIAL PO283379       $     5,799.00    6/2/2022   $    7,939.00
5310642   IC-24CI-LH                  Refrigerator   Sub-Zero     OBS       5959717 PO296561               $     6,031.00    6/7/2022   $    7,909.00
5610750   PW362718                    Ventilation    Wolf         CURRENT 14834481 PO287415                $     1,662.00   6/13/2022   $    2,339.00
5311149   IT-30CI-RH                  Refrigerator   Sub-Zero     OBS       5959099 PO286630               $     6,591.00   6/15/2022   $    9,209.00
5311153   IT-36CI-RH                  Refrigerator   Sub-Zero     OBS       5963388 SPECIAL PO283379       $     6,919.00   6/22/2022   $    9,669.00
5610489   VS24                        Ventilation    Wolf         CURRENT   9102056 PO308053               $     2,509.00   6/29/2022   $    3,259.00
5311154   IT-36CI-LH                  Refrigerator   Sub-Zero     OBS       5963495 SPECIAL PO288185       $     6,919.00   6/29/2022   $    9,669.00
5311156   IT-36CIID-LH                Refrigerator   Sub-Zero     OBS       5960363 SPECIAL PO288185       $     7,207.00   6/29/2022   $   10,069.00
5310716   BI-42UFDID/O                Refrigerator   Sub-Zero     OBS       4748717 SPECIAL PO286907       $     8,279.00   7/13/2022   $   11,579.00
5610546   SO3050TE/S/T                Oven           Wolf         CURRENT 22612680 PO304447                $     3,842.00   7/14/2022   $    4,989.00
5610196   DO30PM/S/PH                 Oven           Wolf         OBS      22591220 SPECIAL PO287543       $     6,983.00   7/14/2022   $    9,519.00
5310632   IC-36FI-LH                  Refrigerator   Sub-Zero     OBS       5964892 PO288543               $     6,439.00   7/15/2022   $    8,829.00
5310748   BI-36UFD/O                  Refrigerator   Sub-Zero     OBS       4756568 PO285325               $     7,551.00   7/15/2022   $   10,549.00
5311153   IT-36CI-RH                  Refrigerator   Sub-Zero     OBS       5961337 SPECIAL PO283381       $     6,919.00   7/15/2022   $    9,669.00
5311154   IT-36CI-LH                  Refrigerator   Sub-Zero     OBS       5966034 SPECIAL PO283379       $     6,919.00   7/15/2022   $    9,669.00
5311173   BI-36R/O-RH                 Refrigerator   Sub-Zero     OBS       4752540 SPECIAL PO286901       $     5,359.00   7/15/2022   $    7,489.00
5610538   CSO30TM/S/TH                Steam Oven     Wolf         CURRENT 13596299 PO000000000300257       $     4,265.00   7/18/2022   $    3,989.00
5610538   CSO30TM/S/TH                Steam Oven     Wolf         CURRENT 13596286 PO000000000300257       $     4,265.00   7/18/2022   $    3,989.00
5610538   CSO30TM/S/TH                Steam Oven     Wolf         CURRENT 13596285 PO000000000300257       $     4,265.00   7/18/2022   $    3,989.00
5610538   CSO30TM/S/TH                Steam Oven     Wolf         CURRENT 13596279 PO000000000300257       $     4,265.00   7/18/2022   $    3,989.00
5311175   BI-48S/S/TH                 Refrigerator   Sub-Zero     OBS       4749522 SPECIAL PO287546       $   10,071.00    7/20/2022   $   13,219.00
5610428   DO30CM/S                    Oven           Wolf         OBS      22592867 PO000000000297215      $     6,744.00   7/20/2022   $    9,199.00
5610428   DO30CM/S                    Oven           Wolf         OBS      22592852 PO000000000297215      $     6,744.00   7/20/2022   $    9,199.00
5610428   DO30CM/S                    Oven           Wolf         OBS      22592123 PO298373               $     6,744.00   7/20/2022   $    9,199.00
5610236   BM13                        Cooktop        Wolf         CURRENT 11440449 PO307553                $     1,347.00   7/22/2022   $    1,749.00
5311155   IT-36CIID-RH                Refrigerator   Sub-Zero     OBS       5965236 SPECIAL PO288185       $     7,207.00   7/22/2022   $   10,069.00



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                                                                   Sub-Zero
                                                                Inventory Audit Report
                                                                   (April 15, 2024)
Item #    Model #                     Description    Brand        Status  Serial    PO                       Price          Date          UMRP
5311176   BI-48S/S/PH                 Refrigerator   Sub-Zero     OBS       4753227 SPECIAL PO287548         $   10,071.00    7/22/2022   $   13,219.00
5310271   IC-30R-RH                   Refrigerator   Sub-Zero     OBS       5967951 PO285953                 $     6,047.00   7/27/2022   $    8,459.00
5610489   VS24                        Ventilation    Wolf         CURRENT   9102065 PO310838                 $     2,509.00    8/3/2022   $    3,259.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5969534 PO286630                 $     6,047.00    8/5/2022   $    7,939.00
5311173   BI-36R/O-RH                 Refrigerator   Sub-Zero     OBS       4761054 PO288899                 $     5,359.00   8/17/2022   $    7,489.00
5311173   BI-36R/O-RH                 Refrigerator   Sub-Zero     OBS       4760485 SPECIAL PO286907         $     5,359.00   8/17/2022   $    7,489.00
5610109   SRT364C                     Cooktop        Wolf         CURRENT 18675303 PO305575                  $     4,073.00   8/24/2022   $    5,289.00
5310717   BI-42UFDID/S/TH             Refrigerator   Sub-Zero     OBS       4762142 SPECIAL PO287548         $   10,263.00    8/24/2022   $   13,469.00
5310753   BI-42UFD/S/PH               Refrigerator   Sub-Zero     OBS       4761238 PO289046                 $     9,959.00   8/24/2022   $   13,069.00
5311175   BI-48S/S/TH                 Refrigerator   Sub-Zero     OBS       4759038 PO289033                 $     9,455.00   8/24/2022   $   13,219.00
5610737   PW302418                    Ventilation    Wolf         OBS      22303503 PO297246                 $     1,562.00   8/24/2022   $    2,129.00
5310716   BI-42UFDID/O                Refrigerator   Sub-Zero     OBS       4758574 PO000000000287547        $     8,823.00   8/25/2022   $   11,579.00
5610311   DD30                        Ventilation    Wolf         CURRENT 15614212 PO312736                  $     1,331.00   8/31/2022   $    1,729.00
5310494   IW-24-LH                    Wine unit      Sub-Zero     OBS       5953334 PO279352                 $     5,487.00   8/31/2022   $    7,199.00
5310493   IW-24-RH                    Wine           Sub-Zero     OBS       5954231 PO289038                 $     5,487.00   9/12/2022   $    7,199.00
5610752   PW482718                    Ventilation    Wolf         CURRENT 14834704 PO298832                  $     2,017.00   9/14/2022   $    2,619.00
5610460   DF60650CG/S/P/LP            Range          Wolf         OBS      18729045 PO289069                 $   14,768.00    9/14/2022   $   20,139.00
5610195   DO30CM/B                    Oven           Wolf         OBS      22617433 PO000000000298553        $     6,621.00   9/15/2022   $    9,029.00
5610627   CSO30PE/S/PH                Steam Oven     Wolf         CURRENT 13590360 PO308617                  $     4,265.00   9/15/2022   $    5,279.00
5310252   IW-18-LH                    Refrigerator   Sub-Zero     OBS       5953226 PO285467                 $     5,039.00   9/16/2022   $    6,609.00
5311155   IT-36CIID-RH                Refrigerator   Sub-Zero     OBS       5969361 PO288799                 $     7,207.00   9/16/2022   $   10,069.00
5310493   IW-24-RH                    Refrigerator   Sub-Zero     OBS       5955408 PO289210                 $     5,487.00   9/19/2022   $    7,199.00
5310493   IW-24-RH                    Wine unit      Sub-Zero     OBS       5955404 PO289155                 $     5,487.00   9/19/2022   $    7,199.00
5610541   MDD30TM/S/TH                Microwave      Wolf         CURRENT 15194791 PO000000000302659         $     1,747.00   10/5/2022   $    2,269.00
5610480   CG243TF/S                   Cooktop        Wolf         CURRENT 18731718 PO315285                  $     1,301.00 10/12/2022    $    1,689.00
5610741   PW542418                    Ventilation    Wolf         OBS      22304078 PO297991                 $     2,009.00 10/12/2022    $    2,699.00
5310494   IW-24-LH                    Refrigerator   Sub-Zero     OBS       5956027 SPECIAL PO287545         $     5,487.00 10/14/2022    $    7,199.00
5310494   IW-24-LH                    Wine unit      Sub-Zero     OBS       5956020 SPECIAL PO287545         $     5,487.00 10/14/2022    $    7,199.00
5310713   BI-36UFDID/O                Refrigerator   Sub-Zero     OBS       4778157 SPECIAL PO286901         $     8,343.00   11/9/2022   $   10,949.00
5310713   BI-36UFDID/O                Refrigerator   Sub-Zero     OBS       4765045 SPECIAL PO286902         $     8,343.00   11/9/2022   $   10,949.00
5610634   SPO30TE/S/TH                Oven           Wolf         CURRENT 15198905 PO000000000302659         $     2,109.00 11/10/2022    $    2,739.00
5610168   PL522212                    Ventilation    Wolf         CURRENT 22412546 PO322438                  $     1,193.00 11/10/2022    $    1,549.00
5610428   DO30CM/S                    Oven           Wolf         OBS      22625935 PO000000000302659        $     7,083.00 11/10/2022    $    9,199.00
5610428   DO30CM/S                    Oven           Wolf         OBS      22625902 PO000000000302659        $     7,083.00 11/10/2022    $    9,199.00
5610741   PW542418                    Ventilation    Wolf         OBS      22304482 PO305085                 $     2,078.00 11/10/2022    $    2,699.00
5310272   IC-30R-LH                   Refrigerator   Sub-Zero     OBS       5985187 PO289033                 $     6,447.00 11/11/2022    $    8,459.00
5610193   DO30TM/S/TH                 Oven           Wolf         OBS      22626470 PO000000000302659        $     6,952.00 11/11/2022    $    9,029.00
5610473   CI365T/S                    Cooktop        Wolf         OBS      17696867 PO309744                 $     2,409.00 11/11/2022    $    3,129.00
5311056   ID-30F                      Refrigerator   Sub-Zero     CURRENT   5983511 PO289210                 $     3,751.00 11/16/2022    $    4,929.00
5610629   SPO30PE/S/PH                Oven           Wolf         CURRENT 15198561 PO000000000300257         $     2,194.00 11/16/2022    $    2,849.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5985535 PO289069                 $     6,047.00 11/16/2022    $    7,939.00
5310639   IW-30CI-RH                  Wine unit      Sub-Zero     OBS       5957612 PO291493                 $     7,479.00 11/16/2022    $    9,829.00
5311171   BI-36U/S/PH-RH              Refrigerator   Sub-Zero     OBS       4780654 PO292420                 $     8,855.00 11/16/2022    $   11,619.00
5310272   IC-30R-LH                   Refrigerator   Sub-Zero     OBS       5985201 PO287224                 $     6,447.00 11/18/2022    $    8,459.00
5310496   IC-24FI-LH                  Refrigerator   Sub-Zero     OBS       5988073 PO285325                 $     6,047.00 11/18/2022    $    7,939.00
5310542   IC-36R-LH                   Refrigerator   Sub-Zero     OBS       5987658 PO285956                 $     6,823.00 11/18/2022    $    8,959.00
5610234   GR606DG                     Gas Range      Wolf         CURRENT 18747557 PO000000000302659         $   11,873.00 11/30/2022     $   15,419.00
5310271   IC-30R-RH                   Refrigerator   Sub-Zero     OBS       5986380 PO286870                 $     6,447.00 11/30/2022    $    8,459.00
5311150   IT-30CI-LH                  Refrigerator   Sub-Zero     OBS       5980312 PO290397                 $     7,015.00 11/30/2022    $    9,209.00



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                          Case 24-01376-CL7    Filed 05/24/24      Entered 05/24/24 12:52:54           Doc 95   Pg. 98 of
                                                                       130/ Pirch
                                                                  Sub-Zero
                                                               Inventory Audit Report
                                                                  (April 15, 2024)
Item #    Model #                      Description  Brand        Status  Serial    PO                       Price          Date          UMRP
5311098   DEC3050W/R                   Refrigerator Sub-Zero     CURRENT   5957014 PO000000000298171        $     6,759.00   12/1/2022   $    8,449.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5979677 PO289038                 $     5,927.00   12/1/2022   $    7,409.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5975618 PO288899                 $     5,927.00   12/1/2022   $    7,409.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5975609 PO287413                 $     5,927.00   12/1/2022   $    7,409.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5973372 PO287730                 $     5,927.00   12/1/2022   $    7,409.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5986435 PO286866                 $     6,447.00   12/1/2022   $    8,459.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5986384 PO286059                 $     6,447.00   12/1/2022   $    8,459.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5986383 PO286059                 $     6,447.00   12/1/2022   $    8,459.00
5310274   IC-30RID-LH                  Refrigerator Sub-Zero     OBS       5988553 PO285467                 $     6,751.00   12/1/2022   $    8,849.00
5310291   IT-30R-RH                    Refrigerator Sub-Zero     OBS       5967857 PO287413                 $     6,855.00   12/1/2022   $    8,999.00
5310321   IT-36R-RH                    Refrigerator Sub-Zero     OBS       5987605 PO285467                 $     7,223.00   12/1/2022   $    9,489.00
5310321   IT-36R-RH                    Refrigerator Sub-Zero     OBS       5987604 PO289210                 $     7,223.00   12/1/2022   $    9,489.00
5310322   IT-36R-LH                    Refrigerator Sub-Zero     OBS       5987828 PO288543                 $     7,223.00   12/1/2022   $    9,489.00
5310542   IC-36R-LH                    Refrigerator Sub-Zero     OBS       5983302 PO289035                 $     6,823.00   12/1/2022   $    8,959.00
5310544   IC-36RID-LH                  Refrigerator Sub-Zero     OBS       5974167 PO289038                 $     7,135.00   12/1/2022   $    9,359.00
5310632   IC-36FI-LH                   Refrigerator Sub-Zero     OBS       5982417 PO289038                 $     6,727.00   12/1/2022   $    8,829.00
5310632   IC-36FI-LH                   Refrigerator Sub-Zero     OBS       5979804 PO289038                 $     6,727.00   12/1/2022   $    8,829.00
5310632   IC-36FI-LH                   Refrigerator Sub-Zero     OBS       5979701 SPECIAL PO287549         $     6,727.00   12/1/2022   $    8,829.00
5310632   IC-36FI-LH                   Refrigerator Sub-Zero     OBS       5974650 SPECIAL PO287549         $     6,727.00   12/1/2022   $    8,829.00
5310632   IC-36FI-LH                   Refrigerator Sub-Zero     OBS       5973926 SPECIAL PO287549         $     6,727.00   12/1/2022   $    8,829.00
5311151   IT-30CIID-RH                 Refrigerator Sub-Zero     OBS       5976275 PO286630                 $     6,871.00   12/1/2022   $    9,609.00
5610124   SRT486G-LP                   Cooktop      Wolf         CURRENT 18681269 PO306579                  $     4,365.00   12/2/2022   $    5,669.00
5610124   SRT486G-LP                   Cooktop      Wolf         CURRENT 18679343 PO306579                  $     4,365.00   12/2/2022   $    5,669.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5980608 SPECIAL PO287548         $     5,639.00   12/2/2022   $    7,409.00
5610060   WWD30                        Warming Draw Wolf         CURRENT 16348488 PO310363                  $     1,739.00   12/2/2022   $    2,259.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5979508 SPECIAL PO287545         $     5,639.00   12/2/2022   $    7,409.00
5310262   IC-18FI-LH                   Refrigerator Sub-Zero     OBS       5978052 SPECIAL PO287543         $     5,639.00   12/2/2022   $    7,409.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5986451 PO285469                 $     6,447.00   12/5/2022   $    8,459.00
5310272   IC-30R-LH                    Refrigerator Sub-Zero     OBS       5979475 PO000000000295400        $     6,447.00   12/5/2022   $    8,459.00
5310272   IC-30R-LH                    Refrigerator Sub-Zero     OBS       5976841 PO000000000295400        $     6,447.00   12/5/2022   $    8,459.00
5310272   IC-30R-LH                    Refrigerator Sub-Zero     OBS       5976840 PO000000000295400        $     6,447.00   12/5/2022   $    8,459.00
5310631   IC-36FI-RH                   Refrigerator Sub-Zero     OBS       5989104 PO289211                 $     6,727.00   12/5/2022   $    8,829.00
5310831   BI-48SID/S/PH                Refrigerator Sub-Zero     OBS       4777434 SPECIAL PO286901         $   10,359.00    12/5/2022   $   13,599.00
5610321   VW36G                        Ventilation  Wolf         CURRENT 15617225 PO316486                  $     1,470.00   12/6/2022   $    1,909.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5971820 PO285467                 $     6,447.00   12/6/2022   $    8,459.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5969072 PO285467                 $     6,447.00   12/6/2022   $    8,459.00
5610216   GR364C                       Gas Range    Wolf         CURRENT 18750048 PO308053                  $     6,205.00   12/9/2022   $    8,059.00
5610216   GR364C                       Gas Range    Wolf         CURRENT 18749301 PO308053                  $     6,205.00   12/9/2022   $    8,059.00
5311153   IT-36CI-RH                   Refrigerator Sub-Zero     OBS       5975756 PO285325                 $     6,919.00   12/9/2022   $    9,669.00
5610578   PWC482418                    Ventilation  Wolf         CURRENT 14836658 PO317084                  $     2,355.00 12/14/2022    $    3,059.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5974359 PO288990                 $     6,447.00 12/14/2022    $    8,459.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5978184 SPECIAL PO287549         $     6,439.00 12/14/2022    $    8,449.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5977845 SPECIAL PO287549         $     6,439.00 12/14/2022    $    8,449.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5977744 PO000000000287547        $     6,439.00 12/14/2022    $    8,449.00
5310271   IC-30R-RH                    Refrigerator Sub-Zero     OBS       5974352 SPECIAL PO287548         $     6,447.00 12/16/2022    $    8,459.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5988465 SPECIAL PO287545         $     6,439.00 12/16/2022    $    8,449.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5977823 SPECIAL PO287545         $     6,439.00 12/16/2022    $    8,449.00
5311164   IC-30FI-LH                   Refrigerator Sub-Zero     OBS       5989492 SPECIAL PO287548         $     6,439.00 12/19/2022    $    8,449.00
5310784   BI-36U/O-RH                  Refrigerator Sub-Zero     OBS       4787569 PO287413                 $     7,519.00    1/4/2023   $    9,879.00



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                             Case 24-01376-CL7      Filed 05/24/24         Entered 05/24/24 12:52:54        Doc 95   Pg. 99 of
                                                                               130/ Pirch
                                                                          Sub-Zero
                                                                       Inventory Audit Report
                                                                          (April 15, 2024)
Item #    Model #                         Description       Brand        Status  Serial    PO                    Price          Date          UMRP
5310828   BI-48SD/S/PH                    Refrigerator      Sub-Zero     OBS       4788034 PO000000000295400     $   10,879.00     1/4/2023   $   13,599.00
5311167   BI-36UID/S/PH-RH                Refrigerator      Sub-Zero     OBS       4787542 PO306352              $     9,615.00    1/4/2023   $   12,019.00
5231021   UC-24BG/S/TH-LH                 Refrigerator      Sub-Zero     OBS       3710838 PO316486              $     1,951.00    1/5/2023   $    2,429.00
5610634   SPO30TE/S/TH                    Oven              Wolf         CURRENT 15203039 PO317154               $     2,109.00    1/5/2023   $    2,739.00
5610471   CI304T/S                        Cooktop           Wolf         OBS      17699292 PO307083 UTC TV       $     1,275.95    1/5/2023   $    2,549.00
5610533   CSO30CM/S                       Steam Oven        Wolf         CURRENT 13604402 PO317819               $     4,442.00    1/6/2023   $    4,219.00
5310272   IC-30R-LH                       Refrigerator      Sub-Zero     OBS       5977928 PO287510              $     6,447.00    1/6/2023   $    8,459.00
5610586   CSO3050TE/S/T                   Steam Oven        Wolf         CURRENT 13609292 PO314157               $     5,674.00   1/18/2023   $    7,369.00
5610586   CSO3050TE/S/T                   Steam Oven        Wolf         CURRENT 13609290 PO314157               $     5,674.00   1/18/2023   $    7,369.00
5610586   CSO3050TE/S/T                   Steam Oven        Wolf         CURRENT 13609280 PO314157               $     5,674.00   1/18/2023   $    7,369.00
5610586   CSO3050TE/S/T                   Steam Oven        Wolf         CURRENT 13609240 PO314157               $     5,674.00   1/18/2023   $    7,369.00
5610586   CSO3050TE/S/T                   Steam Oven        Wolf         CURRENT 13609237 PO314157               $     5,674.00   1/18/2023   $    7,369.00
5610755   PW662718                        Ventilation       Wolf         CURRENT 14835760 PO318646               $     2,348.00   1/18/2023   $    3,049.00
5610741   PW542418                        Ventilation       Wolf         OBS      22303173 PO307063 NCSD PV      $     1,350.70   1/18/2023   $    2,699.00
5610828   PW602418                        Ventilation       Wolf         CURRENT 14839454 PO307571               $     2,186.00   1/23/2023   $    2,839.00
5610817   PW422210                        Ventilation       Wolf         CURRENT 14839013 PO311383               $     1,662.00   1/23/2023   $    2,159.00
5610333   CE304C/B                        Cooktop           Wolf         CURRENT 18737417 PO319445               $     1,716.00    2/1/2023   $    2,229.00
5311048   ID-36CI                         Refrigerator      Sub-Zero     CURRENT   5997489 PO297992              $     4,207.00    2/8/2023   $    5,529.00
5610328   MDD30CM/B/TH                    Microwave         Wolf         CURRENT 15201822 PO320200               $     1,662.00   2/10/2023   $    2,159.00
5610328   MDD30CM/B/TH                    Microwave         Wolf         CURRENT 15197530 PO320873               $     1,662.00   2/24/2023   $    2,159.00
5311048   ID-36CI                         Refrigerator      Sub-Zero     CURRENT 24389259 PO000000000298553      $     4,207.00    3/1/2023   $    5,529.00
5311048   ID-36CI                         Refrigerator      Sub-Zero     CURRENT 24386203 PO000000000298553      $     4,207.00    3/1/2023   $    5,529.00
5610704   EC3050CM/B                      Built in Coffee   Wolf         CURRENT 13772537 PO318531 UTC Coffee    $     2,106.65    3/8/2023   $    4,209.00
5311098   DEC3050W/R                      Refrigerator      Sub-Zero     CURRENT 24393788 SPECIAL PO287545       $     6,311.00   3/15/2023   $    8,449.00
5610705   EC3050CM/S                      Built in Coffee   Wolf         CURRENT 13771235 PO000000000298616      $     3,241.00   3/15/2023   $    4,209.00
5610702   EC3050TE/S                      Built in Coffee   Wolf         CURRENT 13771377 PO307122               $     3,241.00   3/15/2023   $    4,209.00
5610702   EC3050TE/S                      Built in Coffee   Wolf         CURRENT 13771240 PO307122               $     3,241.00   3/15/2023   $    4,209.00
5610535   PW363318O                       Ventilation       Wolf         CURRENT 14835964 PO323165               $     2,140.00   3/17/2023   $    2,779.00
5610654   DF36450C/S/P                    Range             Wolf         CURRENT 18767705 PO298373               $     9,101.00   3/30/2023   $   11,819.00
5310961   CL3050UG/O/L                    Refrigerator      Sub-Zero     CURRENT   4793882 PO300886              $     9,055.00   3/30/2023   $   11,319.00
5311017   CL4250SD/O                      Refrigerator      Sub-Zero     CURRENT   4795130 PO000000000299120     $     9,055.00   4/13/2023   $   11,319.00
5610706   EC3050TM/S                      Built in Coffee   Wolf         CURRENT 13771687 PO307122               $     3,241.00   4/20/2023   $    4,209.00
5610706   EC3050TM/S                      Built in Coffee   Wolf         CURRENT 13769501 PO307122               $     3,241.00   4/20/2023   $    4,209.00
5310918   CL3650R/O/R                     Refrigerator      Sub-Zero     CURRENT   4797634 PO000000000295400     $     5,703.00   4/21/2023   $    7,849.00
5310918   CL3650R/O/R                     Refrigerator      Sub-Zero     CURRENT   4794610 PO000000000295400     $     5,703.00   4/21/2023   $    7,849.00
5311062   UC-15IP                         Refrigerator      Sub-Zero     CURRENT 23020416 PO000000000298553      $     3,415.00   4/21/2023   $    4,739.00
5610823   PW302418                        Ventilation       Wolf         CURRENT 14839537 PO323853               $     1,639.00   4/26/2023   $    2,129.00
5311108   DEC3650R/L                      Refrigerator      Sub-Zero     CURRENT 24389307 PO000000000298171      $     7,511.00   4/28/2023   $    9,389.00
5311103   DEC1850FI/R                     Refrigerator      Sub-Zero     CURRENT 24389038 PO300300               $     6,207.00    5/3/2023   $    7,759.00
5310943   CL3650F/O/L                     Refrigerator      Sub-Zero     CURRENT   4797998 PO000000000299120     $     6,615.00    5/5/2023   $    8,269.00
5610590   CSO3050TM/S/T                   Steam Oven        Wolf         CURRENT 13608294 PO318646               $     5,674.00    5/5/2023   $    7,369.00
5310715   BI-36UFDID/S/PH                 Refrigerator      Sub-Zero     OBS       4789079 PO318866              $   10,183.00     5/5/2023   $   12,729.00
5610599   CSOP3050CM/S                    Steam Oven        Wolf         CURRENT 13617805 PO314157               $     6,513.00   5/10/2023   $    8,459.00
5610599   CSOP3050CM/S                    Steam Oven        Wolf         CURRENT 13617762 PO314157               $     6,513.00   5/10/2023   $    8,459.00
5610597   CSOP3050CM/B                    Steam Oven        Wolf         CURRENT 13616495 PO320873               $     6,513.00   5/10/2023   $    8,459.00
5610598   CSO3050CM/S                     Steam Oven        Wolf         CURRENT 13618193 PO314157               $     6,059.00   5/10/2023   $    7,869.00
5610598   CSO3050CM/S                     Steam Oven        Wolf         CURRENT 13618188 PO314157               $     6,059.00   5/10/2023   $    7,869.00
5610436   SRT362W                         Cooktop           Wolf         CURRENT 18690648 PO319445               $     4,342.00   5/19/2023   $    5,639.00
5610660   DF48450CG/S/P                   Range             Wolf         CURRENT 18778960 PO000000000302659      $   12,581.00    5/31/2023   $   16,339.00



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                           Case 24-01376-CL7   Filed 05/24/24       Entered 05/24/24 12:52:54       Doc 95        Pg. 100 of
                                                                        130/ Pirch
                                                                   Sub-Zero
                                                                Inventory Audit Report
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Item #    Model #                       Description  Brand        Status  Serial    PO                         Price          Date          UMRP
5610111   SRT364G                       Cooktop      Wolf         CURRENT 18691839 PO318897                    $     4,073.00   5/31/2023   $    5,289.00
5310964   CL3050UG/S/P/R                Refrigerator Sub-Zero     CURRENT   4798102 PO315598                   $   10,223.00     6/2/2023   $   12,779.00
5310964   CL3050UG/S/P/R                Refrigerator Sub-Zero     CURRENT   4796048 PO315598                   $   10,223.00     6/2/2023   $   12,779.00
5610328   MDD30CM/B/TH                  Microwave    Wolf         CURRENT 15203423 PO328054                    $     1,662.00    6/2/2023   $    2,159.00
5610768   CI30460C/B                    Cooktop      Wolf         CURRENT 18777453 PO320616                    $     2,448.00    6/8/2023   $    3,179.00
5610825   PW422418                      Ventilation  Wolf         CURRENT 14839678 PO328485                    $     1,855.00    6/8/2023   $    2,409.00
5311074   DET3050R/R                    Refrigerator Sub-Zero     CURRENT   5993964 PO302909                   $     7,543.00   6/14/2023   $    9,429.00
5311121   DET3650R/R                    Refrigerator Sub-Zero     CURRENT 24413927 PO294607                    $     7,223.00   6/14/2023   $    9,939.00
5310954   CL3050UID/O/R                 Refrigerator Sub-Zero     CURRENT   4805893 PO310140                   $     8,351.00   6/16/2023   $   10,439.00
5610815   PW302210                      Ventilation  Wolf         CURRENT 14841572 PO328876                    $     1,447.00   6/16/2023   $    1,879.00
5610516   SPO24TE/S/TH                  Oven         Wolf         CURRENT 15191982 PO329473                    $     1,986.00    7/6/2023   $    2,579.00
5310948   CL3050U/O/R                   Refrigerator Sub-Zero     CURRENT   4807336 PO309595                   $     8,015.00    7/7/2023   $   10,019.00
5311067   DET3050CI/L                   Refrigerator Sub-Zero     CURRENT 24421780 PO000000000298171           $     7,711.00    7/7/2023   $    9,639.00
5310880   DEU2450BG/R                   Refrigerator Sub-Zero     CURRENT 23224242 PO313156                    $     2,279.00    7/7/2023   $    2,849.00
5310933   CL3650RG/S/T/L                Refrigerator Sub-Zero     CURRENT   4797685 PO329473                   $     8,263.00   7/13/2023   $   10,329.00
5311057   ID-30FI                       Refrigerator Sub-Zero     CURRENT 24424070 PO306579                    $     4,087.00   7/13/2023   $    5,109.00
5311083   DEC1850W/L                    Refrigerator Sub-Zero     CURRENT 24424433 PO313445                    $     5,391.00   7/20/2023   $    6,739.00
5610596   CSO3050CM/B                   Steam Oven   Sub-Zero     CURRENT 13618074 PO326086                    $     3,938.35   7/20/2023   $    7,869.00
5610516   SPO24TE/S/TH                  Oven         Wolf         CURRENT 15210128 PO330398                    $     1,986.00   7/20/2023   $    2,579.00
5310934   CL3650RG/S/P/R                Refrigerator Sub-Zero     CURRENT   4799737 PO305188                   $     8,263.00   7/21/2023   $   10,329.00
5311075   DEC3050FI/L                   Refrigerator Sub-Zero     CURRENT 24421229 PO000000000295400           $     6,439.00   7/21/2023   $    8,859.00
5610436   SRT362W                       Cooktop      Wolf         CURRENT 18695351 PO329599                    $     4,342.00   7/21/2023   $    5,639.00
5311095   DEC3050W/L                    Refrigerator Sub-Zero     CURRENT 24425321 PO307066 NCSD CV            $     4,393.35   7/27/2023   $    8,449.00
5310836   PRO3650/LH                    Refrigerator Sub-Zero     CURRENT   3586321 PO309580                   $   12,479.00    7/28/2023   $   15,599.00
5311067   DET3050CI/L                   Refrigerator Sub-Zero     CURRENT 24427856 PO000000000297498           $     7,015.00   7/28/2023   $    9,639.00
5311110   DEC2450FI/L                   Refrigerator Sub-Zero     CURRENT 24418889 PO000000000295400           $     6,047.00   7/28/2023   $    8,319.00
5610532   CSO30CM/B                     Steam Oven   Wolf         CURRENT 13601686                    331013   $     4,373.00   7/28/2023   $    4,129.00
5610535   PW363318O                     Ventilation  Wolf         CURRENT 14835983 PO329155 SM OD Disp         $     1,391.00   7/28/2023   $    2,779.00
5610236   BM13                          Cooktop      Wolf         CURRENT 11440902 PO329155 SM OD Disp         $       875.55   7/28/2023   $    1,749.00
5610660   DF48450CG/S/P                 Range        Wolf         CURRENT 18794909 PO316486                    $   12,581.00     8/3/2023   $   16,339.00
5311103   DEC1850FI/R                   Refrigerator Sub-Zero     CURRENT 24426022 PO306229                    $     6,207.00    8/3/2023   $    7,759.00
5311103   DEC1850FI/R                   Refrigerator Sub-Zero     CURRENT 24426016 PO306229                    $     6,207.00    8/3/2023   $    7,759.00
5311103   DEC1850FI/R                   Refrigerator Sub-Zero     CURRENT 24419018 PO306229                    $     6,207.00    8/3/2023   $    7,759.00
5311076   DEC3050FI/R                   Refrigerator Sub-Zero     CURRENT 24392164 PO307083 UTC TV             $     4,606.55    8/3/2023   $    8,859.00
5311047   ID-36C                        Refrigerator Sub-Zero     CURRENT 24426869 PO000000000297215           $     4,287.00    8/3/2023   $    5,359.00
5311047   ID-36C                        Refrigerator Sub-Zero     CURRENT 24426158 PO000000000297215           $     4,287.00    8/3/2023   $    5,359.00
5610678   SO3050CM/B                    Oven         Wolf         CURRENT 22640392 PO311003 MorningStar        $     2,332.50    8/3/2023   $    6,059.00
5310899   DEU1550B/L                    Refrigerator Sub-Zero     CURRENT 23237366 PO319021                    $     2,047.00    8/3/2023   $    2,559.00
5610636   MD30TE/S                      Microwave    Wolf         CURRENT 12715908 PO330768                    $     1,662.00    8/3/2023   $    2,159.00
5610311   DD30                          Ventilation  Wolf         CURRENT 15625267 PO330768                    $     1,331.00    8/3/2023   $    1,729.00
5610658   DF48650C/S/P                  Range        Wolf         CURRENT 18785489 PO000000000295400           $   11,896.00     8/4/2023   $   15,449.00
5311102   DEC1850FI/L                   Refrigerator Sub-Zero     CURRENT 24402680 PO306120                    $     6,207.00    8/4/2023   $    7,759.00
5311104   DEC3650FI/L                   Refrigerator Sub-Zero     CURRENT 24428819 PO307066 NCSD CV            $     4,814.55    8/4/2023   $    9,259.00
5311068   DET3050CI/R                   Refrigerator Sub-Zero     CURRENT 24431509 PO305370                    $     7,711.00   8/10/2023   $    9,639.00
5311103   DEC1850FI/R                   Refrigerator Sub-Zero     CURRENT 24402926 PO307122                    $     6,207.00   8/10/2023   $    7,759.00
5311065   DET3050CIID/L                 Refrigerator Sub-Zero     CURRENT 24429651 PO307066 NCSD CV            $     5,230.55   8/10/2023   $   10,059.00
5610517   SPO30CM/B/TH                  Oven         Wolf         CURRENT 15185934 PO331636                    $     2,078.00   8/10/2023   $    2,699.00
5610197   WWD30O                        Warming Draw Wolf         CURRENT 16371748 PO329155 SM OD Disp         $     1,130.35   8/10/2023   $    2,259.00
5311008   CL4850UFD/O                   Refrigerator Sub-Zero     CURRENT   4814071 PO312469                   $   10,087.00    8/11/2023   $   12,609.00



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                                                                     Sub-Zero
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Item #    Model #                    Description       Brand        Status  Serial    PO                       Price          Date          UMRP
5311027   CL4850SD/S/T               Refrigerator      Sub-Zero     CURRENT   4812526 PO313155                 $   11,399.00    8/17/2023   $   14,249.00
5310955   CL3050UID/O/L              Refrigerator      Sub-Zero     CURRENT   4813867 PO319091                 $     8,351.00   8/17/2023   $   10,439.00
5311065   DET3050CIID/L              Refrigerator      Sub-Zero     CURRENT 24433622 PO309065                  $     8,047.00   8/23/2023   $   10,059.00
5311065   DET3050CIID/L              Refrigerator      Sub-Zero     CURRENT 24433610 PO309065                  $     8,047.00   8/23/2023   $   10,059.00
5311067   DET3050CI/L                Refrigerator      Sub-Zero     CURRENT 24433787 PO000000000298891         $     7,711.00   8/23/2023   $    9,639.00
5610673   DF60650F/S/P/LP            Range             Wolf         CURRENT 18797428 PO316486                  $   15,984.00    8/24/2023   $   20,759.00
5311088   DEC2450W/R                 Refrigerator      Sub-Zero     CURRENT 24425815 PO307234 RM Barista       $     3,816.15   8/25/2023   $    7,339.00
5311068   DET3050CI/R                Refrigerator      Sub-Zero     CURRENT 24437084 PO309065                  $     7,711.00   8/31/2023   $    9,639.00
5311068   DET3050CI/R                Refrigerator      Sub-Zero     CURRENT 24436321 PO309065                  $     7,711.00   8/31/2023   $    9,639.00
5311068   DET3050CI/R                Refrigerator      Sub-Zero     CURRENT 24433674 PO309065                  $     7,711.00   8/31/2023   $    9,639.00
5311068   DET3050CI/R                Refrigerator      Sub-Zero     CURRENT 24417442 PO308560                  $     7,711.00   8/31/2023   $    9,639.00
5610484   CI365TF/S                  Cooktop           Wolf         CURRENT 24142919 PO332334                  $     2,533.00   8/31/2023   $    3,289.00
5610484   CI365TF/S                  Cooktop           Wolf         CURRENT 24142915 PO332334                  $     2,533.00   8/31/2023   $    3,289.00
5610664   DF48450F/S/P               Range             Wolf         CURRENT 18797987 PO333061                  $   13,058.00     9/7/2023   $   16,959.00
5311119   DET3650RID/R               Refrigerator      Sub-Zero     CURRENT 24406551 PO312469                  $     8,287.00    9/7/2023   $   10,359.00
5311119   DET3650RID/R               Refrigerator      Sub-Zero     CURRENT 24406346 PO312469                  $     8,287.00    9/7/2023   $   10,359.00
5311119   DET3650RID/R               Refrigerator      Sub-Zero     CURRENT 24392246 PO312469                  $     8,287.00    9/7/2023   $   10,359.00
5311119   DET3650RID/R               Refrigerator      Sub-Zero     CURRENT   5993880 PO312469                 $     8,287.00    9/7/2023   $   10,359.00
5610660   DF48450CG/S/P              Range             Wolf         CURRENT 18796364 PO330074 CM Display       $     8,177.65    9/7/2023   $   16,339.00
5311066   DET3050CIID/R              Refrigerator      Sub-Zero     CURRENT 24439111 PO309065                  $     8,047.00    9/7/2023   $   10,059.00
5311016   CL4250S/S/P                Refrigerator      Sub-Zero     CURRENT   4817725 PO312469                 $   10,287.00     9/8/2023   $   12,859.00
5610654   DF36450C/S/P               Range             Wolf         CURRENT 18800388 PO000000000302659         $     9,101.00    9/8/2023   $   11,819.00
5311112   DEC2450R/L                 Refrigerator      Sub-Zero     CURRENT 24440559 PO309062                  $     6,687.00    9/8/2023   $    8,359.00
5610213   GR366-LP                   Gas Range         Wolf         CURRENT 18794022 PO332415                  $     5,536.00    9/8/2023   $    7,189.00
5311078   DEC3050RID/R               Refrigerator      Sub-Zero     CURRENT 24434338 Display PO311631          $     4,824.95    9/8/2023   $    9,279.00
5610471   CI304T/S                   Cooktop           Wolf         OBS      24139292 PO332334                 $     1,963.00    9/8/2023   $    2,549.00
5610471   CI304T/S                   Cooktop           Wolf         OBS      24136063 PO332334                 $     1,963.00    9/8/2023   $    2,549.00
5610230   GR606CG                    Gas Range         Wolf         CURRENT 18798942 PO333590                  $   11,873.00    9/14/2023   $   15,419.00
5610483   CI304TF/S                  Cooktop           Wolf         CURRENT 24143102 PO332334                  $     2,063.00   9/14/2023   $    2,679.00
5610483   CI304TF/S                  Cooktop           Wolf         CURRENT 24143101 PO332334                  $     2,063.00   9/14/2023   $    2,679.00
5610471   CI304T/S                   Cooktop           Wolf         OBS      24141048 PO332334                 $     1,963.00   9/14/2023   $    2,549.00
5610471   CI304T/S                   Cooktop           Wolf         OBS      24140598 PO332334                 $     1,963.00   9/14/2023   $    2,549.00
5310935   CL3650RG/S/P/L             Refrigerator      Sub-Zero     CURRENT   4813367 PO313445                 $     8,263.00   9/15/2023   $   10,329.00
5610585   CSOP2450TE/S/T             Steam Oven        Wolf         CURRENT 13608925 PO334131                  $     4,904.00   9/21/2023   $    6,369.00
5610629   SPO30PE/S/PH               Oven              Wolf         CURRENT 15218918 PO334131                  $     2,194.00   9/21/2023   $    2,849.00
5310838   PRO3650G/LH                Refrigerator      Sub-Zero     CURRENT   3586013 PO334464                 $   12,479.00    9/22/2023   $   15,599.00
5311024   CL4850S/S/T                Refrigerator      Sub-Zero     CURRENT   4822307 PO312434                 $   11,087.00    9/22/2023   $   13,859.00
5610657   DF48650G/S/P/LP            Range             Wolf         CURRENT 18802724 PO318892                  $   11,896.00    9/28/2023   $   15,449.00
5310898   DEU1550B/R                 Refrigerator      Sub-Zero     CURRENT 23241694 PO332632                  $     2,047.00   9/29/2023   $    2,559.00
5310947   CL3650F/S/P/L              Refrigerator      Sub-Zero     CURRENT   4823555 PO315285                 $     7,847.00   10/4/2023   $    9,809.00
5610663   DF48450DG/S/P/LP           Range             Wolf         CURRENT 18808608 PO330768                  $   12,581.00 10/11/2023     $   16,339.00
5310988   CL3650UG/S/P/R             Refrigerator      Sub-Zero     CURRENT   4825094 PO319245                 $   10,647.00 10/11/2023     $   13,309.00
5310935   CL3650RG/S/P/L             Refrigerator      Sub-Zero     CURRENT   4817151 PO317819                 $     8,263.00 10/11/2023    $   10,329.00
5310947   CL3650F/S/P/L              Refrigerator      Sub-Zero     CURRENT   4820820 PO315285                 $     7,847.00 10/11/2023    $    9,809.00
5311055   ID-24FI                    Refrigerator      Sub-Zero     CURRENT 24443949 PO306579                  $     3,919.00 10/11/2023    $    4,899.00
5610707   EC3050PM/S                 Built in Coffee   Wolf         CURRENT 13776040 PO307122                  $     3,241.00 10/11/2023    $    4,209.00
5610707   EC3050PM/S                 Built in Coffee   Wolf         CURRENT 13776037 PO307122                  $     3,241.00 10/11/2023    $    4,209.00
5610584   CSO2450TE/S/T              Steam Oven        Wolf         CURRENT 13625226 PO335583                  $     4,450.00 10/13/2023    $    5,779.00
5311063   UC-15IO                    Refrigerator      Sub-Zero     CURRENT 23022880 PO303913                  $     2,967.00 10/13/2023    $    4,119.00



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Item #    Model #                       Description    Brand        Status  Serial    PO                       Price          Date          UMRP
5610336   CE365C/B                      Cooktop        Wolf         CURRENT 18789317 PO335583                  $     1,940.00 10/13/2023    $    2,519.00
5610499   CI152TF/S                     Cooktop        Wolf         CURRENT 24142457 PO335583                  $     1,185.00 10/13/2023    $    1,539.00
5310949   CL3050U/O/L                   Refrigerator   Sub-Zero     CURRENT   4824028 PO319091                 $     8,015.00 10/18/2023    $   10,019.00
5310949   CL3050U/O/L                   Refrigerator   Sub-Zero     CURRENT   4812062 PO331583                 $     8,015.00 10/18/2023    $   10,019.00
5310948   CL3050U/O/R                   Refrigerator   Sub-Zero     CURRENT   4825877 PO329972                 $     8,015.00 10/18/2023    $   10,019.00
5310948   CL3050U/O/R                   Refrigerator   Sub-Zero     CURRENT   4825803 PO330547                 $     8,015.00 10/18/2023    $   10,019.00
5311069   DET3050FI/L                   Refrigerator   Sub-Zero     CURRENT 24448257 PO319091                  $     7,631.00 10/18/2023    $    9,539.00
5311069   DET3050FI/L                   Refrigerator   Sub-Zero     CURRENT 24448229 PO309744                  $     7,631.00 10/18/2023    $    9,539.00
5311078   DEC3050RID/R                  Refrigerator   Sub-Zero     CURRENT 24388412 PO319445                  $     7,423.00 10/18/2023    $    9,279.00
5310934   CL3650RG/S/P/R                Refrigerator   Sub-Zero     CURRENT   4826486 PO319091                 $     8,263.00 10/19/2023    $   10,329.00
5311121   DET3650R/R                    Refrigerator   Sub-Zero     CURRENT 24446863 PO313445                  $     7,951.00 10/19/2023    $    9,939.00
5311069   DET3050FI/L                   Refrigerator   Sub-Zero     CURRENT 24448556 PO331636                  $     7,631.00 10/20/2023    $    9,539.00
5311069   DET3050FI/L                   Refrigerator   Sub-Zero     CURRENT 24448249 PO331636                  $     7,631.00 10/20/2023    $    9,539.00
5311061   UC-15I                        Refrigerator   Sub-Zero     CURRENT 23024371 PO000000000302659         $     2,703.00 10/20/2023    $    3,749.00
5311061   UC-15I                        Refrigerator   Sub-Zero     CURRENT 23024293 PO000000000302659         $     2,703.00 10/20/2023    $    3,749.00
5311061   UC-15I                        Refrigerator   Sub-Zero     CURRENT 23022748 PO000000000302659         $     2,703.00 10/20/2023    $    3,749.00
5610768   CI30460C/B                    Cooktop        Wolf         CURRENT 18811350 PO332778                  $     2,448.00 10/20/2023    $    3,179.00
5610768   CI30460C/B                    Cooktop        Wolf         CURRENT 18811342 PO331583                  $     2,448.00 10/20/2023    $    3,179.00
5610320   VI42B                         Ventilation    Wolf         CURRENT 15626370 PO336185                  $     2,394.00 10/20/2023    $    3,109.00
5310910   DEU1550W/R                    Refrigerator   Sub-Zero     CURRENT 23243836 PO336185                  $     2,295.00 10/20/2023    $    2,869.00
5311113   DEC2450R/R                    Refrigerator   Sub-Zero     CURRENT 24440288 PO319021                  $     6,687.00 10/25/2023    $    8,359.00
5610499   CI152TF/S                     Cooktop        Wolf         CURRENT 24144058 PO336455                  $     1,185.00 10/27/2023    $    1,539.00
5311064   UC-15IPO                      Refrigerator   Sub-Zero     CURRENT 23024649 PO000000000302659         $     3,687.00   11/1/2023   $    5,109.00
5311064   UC-15IPO                      Refrigerator   Sub-Zero     CURRENT 23022528 PO000000000302659         $     3,687.00   11/1/2023   $    5,109.00
5311064   UC-15IPO                      Refrigerator   Sub-Zero     CURRENT 23022022 PO000000000302659         $     3,687.00   11/1/2023   $    5,109.00
5311104   DEC3650FI/L                   Refrigerator   Sub-Zero     CURRENT 24456271 PO322973 SZ Live SM       $     4,814.55   11/3/2023   $    9,259.00
5311062   UC-15IP                       Refrigerator   Sub-Zero     CURRENT 23024805 PO301146                  $     3,415.00   11/3/2023   $    4,739.00
5311062   UC-15IP                       Refrigerator   Sub-Zero     CURRENT 23022704 PO307572                  $     3,415.00   11/3/2023   $    4,739.00
5910006   DW2450WS                      Dishwasher     Cove         CURRENT 20115920 PO316179                  $     1,826.00   11/3/2023   $    2,609.00
5311108   DEC3650R/L                    Refrigerator   Sub-Zero     CURRENT   5958691 PO323429                 $     7,511.00   11/9/2023   $    9,389.00
5310920   CL3650R/S/T/R                 Refrigerator   Sub-Zero     CURRENT   4828107 PO315285                 $     7,503.00   11/9/2023   $    9,379.00
5311107   DEC3650RID/R                  Refrigerator   Sub-Zero     CURRENT 24456341 PO322973 SZ Live SM       $     5,100.55   11/9/2023   $    9,809.00
5311064   UC-15IPO                      Refrigerator   Sub-Zero     CURRENT 23022671 PO000000000302659         $     3,687.00   11/9/2023   $    5,109.00
5610169   PL582212                      Ventilation    Wolf         CURRENT 22417549 PO337188                  $     1,239.00   11/9/2023   $    1,609.00
5311111   DEC2450FI/R                   Refrigerator   Sub-Zero     CURRENT 24460585 PO312434                  $     6,655.00 11/10/2023    $    8,319.00
5610632   CSO30TE/S/TH                  Steam Oven     Wolf         CURRENT 13602693 PO337427                  $     4,250.00 11/10/2023    $    3,969.00
5311052   ID-24R                        Refrigerator   Sub-Zero     CURRENT 24450379 PO313156                  $     3,767.00 11/10/2023    $    4,709.00
5610228   GR488                         Gas Range      Wolf         CURRENT 18803172 PO332889                  $     8,693.00 11/16/2023    $   11,289.00
5610588   CSO3050PE/S/P                 Steam Oven     Wolf         CURRENT 13614700 PO337564                  $     5,674.00 11/16/2023    $    7,369.00
5311050   ID-30C                        Refrigerator   Sub-Zero     CURRENT 24463535 PO000000000297215         $     4,135.00 11/16/2023    $    5,169.00
5310880   DEU2450BG/R                   Refrigerator   Sub-Zero     CURRENT 23236667 PO337188                  $     2,279.00 11/16/2023    $    2,849.00
5610230   GR606CG                       Gas Range      Wolf         CURRENT 18804826 PO337784                  $   11,873.00 11/17/2023     $   15,419.00
5610829   PW662418                      Ventilation    Wolf         CURRENT 14839745 PO337784                  $     2,294.00 11/17/2023    $    2,979.00
5610822   IR36550/S/P                   Refrigerator   Sub-Zero     CURRENT 18812843 PO329972                  $     8,862.00 11/22/2023    $   11,509.00
5610576   PWC362418                     Ventilation    Wolf         CURRENT 14842375 PO337943                  $     2,178.00 11/22/2023    $    2,829.00
5610255   CG365P/S                      Cooktop        Wolf         CURRENT 18812345 PO337943                  $     1,847.00 11/22/2023    $    2,399.00
5311118   DET3650RID/L                  Refrigerator   Sub-Zero     CURRENT 24465051 PO319091                  $     8,287.00 11/30/2023    $   10,359.00
5311118   DET3650RID/L                  Refrigerator   Sub-Zero     CURRENT 24465046 PO319091                  $     8,287.00 11/30/2023    $   10,359.00
5311070   DET3050FI/R                   Refrigerator   Sub-Zero     CURRENT 24466692 PO312969                  $     7,631.00 11/30/2023    $    9,539.00



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Item #    Model #                       Description    Brand        Status  Serial    PO                      Price          Date          UMRP
5610214   GR364G                        Gas Range      Wolf         CURRENT 18784212 PO318892                 $     6,205.00   12/1/2023   $    8,059.00
5610429   CSO24TE/S/TH                  Steam Oven     Wolf         CURRENT 13598656 PO330519                 $     3,080.00   12/1/2023   $    3,489.00
5610429   CSO24TE/S/TH                  Steam Oven     Wolf         CURRENT 13598637 PO330519                 $     3,080.00   12/1/2023   $    3,489.00
5610506   VC36S                         Ventilation    Wolf         CURRENT 15628089 PO338323                 $     1,724.00   12/1/2023   $    2,239.00
5610823   PW302418                      Ventilation    Wolf         CURRENT 14839915 PO338323                 $     1,639.00   12/1/2023   $    2,129.00
5311026   CL4850SD/O                    Refrigerator   Sub-Zero     CURRENT   4836498 PO313155                $     9,759.00   12/6/2023   $   12,199.00
5311087   DEC2450W/L                    Refrigerator   Sub-Zero     CURRENT 24444688 PO312705                 $     5,871.00   12/6/2023   $    7,339.00
5610738   PW362418                      Ventilation    Wolf         OBS      22307948 PO319445                $     1,747.00   12/6/2023   $    2,269.00
5610380   CW24/S                        Cooktop        Wolf         CURRENT 17703057 PO338608                 $       892.00   12/8/2023   $    1,159.00
5311106   DEC3650RID/L                  Refrigerator   Sub-Zero     CURRENT 24471667 PO319091                 $     7,847.00 12/13/2023    $    9,809.00
5311106   DEC3650RID/L                  Refrigerator   Sub-Zero     CURRENT 24471659 PO319091                 $     7,847.00 12/13/2023    $    9,809.00
5610544   DO3050TE/S/T                  Oven           Wolf         CURRENT 22652098 PO338702                 $     5,728.00 12/13/2023    $    7,439.00
5610824   PW362418                      Ventilation    Wolf         CURRENT 14843334 PO338475                 $     1,747.00 12/13/2023    $    2,269.00
5610279   MS24                          Microwave      Wolf         CURRENT 12134317 PO338608                 $       661.00 12/15/2023    $      859.00
5311052   ID-24R                        Refrigerator   Sub-Zero     CURRENT 24472808 PO329245                 $     3,767.00 12/28/2023    $    4,709.00
5311064   UC-15IPO                      Refrigerator   Sub-Zero     CURRENT 23024194 PO306579                 $     3,687.00 12/28/2023    $    5,109.00
5311062   UC-15IP                       Refrigerator   Sub-Zero     CURRENT 23025076 PO307122                 $     3,415.00 12/28/2023    $    4,739.00
5311062   UC-15IP                       Refrigerator   Sub-Zero     CURRENT 23025070 PO307122                 $     3,415.00 12/28/2023    $    4,739.00
5311062   UC-15IP                       Refrigerator   Sub-Zero     CURRENT 23025069 PO307122                 $     3,415.00 12/28/2023    $    4,739.00
5310837   PRO3650G/RH                   Refrigerator   Sub-Zero     CURRENT   3586973 PO339302                $   12,479.00     1/3/2024   $   15,599.00
5311020   CL4250SID/O                   Refrigerator   Sub-Zero     CURRENT   4833624 PO313155                $     9,055.00    1/3/2024   $   11,319.00
5311070   DET3050FI/R                   Refrigerator   Sub-Zero     CURRENT 24466637 PO328054                 $     7,631.00    1/3/2024   $    9,539.00
5311070   DET3050FI/R                   Refrigerator   Sub-Zero     CURRENT 24386793 PO328054                 $     7,631.00    1/3/2024   $    9,539.00
5311049   ID-30R                        Refrigerator   Sub-Zero     CURRENT 24471872 PO313248                 $     3,927.00    1/3/2024   $    4,909.00
5311049   ID-30R                        Refrigerator   Sub-Zero     CURRENT 24471869 PO313248                 $     3,927.00    1/3/2024   $    4,909.00
5310908   DEU2450RO/R                   Refrigerator   Sub-Zero     CURRENT 23224734 PO339302                 $     2,807.00    1/3/2024   $    3,509.00
5310904   DEU2450R/ADA/R                Refrigerator   Sub-Zero     CURRENT 23243000 PO339430                 $     2,103.00    1/3/2024   $    2,629.00
5610544   DO3050TE/S/T                  Oven           Wolf         CURRENT 22657177 PO339302                 $     5,728.00    1/4/2024   $    7,439.00
5610544   DO3050TE/S/T                  Oven           Wolf         CURRENT 22657169 PO339430                 $     5,728.00    1/4/2024   $    7,439.00
5610540   CSO30PM/S/PH                  Steam Oven     Wolf         CURRENT 13604039 PO330519                 $     4,280.00    1/4/2024   $    4,019.00
5610546   SO3050TE/S/T                  Oven           Wolf         CURRENT 22647574 PO339302                 $     3,842.00    1/4/2024   $    4,989.00
5610519   SPO30PM/S/PH                  Oven           Wolf         CURRENT 15208333 PO339302                 $     2,248.00    1/4/2024   $    2,919.00
5610318   VW36B                         Ventilation    Wolf         CURRENT 15624841 PO339587                 $     1,470.00    1/4/2024   $    1,909.00
5610667   DF48850/S/P/LP                Refrigerator   Sub-Zero     CURRENT 18816468 PO320616                 $   11,203.00     1/5/2024   $   14,549.00
5311020   CL4250SID/O                   Refrigerator   Sub-Zero     CURRENT   4840368 PO319091                $     9,055.00    1/5/2024   $   11,319.00
5310898   DEU1550B/R                    Refrigerator   Sub-Zero     CURRENT 23244633 PO339754                 $     2,047.00    1/5/2024   $    2,559.00
5610627   CSO30PE/S/PH                  Steam Oven     Wolf         CURRENT 13605756 PO339430                 $     4,265.00    1/5/2024   $    5,279.00
5610627   CSO30PE/S/PH                  Steam Oven     Wolf         CURRENT 13605754 PO339430                 $     4,265.00    1/5/2024   $    5,279.00
5310837   PRO3650G/RH                   Refrigerator   Sub-Zero     CURRENT   3586989 PO339974                $   12,479.00    1/10/2024   $   15,599.00
5310973   CL3650U/O/L                   Refrigerator   Sub-Zero     CURRENT   4841410 PO319245                $     8,279.00   1/10/2024   $   10,349.00
5310973   CL3650U/O/L                   Refrigerator   Sub-Zero     CURRENT   4841343 PO319245                $     8,279.00   1/10/2024   $   10,349.00
5610591   CSOP3050TM/S/T                Steam Oven     Wolf         CURRENT 13613156 PO338323                 $     6,136.00   1/10/2024   $    7,969.00
5610121   SRT486C                       Cooktop        Wolf         CURRENT 18706073 PO338701                 $     4,365.00   1/10/2024   $    5,669.00
5310910   DEU1550W/R                    Refrigerator   Sub-Zero     CURRENT 23249877 PO339825                 $     2,295.00   1/10/2024   $    2,869.00
5610314   VW30S                         Ventilation    Wolf         CURRENT 15628777 PO339825                 $     1,378.00   1/10/2024   $    1,789.00
5311083   DEC1850W/L                    Refrigerator   Sub-Zero     CURRENT 24477246 PO331884                 $     5,391.00   1/17/2024   $    6,739.00
5311005   CL4250UFDID/O                 Refrigerator   Sub-Zero     CURRENT   4846046 PO312969                $     9,703.00   1/19/2024   $   12,129.00
5311116   DET3650CI/L                   Refrigerator   Sub-Zero     CURRENT 24464860 PO000000000298171        $     8,111.00   1/19/2024   $   10,139.00
5311031   CL4850SID/S/P                 Refrigerator   Sub-Zero     CURRENT   4842393 PO322321                $   11,399.00    1/26/2024   $   14,249.00



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                                                                    Sub-Zero
                                                                 Inventory Audit Report
                                                                    (April 15, 2024)
Item #    Model #                        Description  Brand        Status  Serial    PO                      Price          Date          UMRP
5610680   SO3050CM/S                     Oven         Wolf         CURRENT 22649968 PO340441                 $     4,727.00   1/26/2024   $    6,139.00
5610633   MDD30TE/S/TH                   Microwave    Wolf         CURRENT 15220304 PO340441                 $     1,732.00   1/26/2024   $    2,249.00
5311115   DET3650CIID/R                  Refrigerator Sub-Zero     CURRENT 24469569 SPECIAL PO287543         $     8,439.00    2/2/2024   $   10,549.00
5311109   DEC3650R/R                     Refrigerator Sub-Zero     CURRENT   5999062 PO340977                $     7,511.00    2/2/2024   $    9,389.00
5610121   SRT486C                        Cooktop      Wolf         CURRENT 18704584 PO340795                 $     4,365.00    2/2/2024   $    5,669.00
5310930   CL3650RG/O/R                   Refrigerator Sub-Zero     CURRENT   4832332 PO319091                $     7,263.00    2/7/2024   $    9,079.00
5311057   ID-30FI                        Refrigerator Sub-Zero     CURRENT 24480764 PO000000000302659        $     4,087.00    2/7/2024   $    5,109.00
5610634   SPO30TE/S/TH                   Oven         Wolf         CURRENT 15211027 PO340441                 $     2,109.00    2/7/2024   $    2,739.00
5610634   SPO30TE/S/TH                   Oven         Wolf         CURRENT 15210302 PO339902                 $     2,109.00    2/7/2024   $    2,739.00
5610218   GR486G                         Gas Range    Wolf         CURRENT 18802807 PO341302                 $     9,386.00   2/14/2024   $   12,189.00
5610218   GR486G                         Gas Range    Wolf         CURRENT 18802232 PO341302                 $     9,386.00   2/14/2024   $   12,189.00
5610770   CI36560C/B                     Cooktop      Wolf         CURRENT 18833317 PO329972                 $     2,925.00   2/14/2024   $    3,799.00
5310901   DEU1550BG/L                    Refrigerator Sub-Zero     CURRENT 23245045 PO341024                 $     2,127.00   2/14/2024   $    2,659.00
5610635   MD24TE/S                       Microwave    Wolf         CURRENT 26385895 PO341024                 $     1,624.00   2/14/2024   $    2,109.00
5311024   CL4850S/S/T                    Refrigerator Sub-Zero     CURRENT   4836893 PO341560                $   11,087.00    2/21/2024   $   13,859.00
5311024   CL4850S/S/T                    Refrigerator Sub-Zero     CURRENT   4836892 PO341560                $   11,087.00    2/21/2024   $   13,859.00
5610228   GR488                          Gas Range    Wolf         CURRENT 18796936 PO341506                 $     8,693.00   2/21/2024   $   11,289.00
5610123   SRT486G                        Cooktop      Wolf         CURRENT 18690459 PO341506                 $     4,365.00   2/21/2024   $    5,669.00
5910006   DW2450WS                       Dishwasher   Cove         CURRENT 20122522 PO341506                 $     1,826.00   2/21/2024   $    2,609.00
5910006   DW2450WS                       Dishwasher   Cove         CURRENT 20122466 PO341506                 $     1,826.00   2/21/2024   $    2,609.00
5610543   MDD30PM/S/PH                   Microwave    Wolf         CURRENT 15219525 PO341506                 $     1,824.00   2/21/2024   $    2,369.00
5610060   WWD30                          Warming Draw Wolf         CURRENT 16379734 PO341560                 $     1,739.00   2/21/2024   $    2,259.00
5310980   CL3650UID/S/T/R                Refrigerator Sub-Zero     CURRENT   4852478 PO319091                $   10,071.00    2/29/2024   $   12,589.00
5311078   DEC3050RID/R                   Refrigerator Sub-Zero     CURRENT 24474624 PO330059                 $     7,423.00   2/29/2024   $    9,279.00
5610683   DO3050PM/S/P                   Oven         Wolf         CURRENT 22642765 PO341506                 $     7,330.00   2/29/2024   $    9,519.00
5310914   DEU2450W/R                     Refrigerator Sub-Zero     CURRENT 23230498 PO341560                 $     3,207.00   2/29/2024   $    4,009.00
5910006   DW2450WS                       Dishwasher   Cove         CURRENT 20120250 PO341698                 $     1,826.00   2/29/2024   $    2,609.00
5610507   VC36W                          Ventilation  Wolf         CURRENT 15629458 PO339825                 $     1,770.00   2/29/2024   $    2,299.00
5910007   DW2450                         Dishwasher   Cove         CURRENT 20122006 PO341506                 $     1,742.00   2/29/2024   $    2,489.00
5910007   DW2450                         Dishwasher   Cove         CURRENT 20121980 PO341506                 $     1,742.00   2/29/2024   $    2,489.00
5310974   CL3650U/S/T/R                  Refrigerator Sub-Zero     CURRENT   4849548 PO327499                $     9,743.00    3/8/2024   $   12,179.00
5311107   DEC3650RID/R                   Refrigerator Sub-Zero     CURRENT 24482919 PO342216                 $     7,847.00    3/8/2024   $    9,809.00
5311104   DEC3650FI/L                    Refrigerator Sub-Zero     CURRENT 24467671 PO342216                 $     7,407.00    3/8/2024   $    9,259.00
5311075   DEC3050FI/L                    Refrigerator Sub-Zero     CURRENT 24475910 PO342216                 $     7,087.00    3/8/2024   $    8,859.00
5311046   ID-36R                         Refrigerator Sub-Zero     CURRENT 24489168 PO342216                 $     4,071.00    3/8/2024   $    5,089.00
5311046   ID-36R                         Refrigerator Sub-Zero     CURRENT 24489167 PO342216                 $     4,071.00    3/8/2024   $    5,089.00
5311053   ID-24RO                        Refrigerator Sub-Zero     CURRENT 24472648 PO342216                 $     4,055.00    3/8/2024   $    5,069.00
5310914   DEU2450W/R                     Refrigerator Sub-Zero     CURRENT 23240150 PO342216                 $     3,207.00    3/8/2024   $    4,009.00
5610429   CSO24TE/S/TH                   Steam Oven   Wolf         CURRENT 13603242 PO342216                 $     3,110.00    3/8/2024   $    3,489.00
5310881   DEU2450BG/L                    Refrigerator Sub-Zero     CURRENT 23236425 PO342216                 $     2,279.00    3/8/2024   $    2,849.00
5310907   DEU2450R/L                     Refrigerator Sub-Zero     CURRENT 23248358 PO342216                 $     2,103.00    3/8/2024   $    2,629.00
5310906   DEU2450R/R                     Refrigerator Sub-Zero     CURRENT 23246606 PO342216                 $     2,103.00    3/8/2024   $    2,629.00
5610292   PL461912                       Ventilation  Wolf         CURRENT 22425494 PO342216                 $     1,147.00    3/8/2024   $    1,489.00
5610290   PL341912                       Ventilation  Wolf         CURRENT 22425586 PO342216                 $     1,054.00    3/8/2024   $    1,369.00
5610670   DF60650DG/S/P                  Range        Wolf         CURRENT 18815303 PO341806                 $   15,507.00    3/14/2024   $   20,139.00
5610656   DF48650G/S/P                   Range        Wolf         CURRENT 18814712 PO341560                 $   11,896.00    3/14/2024   $   15,449.00
5311023   CL4850S/O                      Refrigerator Sub-Zero     CURRENT   4847987 PO341560                $     9,407.00   3/14/2024   $   11,759.00
5610218   GR486G                         Gas Range    Wolf         CURRENT 18806925 PO341802                 $     9,386.00   3/14/2024   $   12,189.00
5610218   GR486G                         Gas Range    Wolf         CURRENT 18806507 PO341802                 $     9,386.00   3/14/2024   $   12,189.00



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                                                                          Sub-Zero
                                                                       Inventory Audit Report
                                                                          (April 15, 2024)
Item #    Model #                         Description       Brand        Status  Serial    PO                        Price          Date          UMRP
5610218   GR486G                          Gas Range         Wolf         CURRENT 18806503 PO341506                   $     9,386.00   3/14/2024   $   12,189.00
5311109   DEC3650R/R                      Refrigerator      Sub-Zero     CURRENT   5999177 PO342395                  $     7,511.00   3/14/2024   $    9,389.00
5310922   CL3650R/S/P/R                   Refrigerator      Sub-Zero     CURRENT   4848401 PO325605                  $     7,503.00   3/14/2024   $    9,379.00
5311078   DEC3050RID/R                    Refrigerator      Sub-Zero     CURRENT 24474608 PO342422                   $     7,423.00   3/14/2024   $    9,279.00
5311104   DEC3650FI/L                     Refrigerator      Sub-Zero     CURRENT 24478569 PO342395                   $     7,407.00   3/14/2024   $    9,259.00
5311080   DEC3050R/R                      Refrigerator      Sub-Zero     CURRENT 24461982 PO341698                   $     7,087.00   3/14/2024   $    8,859.00
5311075   DEC3050FI/L                     Refrigerator      Sub-Zero     CURRENT 24478817 PO306485                   $     7,087.00   3/14/2024   $    8,859.00
5311110   DEC2450FI/L                     Refrigerator      Sub-Zero     CURRENT 24475911 PO315131                   $     6,655.00   3/14/2024   $    8,319.00
5311102   DEC1850FI/L                     Refrigerator      Sub-Zero     CURRENT 24460345 PO330059                   $     6,207.00   3/14/2024   $    7,759.00
5311102   DEC1850FI/L                     Refrigerator      Sub-Zero     CURRENT 24460335 PO330059                   $     6,207.00   3/14/2024   $    7,759.00
5311102   DEC1850FI/L                     Refrigerator      Sub-Zero     CURRENT 24457845 PO330059                   $     6,207.00   3/14/2024   $    7,759.00
5610545   DO3050PE/S/P                    Oven              Wolf         CURRENT 22665370                     341418 $     5,774.00   3/14/2024   $    7,499.00
5610546   SO3050TE/S/T                    Oven              Wolf         CURRENT 22663270 PO341506                   $     3,842.00   3/14/2024   $    4,989.00
5610707   EC3050PM/S                      Built in Coffee   Wolf         CURRENT 13776194 PO341919                   $     3,241.00   3/14/2024   $    4,209.00
5610770   CI36560C/B                      Cooktop           Wolf         CURRENT 18833684 PO331583                   $     2,925.00   3/14/2024   $    3,799.00
5310884   DEU2450BA/R                     Refrigerator      Sub-Zero     CURRENT 23243743 PO341806                   $     2,279.00   3/14/2024   $    2,849.00
5610297   CG365C/S                        Cooktop           Wolf         CURRENT 18708383 PO342395                   $     2,194.00   3/14/2024   $    2,849.00
5310900   DEU1550BG/R                     Refrigerator      Sub-Zero     CURRENT 23251182 PO342395                   $     2,127.00   3/14/2024   $    2,659.00
5310907   DEU2450R/L                      Refrigerator      Sub-Zero     CURRENT 23248798 PO342395                   $     2,103.00   3/14/2024   $    2,629.00
5610826   PW482418                        Ventilation       Wolf         CURRENT 14843552 PO342395                   $     1,963.00   3/14/2024   $    2,549.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112077 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112087 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112085 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112083 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112082 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112081 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112080 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112075 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910006   DW2450WS                        Dishwasher        Cove         CURRENT 20112074 PO341802                   $     1,826.00   3/14/2024   $    2,609.00
5910007   DW2450                          Dishwasher        Cove         CURRENT 20114799 PO342395                   $     1,742.00   3/14/2024   $    2,489.00
5610635   MD24TE/S                        Microwave         Wolf         CURRENT 26386333 PO341802                   $     1,624.00   3/14/2024   $    2,109.00
5610635   MD24TE/S                        Microwave         Wolf         CURRENT 26386295 PO341802                   $     1,624.00   3/14/2024   $    2,109.00
5610635   MD24TE/S                        Microwave         Wolf         CURRENT 26386187 PO341802                   $     1,624.00   3/14/2024   $    2,109.00
5610660   DF48450CG/S/P                   Range             Wolf         CURRENT 18796409             #N/A           $   12,581.00     #N/A       $   16,339.00
5311087   DEC2450W/L                      Refrigerator      Sub-Zero     CURRENT 24435080             #N/A           $     5,871.00    #N/A       $    7,339.00
5610117   SRT484DG                        Cooktop           Wolf         CURRENT 18694524             #N/A           $     5,066.00    #N/A       $    6,579.00
5311061   UC-15I                          Refrigerator      Sub-Zero     CURRENT 23023177             #N/A           $     2,703.00    #N/A       $    3,749.00
5610455   DF48450F/S/P                    Range             Wolf         OBS      18743246            #N/A           $   13,058.00     #N/A       $   16,959.00
5610516   SPO24TE/S/TH                    Oven              Wolf         CURRENT 15210127             #N/A           $     2,113.65               $    2,579.00
9033704   KIT,DUAL,INSTL,SST,72-1/4 ACC   Accessories       Cove         CURRENT                                     $     1,085.70               $    1,410.00
9038709   KIT,DUAL,INSTL,SST,66 ACC       Accessories       Cove         CURRENT                                     $     1,054.90               $    1,370.00
810438    BACKSPLASH, W/ RACKS 66X38      Accessories       Wolf         CURRENT                                     $     1,043.35               $    1,355.00
814106    LINER, INSULATING - 36          Accessories       Wolf         CURRENT                                     $     1,008.70               $    1,310.00
814105    LINER, INSULATING - 30          Accessories       Wolf         CURRENT                                     $       981.75               $    1,275.00
827603    DOOR,ACCESS,54                  Accessories       Wolf         CURRENT                                     $       927.85               $    1,205.00
827604    DRAWER,SINGLE,30                Accessories       Wolf         CURRENT                                     $       877.80               $    1,140.00
827604    DRAWER,SINGLE,30                Accessories       Wolf         CURRENT                                     $       877.80               $    1,140.00
827604    DRAWER,SINGLE,30                Accessories       Wolf         CURRENT                                     $       877.80               $    1,140.00
827604    DRAWER,SINGLE,30                Accessories       Wolf         CURRENT                                     $       877.80               $    1,140.00



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Item #    Model #                          Description   Brand        Status  Serial         PO              Price            Date   UMRP
827604    DRAWER,SINGLE,30                 Accessories   Wolf         CURRENT                                $       877.80          $    1,140.00
9033703   KIT,DUAL,OVERLAY 72-1/4,ACC      Accessories   Cove         CURRENT                                $       839.30          $    1,090.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
814423    BLOWER, 1200 INTERNAL            Vent Blower   Wolf         CURRENT                                $       777.70          $    1,010.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827602    DOOR,ACCESS,42                   Accessories   Wolf         CURRENT                                $       770.00          $    1,000.00
827880    DUCT COVER,PRO CHMNY,48X36,ACC   Ventilation   Wolf         CURRENT                                $       758.45          $      985.00
827880    DUCT COVER,PRO CHMNY,48X36,ACC   Ventilation   Wolf         CURRENT                                $       758.45          $      985.00
827874    DUCT COVER,PRO WALL,48X36,ACC    Ventilation   Wolf         CURRENT                                $       758.45          $      985.00
7025367   PANEL,DOOR 36 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       758.45          $      985.00
7025367   PANEL,DOOR 36 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       758.45          $      985.00
7025366   PANEL,DOOR 36 C TH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       758.45          $      985.00
7025317   PANEL,DOOR 36 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       758.45          $      985.00
7025316   PANEL,DOOR 36 C PH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       758.45          $      985.00
813974    DUCT COVER - PRO WALL 30X60      Ventilation   Wolf         CURRENT                                $       754.60          $      980.00
9036865   PANEL ASSY,DOOR,DISP,PH,ACC      Accessories   Cove         CURRENT                                $       731.50          $      950.00
9036864   PANEL ASSY,DOOR,REF,PH,ACC       Accessories   Cove         CURRENT                                $       731.50          $      950.00
9036864   PANEL ASSY,DOOR,REF,PH,ACC       Accessories   Cove         CURRENT                                $       731.50          $      950.00
9036864   PANEL ASSY,DOOR,REF,PH,ACC       Accessories   Cove         CURRENT                                $       731.50          $      950.00
7025393   PANEL,DOOR 30 WC TH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       731.50          $      950.00
7025393   PANEL,DOOR 30 WC TH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       731.50          $      950.00
9037592   PANEL ASSY,DOOR,PH               Accessories   Cove         CURRENT                                $       727.65          $      945.00
9037592   PANEL ASSY,DOOR,PH               Accessories   Cove         CURRENT                                $       727.65          $      945.00
7025340   PANEL,DOOR 24 WC LK PH TK4 RH    Accessories   Sub-Zero     CURRENT                                $       727.65          $      945.00
827878    DUCT COVER,PRO CHMNY,36X36,ACC   Ventilation   Wolf         CURRENT                                $       723.80          $      940.00
826900    DUCT COVER,PRO ISLAND,54X30      Ventilation   Wolf         CURRENT                                $       723.80          $      940.00
826900    DUCT COVER,PRO ISLAND,54X30      Ventilation   Wolf         CURRENT                                $       723.80          $      940.00
810737    DUCT COVER, PRO WALL 24X66       Ventilation   Wolf         CURRENT                                $       712.25          $      925.00
827871    DUCT COVER,PRO WALL,30X36,ACC    Ventilation   Wolf         CURRENT                                $       704.55          $      915.00
827871    DUCT COVER,PRO WALL,30X36,ACC    Ventilation   Wolf         CURRENT                                $       704.55          $      915.00
827871    DUCT COVER,PRO WALL,30X36,ACC    Ventilation   Wolf         CURRENT                                $       704.55          $      915.00
9036857   PANEL ASSY,DOOR,REF,PH,ACC       Accessories   Cove         CURRENT                                $       704.55          $      915.00
9036857   PANEL ASSY,DOOR,REF,PH,ACC       Accessories   Cove         CURRENT                                $       704.55          $      915.00
811838    RECIRC ASSEMBLY-30               Accessories   Wolf         CURRENT                                $       700.70          $      910.00
827601    DOOR,ACCESS,36                   Accessories   Wolf         CURRENT                                $       693.00          $      900.00
827601    DOOR,ACCESS,36                   Accessories   Wolf         CURRENT                                $       693.00          $      900.00
827601    DOOR,ACCESS,36                   Accessories   Wolf         CURRENT                                $       693.00          $      900.00



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827601    DOOR,ACCESS,36                  Accessories   Wolf         CURRENT                                $       693.00          $      900.00
827601    DOOR,ACCESS,36                  Accessories   Wolf         CURRENT                                $       693.00          $      900.00
808332    BLOWER, 1100 CFM INLINE         Ventilation   Wolf         CURRENT                                $       689.15          $      895.00
826101    RECIRCULATION KIT,DOWNDRAFT     Ventilation   Wolf         CURRENT                                $       689.15          $      895.00
810736    DUCT COVER, PRO WALL 24X60      Ventilation   Wolf         CURRENT                                $       689.15          $      895.00
801641    BLOWER, 900 CFM REMOTE          Ventilation   Wolf         CURRENT                                $       689.15          $      895.00
9038248   KIT,WINE,BULK                   Accessories   Sub-Zero     CURRENT                                $       685.30          $      890.00
9038248   KIT,WINE,BULK                   Accessories   Sub-Zero     CURRENT                                $       685.30          $      890.00
9011700   PANEL ASSY,DWR,PRO              Accessories   Sub-Zero     CURRENT                                $       681.45          $      885.00
9011700   PANEL ASSY,DWR,PRO              Accessories   Sub-Zero     CURRENT                                $       681.45          $      885.00
9011700   PANEL ASSY,DWR,PRO              Accessories   Sub-Zero     CURRENT                                $       681.45          $      885.00
9038364   PANEL ASSY,DOOR,TH,36UFD ACC    Accessories   Sub-Zero     CURRENT                                $       677.60          $      880.00
9038364   PANEL ASSY,DOOR,TH,36UFD ACC    Accessories   Sub-Zero     CURRENT                                $       677.60          $      880.00
9038360   PANEL ASSY,DOOR,GL,PH,36U ACC   Accessories   Sub-Zero     CURRENT                                $       677.60          $      880.00
7030218   PANEL,REF FLSH INST SS TH SQ    Accessories   Sub-Zero     CURRENT                                $       677.60          $      880.00
810433    BACKSPLASH, W/ RACKS 36X38      Accessories   Wolf         CURRENT                                $       677.60          $      880.00
9044759   KIT,SIDE,PNL,SST                Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025305   PANEL,DOOR 30 C PH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025305   PANEL,DOOR 30 C PH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
7025304   PANEL,DOOR 30 C PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
810735    DUCT COVER, PRO WALL 24X54      Accessories   Sub-Zero     CURRENT                                $       669.90          $      870.00
9036866   PANEL ASSY,DOOR,FRE,PH,ACC      Accessories   Sub-Zero     CURRENT                                $       666.05          $      865.00
829155    BLOWER,800,INTERNAL             Ventilation   Wolf         CURRENT                                $       642.95          $      835.00
829155    BLOWER,800,INTERNAL             Ventilation   Wolf         CURRENT                                $       642.95          $      835.00
7025401   PANEL,DOOR 30 WT TH LH          Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025353   PANEL,DOOR 30 WT PH LH          Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025337   PANEL,DOOR 24 WC PH TK4 LH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025337   PANEL,DOOR 24 WC PH TK4 LH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025337   PANEL,DOOR 24 WC PH TK4 LH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025337   PANEL,DOOR 24 WC PH TK4 LH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025336   PANEL,DOOR 24 WC PH TK4 RH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7025336   PANEL,DOOR 24 WC PH TK4 RH      Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
7023708   PANEL,DOOR 36 T TH RH           Accessories   Sub-Zero     CURRENT                                $       642.95          $      835.00
9036860   PANEL ASSY,DOOR,FRE,PH,ACC      Accessories   Sub-Zero     CURRENT                                $       639.10          $      830.00
9036860   PANEL ASSY,DOOR,FRE,PH,ACC      Accessories   Sub-Zero     CURRENT                                $       639.10          $      830.00
827600    DOOR,ACCESS,30                  Accessories   Wolf         CURRENT                                $       639.10          $      830.00
827600    DOOR,ACCESS,30                  Accessories   Wolf         CURRENT                                $       639.10          $      830.00
827600    DOOR,ACCESS,30                  Accessories   Wolf         CURRENT                                $       639.10          $      830.00
827600    DOOR,ACCESS,30                  Accessories   Wolf         CURRENT                                $       639.10          $      830.00
811034    DUCT COVER, PRO CHMNY 24X48     Ventilation   Wolf         CURRENT                                $       639.10          $      830.00
810734    DUCT COVER, PRO WALL 24X48      Ventilation   Wolf         CURRENT                                $       639.10          $      830.00
808528    RISER,20X48,SHELF-SRT           Accessories   Wolf         CURRENT                                $       639.10          $      830.00
7025381   PANEL,DOOR 18 WC LK TH TK4 LH   Accessories   Sub-Zero     CURRENT                                $       631.40          $      820.00
7025381   PANEL,DOOR 18 WC LK TH TK4 LH   Accessories   Sub-Zero     CURRENT                                $       631.40          $      820.00



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7025380   PANEL,DOOR 18 WC LK TH TK4 RH    Accessories   Sub-Zero     CURRENT                                $       631.40          $      820.00
810729    DUCT COVER, PRO WALL 18X60       Ventilation   Wolf         CURRENT                                $       627.55          $      815.00
810729    DUCT COVER, PRO WALL 18X60       Ventilation   Wolf         CURRENT                                $       627.55          $      815.00
9016124   ACCESSORY ASSY,RISER,20,DF48     Accessories   Sub-Zero     CURRENT                                $       619.85          $      805.00
7030219   PANEL,FRE FLSH INST SS TH SQ     Accessories   Sub-Zero     CURRENT                                $       604.45          $      785.00
811616    DUCT COVER, PRO ISLAND 12IN      Ventilation   Wolf         CURRENT                                $       604.45          $      785.00
7028450   KIT,BULK STORAGE 30              Accessories   Sub-Zero     CURRENT                                $       596.75          $      775.00
7028450   KIT,BULK STORAGE 30              Accessories   Sub-Zero     CURRENT                                $       596.75          $      775.00
7025321   PANEL,DOOR 24 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025321   PANEL,DOOR 24 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025321   PANEL,DOOR 24 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025320   PANEL,DOOR 24 C PH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025320   PANEL,DOOR 24 C PH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025313   PANEL,DOOR 30 T PH LH            Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7025312   PANEL,DOOR 30 T PH RH            Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7023711   PANEL,DOOR 24 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7023711   PANEL,DOOR 24 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7023710   PANEL,DOOR 24 C TH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7023707   PANEL,DOOR 30 T TH LH            Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
7023706   PANEL,DOOR 30 T TH RH            Accessories   Sub-Zero     CURRENT                                $       577.50          $      750.00
801640    BLOWER, 600 CFM REMOTE           Ventilation   Wolf         CURRENT                                $       546.70          $      710.00
7025376   PANEL,DOOR 18 WC TH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
7025376   PANEL,DOOR 18 WC TH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
7025376   PANEL,DOOR 18 WC TH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
7025329   PANEL,DOOR 18 WC PH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
7025329   PANEL,DOOR 18 WC PH TK4 LH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
7025328   PANEL,DOOR 18 WC PH TK4 RH       Accessories   Sub-Zero     CURRENT                                $       542.85          $      705.00
828447    DUCT COVER, PRO OUTDOOR, 18X36   Ventilation   Wolf         CURRENT                                $       539.00          $      700.00
811028    DUCT COVER, PRO CHMNY 18X36      Ventilation   Wolf         CURRENT                                $       539.00          $      700.00
811028    DUCT COVER, PRO CHMNY 18X36      Ventilation   Wolf         CURRENT                                $       539.00          $      700.00
9013058   KIT,PNL,SIDE,ACC                 Accessories   Sub-Zero     CURRENT                                $       535.15          $      695.00
9013058   KIT,PNL,SIDE,ACC                 Accessories   Sub-Zero     CURRENT                                $       535.15          $      695.00
9013058   KIT,PNL,SIDE,ACC                 Accessories   Sub-Zero     CURRENT                                $       535.15          $      695.00
811026    DUCT COVER, PRO CHMNY 12X48      Ventilation   Wolf         CURRENT                                $       527.45          $      685.00
811024    DUCT COVER, PRO CHMNY 12X36      Ventilation   Wolf         CURRENT                                $       488.95          $      635.00
811024    DUCT COVER, PRO CHMNY 12X36      Ventilation   Wolf         CURRENT                                $       488.95          $      635.00
811024    DUCT COVER, PRO CHMNY 12X36      Ventilation   Wolf         CURRENT                                $       488.95          $      635.00
7025373   PANEL,DOOR 18 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025373   PANEL,DOOR 18 C TH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025372   PANEL,DOOR 18 C TH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025325   PANEL,DOOR 18 C PH TK4 LH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025324   PANEL,DOOR 18 C PH TK4 RH        Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025308   PANEL,DWR 30 PH TK4              Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7025308   PANEL,DWR 30 PH TK4              Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00



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7023702   PANEL,DWR 30 TH TK4             Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7023702   PANEL,DWR 30 TH TK4             Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7023702   PANEL,DWR 30 TH TK4             Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
7023702   PANEL,DWR 30 TH TK4             Accessories   Sub-Zero     CURRENT                                $       481.25          $      625.00
811022    DUCT COVER, PRO CHMNY 6X48      Ventilation   Wolf         CURRENT                                $       473.55          $      615.00
811022    DUCT COVER, PRO CHMNY 6X48      Ventilation   Wolf         CURRENT                                $       473.55          $      615.00
810713    DUCT COVER, PRO WALL 6X48       Ventilation   Wolf         CURRENT                                $       473.55          $      615.00
810713    DUCT COVER, PRO WALL 6X48       Ventilation   Wolf         CURRENT                                $       473.55          $      615.00
808331    BLOWER, 600 CFM INLINE          Ventilation   Wolf         CURRENT                                $       458.15          $      595.00
808331    BLOWER, 600 CFM INLINE          Ventilation   Wolf         CURRENT                                $       458.15          $      595.00
7025410   PANEL,DWR 27 TH TK4             Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7025362   PANEL,DWR 27 PH TK4             Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7025362   PANEL,DWR 27 PH TK4             Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7025362   PANEL,DWR 27 PH TK4             Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7003455   FRNT PNLS,FRMD SS 36IN          Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7003455   FRNT PNLS,FRMD SS 36IN          Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7003455   FRNT PNLS,FRMD SS 36IN          Accessories   Sub-Zero     CURRENT                                $       458.15          $      595.00
7031926   DOOR,WINE-LH IW-24 SOLID SVCE   Accessories   Sub-Zero     CURRENT                                $       442.75          $      575.00
811020    DUCT COVER, PRO CHMNY 6X36      Ventilation   Wolf         CURRENT                                $       442.75          $      575.00
7025408   PANEL,DWR 24 TH TK4             Accessories   Sub-Zero     CURRENT                                $       438.90          $      570.00
7025360   PANEL,DWR 24 PH TK4             Accessories   Sub-Zero     CURRENT                                $       438.90          $      570.00
7025360   PANEL,DWR 24 PH TK4             Accessories   Sub-Zero     CURRENT                                $       438.90          $      570.00
7025360   PANEL,DWR 24 PH TK4             Accessories   Sub-Zero     CURRENT                                $       438.90          $      570.00
7025360   PANEL,DWR 24 PH TK4             Accessories   Sub-Zero     CURRENT                                $       438.90          $      570.00
810710    DUCT COVER, PRO WALL 6X30       Ventilation   Wolf         CURRENT                                $       427.35          $      555.00
810710    DUCT COVER, PRO WALL 6X30       Ventilation   Wolf         CURRENT                                $       427.35          $      555.00
810710    DUCT COVER, PRO WALL 6X30       Ventilation   Wolf         CURRENT                                $       427.35          $      555.00
9037591   PANEL ASSY,DWR,PH,ACC           Accessories   Sub-Zero     CURRENT                                $       419.65          $      545.00
7031923   DOOR,WINE-RH IW-18 SOLID SVCE   Accessories   Sub-Zero     CURRENT                                $       415.80          $      540.00
7031923   DOOR,WINE-RH IW-18 SOLID SVCE   Accessories   Sub-Zero     CURRENT                                $       415.80          $      540.00
829839    DRAWER,WARMING,TRANS,ACC        Accessories   Wolf         CURRENT                                $       392.70          $      510.00
829837    DRAWER,WARMING,PRO,ACC          Accessories   Wolf         CURRENT                                $       392.70          $      510.00
829310    TRIM,E,30,SS,MS24,ACC           Accessories   Wolf         CURRENT                                $       392.70          $      510.00
829310    TRIM,E,30,SS,MS24,ACC           Accessories   Wolf         CURRENT                                $       392.70          $      510.00
829306    TRIM,E,30,SS,MC24,ACC           Accessories   Wolf         CURRENT                                $       392.70          $      510.00
827870    MS24,M SERIES,SS,CTR,TRIM,ACC   Accessories   Wolf         CURRENT                                $       392.70          $      510.00
827869    MC24,M SERIES,SS,CTR,TRIM,ACC   Accessories   Wolf         CURRENT                                $       392.70          $      510.00
824642    TRIM, ASSY-MICROWAVE,BLK, 30    Accessories   Wolf         CURRENT                                $       392.70          $      510.00
823279    WM DRAWER, PRO - 30             Accessories   Wolf         CURRENT                                $       392.70          $      510.00
823278    WM DRAWER, TRANSITIONAL - 30    Accessories   Wolf         CURRENT                                $       392.70          $      510.00
823278    WM DRAWER, TRANSITIONAL - 30    Accessories   Wolf         CURRENT                                $       392.70          $      510.00
823277    WM DRAWER, CONTEMPORARY - 30    Accessories   Wolf         CURRENT                                $       392.70          $      510.00
7003545   GRILL,STAINLESS 83IN 48IN       Accessories   Sub-Zero     CURRENT                                $       385.00          $      500.00
808529    CONTAINER SET, WWD              Accessories   Wolf         CURRENT                                $       373.45          $      485.00
822726    BLOWER - VENTILATION, 300 CFM   Ventilation   Wolf         CURRENT                                $       369.60          $      480.00
822726    BLOWER - VENTILATION, 300 CFM   Ventilation   Wolf         CURRENT                                $       369.60          $      480.00
820036    TRIM, ASSY-MICROWAVE, 27, BLK   Accessories   Wolf         CURRENT                                $       369.60          $      480.00
820036    TRIM, ASSY-MICROWAVE, 27, BLK   Accessories   Wolf         CURRENT                                $       369.60          $      480.00
809960    TRIM, MWC 27IN E SERIES SS      Accessories   Wolf         CURRENT                                $       369.60          $      480.00



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809959    TRIM, MW 27IN E SERIES SS     Accessories   Wolf         CURRENT                                $       369.60          $      480.00
809959    TRIM, MW 27IN E SERIES SS     Accessories   Wolf         CURRENT                                $       369.60          $      480.00
809959    TRIM, MW 27IN E SERIES SS     Accessories   Wolf         CURRENT                                $       369.60          $      480.00
9038367   PANEL ASSY,DWR,TH,36 ACC      Accessories   Sub-Zero     CURRENT                                $       365.75          $      475.00
9038366   PANEL ASSY,DWR,PH,36 ACC      Accessories   Sub-Zero     CURRENT                                $       365.75          $      475.00
7003521   GRILL,LOUVERED 83IN 48IN      Accessories   Sub-Zero     CURRENT                                $       365.75          $      475.00
7003543   GRILL,STAINLESS 83IN 36IN     Accessories   Sub-Zero     CURRENT                                $       350.35          $      455.00
7003543   GRILL,STAINLESS 83IN 36IN     Accessories   Sub-Zero     CURRENT                                $       350.35          $      455.00
7030433   KIT,PANEL 15I 18IN PH         Accessories   Sub-Zero     CURRENT                                $       346.50          $      450.00
7042313   DOOR,SOLID,LH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
7042313   DOOR,SOLID,LH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
7042312   DOOR,SOLID,RH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
7042312   DOOR,SOLID,RH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
7042312   DOOR,SOLID,RH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
7042312   DOOR,SOLID,RH,24,SVCE         Accessories   Sub-Zero     CURRENT                                $       342.65          $      445.00
9045096   GRILL,FLSH INST 48,ACC        Accessories   Sub-Zero     CURRENT                                $       338.80          $      440.00
7030431   KIT,PANEL 15I 15IN PH         Accessories   Sub-Zero     CURRENT                                $       338.80          $      440.00
7030431   KIT,PANEL 15I 15IN PH         Accessories   Sub-Zero     CURRENT                                $       338.80          $      440.00
7030431   KIT,PANEL 15I 15IN PH         Accessories   Sub-Zero     CURRENT                                $       338.80          $      440.00
7005227   RETROFIT,FRMD 42S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
7005227   RETROFIT,FRMD 42S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
7005227   RETROFIT,FRMD 42S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
7005226   RETROFIT,FRMD 48S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
7005226   RETROFIT,FRMD 48S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
7005226   RETROFIT,FRMD 48S             Accessories   Sub-Zero     CURRENT                                $       334.95          $      435.00
9045095   GRILL,FLSH INST 42,ACC        Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9033707   KIT,DUAL,INSTL                Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9033707   KIT,DUAL,INSTL                Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9033707   KIT,DUAL,INSTL                Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9033707   KIT,DUAL,INSTL                Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9033707   KIT,DUAL,INSTL                Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
7003519   GRILL,LOUVERED 83IN 36IN      Accessories   Sub-Zero     CURRENT                                $       323.40          $      420.00
9028543   KIT,PNL,DOOR,LH,P,SOL,RO,24   Accessories   Sub-Zero     CURRENT                                $       319.55          $      415.00
9029032   KIT,PNL,DOOR,RH,T,GL,LK,24    Accessories   Sub-Zero     CURRENT                                $       311.85          $      405.00
9029026   KIT,PNL,DOOR,LH,T,GL,LK,24    Accessories   Sub-Zero     CURRENT                                $       311.85          $      405.00
9045094   GRILL,FLSH INST 36,ACC        Accessories   Sub-Zero     CURRENT                                $       304.15          $      395.00
9038295   KIT,PNL,RETRO,42UFD           Accessories   Sub-Zero     CURRENT                                $       300.30          $      390.00
9038293   KIT,PNL,RETRO,36U             Accessories   Sub-Zero     CURRENT                                $       292.60          $      380.00
9036856   GRILL,PNL,48,ACC              Accessories   Sub-Zero     CURRENT                                $       284.90          $      370.00
9036856   GRILL,PNL,48,ACC              Accessories   Sub-Zero     CURRENT                                $       284.90          $      370.00
9029034   KIT,PNL,DOOR,RH,T,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9029028   KIT,PNL,DOOR,LH,T,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9028545   KIT,PNL,DOOR,RH,P,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9028545   KIT,PNL,DOOR,RH,P,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9028545   KIT,PNL,DOOR,RH,P,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9028514   KIT,PNL,DOOR,LH,P,GL,24       Accessories   Sub-Zero     CURRENT                                $       281.05          $      365.00
9029035   KIT,PNL,DOOR,RH,T,SOL,24      Accessories   Sub-Zero     CURRENT                                $       257.95          $      335.00
9029035   KIT,PNL,DOOR,RH,T,SOL,24      Accessories   Sub-Zero     CURRENT                                $       257.95          $      335.00
9029035   KIT,PNL,DOOR,RH,T,SOL,24      Accessories   Sub-Zero     CURRENT                                $       257.95          $      335.00



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9029031   KIT,PNL,DOOR,RH,P,SOL,24        Accessories   Sub-Zero     CURRENT                                $       257.95          $      335.00
9029025   KIT,PNL,DOOR,LH,P,SOL,24        Accessories   Sub-Zero     CURRENT                                $       257.95          $      335.00
9036855   GRILL,PNL,42,ACC                Accessories   Sub-Zero     CURRENT                                $       254.10          $      330.00
9029177   KIT,PNL,DOOR,RH,P,GL,ADA,24     Accessories   Sub-Zero     CURRENT                                $       254.10          $      330.00
9029169   KIT,PNL,DOOR,LH,P,GL,ADA,24     Accessories   Sub-Zero     CURRENT                                $       254.10          $      330.00
9044753   GRILL,OVERLAY 42,ACC            Accessories   Sub-Zero     CURRENT                                $       234.85          $      305.00
9044753   GRILL,OVERLAY 42,ACC            Accessories   Sub-Zero     CURRENT                                $       234.85          $      305.00
9029153   KIT,PNL,DOOR,LH,P,GL,15         Accessories   Sub-Zero     CURRENT                                $       231.00          $      300.00
9029178   KIT,PNL,DOOR,RH,P,SOL,ADA,24    Accessories   Sub-Zero     CURRENT                                $       231.00          $      300.00
826406    TRIM,E SERIES,VERTICAL          Accessories   Wolf         CURRENT                                $       227.15          $      295.00
819074    RISER KIT, 5 X 36 - RANGE       Accessories   Wolf         CURRENT                                $       227.15          $      295.00
9013057   KIT,PNL,TOP,ACC                 Accessories   Sub-Zero     CURRENT                                $       219.45          $      285.00
7027154   KIT,HANDLE FRAMED               Accessories   Sub-Zero     CURRENT                                $       219.45          $      285.00
9029162   KIT,PNL,DOOR,RH,P,SOL,15        Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029830   KIT,DUAL INSTALL HINGE-HINGE    Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029830   KIT,DUAL INSTALL HINGE-HINGE    Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029830   KIT,DUAL INSTALL HINGE-HINGE    Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029830   KIT,DUAL INSTALL HINGE-HINGE    Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7029829   KIT,DUAL INSTALL HANDLE-HINGE   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
7023628   KIT,DUAL INSTALL IC-IT SERIES   Accessories   Sub-Zero     CURRENT                                $       207.90          $      270.00
823244    BAKE STONE ACCESSORY - 30       Accessories   Wolf         CURRENT                                $       200.20          $      255.00
7014852   KIT,FRAMED GRILL 48             Accessories   Sub-Zero     CURRENT                                $       188.65          $      245.00
9038231   GRILL,PNL,30,ACC                Accessories   Sub-Zero     CURRENT                                $       184.80          $      240.00
9013005   KIT,PNL,TOP,ACC                 Accessories   Sub-Zero     CURRENT                                $       184.80          $      240.00
826407    TRIM,PRO,M SERIES,VERTICAL      Accessories   Wolf         CURRENT                                $       184.80          $      240.00
826405    TRIM,M SERIES,VERTICAL          Accessories   Wolf         CURRENT                                $       184.80          $      240.00
826405    TRIM,M SERIES,VERTICAL          Accessories   Wolf         CURRENT                                $       184.80          $      240.00
7014851   KIT,FRAMED GRILL 42             Accessories   Sub-Zero     CURRENT                                $       177.10          $      230.00
7014851   KIT,FRAMED GRILL 42             Accessories   Sub-Zero     CURRENT                                $       177.10          $      230.00
7014851   KIT,FRAMED GRILL 42             Accessories   Sub-Zero     CURRENT                                $       177.10          $      230.00
7003465   KIT,DOOR HANDLE SIDE BY SIDE    Accessories   Sub-Zero     CURRENT                                $       177.10          $      230.00
807142    BAKESTONE, 36                   Accessories   Wolf         CURRENT                                $       177.10          $      230.00
7007253   HANDLE,SS TH 64 X 1             Accessories   Sub-Zero     CURRENT                                $       165.55          $      215.00
9042354   HANDLE ASSY,DOOR,TALL,TH        Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
9042354   HANDLE ASSY,DOOR,TALL,TH        Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00



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7026115   HANDLE,PH 48.375                 Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
7025227   HANDLE,TH 50.125                 Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
7025227   HANDLE,TH 50.125                 Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
7025227   HANDLE,TH 50.125                 Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
7025227   HANDLE,TH 50.125                 Accessories   Sub-Zero     CURRENT                                $       161.70          $      210.00
826668    HANDLE KIT,PRO,SVCE              Accessories   Wolf         CURRENT                                $       157.85          $      205.00
826668    HANDLE KIT,PRO,SVCE              Accessories   Wolf         CURRENT                                $       157.85          $      205.00
826012    HANDLE,TUBE,PRO,WM DWR           Accessories   Wolf         CURRENT                                $       157.85          $      205.00
826012    HANDLE,TUBE,PRO,WM DWR           Accessories   Wolf         CURRENT                                $       157.85          $      205.00
823247    DEHYDRATION ACCESSORY - 30       Accessories   Wolf         CURRENT                                $       157.85          $      205.00
823247    DEHYDRATION ACCESSORY - 30       Accessories   Wolf         CURRENT                                $       157.85          $      205.00
7006857   HANDLE,PRO 39 DOOR               Accessories   Sub-Zero     CURRENT                                $       154.00          $      200.00
7006857   HANDLE,PRO 39 DOOR               Accessories   Sub-Zero     CURRENT                                $       154.00          $      200.00
812278    GRIDDLE CLEANING KIT             Accessories   Wolf         CURRENT                                $       154.00          $      200.00
812278    GRIDDLE CLEANING KIT             Accessories   Wolf         CURRENT                                $       154.00          $      200.00
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9019420   KIT,PNL,ASSY,24,4,PH             Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
9009548   PANEL ASSY,FR,DOOR,60,KPL 4,PH   Accessories   Sub-Zero     CURRENT                                $       150.15          $         -
7014890   KIT,FRAMED HANDLE SXS            Accessories   Sub-Zero     CURRENT                                $       150.15          $      195.00
7014890   KIT,FRAMED HANDLE SXS            Accessories   Sub-Zero     CURRENT                                $       150.15          $      195.00
7014890   KIT,FRAMED HANDLE SXS            Accessories   Sub-Zero     CURRENT                                $       150.15          $      195.00
827318    KNOB,KIT,RED,SRT,SVCE            Accessories   Wolf         CURRENT                                $       150.15          $      195.00
827310    KNOB,KIT,SST,SRT,SVCE            Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821195    SLIDING RACK - RANGE, 36         Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821195    SLIDING RACK - RANGE, 36         Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821194    SLIDING RACK - RANGE, 30         Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821194    SLIDING RACK - RANGE, 30         Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821182    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf         CURRENT                                $       150.15          $      195.00
821178    BLACK KNOB KIT - 30, GAS RANGE   Accessories   Wolf         CURRENT                                $       150.15          $      195.00
9056274   KIT,KNOB,BRS,DF,COSTED,48/60     Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9039691   RED KNOB KIT, DF48/60            Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9039691   RED KNOB KIT, DF48/60            Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9030652   RACK,FULL EXT,ACCESS,30          Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9030652   RACK,FULL EXT,ACCESS,30          Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9022538   RACK,FULL EXT,ACCESS,36          Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9022538   RACK,FULL EXT,ACCESS,36          Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9015763   STAINLESS STL KNOB KIT,DF48/60   Accessories   Sub-Zero     CURRENT                                $       146.30          $      190.00
9042360   HANDLE ASSY,DWR,36,PH            Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
9042359   HANDLE ASSY,DWR,30,TH            Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7025229   HANDLE,TH 27.250                 Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7025228   HANDLE,TH 33.250                 Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7024476   KIT,DUAL INSTALL BASE            Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00



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7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
7006853   HANDLE,PRO 21 DOOR               Accessories   Sub-Zero     CURRENT                                $       142.45          $      185.00
830736    COVER,BUILT-IN,42,SVCE           Accessories   Wolf         CURRENT                                $       142.45          $      185.00
822171    HORIZONTAL DISCHARGE KIT - 66    Accessories   Wolf         CURRENT                                $       142.45          $      185.00
9036005   KIT,HNDL,ASSY,TUBE,STD           Accessories   Sub-Zero     CURRENT                                $       138.60          $      180.00
827858    HANDLE ASSY,BLK,SVCE             Accessories   Wolf         CURRENT                                $       138.60          $      180.00
810919    TRIM KIT, SIDE - SRT             Accessories   Wolf         CURRENT                                $       138.60          $      180.00
7011075   HANDLE,PRO SVCE                  Accessories   Sub-Zero     CURRENT                                $       134.75          $      175.00
7042655   KICKPLATE,48,DUAL INSTALL,ACC    Accessories   Sub-Zero     CURRENT                                $       130.90          $      170.00
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9019419   KIT,PNL,ASSY,24,4,TH             Accessories   Sub-Zero     CURRENT                                $       130.90          $         -
9022537   KIT,CUTTING BOARD,22IN           Accessories   Sub-Zero     CURRENT                                $       107.80          $      140.00
9022537   KIT,CUTTING BOARD,22IN           Accessories   Sub-Zero     CURRENT                                $       107.80          $      140.00
828075    KIT,RECIRCULATION,CEILING HOOD   Accessories   Wolf         CURRENT                                $       100.10          $      130.00
809710    CUTTING BOARD - DF               Accessories   Wolf         CURRENT                                $       100.10          $      130.00
809710    CUTTING BOARD - DF               Accessories   Wolf         CURRENT                                $       100.10          $      130.00
9056787   BEZEL KIT, DF, 48/60, BRASS      Accessories   Wolf         CURRENT                                $        96.25          $      125.00
9056787   BEZEL KIT, DF, 48/60, BRASS      Accessories   Wolf         CURRENT                                $        96.25          $      125.00
9056787   BEZEL KIT, DF, 48/60, BRASS      Accessories   Wolf         CURRENT                                $        96.25          $      125.00
9028869   KIT,INSTL,DUAL                   Accessories   Sub-Zero     CURRENT                                $        92.40          $      120.00
9028869   KIT,INSTL,DUAL                   Accessories   Sub-Zero     CURRENT                                $        92.40          $      120.00
9028869   KIT,INSTL,DUAL                   Accessories   Sub-Zero     CURRENT                                $        92.40          $      120.00
9028869   KIT,INSTL,DUAL                   Accessories   Sub-Zero     CURRENT                                $        92.40          $      120.00
811194    TRANSITION, 10 ROUND - SVCE      Accessories   Wolf         CURRENT                                $        92.40          $      120.00
9022591   COVER,REAR,CASTER,KIT            Accessories   Wolf         CURRENT                                $        84.70          $      110.00
9056786   BEZEL KIT, DF,36, BRASS          Accessories   Wolf         CURRENT                                $        80.85          $      105.00
9013060   KIT,KICKPLATE,ACC                Accessories   Sub-Zero     CURRENT                                $        80.85          $      105.00
9013060   KIT,KICKPLATE,ACC                Accessories   Sub-Zero     CURRENT                                $        80.85          $      105.00
827691    BASKET,STEAMER,SOUS VIDE,ACC     Accessories   Wolf         CURRENT                                $        80.85          $      105.00
804372    WOK GRATE, TWO BURNER            Accessories   Wolf         CURRENT                                $        80.85          $      105.00
7012363   FILLER,15IN TO 18IN              Accessories   Sub-Zero     CURRENT                                $        73.15          $       95.00
825146    KNOB, BLACK, 30 - SET            Accessories   Wolf         CURRENT                                $        73.15          $       95.00
7026842   KICKPLATE,72 TK6                 Accessories   Sub-Zero     CURRENT                                $        65.45          $       85.00
7026842   KICKPLATE,72 TK6                 Accessories   Sub-Zero     CURRENT                                $        65.45          $       85.00
7026841   KICKPLATE,66 TK6                 Accessories   Sub-Zero     CURRENT                                $        65.45          $       85.00
7026841   KICKPLATE,66 TK6                 Accessories   Sub-Zero     CURRENT                                $        65.45          $       85.00
824485    WOK GRATE KIT-B,GAS COOK TOP     Accessories   Wolf         CURRENT                                $        65.45          $       85.00



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821697    FRONT FOOT KIT - RANGE          Accessories   Wolf         CURRENT                                $       65.45          $      85.00
9022609   KIT,COV,FOOT                    Accessories   Wolf         CURRENT                                $       61.60          $      80.00
827304    HANDLE,KIT,PRO                  Accessories   Sub-Zero     CURRENT                                $       61.60          $        -
827304    HANDLE,KIT,PRO                  Accessories   Sub-Zero     CURRENT                                $       61.60          $        -
819377    BROILER PAN AND RACK - SVCE     Accessories   Wolf         CURRENT                                $       57.75          $      75.00
819377    BROILER PAN AND RACK - SVCE     Accessories   Wolf         CURRENT                                $       57.75          $      75.00
804378    BEZELS, BRASS 36IN SRT          Accessories   Wolf         CURRENT                                $       57.75          $      75.00
819376    BROILER PAN AND RACK-18, SVCE   Accessories   Wolf         CURRENT                                $       53.90          $      70.00
825148    KNOB, BLACK-SIDE BNR, BNR MDL   Accessories   Wolf         CURRENT                                $       50.05          $      65.00
7026839   KICKPLATE,54 TK6                Accessories   Sub-Zero     CURRENT                                $       50.05          $      65.00
7026838   KICKPLATE,48 TK6                Accessories   Sub-Zero     CURRENT                                $       50.05          $      65.00
7026838   KICKPLATE,48 TK6                Accessories   Sub-Zero     CURRENT                                $       50.05          $      65.00
7026838   KICKPLATE,48 TK6                Accessories   Sub-Zero     CURRENT                                $       50.05          $      65.00
804377    BEZELS, BRASS 30IN SRT          Accessories   Wolf         CURRENT                                $       50.05          $      65.00
9022120   KIT,KICKPLATE,60W X 37.5H,DF    Accessories   Sub-Zero     CURRENT                                $       46.20          $      60.00
9022120   KIT,KICKPLATE,60W X 37.5H,DF    Accessories   Sub-Zero     CURRENT                                $       46.20          $      60.00
9022120   KIT,KICKPLATE,60W X 37.5H,DF    Accessories   Sub-Zero     CURRENT                                $       46.20          $      60.00
828801    KIT,INTEGRATED,VS24             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
828801    KIT,INTEGRATED,VS24             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
828801    KIT,INTEGRATED,VS24             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
828801    KIT,INTEGRATED,VS24             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
828801    KIT,INTEGRATED,VS24             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
823273    KNOB ACCESSORY, RED             Accessories   Wolf         CURRENT                                $       38.50          $      50.00
9055390   KICKPLATE,ASSY,SST 42,ACC       Accessories   Sub-Zero     CURRENT                                $       38.50          $      50.00
9055390   KICKPLATE,ASSY,SST 42,ACC       Accessories   Sub-Zero     CURRENT                                $       38.50          $      50.00
9055389   KICKPLATE,ASSY,SST 36,ACC       Accessories   Sub-Zero     CURRENT                                $       38.50          $      50.00
7029956   DIVIDER,AIR KICKPLATE           Accessories   Sub-Zero     CURRENT                                $       38.50          $      50.00
7013395   KICKPLATE,STAINLESS SVCE        Accessories   Sub-Zero     CURRENT                                $       38.50          $      50.00
822114    TRIM, FLUSH INSET - MD30        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822114    TRIM, FLUSH INSET - MD30        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
822113    TRIM, FLUSH INSET - MD24        Accessories   Wolf         CURRENT                                $       38.50          $      50.00
9018545   KIT,KICKPLATE,DF48,3INCH        Accessories   Wolf         CURRENT                                $       34.65          $      45.00
9022093   KIT,KICKPLATE,36W X 37H,DF      Accessories   Wolf         CURRENT                                $       26.95          $      35.00
9022092   KIT,KICKPLATE,36W X 36.5H,DF    Accessories   Wolf         CURRENT                                $       26.95          $      35.00



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Item #    Model #                          Description   Brand        Status  Serial         PO              Price           Date   UMRP
9022092   KIT,KICKPLATE,36W X 36.5H,DF     Accessories   Wolf         CURRENT                                $       26.95          $      35.00
827131    FILLER STRIP,MODULE              Accessories   Wolf         CURRENT                                $       26.95          $      35.00
827131    FILLER STRIP,MODULE              Accessories   Wolf         CURRENT                                $       26.95          $      35.00
827131    FILLER STRIP,MODULE              Accessories   Wolf         CURRENT                                $       26.95          $      35.00
9022090   KIT,KICKPLATE,30W X 37.5H,DF     Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
9022089   KIT,KICKPLATE,30W X 37H,DF       Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
9022087   KIT,KICKPLATE,30W X 35.5H,DF     Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
9018924   PANEL ASSY,KICKPLATE,ACC         Accessories   Sub-Zero     CURRENT                                $       19.25          $        -
7013401   SANITIZER,                       Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
7013401   SANITIZER,                       Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
7013400   CLEANER,METAL SAFE               Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
7013400   CLEANER,METAL SAFE               Accessories   Sub-Zero     CURRENT                                $       19.25          $      25.00
821201    SKIRT, FRONT - 60, GAS RANGE     Accessories   Wolf         CURRENT                                $       19.25          $      25.00
821200    SKIRT, FRONT - 48, GAS RANGE     Accessories   Wolf         CURRENT                                $       19.25          $      25.00
821199    SKIRT, FRONT - 36, GAS RANGE     Accessories   Wolf         CURRENT                                $       19.25          $      25.00
821199    SKIRT, FRONT - 36, GAS RANGE     Accessories   Wolf         CURRENT                                $       19.25          $      25.00
824488    SST KNOB KIT-30,GAS COOK TOP     Accessories   Wolf         CURRENT                                $         -            $        -
824487    BLACK KNOB KIT-36,GAS COOK TOP   Accessories   Wolf         CURRENT                                $         -            $        -
828442    KIT,KNOB,BLACK,36,ACC            Accessories   Wolf         CURRENT                                $         -            $        -
828442    KIT,KNOB,BLACK,36,ACC            Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828441    KIT,KNOB,BLACK,48,60,ACC         Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828440    KIT,KNOB,STAINLESS,48,60,ACC     Accessories   Wolf         CURRENT                                $         -            $        -
828439    KIT,KNOB,STAINLESS,36,ACC        Accessories   Wolf         CURRENT                                $         -            $        -
828439    KIT,KNOB,STAINLESS,36,ACC        Accessories   Wolf         CURRENT                                $         -            $        -
828439    KIT,KNOB,STAINLESS,36,ACC        Accessories   Wolf         CURRENT                                $         -            $        -
828439    KIT,KNOB,STAINLESS,36,ACC        Accessories   Wolf         CURRENT                                $         -            $        -
828438    KIT,KNOB,STAINLESS,30,ACC        Accessories   Wolf         CURRENT                                $         -            $        -



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Item #    Model #                         Description   Brand        Status  Serial         PO              Price       Date   UMRP
826986    PACKAGE,SST KNOB,CONTEMP CKTP   Accessories   Wolf         CURRENT                                $       -          $      -
826986    PACKAGE,SST KNOB,CONTEMP CKTP   Accessories   Wolf         CURRENT                                $       -          $      -
826986    PACKAGE,SST KNOB,CONTEMP CKTP   Accessories   Wolf         CURRENT                                $       -          $      -
9056363   SS KNOB KIT GCT 36 FREE         Accessories   Wolf         CURRENT                                $       -          $      -
9056363   SS KNOB KIT GCT 36 FREE         Accessories   Wolf         CURRENT                                $       -          $      -
9056356   BRASS KNOB KIT GCT 30 FREE      Accessories   Wolf         CURRENT                                $       -          $      -
9056356   BRASS KNOB KIT GCT 30 FREE      Accessories   Wolf         CURRENT                                $       -          $      -
9056352   BLACK KNOB KIT. GCT 30 FREE     Accessories   Wolf         CURRENT                                $       -          $      -
9056341   GRAY KNOB KIT M FREE            Accessories   Wolf         CURRENT                                $       -          $      -
9056341   GRAY KNOB KIT M FREE            Accessories   Wolf         CURRENT                                $       -          $      -
9056275   KIT,KNOB,GRA,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056275   KIT,KNOB,GRA,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056275   KIT,KNOB,GRA,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056273   KIT,KNOB,BRS,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056273   KIT,KNOB,BRS,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056273   KIT,KNOB,BRS,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056273   KIT,KNOB,BRS,DF,FREE,48/60      Accessories   Wolf         CURRENT                                $       -          $      -
9056271   KIT,KNOB,GRA,DF,FREE,36         Accessories   Wolf         CURRENT                                $       -          $      -
7005865   DOOR STOP,90                    Accessories   Sub-Zero     CURRENT                                $       -          $      -
7005865   DOOR STOP,90                    Accessories   Sub-Zero     CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827314    KNOB,KIT,SST,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
827313    KNOB,KIT,BLK,SRT,SVCE           Accessories   Wolf         CURRENT                                $       -          $      -
826985    PACKAGE,RED KNOB,CONTEMP CKTP   Accessories   Wolf         CURRENT                                $       -          $      -
826985    PACKAGE,RED KNOB,CONTEMP CKTP   Accessories   Wolf         CURRENT                                $       -          $      -
822197    SST KNOB KIT-48,60 GAS RANGE    Accessories   Wolf         CURRENT                                $       -          $      -



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Item #    Model #                          Description   Brand      Status  Serial        PO              Price          Date   UMRP
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822197    SST KNOB KIT-48,60 GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822196    BLACK KNOB KIT-48,60 GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822195    SST KNOB KIT - 36, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822194    BLACK KNOB KIT - 36, GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822194    BLACK KNOB KIT - 36, GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822194    BLACK KNOB KIT - 36, GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822194    BLACK KNOB KIT - 36, GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
822193    SST KNOB KIT - 30, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822193    SST KNOB KIT - 30, GAS RANGE     Accessories   Wolf       CURRENT                               $          -          $         -
822192    BLACK KNOB KIT - 30, GAS RANGE   Accessories   Wolf       CURRENT                               $          -          $         -
804370    RED KNOB PACKAGE, 48-60DF        Accessories   Wolf       CURRENT                               $          -          $         -
804368    RED KNOB PACKAGE, 30DF           Accessories   Wolf       CURRENT                               $          -          $         -
804368    RED KNOB PACKAGE, 30DF           Accessories   Wolf       CURRENT                               $          -          $         -
804368    RED KNOB PACKAGE, 30DF           Accessories   Wolf       CURRENT                               $          -          $         -
804368    RED KNOB PACKAGE, 30DF           Accessories   Wolf       CURRENT                               $          -          $         -
5810009   CP35I369SB                       Ventilation   Best       CURRENT                               $     1,046.43        $    1,220.00
5810009   CP35I369SB                       Ventilation   Best       CURRENT                               $     1,046.43        $    1,220.00
5810011   CP37I482SB                       Ventilation   Best       CURRENT                               $     1,600.83        $    1,870.00
5810011   CP37I482SB                       Ventilation   Best       CURRENT                               $     1,600.83        $    1,870.00
5810231   CPDI362SB                        Ventilation   Best       OBS                                   $     1,292.83        $    1,510.00
5810278   CC34IQSB                         Ventilation   Best       OBS                                   $     2,064.00        $    2,772.00
5810283   CP57IQT482SB                     Ventilation   Best       CURRENT                               $     2,378.53        $    2,770.00



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Item #    Model #                         Description   Brand        Status  Serial         PO              Price          Date   UMRP
5810299   UP26M42SB                       Ventilation   Best         CURRENT                                $     1,100.33        $    1,280.00
5810305   WC34E90SB                       Ventilation   Best         CURRENT                                $     1,221.00        $    1,641.00
5810327   WPP9IQ36SB                      Ventilation   Best         OBS                                    $     1,847.23        $    1,999.00
5810335   D49M30SB                        Ventilation   Best         CURRENT                                $     2,001.23        $    2,350.00
5810335   D49M30SB                        Ventilation   Best         CURRENT                                $     2,001.23        $    2,350.00
5810336   D49M36SB                        Ventilation   Best         CURRENT                                $     2,193.73        $    2,550.00
5810336   D49M36SB                        Ventilation   Best         CURRENT                                $     2,193.73        $    2,550.00
5810337   D49M48SB                        Ventilation   Best         CURRENT                                $     2,694.23        $    3,150.00
5810361   AEWCB3SB                        Ventilation   Best         CURRENT                                $       313.81        $      366.70
5810380   D49M30BLS                       Ventilation   Best         CURRENT                                $     2,193.73        $    2,550.00
5810395   HBN1246SS                       Ventilation   Best         CURRENT                                $       684.53        $      800.00
5810400   HBC143ESS                       Ventilation   Best         CURRENT                                $     2,055.13        $    2,500.00
5810404   WCS1366SS                       Ventilation   Best         CURRENT                                $     1,061.83        $    1,240.00
5810409   WCT1366SS                       Ventilation   Best         CURRENT                                $     1,061.83        $    1,240.00
5820121   EB12                            Ventilation   Best         OBS                                    $       858.00        $    1,152.00
5820189   ILB11                           Ventilation   Best         CURRENT                                $     1,025.64        $    1,199.00
5820192   ILB9                            Ventilation   Best         CURRENT                                $       867.79        $    1,014.00
5820217   P12                             Ventilation   Best         CURRENT                                $       472.01        $      552.00
5820337   IQ12                            Ventilation   Best         CURRENT                                $     1,122.66        $    1,312.00
5820346   408                             Ventilation   Best         CURRENT                                $        24.64        $       29.00
5820350   PF6                             Ventilation   Best         CURRENT                                $       321.86        $      376.00
5820350   PF6                             Ventilation   Best         CURRENT                                $       321.86        $      376.00
5820354   ATKD36SB                        Ventilation   Best         CURRENT                                $        70.07        $       82.00
5820364   AVDKD8                          Ventilation   Best         CURRENT                                $       119.35        $      140.00
5820365   AVDKD10                         Ventilation   Best         CURRENT                                $       127.82        $      149.00
5820381   PF3                             Accessories   Sub-Zero     OBS                                    $       290.29        $      340.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003399   RETROFIT,OVRLA 48S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7003400   RETROFIT,OVRLA 42S              Accessories   Sub-Zero     CURRENT                                $       348.00        $      435.00
7005924   DOOR,424/UC-24BEV S O SVCE      Accessories   Sub-Zero     CURRENT                                $       324.00        $      405.00
7006792   FRNT PNLS,BASE SS 27 4IN PH     Accessories   Sub-Zero     CURRENT                                $       500.00        $      500.00
7006854   HANDLE,PRO 17 DRAWER            Accessories   Sub-Zero     CURRENT                                $       148.00        $      185.00
7006855   HANDLE,PRO 23 DRAWER            Accessories   Sub-Zero     CURRENT                                $       148.00        $      185.00
7006858   HANDLE,PRO 37 DOOR              Accessories   Sub-Zero     CURRENT                                $       168.00        $      210.00
7007132   GRILLE,STAINLESS 36             Accessories   Sub-Zero     CURRENT                                $       416.00        $      520.00
7007137   GRILLE,OVERLAY 42               Accessories   Sub-Zero     CURRENT                                $       244.00        $      305.00
7008853   DR PNL,DUAL INST SS PH          Accessories   Sub-Zero     CURRENT                                $       920.00        $    1,150.00
7008853   DR PNL,DUAL INST SS PH          Accessories   Sub-Zero     CURRENT                                $       920.00        $    1,150.00
7008871   GRILL PNL,FLSH INST SS 42       Accessories   Sub-Zero     CURRENT                                $       264.00        $      330.00
7008872   GRILL PNL,FLSH INST SS 48       Accessories   Sub-Zero     CURRENT                                $       296.00        $      370.00
7008905   DR PNL,FLSH INST SS PH          Accessories   Sub-Zero     CURRENT                                $       704.00        $      880.00
7008917   DR PNL,FRE FLSH INST LH SS PH   Accessories   Sub-Zero     CURRENT                                $       664.00        $      830.00
7008923   DR PNL,REF FLSH INST RH SS PH   Accessories   Sub-Zero     CURRENT                                $       760.00        $      950.00
7008926   DR PNL,FRE FLSH INST LH SS PH   Accessories   Sub-Zero     CURRENT                                $       692.00        $      865.00



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                                                                       Sub-Zero
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Item #    Model #                          Description   Brand        Status  Serial         PO              Price            Date   UMRP
7010371   KICKPLATE KIT 36R/F-RH,STAINLS   Accessories   Sub-Zero     CURRENT                                $        40.00          $       50.00
7010372   KICKPLATE KIT 36R/F-LH,STAINLS   Accessories   Sub-Zero     CURRENT                                $        40.00          $       50.00
7010397   KICKPLATE KIT 36U,STAINLESS      Accessories   Sub-Zero     CURRENT                                $        40.00          $       50.00
7010397   KICKPLATE KIT 36U,STAINLESS      Accessories   Sub-Zero     CURRENT                                $        40.00          $       50.00
7020160   GRILLE,LVR FLSH INST SS48        Accessories   Sub-Zero     CURRENT                                $       352.00          $      440.00
7023380   PANEL,FLSH INST SS PH            Accessories   Sub-Zero     CURRENT                                $       704.00          $      880.00
7023380   PANEL,FLSH INST SS PH            Accessories   Sub-Zero     CURRENT                                $       704.00          $      880.00
7025309   PANEL,DWR 30 PH TK6              Accessories   Sub-Zero     CURRENT                                $       500.00          $      625.00
7025327   PANEL,DOOR 18 C PH TK6 LH        Accessories   Sub-Zero     CURRENT                                $       500.00          $      625.00
7025346   PANEL,DOOR 30 WC PH TK6 RH       Accessories   Sub-Zero     CURRENT                                $       760.00          $      950.00
7026118   HANDLE,PH 22.500                 Accessories   Sub-Zero     CURRENT                                $       128.00          $      128.00
7026118   HANDLE,PH 22.500                 Accessories   Sub-Zero     CURRENT                                $       128.00          $      128.00
7027169   PANEL,FLSH INST SS PH            Accessories   Sub-Zero     CURRENT                                $       732.00          $      915.00
7027250   HANDLE,PRO 30 3/8 DRAWER         Accessories   Sub-Zero     CURRENT                                $       148.00          $      185.00
7029174   HANDLE,SS TH SQ 30 X 1           Accessories   Sub-Zero     CURRENT                                $       148.00          $      185.00
7029174   HANDLE,SS TH SQ 30 X 1           Accessories   Sub-Zero     CURRENT                                $       148.00          $      185.00
7030225   PANEL,REF FLSH INST SS TH SQ     Accessories   Sub-Zero     CURRENT                                $       760.00          $      950.00
7030238   PANEL,FLSH INST SS TH SQ         Accessories   Sub-Zero     CURRENT                                $       732.00          $      915.00
7030238   PANEL,FLSH INST SS TH SQ         Accessories   Sub-Zero     CURRENT                                $       732.00          $      915.00
7030242   PANEL,FLSH INST SS TH SQ         Accessories   Sub-Zero     CURRENT                                $       412.00          $      515.00
7030447   KIT,DUAL INSTALL                 Accessories   Sub-Zero     CURRENT                                $       100.00          $      125.00
7030447   KIT,DUAL INSTALL                 Accessories   Sub-Zero     CURRENT                                $       100.00          $      125.00
7030802   KIT,SINGLE LOCK                  Accessories   Sub-Zero     CURRENT                                $       140.00          $      175.00
7040181   KIT,HUMIDOR 30                   Accessories   Sub-Zero     OBS                                    $       744.00          $      930.00
7040181   KIT,HUMIDOR 30                   Accessories   Sub-Zero     OBS                                    $       744.00          $      930.00
7043202   HANDLE,PRO,TALL DOOR,SST,SVCE    Accessories   Sub-Zero     CURRENT                                $       158.00          $      158.00
7043202   HANDLE,PRO,TALL DOOR,SST,SVCE    Accessories   Sub-Zero     CURRENT                                $       158.00          $      158.00
804365    BLACK KNOB PACKAGE, 30DF         Accessories   Wolf         CURRENT                                $          -            $         -
804365    BLACK KNOB PACKAGE, 30DF         Accessories   Wolf         CURRENT                                $          -            $         -
804367    BLACK KNOB PACKAGE, 48-60DF      Accessories   Wolf         CURRENT                                $          -            $         -
810998    RED KNOB KIT, SRT                Accessories   Wolf         OBS                                    $       123.00          $      123.00
814088    DOOR, ACCESS - 36                Accessories   Wolf         CURRENT                                $       601.00          $      601.00
814092    DRAWER, TRIPLE - 13              Accessories   Wolf         CURRENT                                $       909.00          $      909.00
814734    COVER, BUILT-IN, 42              Accessories   Wolf         OBS                                    $       142.00          $      185.00
815320    SOLV, SGL - DUAL FUEL, SVCE      Accessories   Wolf         CURRENT                                $        88.00          $       88.00
815320    SOLV, SGL - DUAL FUEL, SVCE      Accessories   Wolf         CURRENT                                $        88.00          $       88.00
815320    SOLV, SGL - DUAL FUEL, SVCE      Accessories   Wolf         CURRENT                                $        88.00          $       88.00
816255    KNOB, BLACK-SIDE BNR, BNR MDL    Accessories   Wolf         OBS                                    $        35.00          $       35.00
817394    BLOWER POWER CORD ASSY - SVCE    Accessories   Wolf         CURRENT                                $        77.00          $       77.00
820425    STAINLESS STEEL KNOB KIT, 30DF   Accessories   Wolf         CURRENT                                $          -            $         -
820426    STAINLESS STEEL KNOB KIT, 36DF   Accessories   Wolf         CURRENT                                $          -            $         -
820427    STAINLESS STEEL KIT, 48-60DF     Accessories   Wolf         CURRENT                                $          -            $         -
820427    STAINLESS STEEL KIT, 48-60DF     Accessories   Wolf         CURRENT                                $          -            $         -
820427    STAINLESS STEEL KIT, 48-60DF     Accessories   Wolf         CURRENT                                $          -            $         -
821343    TRIM KIT, FRAMED - E SERIES      Accessories   Wolf         CURRENT                                $       225.00          $      225.00
821343    TRIM KIT, FRAMED - E SERIES      Accessories   Wolf         CURRENT                                $       225.00          $      225.00
821344    TRIM KIT, UNFRAMED - E SERIES    Accessories   Wolf         CURRENT                                $       225.00          $      225.00
822732    TUBE HDL, UNFRAMED               Accessories   Wolf         CURRENT                                $       123.00          $      123.00
822732    TUBE HDL, UNFRAMED               Accessories   Wolf         CURRENT                                $       123.00          $      123.00



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Item #    Model #                       Description   Brand      Status  Serial        PO              Price            Date   UMRP
824641    TRIM, ASSY-CONVN, SST, 30     Accessories   Wolf       OBS                                   $       327.00          $       327.00
825558    CHIMNEY,LOWER-SVCE            Accessories   Wolf       CURRENT                               $       295.00          $       295.00
826543    DRAWER FRONT,UNFRAMED,TUBE HDLAccessories   Wolf       CURRENT                               $       347.00          $       450.00
826543    DRAWER FRONT,UNFRAMED,TUBE HDLAccessories   Wolf       CURRENT                               $       347.00          $       450.00
827398    TRIM,SS,MDD30,SVCE            Accessories   Wolf       CURRENT                               $        54.00          $        70.00
827398    TRIM,SS,MDD30,SVCE            Accessories   Wolf       CURRENT                               $        54.00          $        70.00
830003    DRAWER,FR,VS30S               Accessories   Wolf       OBS                                   $       138.60          $       180.00
828022    MS24,E SERIES,SS,TRIM,KIT,30  Accessories   Wolf       CURRENT                               $       362.00          $       470.00
829294    PANEL ASSY,FR,VS24B           Accessories   Wolf       OBS                                   $        92.00          $       120.00
830002    DRAWER,FR,VS24S               Accessories   Wolf       OBS                                   $       100.10          $       130.00
9012070   BASE,ASSY,RISER,WHITE         Accessories   Wolf       OBS                                   $       248.00          $       248.00
804379    BEZELS, BRASS 48"-60" SRT     Accessories   Wolf       OBS                                   $        65.45          $        85.00
804379    BEZELS, BRASS 48"-60" SRT     Accessories   Wolf       OBS                                   $        65.45          $        85.00
823272    KNOB ACCESSORY, SST           Accessories   Wolf       OBS                                   $        50.05          $        65.00
9018893   KIT,DIV,DWR,ACC               Accessories   Wolf       OBS                                   $       116.00          $       145.00
0000045   BIN,SLIDE OUT SS PRO48        Accessories   Wolf       OBS                                   $          -            $       175.00
823274    KNOB ACCESSORY, BLACK         Accessories   Wolf       OBS                                   $          -            $          -
823274    KNOB ACCESSORY, BLACK         Accessories   Wolf       OBS                                   $          -            $          -
823274    KNOB ACCESSORY, BLACK         Accessories   Wolf       OBS                                   $          -            $          -

          TOTAL                                                                                        $ 3,124,413.99          $ 4,091,217.70




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                                                                                                     Sub-Zero/Pirch
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Dealer Location   Brand      Description                  Model Number      SKU       Serial Number       Missing                 Invoice Cost           Display Cost          Sold to PIRCH            Sale Date       Column1
UTC               Sub-Zero   Classic                      CL4850SID/S/T     5311030                                               $         11,399.00    $          7,409.35
UTC               Sub-Zero   Classic                      CL3650UG/S/P/L    5310989                                               $         10,647.00    $          6,920.55
UTC               Sub-Zero   Classic                      BI-42UFDID/S/PH   5310718               4389847 OLD                     $         10,775.00    $          7,003.75   $           8,615.00         2/22/2016
UTC               Sub-Zero   Classic                      BI-42SD/S/TH      5310818               4520608 OLD                     $         10,119.00    $          6,577.35   $                -                       Consignment
UTC               Sub-Zero   Classic                      CL4850UFDID/S/P   5311013                                               $         11,831.00    $          7,690.15
UTC               Sub-Zero   Pro Refrigeration            PRO4850G          5310833               3567362                         $         16,063.00    $         10,440.95   $                  -                     Consignment
UTC               Sub-Zero   Pro Refrigeration            PRO3650G-RH         5310837             3568218                         $         12,479.00    $          8,111.35   $                  -                     Consignment
UTC               Sub-Zero   Designer Series              DEC3050FI/L       5311075                                               $           7,087.00   $          4,606.55
UTC               Sub-Zero   Designer Series              DEC3650RID/R      5311107                                               $           7,847.00   $          5,100.55
UTC               Sub-Zero   Wine                         DEC3050W/R        5311098                                               $           6,759.00   $          4,393.35
UTC               Sub-Zero   Wine                         DEC1850W/R        5311084                                               $           5,391.00   $          3,504.15
UTC               Sub-Zero   Designer Series              IT-36CI-RH          5311153             5502309                         $           7,735.00   $          5,027.75
UTC               Sub-Zero   Designer Series              DEC3050R/R        5311080                                               $           7,087.00   $          4,606.55
UTC               Sub-Zero   Designer Series              DEC1850FI/L       5311102                                               $           6,207.00   $          4,034.55
UTC               Sub-Zero   Under counter                DEU2450BG-RH        5310880            23159933                         $           2,279.00   $          1,481.35   $                  -                     Consignment
UTC               Sub-Zero   Under counter                ID-24RO           5311053                                               $           4,055.00   $          2,635.75
UTC               Sub-Zero   Under counter                DEU1550B/L        5310899                                               $           2,047.00   $          1,330.55
UTC               Sub-Zero   Wine                         DEU1550W/R        5310910                                               $           2,295.00   $          1,491.75
UTC               Sub-Zero   Under counter                ID-24R            5311052                                               $           3,767.00   $          2,448.55
UTC               Sub-Zero   Ice Maker                    UC-15IO           5311063               3891627                         $           3,295.00   $          2,141.75   $                  -                     Consignment
UTC               Sub-Zero   Wine                         DEU2450W-LH         5310893            23160152                         $           2,551.00   $          1,658.15   $                  -                     Consignment
UTC               Cove       Cove DW                      DW2450WS          5910006              20004958                         $           1,826.00   $          1,186.90   $                  -                     Consignment
UTC               Cove       Cove DW                      DW2450            5910007                                               $           1,742.00   $          1,132.30
UTC               Wolf       Wall Ovens                   DO3050PM/S          5610683                                             $           7,330.00   $          4,764.50
UTC               Wolf       Wall Ovens                   SO30CM/B            5610678                                             $           4,665.00   $          3,032.25
UTC               Wolf       Wall Ovens                   SO30PM/S/PH         5610189            16193151                         $           4,789.00   $          3,112.85   $                  -                     Consignment
UTC               Wolf       Wall Ovens                   SPO30PM/S/PH      5610519              15133052                         $           2,248.00   $          1,461.20   $                  -                     Consignment
UTC               Wolf       Wall Ovens                   SO3050TE/S/TH       5610546            22550989                         $           3,842.00   $          2,497.30   $                  -                     Consignment
UTC               Wolf       Wall Ovens                   CSO3050TM/S/T     5610590                                               $           5,674.00   $          3,688.10
UTC               Wolf       Wall Ovens                   SO30TM/S/TH         5610677                                             $           4,596.00   $          2,987.40
UTC               Wolf       Vaccum Seal Drawer           VS24              5610489                                               $           2,509.00   $          1,630.85
UTC               Wolf       Dual Fuel                    DF60650CG/S/P     5610668                                               $         15,507.00    $         10,079.55
UTC               Wolf       Dual Fuel                    DF36650/S/P       5610650              18622996                         $           8,408.00   $          5,465.20   $                  -                     Consignment
UTC               Wolf       Dual Fuel                    DF48450DG/S/P     5610662                                               $         12,581.00    $          8,177.65
UTC               Wolf       Gas Range                    GR486G            5610218              18076495                         $           9,386.00   $          6,100.90                                            Bad serial #
UTC               Wolf       Outdoor Grills Accessories   OG36              5610179              13054584                         $           4,927.00   $          3,202.55   $                  -                     Consignment
UTC               Wolf       Outdoor Grills Accessories   BM13              5610236                                               $           1,347.00   $            875.55
UTC               Wolf       Cook Tops                    CG365C/S          5610297                                               $           2,194.00   $          1,426.10
UTC               Wolf       Cook Tops                    CG365P/S          5610255                                               $           1,847.00   $          1,200.55
UTC               Wolf       Cook Tops                    CG365T/S          5610251              18097429                         $           1,847.00   $          1,200.55   $                  -                     Consignment
UTC               Wolf       Cook Tops                    CI152TF/S         5610499              17624367                         $           1,185.00   $            770.25   $               960.00       8/19/2016
UTC               Wolf       Cook Tops                    CG304P/S          5610253                                               $           1,609.00   $          1,045.85
UTC               Wolf       Cook Tops                    MM15TF/S          5610504              16254741                         $           1,247.00   $            810.55   $                  -                     Consignment
UTC               Wolf       Microwave Ventilation        MD30TE/S          5610636                                               $           1,662.00   $          1,080.30
UTC               Wolf       Microwave Ventilation        PL341912          5610290                                               $           1,054.00   $            685.10
UTC               Wolf       Microwave Ventilation        EC2450TE/S        5610701                                               $           2,941.00   $          1,911.65
UTC               Wolf       Microwave Ventilation        PW482418          5610826              16171720 lineup                  $           1,963.00   $          1,275.95                                            Bad serial #
UTC               Wolf       Microwave Ventilation        PW482418          5610826              22306946                         $           1,963.00   $          1,275.95   $           1,275.95         7/20/2023
UTC               Wolf       Outdoor Grills Accessories   OG42              5610181              13052908 on a cart               $           5,343.00   $          3,472.95   $                -                       Consignment
UTC               Wolf       Outdoor Grills Accessories   SB13              5610242              11426748 on a cart               $           1,385.00   $            900.25   $                -                       Consignment
UTC               Wolf       Warming Drawer               WWD30             5610060              16171339 Pro vignette            $           1,739.00   $          1,130.35                                            Bad serial #
UTC               Wolf       Warming Drawer               WWD30             5610060                       Transitional vignette   $           1,739.00   $          1,130.35
UTC               Wolf       Warming Drawer               CW24S               5610380                     Transitional vignette   $             892.00   $            579.80
UTC               Wolf       Microwave Ventilation        WC45IQ90SB          5810312            21140007 Best                    $           1,662.00   $          1,080.30                                            Bad serial #
UTC               Wolf       Microwave Ventilation        WPP9IQ36SB        5810327               6140006 Best                    $           1,607.00   $          1,044.55                                            Bad serial #

                                                                                                                                  $        276,971.00    $        180,031.15   $          10,850.95




                                                                                                       UTC-LaJolla                                                                                                                     1
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Dealer Location   IBrand      IDescription                   IModel Number      ISKU        ISerial Number          IMissing                 IInvoice Cost       I Display Cost           Sold to Pirch   Sale Date    Comments
Solana Beach       Sub-Zero     Classic                       BI-36UFD/O          5310597                             missing serial placard $          7,340.00 $         4,771.00                                   No serial #
Solana Beach      ISub-Zero   I Pro Refrigeration            IPRO4850G          I 5310833   I3573802                I                     I    $       16,063.00 I $      10,440.95   $              -                Consignment
Solana Beach       Sub-Zero     Designer Series               IT-30CIID-LH        5311152    5715983                                           $        7,687.00 $         4,996.55   $              -                Consignment
Solana Beach      ISub-Zero   I Designer Series              IID-24R            I 5311052   I5834289                I                     I    $        3,767.00 I $       2,448.55   $              -                Consignment
Solana Beach       Sub-Zero     Under counter                 UC-24BG/S/PH-RH     5230532    3703028                  discontinued model       $        1,410.00 $           916.50   $              -                Consignment
Solana Beach      ISub-Zero   I Wine                         IIW-30R-RH         I5311100    I5691185                I                     I    $        7,879.00 I $       5,121.35   $              -                Consignment
Solana Beach       Sub-Zero     Wine                          DEU2450W/L         #N/A        23160074                                          $        3,207.00 $         2,084.55   $              -                Consignment
Solana Beach      ICove       I Cove DW                      IDW2450WS          I5910006    I                       I                     I    $        1,826.00 I $       1,186.90                                   No serial #
Solana Beach       ASKO         ASKO DW                       T611VU             586321         90730116              laundry                  $        1,151.00 $           748.15   $              -                Consignment
Solana Beach      IASKO       I ASKO DW                      IW6124XW           I 578203    I91330025               Ilaundry              I    $        1,749.00 I $       1,136.85   $              -                Consignment
Solana Beach       Wolf         Wall Ovens                    SPO30TE/S/TH       #N/A           15133067                                       $        2,109.00 $         1,370.85   $              -                Consignment
Solana Beach      IWolf       I Wall Ovens                   ICSO30TE/S/TH      I #N/A      I13559302               I                     I    $        3,056.00 I $       1,986.40   $              -                Consignment
Solana Beach       Wolf         Wall Ovens                    DO30CM/S           5610549        17469349                                       $        5,346.00 $         3,474.90   $              -                Consignment
Solana Beach      IWolf       I Dual Fuel                    IDF48650G/S/P      I #N/A      I                       I                     I    $       11,896.00 I $       7,732.40                                   No serial #
Solana Beach       Wolf         Cook Tops                     CG365C/S            5610297       18385321                                       $        2,194.00 $         1,426.10   $              -                Consignment
Solana Beach      IWolf       I Cook Tops                    ICI365C/B          I 5610341   I17655249               I                     I    $        1,909.00 I $       1,240.85                                   Bad serial #
Solana Beach       Wolf         Microwave Ventilation         VW36B               #N/A          15561148                                       $        1,470.00 $           955.50   $              -                Consignment
Solana Beach      IWolf       I Microwave Ventilation        IMD24TE/S          I #N/A      I12966528               I                     I    $        1,624.00 I $       1,055.60   $              -                Consignment
Solana Beach       Wolf         Outdoor Grills Accessories     OG36               5610179       13057593                                       $        4,927.00 $         3,202.55   $              -                Consignment
Solana Beach      IWolf       IOutdoor Grills Accessories    IWWD30O            I#N/A       I16316823               I                        I$         1,739.00 I $       1,130.35   $              -                Consignment
Solana Beach       Wolf         Outdoor Grills Accessories     BM13               5610236       11432957                                       $        1,347.00 $           875.55   $              -                Consignment
Solana Beach      IWolf       IOutdoor Grills Accessories    IID-24RO           I5311053    I5824522                I                        I$         4,055.00 I $       2,635.75   $              -                Consignment
                  I           I                              I                  I           I                       I                        I                   I
                  I           I                              I                  I           I                       I                     I$       93,751.00 I $        60,938.15     $              -




                                                                                                           Solana Beach                                                                                                              2
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  Dealer Location   I   Brand   I       Description          I    Model Number    I     SKU    I Serial Number I       Missing     I        Invoice Cost      I    Display Cost       I    Sold to PIRCH       I   Sale Date   I     Comments
Rancho Mirage        Sub-Zero   Classic                       BI-36UG/S/TH            5310759       4388582                           $              10,167.00 $             6,608.55 $                    -                       Consignment
                                                                                                                                                                                                                                        -
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Classic
                                Classic
                                                              BI-48SD/O
                                                              CL4850UFDID/S/P
                                                                                       5311026 I        4520542I                      $
                                                                                                                                      $
                                                                                                                                                      9,759.00 $
                                                                                                                                                     11,831.00 $
                                                                                                                                                                             6,343.35 $
                                                                                                                                                                             7,690.15
                                                                                                                                                                                                           -                   I   Consignment
                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Pro Refrigeration
                                Pro Refrigeration
                                                              PRO4850G
                                                              PRO3650G/RH
                                                                                               I       3568434
                                                                                                       3567926
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                     16,063.00 $
                                                                                                                                                     12,479.00 $
                                                                                                                                                                            10,440.95 $
                                                                                                                                                                             8,111.35 $
                                                                                                                                                                                                           -
                                                                                                                                                                                                           -
                                                                                                                                                                                                                               I   Consignment
                                                                                                                                                                                                                                   Consignment
Rancho Mirage        Sub-Zero   Designer Series               IT-36CIID-RH             5311155 I       5521763 I                      $               8,055.00 $             5,235.75 $                    -                   I   Consignment
Rancho Mirage        Sub-Zero   Designer Series               IT-30CI-RH               5311068         5501325                        $               7,711.00 $             5,012.15 $                    -                       Consignment
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Designer Series
                                Designer Series
                                                              ID-27R
                                                              DEC2450FI/L
                                                                                               I       5522954 I                      $
                                                                                                                                      $
                                                                                                                                                      3,863.00 $
                                                                                                                                                      6,655.00 $
                                                                                                                                                                             2,510.95 $
                                                                                                                                                                             4,325.75
                                                                                                                                                                                                           -                   I   Consignment
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Designer Series
                                Wine
                                                              DEC3050RID/R
                                                              DEC2450W/R
                                                                                               I               I                      $
                                                                                                                                      $
                                                                                                                                                      7,423.00 $
                                                                                                                                                      5,871.00 $
                                                                                                                                                                             4,824.95
                                                                                                                                                                             3,816.15
                                                                                                                                                                                                                               I   No Serial #
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Designer Series
                                Designer Series
                                                              ID-24RO
                                                              ID-24R                   5311132
                                                                                               I       5790001 I                      $
                                                                                                                                      $
                                                                                                                                                      4,055.00 $
                                                                                                                                                      4,990.00 $
                                                                                                                                                                             2,635.75 $
                                                                                                                                                                             3,243.50
                                                                                                                                                                                                           -                   I   Consignment
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Under counter
                                Under counter
                                                              DEU2450BG/R
                                                              DEU2450CI/L
                                                                                               I      23159934
                                                                                                      23161509
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      2,279.00 $
                                                                                                                                                      2,455.00 $
                                                                                                                                                                             1,481.35 $
                                                                                                                                                                             1,595.75 $
                                                                                                                                                                                                           -
                                                                                                                                                                                                           -
                                                                                                                                                                                                                               I   Consignment
                                                                                                                                                                                                                                   Consignment
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Under counter
                                Wine
                                                              DEU2450R/R
                                                              DEU2450W/R
                                                                                               I      23158377 I                      $
                                                                                                                                      $
                                                                                                                                                      2,103.00 $
                                                                                                                                                      3,207.00 $
                                                                                                                                                                             1,366.95 $
                                                                                                                                                                             2,084.55
                                                                                                                                                                                                           -                   I   Consignment
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Sub-Zero
                     Sub-Zero
                                Ice Maker
                                Wine
                                                              UC-15IO
                                                              DEU2450W/R
                                                                                               I      23161083
                                                                                                               I
                                                                                                       3895377 OLD                    $
                                                                                                                                      $
                                                                                                                                                      3,295.00 $
                                                                                                                                                      3,207.00 $
                                                                                                                                                                             2,141.75 $
                                                                                                                                                                             2,084.55 $
                                                                                                                                                                                                           -
                                                                                                                                                                                                           -
                                                                                                                                                                                                                               I   Consignment
                                                                                                                                                                                                                                   Consignment
Rancho Mirage
Rancho Mirage
                     Cove
                     Cove
                                Cove DW
                                Cove DW
                                                              DW2450WS
                                                              DW2450                   5910007
                                                                                               I      20004938 I                      $
                                                                                                                                      $
                                                                                                                                                      1,826.00 $
                                                                                                                                                      1,742.00 $
                                                                                                                                                                             1,186.90 $
                                                                                                                                                                             1,132.30
                                                                                                                                                                                                           -                   I   Consignment
                                                                                                                                                                                                                                   No Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Wall Ovens
                                Wall Ovens
                                                              SPO30PM/S/PH
                                                              SO30PM/S/PH              5610679
                                                                                               I      15149848
                                                                                                      16228442
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      2,248.00 $
                                                                                                                                                      4,789.00 $
                                                                                                                                                                             1,461.20 $
                                                                                                                                                                             3,112.85 $
                                                                                                                                                                                                   2,017.00
                                                                                                                                                                                                        -
                                                                                                                                                                                                                      9/2/2020 I
                                                                                                                                                                                                                                Consignment
Rancho Mirage        Wolf       Wall Ovens                    SO30PE/S/PH              5610547 I               I                      $ has been ordered
                                                                                                      17414450 discontinued model - new               3,865.00 $             2,512.25 $                 -                      IConsignment
                                                                                                                                                                                                                                Consignment
Rancho Mirage        Wolf       Wall Ovens                    CSO30CM/S                               13579865                        $               3,249.00 $             2,111.85 $                 -
Rancho Mirage        Wolf       Wall Ovens                    SO30CM/S                 5610680 I      16243806 I                      $               4,727.00 $             3,072.55 $            3,599.00           2/9/2017 I
Rancho Mirage        Wolf       Wall Ovens                    CSO3050CM/S                                                             $               6,059.00 $             3,938.35                                           No Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Wall Ovens
                                Dual Fuel
                                                              SO3050CM/S
                                                              DF48450DG/S/P
                                                                                               I               I                      $
                                                                                                                                      $
                                                                                                                                                      4,727.00 $
                                                                                                                                                     12,581.00 $
                                                                                                                                                                             3,072.55
                                                                                                                                                                             8,177.65
                                                                                                                                                                                                                               INo
                                                                                                                                                                                                                                No Serial #
                                                                                                                                                                                                                                   Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Gas Range
                                Range Tops
                                                              GR486G
                                                              SRT364G
                                                                                               I      18277724
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      9,386.00 $
                                                                                                                                                      4,073.00 $
                                                                                                                                                                             6,100.90
                                                                                                                                                                             2,647.45 $            2,902.00          2/16/2017
                                                                                                                                                                                                                               INo Serial #

Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Outdoor Grills Accessories
                                Outdoor Grills Accessories
                                                              OG54
                                                              OG36
                                                                                               I      13056037
                                                                                                      13046882
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      7,052.00 $
                                                                                                                                                      4,927.00 $
                                                                                                                                                                             4,583.80 $
                                                                                                                                                                             3,202.55 $
                                                                                                                                                                                                        -
                                                                                                                                                                                                   3,937.00           3/2/2017
                                                                                                                                                                                                                               IConsignment
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Cook Tops
                                Cook Tops
                                                              CG365C/S
                                                              TM15TF/S                 5610503
                                                                                               I      18516150 I
                                                                                                      19350953 discontinued model
                                                                                                                                      $
                                                                                                                                      $
                                                                                                                                                      2,194.00 $
                                                                                                                                                      1,863.00 $
                                                                                                                                                                             1,426.10 $
                                                                                                                                                                             1,210.95 $
                                                                                                                                                                                                        -
                                                                                                                                                                                                        -
                                                                                                                                                                                                                               IConsignment
                                                                                                                                                                                                                                Consignment

Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Cook Tops
                                Cook Tops
                                                              MM15TF/S
                                                              CI365C/B                 5610770
                                                                                               I      16312199
                                                                                                      17668056
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      1,247.00 $
                                                                                                                                                      2,925.00 $
                                                                                                                                                                               810.55 $
                                                                                                                                                                             1,901.25 $
                                                                                                                                                                                                        -
                                                                                                                                                                                                        -
                                                                                                                                                                                                                               IConsignment
                                                                                                                                                                                                                                Consignment

Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Cook Tops
                                Microwave Ventilation
                                                              CG304T/S
                                                              PW482418
                                                                                               I      18215352
                                                                                                      11387760
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      1,609.00 $
                                                                                                                                                      1,963.00 $
                                                                                                                                                                             1,045.85 $
                                                                                                                                                                             1,275.95
                                                                                                                                                                                                   1,199.00           2/9/2017 I
                                                                                                                                                                                                                                Bad Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Microwave Ventilation
                                Microwave Ventilation
                                                              PW482418
                                                              MD24TE/S
                                                                                               I               I                      $
                                                                                                                                      $
                                                                                                                                                      1,963.00 $
                                                                                                                                                      1,624.00 $
                                                                                                                                                                             1,275.95
                                                                                                                                                                             1,055.60
                                                                                                                                                                                                                               INo
                                                                                                                                                                                                                                No Serial #
                                                                                                                                                                                                                                   Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Microwave Ventilation
                                Microwave Ventilation
                                                              DD36
                                                              K313930SS                5810080
                                                                                               I      15573749 I being replaced
                                                                                                                                      $
                                                                                                                                      $
                                                                                                                                                      1,393.00 $
                                                                                                                                                        802.00 $
                                                                                                                                                                               905.45 $
                                                                                                                                                                               521.30
                                                                                                                                                                                                           -                   INo
                                                                                                                                                                                                                                Consignment
                                                                                                                                                                                                                                   Serial #
Rancho Mirage
Rancho Mirage
                     Wolf
                     Wolf
                                Outdoor Grills Accessories
                                Warming Drawer
                                                              BM13
                                                              WWD30
                                                                                               I      11421515
                                                                                                      16323351
                                                                                                               I                      $
                                                                                                                                      $
                                                                                                                                                      1,347.00 $
                                                                                                                                                      1,739.00 $
                                                                                                                                                                               875.55 $
                                                                                                                                                                             1,130.35 $
                                                                                                                                                                                                   1,094.00
                                                                                                                                                                                                     100.00
                                                                                                                                                                                                                      3/2/2017 I
                                                                                                                                                                                                                     1/20/2021         -
Rancho Mirage        Wolf       Warming Drawer                WWD30                            I      16238766 I                      $               1,739.00 $             1,130.35 $            1,274.00           2/9/2017 I       -
Rancho Mirage        Wolf       Warming Drawer                WWD30O                                  16305066                        $               1,739.00 $             1,130.35 $                 -                          Consignment
                    I           I                            I                    I            I               I                   I                         I                       I                      I                  I
                    I           I                            I                    I            I               I                   I$             220,866.00 I $          143,562.90 I $          16,122.00 I                  I




                                                                                                                   Rancho Mirage                                                                                                                 3
                                         Case 24-01376-CL7                          Filed 05/24/24                Entered 05/24/24 12:52:54                             Doc 95           Pg. 125 of
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                                                                                                                   Sub-Zero/Pirch
                                                                                                         Display Unit Inventory Report


Dealer LocationI Brand     I       Description   I   Model Number I   sku       I   Serial Number I Missing   I    Invoice Cost    I     Display Cost     I Sold to PIRCH I      Sale Date I       Comments    I              Column1
Costa Mesa      Sub-Zero       Classic             CL3650UID/S/P/R                           4794546           $         10,071.00 $             6,546.15 $         6,546.15        4/13/2023
Costa Mesa      Sub-Zero       Classic           I BI48SID/S/PH       5310626                4391454           $          9,560.00 I $           6,214.00 $              -                      Consignment
Costa Mesa      Sub-Zero       Classic             CL4250UFDID/S/T                           4761403           $         11,287.00 $             7,336.55 $         7,336.55       4/19/2023
Costa Mesa
Costa Mesa
                Sub-Zero
                Sub-Zero
                               Classic
                               PRO
                                                 I CL4250SD/S/T
                                                   PRO3650G           5310837
                                                                                             4793665
                                                                                             3568212
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                         10,599.00 $
                                                                                                                         12,479.00 $
                                                                                                                                                 6,889.35 $
                                                                                                                                                 8,111.35 $
                                                                                                                                                                    6,889.35
                                                                                                                                                                         -
                                                                                                                                                                                   4/14/2023
                                                                                                                                                                                                Consignment
Costa Mesa
Costa Mesa
                Sub-Zero
                Sub-Zero
                               PRO
                               Designer
                                                 I PRO4850G
                                                   IC18FI             5311103
                                                                                             3567417
                                                                                             5826956
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                         16,063.00 $
                                                                                                                          6,207.00 $
                                                                                                                                               10,440.95 $
                                                                                                                                                 4,034.55 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                                Consignment
                                                                                                                                                                                                Consignment
Costa Mesa      Sub-Zero       Designer          I IC30R              5311080                5831654           $                   I
                                                                                                                          7,087.00 $             4,606.55 $              -                      Consignment
Costa Mesa      Sub-Zero       Designer            ID36R              5311046                5822838           $          4,071.00 $             2,646.15 $              -                      Consignment
Costa Mesa      Sub-Zero       Designer          I DET3650CI/R                              24398438           $          8,111.00 $
                                                                                                                                   I             5,272.15 $         5,272.15       8/11/2023
Costa Mesa      Sub-Zero       Designer            IC24FI             5311111                5511367           $          6,655.00 $             4,325.75 $              -                      Consignment
Costa Mesa
Costa Mesa
                Sub-Zero
                Sub-Zero
                               Designer
                               Undercounter
                                                 I IC30RID
                                                   UC-15I
                                                                      5311080                5512258
                                                                                            23001896
                                                                                                               $
                                                                                                               $
                                                                                                                          7,087.00 $
                                                                                                                                   I
                                                                                                                          2,999.00 $
                                                                                                                                                 4,606.55 $
                                                                                                                                                 1,949.35 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                                Consignment
                                                                                                                                                                                                Consignment
Costa Mesa
Costa Mesa
                Sub-Zero
                Sub-Zero
                               Undercounter
                               Undercounter
                                                 I UC-24BG/O
                                                   DEU2450RO/R
                                                                      5230452                3701155
                                                                                            23214494
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                          1,302.00 $
                                                                                                                          2,807.00 $
                                                                                                                                                   846.30 $
                                                                                                                                                 1,824.55 $
                                                                                                                                                                         -
                                                                                                                                                                    1,824.55       2/22/2023
                                                                                                                                                                                                Consignment

Costa Mesa      Sub-Zero       Wine              I DEU2450W           5310914               23208666           $                   I
                                                                                                                          3,207.00 $             2,084.55 $         3,207.00       1/23/2023
Costa Mesa      Sub-Zero       Wine                IW-24              5311088                5824915           $          5,871.00 $             3,816.15 $              -                      Consignment
Costa Mesa      Sub-Zero       Wine              I DEC1850W           5311083                5996425           $          5,391.00 $
                                                                                                                                   I             3,504.15 $         5,391.00       1/27/2023
Costa Mesa      Wolf           Range               DF60650DG/S/P                            18650736           $         15,507.00 $           10,079.55 $          9,133.80        6/2/2022
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Range
                               Range
                                                 I DF36450G/S/P
                                                   GR488
                                                                                            18610150
                                                                                            18044056
                                                                                                               $
                                                                                                               $
                                                                                                                          9,101.00 $
                                                                                                                                   I
                                                                                                                          8,693.00 $
                                                                                                                                                 5,915.65 $
                                                                                                                                                 5,650.45
                                                                                                                                                                         -                      Consignment
                                                                                                                                                                                                Bad Serial #
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Range
                               Ovens
                                                 I DF48450CG/S/P
                                                   SO3050PE/S/P
                                                                                            18772356
                                                                                            22554701
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                         12,581.00 $
                                                                                                                          3,865.00 $
                                                                                                                                                 8,177.65 $
                                                                                                                                                 2,512.25 $
                                                                                                                                                                    8,177.65
                                                                                                                                                                         -
                                                                                                                                                                                    5/5/2023
                                                                                                                                                                                                Consignment
Costa Mesa      Wolf           Ovens             I CSO30CM/S                                13573474           $                   I
                                                                                                                          3,249.00 $             2,111.85 $              -                      Consignment
Costa Mesa      Wolf           Ovens               SO30CM/S           5610680               22526213           $          4,727.00 $             3,072.55 $              -                      Consignment
Costa Mesa      Wolf           Ovens             I SO30TM/S/TH        5610186               16212374           $          4,596.00 $
                                                                                                                                   I             2,987.40 $              -                      Consignment
Costa Mesa      Wolf           Ovens               DO30PM/S/PH        5610196               16211152           $          7,330.00 $             4,764.50 $              -                      Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Ovens
                               Ovens
                                                 I DO30CM/S
                                                   CSO30PM/S/PH
                                                                      5610428               16245190
                                                                                            13554628
                                                                                                               $
                                                                                                               $
                                                                                                                          7,083.00 $
                                                                                                                                   I
                                                                                                                          3,095.00 $
                                                                                                                                                 4,603.95 $
                                                                                                                                                 2,011.75 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                                Consignment
                                                                                                                                                                                                Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Ovens
                               Ovens
                                                 I SO30PM/S/PH
                                                   DO3050PM/S/P
                                                                      5610679               17465651
                                                                                            22642133
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                          4,789.00 $
                                                                                                                          7,330.00 $
                                                                                                                                                 3,112.85
                                                                                                                                                 4,764.50 $         7,330.00       5/19/2023
                                                                                                                                                                                                Bad Serial #

Costa Mesa      Wolf           Cooktops          I SRT366                                   17247869           $                   I
                                                                                                                          3,372.00 $             2,191.80                                     Bad Serial #
Costa Mesa      Wolf           Cooktops            CI152TF/S                                17677479           $          1,185.00 $               770.25 $              -                    Consignment
Costa Mesa      Wolf           Cooktops          I TM15TF/S           5610503               19351711           $          1,863.00 $
                                                                                                                                   I             1,210.95 $         1,210.95       12/6/2023 Consignment           Invoice never paid on AR
Costa Mesa      Wolf           Cooktops            CI365T/S           5610340               17669357           $          2,063.00 $             1,340.95 $              -                    Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Cooktops
                               Cooktops
                                                 I CG365P/S
                                                   CG365C/S
                                                                                            18526050
                                                                                            18529913
                                                                                                               $
                                                                                                               $
                                                                                                                          1,847.00 $
                                                                                                                                   I
                                                                                                                          2,194.00 $
                                                                                                                                                 1,200.55 $
                                                                                                                                                 1,426.10 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                              Consignment
                                                                                                                                                                                              Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Cooktops
                               Ventilation
                                                 I CG365T/S
                                                   PL581912
                                                                                            18097424
                                                                                            14690572
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                          1,847.00 $
                                                                                                                          1,239.00 $
                                                                                                                                                 1,200.55 $
                                                                                                                                                   805.35 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                              Consignment
                                                                                                                                                                                              Consignment
Costa Mesa      Wolf           Ventilation       I PW482418                                 16128053           $                   I
                                                                                                                          1,963.00 $             1,275.95                                     Bad Serial #
Costa Mesa      Wolf           Ventilation         PW482418                                 22306450           $          1,963.00 $             1,275.95 $         1,275.95       7/13/2023
Costa Mesa      Wolf           Microwave         I MC24                                     12567085 OLD       $            862.00 $
                                                                                                                                   I               560.30 $              -                    Consignment          Invoice never paid on AR
Costa Mesa      Wolf           Microwave           MD30TE/S                                 12700775 OLD       $          1,662.00 $             1,080.30 $              -                    Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf
                               Coffee
                               Coffee
                                                 I EC24/S
                                                   CW24/S
                                                                      5610701               13752461 OLD
                                                                                            17701906 OLD
                                                                                                               $
                                                                                                               $
                                                                                                                          2,941.00 $
                                                                                                                                   I
                                                                                                                            892.00 $
                                                                                                                                                 1,911.65 $
                                                                                                                                                   579.80 $
                                                                                                                                                                         -
                                                                                                                                                                         -
                                                                                                                                                                                              Consignment
                                                                                                                                                                                              Consignment
Costa Mesa
Costa Mesa
                Wolf
                Wolf        Drawer
                                                 I VS24
                                                   WWD30
                                                                                             9100468 OLD
                                                                                            16127701 OLD
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                          2,509.00 $
                                                                                                                          1,739.00 $
                                                                                                                                                 1,630.85 $
                                                                                                                                                 1,130.35
                                                                                                                                                                         -                    Consignment
                                                                                                                                                                                              Bad Serial #
Costa Mesa      Cove        Dishwasher           I DW2450WS                                 20004947           $                   I
                                                                                                                          1,826.00 $             1,186.90 $              -                    Consignment
Costa Mesa      Cove        Dishwasher             DW2450                                   20092524           $          1,742.00 $             1,132.30 $         1,742.00        2/1/2023
Costa Mesa      Wolf        Outdoor              I OG36                                     11366663           $          4,927.00 $
                                                                                                                                   I             3,202.55                                     Bad Serial #
Costa Mesa      Wolf        Outdoor                WWD30O                                   16127698           $          1,739.00 $             1,130.35                                     Bad Serial #
Costa Mesa
Costa Mesa
                Sub-Zero
                Sub-Zero
                            Outdoor
                            Outdoor
                                                 I ID24RO
                                                   UC-15IPO
                                                                      5311053
                                                                      5311064
                                                                                             5611837
                                                                                             2965110
                                                                                                               $
                                                                                                               $
                                                                                                                          4,055.00 $
                                                                                                                                   I
                                                                                                                          4,087.00 $
                                                                                                                                                 2,635.75 $
                                                                                                                                                 2,656.55
                                                                                                                                                                         -                    Consignment
                                                                                                                                                                                              Bad Serial #
Costa Mesa
Costa Mesa
                Sub-Zero
                Best
                            Outdoor
                            Ventilation
                                                 I OG36
                                                   WC451IQ90          5810312
                                                                                            13054705
                                                                                             8150007
                                                                                                               $
                                                                                                               $
                                                                                                                                   I
                                                                                                                          4,927.00 $
                                                                                                                          1,662.00 $
                                                                                                                                                 3,202.55 $
                                                                                                                                                 1,080.30
                                                                                                                                                                    4,308.00       5/22/2019
                                                                                                                                                                                              Bad Serial #
Costa Mesa      Asko        Dishwasher           I DFI664XXL           737048               94130071           $            928.00 I $             603.20 $              -                    Consignment
Costa Mesa      Asko        Dishwasher             DBI663ISSOF         734086                1030002           $            719.00 $               467.35                                     Bad Serial #
Costa Mesa     IAsko       IDishwasher           IDBI664PHXXLS I       737067 I             74530163 I        I$          1,036.00 I $             673.40 I $            -   I               IConsignment      I
              I            I                     I                I             I                 I           I                    I                     I                   I                 I               I
              I            I                     I                I             I                 I           I$       280,589.00 I $         182,382.85 I $       69,645.10 I                 I               I




                                                                                                                   Costa Mesa                                                                                                                 4
                               Case 24-01376-CL7                  Filed 05/24/24         Entered 05/24/24 12:52:54                    Doc 95        Pg. 126 of
                                                                                             130
                                                                                         Sub-Zero/Pirch
                                                                                  Display Unit Inventory Report


    Dealer Location    I   Brand    I      Description    I Model Number I   SKU     I Serial Number I       Invoice Cost    I Display Cost I Sold to PIRCH I      Sale Date    I Comments
Laguna Design Center     Sub-Zero    Intergrated Column    IC-18F            5311103           5939447 $            6,207.00 $       4,034.55 $       5,479.00         4/7/2022
Laguna Design Center   I Sub-Zero   IIntergrated Column    I
                                                           IC-30RID      I   5311078 I         5856983 $I           7,423.00 I $     4,824.95 I $     6,239.00 I       3/3/2021 I
Laguna Design Center     Sub-Zero    Intergrated Drawer    ID-24R                              5900002 $            3,767.00 $       2,448.55 $       3,319.00        1/28/2021
Laguna Design Center
Laguna Design Center
                       I Sub-Zero
                         Sub-Zero
                                    IUndercounter
                                     Undercounter
                                                          .I
                                                           DEU2450BG
                                                           DEU2450RO
                                                                         I   5310880
                                                                             5310908
                                                                                     I                 .I
                                                                                              23159067 $
                                                                                              23169812 $
                                                                                                                    2,279.00 I $
                                                                                                                    2,807.00 $
                                                                                                                                     1,481.35 I $
                                                                                                                                     1,824.55 $
                                                                                                                                                           -
                                                                                                                                                           -
                                                                                                                                                               I                IConsignment
                                                                                                                                                                                 Consignment
Laguna Design Center   I Sub-Zero   IWine                  I
                                                           IW-18         I   5311084 I         5895153 $I           5,391.00 I $     3,504.15 I $     4,727.00 I     12/17/2021 I
Laguna Design Center     Wolf        Oven                  CSO30CM/B                          13589649 $            3,179.00 $       2,066.35 $            -                     Consignment
Laguna Design Center
Laguna Design Center
                       I Wolf
                         Wolf
                                    IOven
                                     Cooktop
                                                          .I
                                                           SO30CM/B
                                                           CG365C/S
                                                                         I   5610678 I                 .I
                                                                                              22588337 $
                                                                                              18636873 $
                                                                                                                    4,665.00 I $
                                                                                                                    2,194.00 $
                                                                                                                                     3,032.25 I $
                                                                                                                                     1,426.10 $
                                                                                                                                                           -
                                                                                                                                                           -
                                                                                                                                                               I                IConsignment
                                                                                                                                                                                 Consignment
Laguna Design Center   I Wolf       IVent                  I
                                                           VW36B         I           I        15605243 $I           1,470.00 I $       955.50 I $          -   I                IConsignment
Laguna Design Center     Wolf        Coffee                EC2450TE/S                         13770723 $            2,941.00 $       1,911.65 $       1,911.65       11/10/2022
Laguna Design Center
Laguna Design Center
                       I Wolf
                         Wolf
                                    ICoffee
                                     VS24
                                                          .I
                                                           CW24/B
                                                           VS24
                                                                         I   5610379 I                 .I
                                                                                              17702466 $
                                                                                               9101603 $
                                                                                                                      892.00 I $
                                                                                                                    2,509.00 $
                                                                                                                                       579.80 I $
                                                                                                                                     1,630.85 $
                                                                                                                                                           -
                                                                                                                                                           -
                                                                                                                                                               I                IConsignment
                                                                                                                                                                                 Consignment
Laguna Design Center   I Wolf       IWarming Drawer       IWWD30         I           I        16338595 I $          1,739.00 I $     1,130.35 I $          -   I                IConsignment
Laguna Design Center     Cove        Dishwasher            DW2450WS                           20067833 $            1,826.00 $       1,186.90 $       1,651.00        3/17/2022
                       I            I                     I              I           I                 I                    I                I                 I              I
                       I            I                     I              I           I                 I$         49,289.00 I $    32,037.85 I $     23,326.65 I              I




                                                                                      Laguna Design Center                                                                                     5
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                                                                                           Sub-Zero/Pirch
                                                                                    Display Unit Inventory Report


Dealer Location   IBrand       IDescription    IModel Number      ISKU          ISerial Number IMissing    I Invoice Cost        I Display Cost        I Sold to PIRCH ISale Date      IComments
Mission Viejo      Wolf         Cooktop         CI152TF/S                            17675024               $           1,185.00 $              770.25 $              -                 Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               IVentilation
                                Cooktop
                                                PL581912
                                                MM15TF/S
                                                                                I    14696899
                                                                                     16320467
                                                                                                           I$
                                                                                                            $
                                                                                                                        1,239.00 $
                                                                                                                        1,247.00 $
                                                                                                                                                805.35 $
                                                                                                                                                810.55 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               ICooktop
                                Microwave
                                                CG304P/S
                                                MD30PE/S
                                                                                I    18570434
                                                                                     12712268 OLD
                                                                                                           I$
                                                                                                            $
                                                                                                                        1,609.00 $
                                                                                                                        1,662.00 $
                                                                                                                                              1,045.85 $
                                                                                                                                              1,080.30 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo      Wolf        IWarming Draw    WWD30                           I    16328437              I$           1,739.00 $            1,130.35 $              -  I              Consignment
Mission Viejo      Cove         Dishwasher      DW2450WS                             20052200 OLD           $           1,826.00 $            1,186.90 $              -                 Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               ICooktop
                                Oven
                                                CG365P/S
                                                SPO30TM/S/TH
                                                                                I    18579991
                                                                                     15165101 OLD
                                                                                                           I$
                                                                                                            $
                                                                                                                        1,847.00 $
                                                                                                                        2,163.00 $
                                                                                                                                              1,200.55 $
                                                                                                                                              1,405.95 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               ICooktop
                                Ventilation
                                                CG365C/S
                                                PWC482418
                                                                                I    18529913 Missing
                                                                                     14831046
                                                                                                           I$
                                                                                                            $
                                                                                                                        2,194.00 $
                                                                                                                        2,355.00 $
                                                                                                                                              1,426.10 $
                                                                                                                                              1,530.75 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               IOven
                                Oven
                                                CSO30CM/S
                                                SO3050PE/S/P
                                                                                I    13579862
                                                                                     22573577
                                                                                                           I$
                                                                                                            $
                                                                                                                        3,249.00 $
                                                                                                                        3,865.00 $
                                                                                                                                              2,111.85 $
                                                                                                                                              2,512.25 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo      Wolf        IRange           GR366                           I    18580695              I$           5,536.00 $            3,598.40 $              -  I              Consignment
Mission Viejo      Sub-Zero     Classic         CL3650U/O/L                           4799935               $           8,279.00 $            5,381.35                                  Bad Serial #
Mission Viejo
Mission Viejo
                   Sub-Zero
                   Sub-Zero
                               IClassic
                                Classic
                                                CL4250UFDID/O
                                                CL4850SID/S/P
                                                                                I     4801944
                                                                                      4808407
                                                                                                           I$
                                                                                                            $
                                                                                                                        9,703.00 $
                                                                                                                       11,399.00 $
                                                                                                                                              6,306.95 $
                                                                                                                                              7,409.35 $
                                                                                                                                                                 6,306.95
                                                                                                                                                                 7,409.35
                                                                                                                                                                         I   5/24/2023
                                                                                                                                                                              7/6/2023
Mission Viejo
Mission Viejo
                   Wolf
                   Sub-Zero
                               IRange
                                PRO
                                                DF60650DG/S/P
                                                PRO4850G
                                                                              I      18618587
                                                                                      3576089
                                                                                                           I$
                                                                                                            $
                                                                                                                       15,507.00 $
                                                                                                                       16,063.00 $
                                                                                                                                             10,079.55 $
                                                                                                                                             10,440.95 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Sub-Zero
                   Sub-Zero
                               IPRO
                                Designer
                                                PRO3650G
                                                ID-30CI               5311051
                                                                              I       3567918
                                                                                      5897773
                                                                                                           I$
                                                                                                            $
                                                                                                                       12,479.00 $
                                                                                                                        4,271.00 $
                                                                                                                                              8,111.35 $
                                                                                                                                              2,776.15 $
                                                                                                                                                                      -
                                                                                                                                                                 3,759.00
                                                                                                                                                                         I
                                                                                                                                                                              1/9/2020
                                                                                                                                                                                        Consignment

Mission Viejo      Sub-Zero    IDesigner        ID-24R                5311052   I     5906172              I$           3,767.00 $            2,448.55 $              -  I              Consignment
Mission Viejo      Sub-Zero     Designer        IC30RID                               5885980               $           7,087.00 $            4,606.55 $              -                 Consignment
Mission Viejo
Mission Viejo
                   Sub-Zero
                   Sub-Zero
                               IDesigner
                                Designer
                                                IC24FI
                                                DEU2450BG
                                                                                I     5878585
                                                                                     23159047
                                                                                                           I$
                                                                                                            $
                                                                                                                        6,655.00 $
                                                                                                                        2,279.00 $
                                                                                                                                              4,325.75 $
                                                                                                                                              1,481.35 $
                                                                                                                                                                 5,799.00
                                                                                                                                                                      -
                                                                                                                                                                         I   8/20/2021
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Sub-Zero
                   Sub-Zero
                               IDesigner
                                Designer
                                                DEU2450RO
                                                UC-15IP               5311062
                                                                              I      23161867
                                                                                     23006059
                                                                                                           I$
                                                                                                            $
                                                                                                                        2,807.00 $
                                                                                                                        3,791.00 $
                                                                                                                                              1,824.55 $
                                                                                                                                              2,464.15 $
                                                                                                                                                                      -
                                                                                                                                                                 3,007.00
                                                                                                                                                                         I    2/5/2021
                                                                                                                                                                                        Consignment

Mission Viejo
Mission Viejo
                   Sub-Zero
                   Sub-Zero
                               IDesigner
                                Designer
                                                DEU2450W
                                                IW-18                 5311084
                                                                              I      23159972
                                                                                      5876112
                                                                                                           I$
                                                                                                            $
                                                                                                                        3,207.00 $
                                                                                                                        5,391.00 $
                                                                                                                                              2,084.55 $
                                                                                                                                              3,504.15 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo      Wolf        IRange           DF4850C/S/P/          5610658   I    18645267              I$          11,896.00 $            7,732.40                   I              Bad Serial #
Mission Viejo      Wolf         Oven            DO30PM/S/PH                          22560186               $           7,330.00 $            4,764.50 $              -                 Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               IOven
                                Oven
                                                SO30CM/S
                                                SO30TM/S/TH
                                                                                I    22559136
                                                                                     22562360
                                                                                                           I$
                                                                                                            $
                                                                                                                        4,727.00 $
                                                                                                                        4,596.00 $
                                                                                                                                              3,072.55 $
                                                                                                                                              2,987.40 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               IOven
                                Cooktop
                                                DO30TM/S/TH
                                                CI365C/B
                                                                      5610681   I    22570089
                                                                                     17677269
                                                                                                           I$
                                                                                                            $
                                                                                                                        6,952.00 $
                                                                                                                        1,909.00 $
                                                                                                                                              4,518.80 $
                                                                                                                                              1,240.85 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Wolf
                               ICooktop
                                Ventilation
                                                CI365T/S
                                                VW36B
                                                                                I    17678615 Missing
                                                                                     15588422
                                                                                                           I$
                                                                                                            $
                                                                                                                        2,063.00 $
                                                                                                                        1,470.00 $
                                                                                                                                              1,340.95 $
                                                                                                                                                955.50 $
                                                                                                                                                                      -
                                                                                                                                                                      -
                                                                                                                                                                         I              Consignment
                                                                                                                                                                                        Consignment
Mission Viejo      Wolf        IMicrowave       MDD30PE/S/P           5610382   I    15162782              I$           1,598.00 $            1,038.70 $              -  I              Consignment
Mission Viejo      Wolf         Coffee          EC24/S                               13766793               $           2,941.00 $            1,911.65 $              -                 Consignment
Mission Viejo
Mission Viejo
                   Wolf
                   Best
                               ICoffee
                                Ventilation
                                                CW24S
                                                WTT32136SB            5810272
                                                                                I    17702321              I$
                                                                                                            $
                                                                                                                          892.00 $
                                                                                                                          739.00 $
                                                                                                                                                579.80 $
                                                                                                                                                480.35
                                                                                                                                                                      -  I              Consignment
                                                                                                                                                                                        NA
Mission Viejo
Mission Viejo
                   Best
                   Asko
                               IVentilation
                                Dishwasher
                                                WCB3136SBS
                                                DFI664
                                                                      5810358
                                                                       734098
                                                                                I    10530057
                                                                                                           I$
                                                                                                            $
                                                                                                                        1,172.00 $
                                                                                                                          899.00 $
                                                                                                                                                761.80
                                                                                                                                                584.35 $              -
                                                                                                                                                                         I              NA
                                                                                                                                                                                        Consignment
Mission Viejo     IAsko        IDishwasher     IDBI663IS          I    734131 I      10930086 I            I$             647.00 I $            420.55 I $         649.00 I  6/11/2021 I
                  I            I               I                  I             I             I            I                     I                    I                  I             I
                  I            I               I                  I             I             I            I$         194,232.00 I $       126,250.80 I $      26,930.30 I             I




                                                                                           Mission Viejo                                                                                               6
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                                                                                                    Sub-Zero/Pirch
                                                                                         Display Unit Inventory Report


                  IModel
Dealer Account Name                   IBrand     ISKU          ISerial Number     IQty          IInstall Date      I Invoice Cost    I Display Cost      I Sold to PIRCH       ISale Date      I Commnents
Pirch - Glendale    CI152TF/S         Wolf                               17675025           1         12/23/2021    $       1,185.00 $            770.25 $                 -                    Consignment
Pirch - Glendale  I DD30              Wolf                     I         15500027 I         1          4/18/2014    $                I
                                                                                                                            1,331.00 $            865.15 $                 -                  I Consignment
Pirch - Glendale    BM13              Wolf                               11405707           1           7/4/2013    $       1,347.00 $            875.55                                        Bad Serial #
Pirch - Glendale
Pirch - Glendale
                  I DD36
                    MDD24TE/S/TH
                                      Wolf
                                      Wolf
                                                               I         15500104
                                                                         15100954
                                                                                  I         1
                                                                                            1
                                                                                                        4/9/2014
                                                                                                       1/30/2016
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            1,393.00 $
                                                                                                                            1,570.00 $
                                                                                                                                                  905.45 $
                                                                                                                                                1,020.50 $
                                                                                                                                                                           -
                                                                                                                                                                           -
                                                                                                                                                                                              I Consignment
                                                                                                                                                                                                Consignment
Pirch - Glendale  I CG304T/S          Wolf                     I         18092506 I         1          6/12/2014    $                I
                                                                                                                            1,609.00 $          1,045.85 $                 -                  I Consignment
Pirch - Glendale    MD30PE/S          Wolf                               12730387           1          9/11/2014    $       1,662.00 $          1,080.30 $                 -                    Consignment
Pirch - Glendale  I WWD30             Wolf                     I         16168452 I         1          1/11/2014    $                I
                                                                                                                            1,739.00 $          1,130.35                                      I Bad Serial #
Pirch - Glendale    WWD30O            Wolf                               16162150           1          9/27/2013    $       1,739.00 $          1,130.35                                        Bad Serial #
Pirch - Glendale  I WWD30             Wolf                     I         16168460 I         1          1/11/2014    $                I
                                                                                                                            1,739.00 $          1,130.35                                      I Bad Serial #
Pirch - Glendale    DW2450WS          Cove                               20003425           1          7/15/2019    $       1,826.00 $          1,186.90 $                 -                    Consignment
Pirch - Glendale
Pirch - Glendale
                  I CG365T/S
                    PW482418
                                      Wolf
                                      Wolf
                                                               I         18097307
                                                                         16170542
                                                                                  I         1
                                                                                            1
                                                                                                       7/14/2014
                                                                                                       4/14/2018
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            1,847.00 $
                                                                                                                            1,963.00 $
                                                                                                                                                1,200.55 $
                                                                                                                                                1,275.95
                                                                                                                                                                           -                  I Consignment
                                                                                                                                                                                                Bad Serial #
Pirch - Glendale  I SPO24TE/S/TH      Wolf                     I         15133151 I         1         10/17/2019    $                I
                                                                                                                            1,986.00 $          1,290.90 $                 -                  I Consignment
Pirch - Glendale    SM15TF/S          Wolf                               11432123           1          7/28/2020    $       2,124.00 $          1,380.60 $                 -                    Consignment
Pirch - Glendale  I PWC362418         Wolf                     I         14809364 I         1         12/21/2013    $                I
                                                                                                                            2,178.00 $          1,415.70                                      I Bad Serial #
Pirch - Glendale    DEU2450BG/R       Sub-Zero                           23173055           1           1/6/2025    $       2,279.00 $          1,481.35 $                 -                    Consignment
Pirch - Glendale  I CSO24TE/S/TH      Wolf                     I         13544863 I         1           7/9/2018    $                I
                                                                                                                            2,687.00 $          1,746.55 $                 -                  I Consignment
Pirch - Glendale    UC-15I            Sub-Zero                            3866851           1         12/22/2015    $       2,999.00 $          1,949.35 $                 -                    Consignment
Pirch - Glendale
Pirch - Glendale
                  I CSO30TM/S/TH
                    DEU2450W/L
                                      Wolf
                                      Sub-Zero
                                                               I         13554896
                                                                         23173315
                                                                                  I         1
                                                                                            1
                                                                                                       4/23/2019
                                                                                                       1/11/2025
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            3,072.00 $
                                                                                                                            3,207.00 $
                                                                                                                                                1,996.80 $
                                                                                                                                                2,084.55 $
                                                                                                                                                                           -
                                                                                                                                                                           -
                                                                                                                                                                                              I Consignment
                                                                                                                                                                                                Consignment
Pirch - Glendale  I EC3050CM/B        Wolf                     I         13772721 I         1          1/24/2025    $                I
                                                                                                                            3,241.00 $          2,106.65 $            3,241.00       2/10/2023I
Pirch - Glendale    ID-27R            Sub-Zero                            5570452           1           6/2/2016    $       3,863.00 $          2,510.95 $                 -                    Consignment
Pirch - Glendale  I SO3050PE/S/P      Wolf                     I         22573469 I         1          1/29/2022    $                I
                                                                                                                            3,865.00 $          2,512.25 $                 -                  I Consignment
Pirch - Glendale    ID-24RO           Sub-Zero                            5611835           1         11/16/2017    $       4,055.00 $          2,635.75 $                 -                    Consignment
Pirch - Glendale  I UC-15IPO          Sub-Zero                 I          3853869 I         1          8/20/2013    $                I
                                                                                                                            4,087.00 $          2,656.55                                      I Bad Serial #
Pirch - Glendale    SRT362W           Wolf                               18608900           1           3/1/2022    $       4,342.00 $          2,822.30 $                 -                    Consignment
Pirch - Glendale
Pirch - Glendale
                  I OG36
                    DEC2450W/L
                                      Wolf
                                      Sub-Zero
                                                               I         13034630
                                                                         24434667
                                                                                  I         1
                                                                                            1
                                                                                                       7/10/2013
                                                                                                        8/9/2026
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            4,927.00 $
                                                                                                                            5,871.00 $
                                                                                                                                                3,202.55
                                                                                                                                                3,816.15 $            3,816.15       8/25/2023
                                                                                                                                                                                              I Bad Serial #

Pirch - Glendale  I DEC3050W/R        Sub-Zero                 I         24420854 I         1          6/21/2026    $                I
                                                                                                                            6,759.00 $          4,393.35 $            4,393.35       6/30/2023I
Pirch - Glendale    DEC3050FI/L       Sub-Zero                           24414621           1          5/31/2026    $       7,087.00 $          4,606.55 $            6,439.00       7/21/2023
Pirch - Glendale  I DEC3050RID/R      Sub-Zero                 I          5991791 I         1          12/9/2025    $                I
                                                                                                                            7,423.00 $          4,824.95 $            4,824.95       8/11/2023I
Pirch - Glendale    DET3050R/R        Sub-Zero                           24403950           1                       $       7,543.00 $          4,902.95                                        Bad Serial #
Pirch - Glendale  I DET3650CIID/R     Sub-Zero                 I         24397086 I         1          3/23/2026    $                I
                                                                                                                            8,439.00 $          5,485.35 $            5,485.35       8/10/2023I
Pirch - Glendale    DF36450C/S/P      Wolf                               18650798           1           3/1/2025    $       9,101.00 $          5,915.65 $                 -                    Consignment
Pirch - Glendale
Pirch - Glendale
                  I GR486G
                    CL3650U/S/T/R
                                      Wolf
                                      Sub-Zero
                                                               I         18062759
                                                                          4806545
                                                                                  I         1
                                                                                            1
                                                                                                        1/1/2014
                                                                                                        6/5/2026
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            9,386.00 $
                                                                                                                            9,743.00 $
                                                                                                                                                6,100.90 $
                                                                                                                                                6,332.95 $
                                                                                                                                                                      6,144.00
                                                                                                                                                                      6,332.95
                                                                                                                                                                                     5/20/2015
                                                                                                                                                                                     7/13/2023
                                                                                                                                                                                              I
Pirch - Glendale  I CL4250SD/S/T      Sub-Zero                 I          4803003 I         1          5/15/2026    $                I
                                                                                                                           10,599.00 $          6,889.35 $            6,889.35       5/24/2023I
Pirch - Glendale    CL3650UG/S/P/L    Sub-Zero                            4794927           1          3/17/2026    $      10,647.00 $          6,920.55 $            6,920.55       4/14/2023
Pirch - Glendale  I PRO4850G          Sub-Zero                 I          3567400 I         1          9/15/2019    $                I
                                                                                                                           16,063.00 $         10,440.95 $                 -                  I Consignment
Pirch - Glendale    CL3650UFDID/S/T   Sub-Zero       5311000              4808604           1          6/16/2026    $      10,671.00 $          6,936.15 $            6,936.15       7/13/2023
Pirch - Glendale  I CL4250SID/S/P     Sub-Zero       5350736   I          4811946 I         1          7/10/2026    $                I
                                                                                                                            8,550.00 $          5,557.50 $            6,889.35       8/10/2023I
Pirch - Glendale    DF60650DG/S/P     Wolf           5610461             18661485           1          4/22/2025    $      15,507.00 $         10,079.55 $            9,133.80       5/25/2022
Pirch - Glendale
Pirch - Glendale
                  I SO30TM/S/TH
                    DO30TM/S/TH
                                      Wolf
                                      Wolf           5610193
                                                             I           16197114
                                                                         16196815
                                                                                  I         1
                                                                                            1
                                                                                                       8/15/2015
                                                                                                       8/16/2015
                                                                                                                    $
                                                                                                                    $
                                                                                                                                     I
                                                                                                                            4,596.00 $
                                                                                                                            6,952.00 $
                                                                                                                                                2,987.40 $
                                                                                                                                                4,518.80 $
                                                                                                                                                                           -
                                                                                                                                                                           -
                                                                                                                                                                                              I Consignment
                                                                                                                                                                                                Consignment
Pirch - Glendale  I SO30CM/B          Wolf                   I           16213560 I         1          4/14/2016    $                I
                                                                                                                            4,665.00 $          3,032.25 $                 -                  I Consignment
Pirch - Glendale    MM15T/S           Wolf           5610377             16223623           1           8/4/2016    $       1,151.00 $            748.15 $            1,019.00       4/17/2017
Pirch - Glendale  I SO30PM/S/PH       Wolf                     I         18203292 I         1          2/13/2016    $                I
                                                                                                                            4,789.00 $          3,112.85                                      I Bad Serial #
Pirch - Glendale    CL3050WSTL        Sub-Zero       5311035              4807746           1          6/12/2026    $       7,919.00 $          5,147.35 $            5,147.35       6/30/2023
Pirch - Glendale  I PRO3650G          Sub-Zero                 I          3567816 I         1         10/23/2019    $                I
                                                                                                                           12,479.00 $          8,111.35 $            8,864.00       7/26/2019I
Pirch - Glendale    IC-24FI-LH        Sub-Zero       5310496              5558920           1           3/2/2016    $       6,351.00 $          4,128.15 $                 -                    Consignment
Pirch - Glendale  I IC-30RID-RH       Sub-Zero       5310273 I            5563125 I         1           4/7/2016    $       7,079.00 I $        4,601.35 $                 -                   IConsignment
Pirch - Glendale    CL4850UFDIDSP     Sub-Zero       5311013              4800346           1           5/1/2026    $      11,831.00 $          7,690.15                                        Bad Serial #
                  I                   I          I             I                  I             I                  I                 I                   I                     I               I
                  I                   I          I             I                  I             I                  I$     281,063.00 I $     182,690.95 I $         92,476.30 I                I




                                                                                                     Glendale                                                                                                  7
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                       EXHIBIT 13
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                                Sub-Zero Display Unit - Dealer and Display Cost Summary Report
                    Pricing for All Display Units           Pricing for Consignment Units      Pricing of Remaining Units
                   Invoice Cost       Display Cost       Invoice Cost       Display Cost    Invoice Cost     Display Cost
La Jolla - UTC   $ 276,971.00 $ 180,031.15                $     82,648.00 $       53,721.20  $ 194,323.00 $ 126,309.95
Solana Beach     $    93,751.00 $         60,938.15       $     70,780.00 $       46,007.00  $    22,971.00 $      14,931.15
Rancho Mirage    $ 220,866.00 $ 143,562.90                $ 117,633.00 $          76,461.45  $ 103,233.00 $        67,101.45
Costa Mesa       $ 280,589.00 $ 182,382.85                $ 151,376.00 $          98,394.40  $ 129,213.00 $        83,988.45
Laguna Nigel     $    49,289.00 $         32,037.85       $     21,734.00 $       14,127.10  $    27,555.00 $      17,910.75
Mission Viejo    $ 194,232.00 $ 126,250.80                $ 135,680.00 $          88,192.00  $    58,552.00 $      38,058.80
Glendale         $ 281,063.00 $ 182,690.95                $ 106,498.00 $          69,223.70  $ 174,565.00 $ 113,467.25

                 $ 1,396,761.00   $   907,894.65       $   686,349.00   $   446,126.85      $   710,412.00    $   461,767.80



                   Pricing for All Display Units        Pricing for Consignment Units         Pricing of Remaining Units
                  Invoice Cost       Display Cost     Invoice Cost      Display Cost       Invoice Cost     Display Cost
Rancho Mirage    $ 220,866.00 $ 143,562.90             $   117,633.00   $    76,461.45      $ 103,233.00 $        67,101.45
Costa Mesa       $ 280,589.00 $ 182,382.85             $   151,376.00   $    98,394.40      $ 129,213.00 $        83,988.45
Mission Viejo    $ 194,232.00 $ 126,250.80             $   135,680.00   $    88,192.00      $    58,552.00 $      38,058.80

                 $   695,687.00   $   452,196.55       $   404,689.00   $   263,047.85      $   290,998.00    $   189,148.70
